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5    Myrle Moore, Ole Haugen,
     Todd Peterson and Rodger Kane, Jr.
6

7

8                IN THE UNITED STATES DISTRICT COURT
9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                             SOUTHERN DIVISION
11

12
     FLOYD CHODOSH, SUE
13   EICHERLY, MYRLE MOORE, OLE                   CASE NO.: CV-____-____        (___)
     HAUGEN, TODD PETERSON, and
14   RODGER KANE, JR.,                            COMPLAINT FOR:
15
                Plaintiffs,                          1.    Violations of 18 U.S.C.
16
                                                           §1962(c); RICO
17        v.
18                                                   2.    Violations of 18 U.S.C.
                                                           §1962(d); Conspiracy to
19   JOHN SAUNDERS, ROBERT                                 Violate 18 U.S.C.
     COLDREN, ICC 35902 LLC, a
20   Delaware limited liability company,                   §1962(c);
     3187 REDHILL LLC, a Delaware                          RICO; and
21   limited liability company, PACIFIC
     CURRENT PARTNERS, a
22   California limited liability company,            3.   Unjust Enrichment
     DIANA MANTELLI, GEORGE
23   FIORI, LISA SALISBURY, ALLEN                          under California law.
     L. THOMAS, CARY WOOD,
24   EDWARD SUSOLIK, and
     FIDELITY NATIONAL TITLE
25   COMPANY, a California                       JURY TRIAL DEMANDED
     corporation,
26

27              Defendants.
28

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1                                       COMPLAINT
2    I.     JURISDICTION
3           1.   The subject matter jurisdiction of this Court is conferred and
4    invoked pursuant to 28 U.S.C. §1331, and the Racketeer Influenced and
5    Corrupt Organizations Act ("RICO") 18 U.S.C. § 1961 et seq. (specifically 18
6    U.S.C. § 1964(c)).
7           2.   The aggregated amount in controversy exceeds One Million
8    Dollars ($1,000,000), exclusive of interest and costs.
9           3.   There is jurisdiction over Plaintiffs’ unjust enrichment claim
10   under California common law pursuant to 28 U.S.C. § 1367
11   II.    VENUE AND PERSONAL JURISDICTION
12          4.   Plaintiffs incorporate by reference all preceding paragraphs.
13          5.   Venue is proper in this judicial district under 18 U.S.C. § 1965(a)
14   and 28 U.S.C. § 1391(a), (b) and (c). A substantial part of the events and
15   omissions giving rise to this action occurred in the Central District of
16   California. Most of the parties reside or do business or both in this district.
17          6.   The Central District of California is also the appropriate venue
18   in that the main underlying lawsuit involved, Chodosh v. PBPA, OCSC #30-
19   2010-00423544 (Nov. 2010, appeal, G053798, Op. 12/17/18) and related
20   actions described herein, (Exhibit Z hereto) were brought in the Orange
21   County Superior Court for California situated within this District. Also,
22   Plaintiffs brought a related prior federal action in this District.
23   III.   PREFACE AND NATURE OF ACTION
24          7.   Plaintiffs incorporate by reference all preceding paragraphs.
25          8.   Plaintiffs Floyd Chodosh, Sue Eicherly, Ole Haugen, Myrle
26   Moore, Rodger Kane Jr. and Todd Peterson bring this complaint
27   (“Complaint”) against Defendants for claims based upon personal
28   knowledge of facts, documents and events, and as to other matters upon

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1    information and belief following their own and their counsel’s investigation.
2    Plaintiffs state and allege as follows:
3         9.    In this Complaint, Plaintiffs describe, allege, and demonstrate
4    that the Defendants and non-defendant co-conspirators engage and conspire
5    in predicate crimes to carry out a pattern of judge crime racketeering that
6    violates federal and state law and makes for unlawful racketeering activity
7    through an association in fact enterprise under and within the meaning of
8    the Racketeer Influenced and Corrupt Organization Act, 18 U.S.C. §1961 et
9    seq. (“RICO”).
10        10.   Plaintiffs homes and those of another 112 seniors were in the
11   “resident owned” senior (55+) Palm Beach Mobilehome Park, situated on a
12   prime Pacific Ocean front parcel in San Clemente, California (the “Park”).
13   (Exhibit “A”, Exhibits A – Z attached; Table of Contents at end of Complaint)
14        11.   The seniors had a homeowners’ association (“HOA”) the Palm
15   Beach Park Association (“PBPA”), which operated and managed the Park.
16   Each senior was a PBPA member and had a lease for a Park space.
17        12.   The ocean front Park was the prize, the racketeering enterprise’s
18   financial objective. The Board President, Directors and attorneys lured,
19   misled and betrayed the HOA seniors into voting to sell the Park to the
20   President’s undisclosed affiliates at a very low price.
21        13.   Plaintiffs tried to stop the sale, but a judge “fixed” the case,
22   enabling the taking of seniors’ homes and millions in real estate equity. The
23   wrongdoer Defendants, by a judge they bribed to fix the sale, acquired the
24   rare coastal parcel at millions of dollars less than its market value.
25        14.   The sale stole the seniors’ real estate equity in their Park and
26   homes. The racketeering enterprise injured Plaintiffs by carrying out HOA
27   taking of their homes without compensation. In addition, the wrongdoers
28   embezzled millions of the seniors’ HOA cash.

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1         15.    California ethics law and the judge handbook state: “fixing is the
2    quintessential bad act of a judge.”       Judge misconduct that “fixes” a case
3    abuses the victims, offends justice, and undermines public confidence in the
4    courts.    In this case, court documents and judicial admissions prove the
5    judge “fix” (Exhibits B - G).
6         16.    The “fix” was done in the new case Plaintiffs filed in 2015 to
7    enjoin the Park sale, Haugen v. PBPA. The new case was assigned to the
8    judge on their main case, Chodosh v. PBPA, filed in 2010. Knowing the
9    judge was biased against them, Plaintiffs made peremptory challenge to
10   disqualify. The presiding judge removed him and appointed a new judge.
11        17.    Weeks later, Plaintiffs applied for a temporary restraining order
12   (“TRO”) to halt the fiduciary fraudulent Park real estate sale. The new
13   judge was not in court.      The new judge’s clerk sent the parties to the
14   disqualified judge’s court. He was not there. From vacation, he called in to
15   order the TRO postponed to a later date in his court.
16        18.    Then the vacationing and disqualified judge decreed an order re-
17   qualifying himself back on to the case. Four (4) hours later, the fraudulent
18   Park sale closed by recorded deed.
19        19.    A disqualified judge cannot “self-re-qualify.” A person, whether
20   disqualified as juror, athlete, contestant, competitor, team member or
21   otherwise, knows he or she cannot reverse the disqualification, i.e. “self-re-
22   qualify” and put himself or herself back in the position or on the team.
23        20.    The wrongdoer judge concocted “self-re-qualification” as the
24   device to “fix” the case so he could enable the fiduciary fraudulent sale that
25   stole millions from the seniors.
26        21.    Court documents reflect the disqualified judge’s misconduct and
27   judge crime with his phony “self-re-qualification.” (Exhibits B, C, D and E)
28   The “fix” is proven by sequential court documents, altered and backdated

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1    pleadings, case docket with out of order entries, and the Judge’s affidavit.
2          22.   The Park-Buyer Defendants had to have asked the disqualified
3    judge to intervene right when necessary to thwart the TRO. But under oath,
4    the judge denied ex parte communication caused him to “call in” right on
5    time to save the sale. (Exhibit E)
6          23.   The judge says he spontaneously called in from vacation, on a
7    case not in his court, on which he had been disqualified, just in time to enter
8    an order continuing the TRO so that the fiduciary fraudulent Park sale
9    would close by recorded deed four (4) hours later. By denying unlawful ex
10   parte contact, Plaintiffs believed the judge committed perjury.
11         24.   Plaintiffs took action against the wrongdoer judge and his “fix.”
12   They fought the fiduciary breaching HOA Board and its self-dealing real
13   estate broker president and her accomplices in the fiduciary fraudulent
14   Park sale. Plaintiffs went after the “fixing” judge, complaining to the
15   presiding judge, the appellate court, the judge commission, the attorney
16   general, and others to secure justice for themselves and fellow seniors.
17         25.   The presiding judge, the appellate court, the judge commission
18   and the attorney general did nothing about the judge “fix”.             They ignored
19   it.   Worse, they wrongly said the fix was proper judge conduct. They
20   empowered judge crime that enabled and caused the fiduciary theft from
21   seniors of their homes and millions in real estate equity and HOA cash,
22   making some elders and veterans homeless.
23         26.   After more than two (2) years on appeal, the main case was
24   remanded back to the same wrongdoer judge. Plaintiffs again filed
25   peremptory challenge. The judge had to recuse “instantly”. But denigrating
26   the law, the judge waited six (6) months to remove himself, making for a
27   second time the judge disobeyed that he was disqualified.
28         27.   The judge perjured himself again. Each month, to receive his

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1    paycheck, the judge had to sign an affidavit, under oath, declaring he was
2    up to date on matters submitted to him for decision. He was not; he had not
3    acted on Plaintiffs’ peremptory challenge. For his paychecks, the judge
4    again committed perjury. (Exhibit C)
5         28.   Before the appeal and then after it, the judge rigged the case
6    against Plaintiffs and perjured himself about it. The sequence of court
7    documents proves the judge wrongdoing. The renewed judge misconduct
8    hurt the elderly Plaintiffs by delaying refunds of illegal HOA loan payments.
9         29.   Plaintiffs are informed and believe, and thereon allege, that the
10   judge engaged in willful judicial misconduct and judge crime in 2019
11   because he suffered no consequences for his quintessential judge bad act
12   “fix” of the Park sale in 2015. The presiding judge, appellate justices, judge
13   commission and California State Attorney General had done nothing to
14   investigate, discipline or prosecute the judge’s “fix” in 2015 that enabled the
15   illicit Park sale. Rather, they allowed and approved it.
16        30.   The “fixing” judge felt entitled to harm and retaliate against
17   Plaintiffs by blatant disregard of disqualification. He knew there would be
18   no inquiry, investigation or question about it.             With assurance of no
19   repercussions, the judge could and was willing to commit the perfect crime.
20        31.   Plaintiffs are informed and believe, and thereon allege, that the
21   judge was part of a racketeering judge crime enterprise (“Enterprise”) where
22   judges and justices, retired judges and justices practicing as “neutrals” (i.e.
23   “private” judges for arbitration or mediation), alternative dispute resolution
24   (“ADR”) vendor companies, attorneys and clients, the judge oversight
25   disciplinary agency Commission on Judicial Performance (“CJP”), and the
26   California attorney general (“AG”) act and conspire to enable judge “fixes”
27   to benefit favored clients and customers, attorneys, and themselves. Hiding
28   behind immunity and secrecy, with judges judging judges, they all disregard

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1    their oaths to law, ethics and the people in order to give the green light to
2    judge crime.
3         32.   For their own advantage or pecuniary gain, the Enterprise
4    participants act and conspire to put in a “fix” for the favored side and its
5    attorneys. In this case, the favored side was the buyer group allied with the
6    self-dealing HOA Board and its President, and their attorneys. They would
7    realize millions with the judge ‘fix” of the fiduciary fraudulent Park sale and
8    HOA fund embezzlement,
9         33.   The judge fix crime vested the Defendant Park Buyers with
10   privilege to make huge illegitimate profits by taking the seniors’ and
11   Plaintiffs’ real estate and HOA cash.              Defendants were licensed to
12   perpetrate barefaced fiduciary fraud, self-dealing, and crime against
13   seniors, all of which the “fixing” judge, the presiding judge, appellate
14   justices, the CJP and AG would act and conspire to ignore and support.
15   They all turned a blind eye to judge crime. (Exhibits G and H)
16        34.   Federal Rule of Civil Procedure 9(b) provides a party must “state
17   with particularity the circumstances that constitute fraud.”                A complaint
18   must “raise a reasonable expectation that discovery will reveal evidence of
19   [the alleged infraction].” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556,
20   127 S. Ct. 1965 (2007)       These standards are met by the facts, events,
21   circumstances, documents and allegations of this Complaint, which by
22   necessity must be and is comprehensive and lengthy.
23        35.   This Complaint is a detailed and documented factual case
24   example of how the judge crime racketeering Enterprise operates to trample
25   and denigrate justice by making sure its victims, at all times, are denied a
26   fair and impartial judge, and instead delivered a bought-off biased judge
27   beholden to the criminal judge Enterprise.
28        36.   Plaintiffs are informed and believe that the Enterprise continues

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1    to injure them, their fellow Park seniors, and other litigants in other cases,
2    by the repugnant practice of empowering the judge “fix” as the perfect crime.
3          37.   Against the Defendants and the non-Defendant co-conspirators,
4    Plaintiffs describe, allege, and expose the following Enterprise, its actors
5    and conspirators, their predicate crimes, the pattern and repetition of RICO
6    violations, and Plaintiffs’ claims and injury.
7    IV.   PARTIES
8          38.   Plaintiffs incorporate by reference all preceding paragraphs.
9          A.    Plaintiffs
10         39.   FLOYD CHODOSH, SUE EICHERLY, OLE HAUGEN, MYRLE
11   MOORE, RODGER KANE, JR. are residents of the State of California,
12   residing in Orange, Riverside and San Bernardino counties. TODD
13   PETERSON is a resident of the State of Arizona.
14         40.   Plaintiffs were homeowners in the resident owned, all senior
15   Palm Beach Mobilehome Park, in San Clemente, California (the “Park”),
16   owned by the homeowners’ association (“HOA”) that operated and held
17   record title to the Park, called the “Palm Beach Park Association” (“PBPA”).
18         B.    Defendants
19         41.   JOHN SAUNDERS, upon information and belief, is a resident
20   with place of business in Orange County, California. He is a principal,
21   manager or controlling person of the LLCs (described below).
22         42.   ROBERT COLDREN, a California licensed attorney, upon
23   information and belief, is resident and has his place of business in Orange
24   County. He is a principal, manager and controlling person of the LLCs and
25   PCP (described below).
26         43.   ICC 35902 LLC is a Delaware limited liability company with
27   office and place of business in Orange County.
28         44.   3187 REDHILL LLC is a Delaware limited liability with office

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1    and place of business in Orange County. (with ICC 35902, the “LLCs”)
2         45.   PACIFIC CURRENT PARTNERS (“PCP”) is a California limited
3    liability company with office in Orange County.
4         46.   EDWARD SUSOLIK, a California licensed attorney, upon
5    information and belief, resides and works in Orange County.
6         47.   DIANA MANTELLI, HOA PBPA President, has her places of
7    residence and work in Orange County.
8         48.   GEORGE       FIORI,     PBPA      Director     and     Treasurer,   upon
9    information and belief, resides and works in Orange County.
10        49.   LISA SALISBURY, a California licensed attorney and real
11   estate broker, upon information and belief, resides and works in Orange
12   County.
13        50.   ALLEN THOMAS, a California licensed attorney, upon
14   information and belief, is a citizen and resident of the State of California,
15   with his residence and place of work in Los Angeles County.
16        51.   CARY WOOD, a California licensed attorney, upon information
17   and belief, resides and works in Los Angeles County.
18        52.   FIDELITY NATIONAL TITLE COMPANY, is a California
19   corporation with places of business in Los Angeles and Orange Counties.
20   V.    NON – PARTY ENTERPRISE CO-CONSPIRATORS
21        53.   Plaintiffs incorporate by reference all preceding paragraphs.
22        A.    Non-Defendant Co-Conspirators in the Enterprise
23        54.   Plaintiffs are informed and believe, and thereon allege, that the
24   Enterprise included taxpayer paid judicial officers, judges and justices, and
25   public officials, aligned and coordinated with the world’s largest ADR
26   company JAMS, Inc., (“JAMS”) and its private judge “neutral” and co-
27   founder, Hon. John K. Trotter (Ret.) who was also the founding and first
28   Presiding Justice of the Orange County Court of Appeal, 1982-1987.

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 1         55.    The judicial officers and public officials, along with JAMS and
 2   its co-founder James K. Trotter, would have or claim immunity or quasi-
 3   immunity and other defenses that would or could shield them from civil
 4   liability.
 5         56.    Naming these co-conspirators Defendants would detract from
 6   Plaintiffs’ RICO litigation objective, which is to recover, from Defendants,
 7   compensation for the financial injury Defendants and co-conspirators
 8   caused to Plaintiffs’ property.
 9         57.    Co-conspirators’ immunity is a key component of their
10   racketeering described and alleged herein and integral to Enterprise
11   function.
12         58.    The non-defendant co-conspirator participants were and are
13   indispensable to the conduct and success of the Enterprise.
14         59.    The Defendants benefitted financially and could not have been
15   successful in the Enterprise without the participation and contributions of
16   the non-defendant co-conspirators.
17         B.     Identity of the Non-Defendant Co-Conspirators
18         60.    JOHN K. (“JACK”) TROTTER (Ret.) co-founded JAMS.                 He
19   retired from the bench where he had served since 1982 as the first and
20   founding Presiding Justice of the Orange County Fourth District, Div. 3
21   Court of Appeal.
22         61.    JAMS is the largest ADR vendor in the world, with headquarters
23   in Orange County, California. Retired justices and judges started JAMS in
24   1982 and expanded it rapidly by recruiting retired judges and justices,
25   initially mostly from Orange County. JAMS has offices and facilities in Los
26   Angeles County and other locations around the USA and globe.
27         62.    NANCY WIEBEN STOCK (Ret.), was Plaintiffs’ original trial
28   judge in Chodosh v. PBPA. Judge Stock (Ret.) is private judge, a JAMS

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 1   “neutral.” She joined JAMS in early 2014.
 2        63.   GAIL A. ANDLER (Ret.) was the judge appointed to replace
 3   Judge Moss in the case Haugen v. PBPA under Judge Margines’
 4   disqualification order (11/30/15; Exh. B). Judge Andler (Ret.) is a private
 5   judge, a JAMS “neutral.” She joined JAMS in 2017.
 6        64.   ROBERT J. MOSS is an Orange County Superior Court Judge
 7   and was the trial judge in the main case, Chodosh v. PBPA, and disqualified
 8   judge in Haugen v. PBPA, where he wrongfully ousted Judge Andler.
 9        65.   CHARLES MARGINES is an Orange County Superior Court
10   Judge. He was the Presiding or supervising Judge when he disqualified
11   Judge Moss in the Park sale case (Haugen v. PBPA) on November 30, 2015.
12   (Exhibit B).
13        66.   KATHLEEN O’LEARY is the Presiding Justice of the California
14   Court of Appeal, Fourth District, Division 3, at its Orange County
15   courthouse. She entered rulings in Plaintiffs’ appeals.
16        67.   WILLIAM BEDSWORTH is an Associate Justice in the Fourth
17   District Court of Appeal, Division 3, at its Orange County courthouse. He
18   entered rulings in Plaintiffs’ appeals and wrote the opinion for appeal of the
19   main case Chodosh v. PBPA. (G053798, 12/17/18)
20        68.   The COMMISSION ON JUDICIAL PERFORMANCE(“CJP”) is
21   an agency of the California judiciary, Cal. Const. Art. VI, §8, with
22   headquarters in San Francisco.
23        69.   GREGORY DRESSER is CJP Director and Chief Counsel.
24        70.   VICTORIA HENLEY is former CJP Director and Chief Counsel,
25   in charge of CJP in and before April 2016. She retired at end of 2017.
26        71.   XAVIER BECERRA, the California Attorney General, (“AG
27   Becerra”), since 2017, has worked in Sacramento at the Office of the
28   Attorney General in the California Department of Justice.

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 1         72.   Senator KAMALA HARRIS was the thirty-second California
 2   Attorney General in charge of the Office of the Attorney General in the
 3   California Department of Justice from 2011 to 2017.                  Xavier Becerra
 4   succeeded her in January 2017.
 5         73.   Plaintiffs are informed and believe, and thereon allege, that
 6   other persons, known and unknown, may have participated or conspired in
 7   the violations and wrongful conduct alleged herein and in furtherance of the
 8   conspiracy and Enterprise described herein, and following discovery, may
 9   be added as defendants or conspirators in this action.
10         C.    Non-Defendant HOA Palm Beach Park Association
11         74.   The seniors’ HOA PBPA, held the seniors’ title to the resident
12   owned Park in trust. An HOA is a fiduciary for its members.
13         75.   PBPA is and was a non-profit mutual benefit corporation owned
14   by the seniors. Breaching their fiduciary duties, the HOA President and
15   Director and the HOA attorney Defendants wrongfully operated PBPA in
16   and for the benefit of the Enterprise and themselves.
17         76.   Although part of the alleged association-in-fact Enterprise,
18   PBPA itself is not named as a Defendant or as a non-defendant co-
19   conspirator because it is non-profit corporation that Defendants wrongly use
20   in their Enterprise illegitimate endeavors.
21   VI.   BACKGROUND FACTS
22         77.   Plaintiffs incorporate by reference all preceding paragraphs.
23         A.    The Palm Beach Mobilehome Park
24         78.   Plaintiffs lived in their seniors only (+55) mobilehome park, the
25   “Palm Beach Mobilehome Park”, operated by a homeowners’ association in
26   which they and other residents were members, the “Palm Beach Park
27   Association” (“PBPA”).
28         79.   In 2010 litigation ensued over the HOA and Park conversion to

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 1   “resident owned park” (an “ROP”; Calif. Civil Code §799(c); Business & Prof.
 2   Code §11010.8) by which the HOA members became “resident owners”.
 3   Unfortunately, the ROP leases, loans and other transactions were done all
 4   wrong, violating HOA, real estate, securities, subdivision and other laws.
 5         80.   In May 2013, in the main case Chodosh, et al. v. PBPA, (filed
 6   2010), before Judge Nancy Wieben Stock, Plaintiffs prevailed in a phase I
 7   trial. Judge Stock found there was an “illegal loan from an illegal lender.”
 8   (Transcript Ph. I Ruling, May 21, 2013, pg. 17, line 17)
 9         81.   In the PBPA unlawful detainer action that started the Park
10   litigation, PBPA tried to evict Plaintiff Eicherly for non-payment of rent and
11   HOA loan. (PBPA v. Eicherly, [2010], Exhibit Z) Judge Stock ruled the
12   PBPA “membership and lease, . . . constitute real property.” (Minute Order,
13   11/18/11, pg. 2)
14        82.    Judge Stock also held as unlawful the PBPA tactic of seizing
15   seniors’ homes without legal process, stating that PBPA “had attempted an
16   illegal strict foreclosure”. (Ibid.) It was unlawful strict foreclosure for PBPA,
17   by and through mere Board mere vote, to terminate HOA membership and
18   take a senior’s home, as President Mantelli stated, “for nothing.”
19        83.    Apart from losing in court, PBPA became subject to California
20   Department of Business Oversight (“DBO”) consent decree that forbade sale
21   of homes in the Park because PBPA lacked the required securities permit
22   for its ROP memberships. (Exhibit J)
23        B.     The JAMS Mediation with Justice Trotter (Ret.)
24        84.    At PBPA request, having seen JAMS’ website about its ADR
25   services, Plaintiffs attended mediation at JAMS with Justice Trotter (Ret.)
26   PBPA paid for the mediation. A $4,750,000 cash settlement was reached,
27   but PBPA did not have the money.
28        85.    At Judge Stock’s direction, Plaintiffs returned to mediation at

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 1   JAMS with Justice Trotter (Ret.) He joined JAMS in 1987 after serving as
 2   first presiding justice of the Orange County Court of Appeal since 1982. He
 3   promoted JAMS’ business of selling ADR services, and recruited Orange
 4   County judges and justices to join JAMS.
 5        86.   At the first mediation Justice Trotter told Plaintiffs that he
 6   personally knew “Judge Nancy.” At the second “mediation” he conveyed a
 7   new PBPA offer to settle and buy Plaintiffs’ homes in the Park, not for cash,
 8   but for small down payments and large promissory notes. Plaintiffs refused
 9   the “promise to pay.” Justice Trotter directed Plaintiffs and the HOA Board
10   President and Directors to meet alone in a room without lawyers.
11        C.    Attempted Extortion; Judge Stock Goes to JAMS
12        87.   Alone in a conference room with the Board President and
13   Directors, Plaintiffs still refused the HOA offer of its promise to pay. PBPA
14   President Mantelli summoned Justice Trotter. He threatened and told
15   Plaintiffs that the HOA “settlement was a ‘gift’ and that he would personally
16   tell 'Judge Nancy' that Plaintiffs refused to settle . . . and were the reason
17   why settlement was not reached.” Plaintiffs still refused.
18        88.   A month later, back in court, in December 2013, trial Judge
19   Stock reversed her prior position and went against Plaintiffs.              Then,
20   abruptly, in January 2014, Judge Stock retired and went to JAMS.
21        D.    After JAMS, Plaintiffs Always Lose in Court
22        89.   Plaintiffs were victorious at the Phase I trial in May 2013. In
23   PBPA unlawful detainer actions Judge Stock affirmed Plaintiffs’ real
24   property rights. HOA PBPA’s wrongdoing was factually established and
25   readily demonstrable as violating homeowner association, real estate,
26   securities, lending, and other laws; PBPA transactions were illegal.
27        90.   But after refusing Justice Trotter’s dictated HOA no money
28   settlement in November 2013, and his promise and threat to malign them

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 1   to their trial judge Hon. Nancy Wieben Stock (Ret.), Plaintiffs consistently
 2   lost in court on wrongful decisions that were contrary to fact and law.
 3         91.   Starting in 2014, new trial Judge Robert Moss routinely ruled
 4   against Plaintiffs and the law and facts. He engaged in willful judicial
 5   misconduct by intentionally disregarding the law to cause Plaintiffs to lose
 6   their cases.
 7         92.   Judge Moss reversed Judge Stock, declaring that Plaintiffs had
 8   no “real property interest consisting of their PBPA membership and
 9   membership lease.” (Chodosh v. PBPA, Ph. II ruling, J. Moss, 10/3/14, pg. 2)
10   Judge Moss permitted the HOA to take a senior’s home with only a Board
11   of Directors vote; he permitted illegal strict foreclosure.
12         E.    Plaintiffs Sue JAMS and Justice Trotter
13         93.   After   Judge     Stock     retired to      JAMS      and    Judge   Moss
14   unswervingly ruling against them, Plaintiffs feared Justice Trotter (Ret.),
15   true to his word with his promise and threat at the “mediation,” had
16   maligned them to Judge Stock and the Orange County judges. Plaintiffs
17   were terrified that Justice Trotter had sent the message to Judge Moss that
18   Plaintiffs, for having defied Justice Trotter and JAMS, were to be made to
19   lose in court.
20         94.   In May 2014, Plaintiffs sued JAMS and Justice Trotter (Ret.) for
21   mediator misconduct, Chodosh v. JAMS and John K. Trotter, D070952,
22   D070953 (4th DCA, Div. 1, 9/17/17) When the case reached appeal, the
23   Orange County justices refused to recuse. But then the California Supreme
24   Court transferred the appeal to Division 1 in San Diego.
25         95.   The trial and appellate courts ruled that Justice Trotter’s
26   promise and threat to malign Plaintiffs to their trial judge by ex parte
27   contact, although “discouraged,” was permissible and protected mediator
28   conduct. (Op. at 19; see Evid. Code §1121 leg. comments)

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 1        96.   In their 2014 lawsuit against JAMS, Plaintiffs had not alleged
 2   that Justice Trotter or JAMS had actually communicated with Judge Stock
 3   or that Justice Trotter had done what he promised and threatened.
 4        97.   After Division 1 issued its opinion September 2017, Plaintiffs
 5   were informed of evidence that between September – November 2013, JAMS
 6   and Justice Trotter had arranged for Judge Stock to join JAMS.
 7        98.   With new evidence, Plaintiffs concluded that in late 2013 it was
 8   highly probable and near certain that Justice Trotter had communicated ex
 9   parte to besmirch them to their trial judge Hon. Nancy Wieben Stock.
10        99.   Plaintiffs concluded that Justice Trotter had made good on his
11   promise and threat to interfere in Plaintiffs’ case by ex parte communication
12   to the trial judge; that he had maligned and sullied Plaintiffs to their trial
13   judge before he gave her a JAMS job, and had contacted other judges.
14        100. Starting 2014, other judges and justices, the non-defendant co-
15   conspirators herein, joined Judge Moss to wrongly rule against Plaintiffs or
16   not take required action for them, causing Plaintiffs to lose in both the trial
17   and appellate courts in Orange County.
18        F.    HOA President Self-Dealing and Fraud to Sell Park
19        101. During the same 2013 – 2014 time-frame as the JAMS
20   “mediation,” Defendant Diana Mantelli, the HOA President, a real estate
21   broker, conspired to have the HOA sell the coastal mobilehome Park at
22   millions below its market value to her undisclosed affiliate, comprised of
23   Defendants Saunders and Coldren and their companies.
24        102. Judge Moss supported Mantelli and bolstered the Enterprise by
25   declaring in court that HOA President Mantelli was “credible.” He boosted
26   her before the HOA member spectators, helping her to deceive them about
27   her concealed fiduciary fraud and self-dealing. Among other things, Judge
28   Moss knew that, on Mantelli’s watch, $1,000,000 HOA reserves went

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 1   missing and HOA financials had ceased to be available to members.
 2        103. Mantelli and the HOA attorneys purposefully did not pursue
 3   proper legal action for the HOA and its members. Instead of solving and
 4   settling the problems so the seniors could keep and enjoy their Park and
 5   homes, Mantelli and the Defendant HOA lawyers acted to place the Park in
 6   peril and panic.
 7        104. In January 2014 Mantelli had the members vote to approve an
 8   HOA assessment increase of $400 per month to pay for Defendant HOA
 9   attorney Thomas’ legal fees. (Exhibit K) PBPA securities violations (lack of
10   permit to sell ROP memberships) resulted in DBO consent decree that
11   halted home sales in the Park. (Exhibit J)
12        105. Mantelli orchestrated higher HOA dues and inability to sell
13   homes to pressure the seniors. Higher dues and prohibited home sales
14   would be Mantelli’s leverage to position and posture the sale of the Park as
15   the only solution for the HOA and its members.
16        106. Since 2013, Mantelli and the HOA attorneys had recurring
17   opportunity to settle the litigation at costs far lower than the HOA legal fees
18   (Exhibit O), but deliberately refused to pursue the resolution opportunities
19   and did not disclose them to the members.
20        107. In 2013, while the case was before Judge Stock, on the record,
21   Plaintiffs offered to settle by selling their homes to the Park for $4,000,000.
22   The Park could have re-sold the homes to recoup most of the $4,000,000, for
23   a “net” settlement cost that would have been a fraction of the millions the
24   HOA paid for attorneys’ fees. President Mantelli and the HOA attorneys did
25   not pursue or disclose the settlement offer to the HOA members.
26        108. PBPA could have rectified its securities violations by obtaining
27   a securities permit.    (Exhibit J) PBPA could have asserted claims and
28   defenses against lender Thrivent, making the 2018 balloon payment a non-

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 1   factor in any HOA decision to sell the Park. Instead, the HOA allowed the
 2   lender violations to go unanswered, ultimately paying Thrivent a six-figure
 3   pre-payment fee to sell the Park in the fiduciary fraudulent sale. (Exh. L)
 4        109. Mantelli’s and the attorney Defendants’ self-serving objective,
 5   the key to the Enterprise, was to take the Park from the seniors at price
 6   millions of dollars below market value and use proceeds for big legal fees.
 7   They breached their fiduciary duties to address Park problems for the good
 8   of the seniors and the goal of keeping the Park. They were conflicted, as
 9   Defendants’ fiduciary duties clashed with their self-dealing to steal the Park
10   real estate and its value for themselves.
11        110. Plaintiffs are informed and believe, and thereon allege, starting
12   in early 2013, that Mantelli, Saunders and Coldren acted and conspired to
13   take the Park from the seniors. Mantelli did not tell the HOA seniors about
14   the Saunders and Coldren Park sale until May 2015. (Exhibit L)
15        111. On and around May 9, 2015, she and Saunders and HOA
16   attorneys pitched the sale to the members. (Exhibit L) They said the sale
17   was the only option. They blamed the Plaintiffs. In truth, PBPA could have
18   resolved the Park’s problems easily and economically. Honest and faithful
19   HOA Board and attorneys would have kept the Park for the HOA seniors.
20        112. As a real estate broker, Mantelli was aware she had fiduciary
21   duty as broker and HOA President to market and list the Park for sale in a
22   commercially reasonable manner. She had to solicit and procure competing
23   offers, and have a current appraisal. As fiduciary she had to sell the asset
24   for the best possible price.
25        113. Breaching her duties and self-dealing, Mantelli directed the sale
26   of the Park to her accomplices. She rigged a fiduciary fraudulent real estate
27   sale for millions below market. She schemed on it for two and a half years
28   before telling the members about the sale, while concealing a higher, cash,

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 1   no-broker commission offer that, as Board President, she had received from
 2   Hometown America. (Exhibit M)
 3        114. Real Estate Broker Mantelli knew her duty to disclose personal
 4   connections and expected post-closing benefits with and from the Park-
 5   buyer Defendants Saunders and Coldren. Mantelli also knew that she had
 6   to disclose to the HOA members any competing offer made for the Park,
 7   especially a cash offer at a higher price, (Exhibit M).
 8        115. When members asked, she denied she knew the buyer, or that
 9   she would personally benefit from the sale. She concealed her relationship
10   with the buyer and that the rigged sale included a six figure broker
11   commission.
12        116. The Board received an unsolicited competing cash offer from
13   Hometown America. It had a higher price and no broker commission. It
14   would have put about $20,000 more into the pocket of each HOA member.
15   (Exhibit M) President Mantelli, the Defendant PBPA Directors Fiori and
16   Smith, and the HOA attorney Defendants Thomas and Wood and Salisbury,
17   did not disclose the better offer to the HOA members.
18        117. HOA bylaws required membership vote for the Park sale. There
19   was no independent election inspector. Mantelli oversaw the balloting and
20   announced the members had voted to approve the sale.
21        G.    The Haugen v. PBPA case for TRO to Stop the Park Sale
22        118. On November 12, 2015, Plaintiff Ole Haugen filed a lawsuit to
23   stop the fiduciary fraudulent, self-dealing sale of the Park. Haugen v. PBPA,
24   OCSC #30-2015- 00919837. (Exhibit B)
25        119. Haugen v. PBPA threw a wrench in the Enterprise plan to
26   acquire the Park at millions under value.            Plaintiffs are informed and
27   believe, and thereon allege, that the Haugen lawsuit clouded title, causing
28   Defendant Fidelity National Title Company to suspend title insurance

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 1   underwriting.
 2        120. As a related case, Haugen v. PBPA was assigned to the main case
 3   (Chodosh v. PBPA) trial judge Robert J. Moss, who had routinely
 4   intentionally disregarded the law to wrongly rule against Plaintiffs.
 5        121. Mr. Haugen filed a Calif. Code of Civil Procedure §170.6
 6   peremptory challenge to disqualify Judge Moss. On November 30, 2015,
 7   Supervising Judge Charles Margines granted the disqualification, removing
 8   Judge Moss and re-assigning Haugen v. PBPA to judge Hon. Gail A. Andler.
 9   (Exhibit B)
10        H.       Application for TRO to Stop Park Sale
11        122. In early December, 2015, Plaintiffs learned that HOA President
12   Mantelli, Saunders, Coldren and their accomplices planned to close the
13   fraudulent Park sale on Tuesday, December 22, 2015.
14        123. On Monday, December 21, 2015, Plaintiff Haugen filed ex parte
15   (Exh. B) for a temporary restraining order (“TRO”) to stop the fiduciary
16   fraudulent Park sale. The ex parte hearing was set for the next day before
17   Judge Andler.
18        124. The morning of Dec. 22, 2015 Judge Andler did not take the
19   bench. Her clerk directed the parties to go to Judge Moss’ courtroom.
20        125. Judge Moss was not in his courtroom; he had announced that he
21   would be on vacation. (Exhibit B) Disqualified Judge Moss had been
22   disqualified; he had no power to act in Haugen v. PBPA.                      He had
23   acknowledged his disqualification on the record. (Exhibit B)
24        126. But that morning, December 22, 2015, Judge Moss suddenly
25   called in to his clerk to make and issue orders in the case. Disqualified
26   Judge Moss first entered, promptly at the 9:00 a.m. TRO hearing time, an
27   order to delay the hearing to a later date in his courtroom. (Exh. B)
28        127. At 9:29 a.m. Judge Moss entered an order “self-re-qualifying”

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 1   himself back on to Haugen v. PBPA. He purported to overrule and strike the
 2   Presiding Judge’s order disqualifying him. (Exhibit B)
 3        128. That afternoon, Tuesday, Dec. 22, 2015, at 1:18 p.m., four (4)
 4   hours after disqualified Judge Moss called in from vacation at 9:00 a.m. to
 5   thwart the TRO, the Park sale transaction deed recorded. (Exhibit B) HOA
 6   PBPA President Defendant Mantelli signed the deed.
 7        129. Disqualified and vacationing Judge Moss had called in right on
 8   time to delay the TRO, “self-re-qualify,” and intervene to save and enable
 9   the scheduled give-away sale of the Park.
10        I.    “Self-Re-Qualification” and “Fix” – Offense to Justice
11        130. Presiding Judge Margines ordered Judge Moss disqualified on
12   November 30, 2015. (Exhibit B) The next day, Judge Moss acknowledged
13   and admitted: “I don’t have jurisdiction if they file a §170.6” That day,
14   December 1, 2015, PBPA attorney Defendant Wood filed, for hearing by
15   Judge Andler, what he entitled an “Objection” to the Code of Civil Procedure
16   §170.6 disqualification of Judge Moss. (Exhibit B)
17        131. There is no such thing as a trial court “objection” to a §170.6
18   peremptory challenge. A §170.6 disqualification order can be contested only
19   by writ of mandate to the appellate court.              (Code of Civil Procedure
20   §170.3(d), People v. Hull (1991) 1 Cal. 4th 266, 267)
21        132. Judge Moss made the objection the purported legal basis for his
22   “self-re-qualification.” There were no legal grounds for it. There was no
23   way Judge Moss could self-re-qualify.
24        133. Section 170.6 disqualification is a central due process
25   component.     Opining in Hemingway v. Superior Court (2004) 122
26   Cal.App.4th 1148, 1159, Presiding Justice O’Leary emphasized: “The right
27   to exercise a peremptory challenge under section 170.6 is a substantial right
28   and an important part of California's system of due process that promotes

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 1   fair and impartial trials and confidence in the judiciary. (citation omitted)
 2   Courts must refrain from any tactic or maneuver that has the practical
 3   effect of diminishing this important right.”
 4        134. Judge Moss’ trampling his §170.6 disqualification defiled
 5   California law and due process.           There is no judge misconduct more
 6   egregious than defying disqualification in order to “fix” a case. There is no
 7   judge wrongdoing more serious than the “fix,” which the judge handbook
 8   and CJP badge the “quintessential” judge bad act.
 9        135. Judge Moss engaged in the worst willful judicial misconduct. He
10   committed crime from the bench to “fix” the case for Defendants.
11        J.    Loan More than Purchase Price; HOA Funds Gone
12        136. With the Park sale, Defendants stole millions in Park seniors’
13   real estate equity. The deceitful Park purchase was a devastating fraud on
14   the elders, and an incredibly and criminally too-good to be true deal for the
15   Park-buyer Defendants.
16        137. Defendants bought the Park for better than no money down.
17   They secured greater than 100% financing; a real estate loan that paid the
18   purchase price and gave them over $1,000,000 for pocket money!
19        138. The $37,000,000 purchase price, based on a two (2) year old
20   appraisal, was discounted for “free rent” and a $2,000,000 credit to litigate
21   and settle with Plaintiffs. The final price of $34,395,200, was more than a
22   million dollars less than the $35,797,500 purchase money loan.
23        139. The over 100% loan to value financing allowed buyers to pocket
24   about $1,000,000 at closing. The sale price was about $2,000,000 below the
25   competing Hometown America offer that Defendants concealed from the
26   HOA members. (Exhibit M)
27        140. After closing, President Mantelli and the PBPA Directors and
28   attorney defendants impounded $1,000,000 as reserves. PBPA has never

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 1   accounted to the members for the impound or the sale proceeds. PBPA
 2   annual financials stopped in 2013. Since 2015, President Mantelli and the
 3   directors have withheld HOA financial information.
 4        141. Further discount from the sale price was made by a $2,000,000
 5   “credit” for Plaintiffs’ litigation. After the sale Saunders was to indemnify
 6   PBPA and pay its attorneys’ fees to litigate against Plaintiffs, and to use the
 7   credit to settle with Plaintiffs. There was no settlement. Shifting the
 8   burden from Saunders to the seniors, Mantelli had PBPA pay legal fees from
 9   the $1,000,000 reserve she held back from the seniors.
10        K.    Plaintiffs Discover and Declare Judge Moss “Fix”
11        142. Judge Moss concealed his “self-re-qualification” by not serving
12   his first self-re-qualification order, falsifying court filed documents and
13   doctoring the docket by entries out of chronological order (Exhibits C, D).
14        143. Judge Moss’ clerk did not serve the first “self-re-qualification”
15   order on 12/22/15. The next day, 12/23/15, the clerk entered and did serve
16   a second “self-re-qualification” order. The second order was vague and
17   misleading. Judge Moss had realized his first order precisely showed willful
18   judicial misconduct. He tried to cover it up with a second, vague order.
19        144. Despite Judge Moss’ cover up, in 2016 Plaintiffs discovered his
20   “call in” from vacation and facts and documents for the fix of the Park sale.
21        145. After discerning the facts of Judge Moss’ wrongdoing and the
22   sequential court documents that prove it, Plaintiffs stated, and their counsel
23   declared in pleadings and open court, that disqualified and vacationing
24   Judge Moss “fixed” the Park sale when he called in to halt the TRO.
25        146. In July 2018, PBPA attorneys asked that the Orange County
26   Appellate Court hold Plaintiffs’ counsel in criminal contempt for his
27   accusation that Judge Moss had “fixed” the Park sale and for statements
28   directed to the appellate justices. (G053798 Dkt. 7/17/18)

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 1        147. The appellate court did not hold Plaintiffs’ counsel in contempt
 2   for his statement that Judge Moss “fixed” the case. (Op. 20) There could be
 3   no contempt because it was true, Judge Moss had “fixed” the case.
 4        L.    Park Buyer Defendants Request Judge Moss “Fix”
 5        148. Plaintiffs are informed and believe and thereon allege that the
 6   Defendant Park buyers’ attorney Defendant Susolik caused to be
 7   communicated ex parte, in Dec. 21-22, 2015, to Judge Moss, or arranged or
 8   coordinated or learned of such ex parte communication, the request that
 9   disqualified Judge Moss call in from his vacation to thwart Plaintiff
10   Haugen’s TRO to ensure Susolik’s client Saunders and his co-defendant
11   Park buyers Coldren, the LLC’s and PCP would be able to close the illicit,
12   lucrative Park purchase from the defrauded HOA and its deceived members.
13        149. In March 2016, Plaintiffs accused buyer Defendants Saunders
14   and Coldren and their LLCs and attorneys Coldren and Susolik and
15   Salisbury and title company Fidelity of making or knowing about the Judge
16   Moss “fix,” thereby engaging in conspiracy to obstruct justice in violation of
17   Calif. Penal Code §182(a)(5) They did not deny it. (Exhibit I)
18        150. At the Dec. 28, 2015 TRO hearing before Judge Moss, Wood and
19   Thomas and Judge Moss all knew that the sale had closed, but that
20   Plaintiffs’ counsel did not know it had closed. They did not give notice before
21   or at the Dec. 28 hearing that the TRO hearing was moot because of the
22   already closed Park sale.
23        M.    Writ to Court of Appeal to Overturn the “Fix”
24        151. Plaintiffs contested Judge Moss’ “fix” of the Park sale with a
25   motion to disqualify Judge Moss, which he denied, and then by a writ of
26   appeal to the Orange County Court of Appeal.
27        152. Non-Defendant co-conspirators Presiding Justice O’Leary and
28   Associate Justice Bedsworth denied the writ and upheld Judge Moss’ fix of

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 1   the Park sale. (Writ, G053512, Dkt. 5/26/16) Justice O’Leary bypassed her
 2   admonition in Hemingway, supra, 122 Cal.App.4th at 1159 that: “Courts
 3   must refrain from any tactic or maneuver that has the practical effect of
 4   diminishing this important right [§170.6].” Judge Moss’ “fix” was such
 5   “tactic and maneuver.”
 6        N.      Objection to Orange County Appellate Justices
 7        153. Four (4) months after the December 22, 2015 Park sale and
 8   conclusion of trial, in April 2016 Judge Moss entered judgment against
 9   Plaintiffs in the main case Chodosh v. PBPA.
10        154. Plaintiffs appealed Judge Moss’ judgment, and protested, by
11   motions to disqualify, that Orange County Court of Appeal justices could
12   not hear their appeal because Plaintiffs had sued JAMS and Justice Trotter,
13   with which the justices had personal and pecuniary actual or potential
14   contacts and entanglements.
15        155. JAMS      and     Justice    Trotter     opposed     Plaintiffs’   objection
16   advocating that the Orange County justices should not recuse. (D070952,
17   Dkt. 7/22/16) The Orange County appellate court justices complied with
18   JAMS’ request to not recuse.          However, the California Supreme Court
19   transferred Chodosh v. JAMS to Div. 1, the San Diego appellate court.
20        O.      Plaintiffs sue Judges and Justices in Section 1983 action
21        156. In December 2016 Plaintiffs sued Judge Moss and other
22   defendants in a section 1983 action, Sue Eicherly, Floyd Chodosh, et al., v.
23   Kathleen O’Leary, Presiding Justice, Court of Appeal, Fourth District, Div.
24   3; William Bedsworth, Div. 3 Associate Justice, Robert Moss, Charles
25   Margines, Superior Court Judges, Mantelli, Saunders, et al., (D.C. No. 8:16-
26   cv-02233 - CJC-KES)(filed 12/9/16; dismissal on Rooker-Feldman upheld,
27   Ninth Circuit No. 17-55446, dismissal reversed to be “without prejudice,”
28   01/03/18).

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 1        157. Plaintiffs alleged that the judicial officer defendants had acted
 2   and conspired to allow the Judge Moss “fix” of the Park sale by flouting
 3   §170.6.    On Rooker-Feldman doctrine, the case was dismissed without
 4   prejudice, leaving open and viable Plaintiffs’ claims against Judges Moss
 5   and Margines and Justices O’Leary and Bedsworth.
 6        P.    Justices O’Leary and Bedsworth Refuse to Recuse
 7        158. Between 2016 – 2019, Plaintiffs repeatedly brought motions to
 8   disqualify the Orange County justices, based on their connections with
 9   Justice Trotter and JAMS. Plaintiffs requested that Presiding Justice O’
10   Leary and Justice Bedsworth not act in the appeal since Plaintiffs’ had sued
11   them in federal court. (Motions to disqualify, Chodosh v. JAMS, G [became:
12   D070952], Dkt. 7/8/16, 7/25/16, 8/25/19; Chodosh v. PBPA, G053798, Dkt.
13   5/3/18, 7/6/18, 1/2/19, 1/8/19); Eicherly v. PBPA, G052396, Dkt. 12/8/16,
14   1/11/17) Moreover, the justices had to recuse because Plaintiffs’ federal
15   claims against Justices O’Leary and Bedsworth remained open and viable.
16        159. They did not recuse over Plaintiffs’ lawsuit against JAMS and
17   Justice Trotter. They knew the first presiding justice of their court and
18   JAMS principal was prime source for their future retirement income. They
19   were on first name basis with Justice Trotter. He called Presiding Justice
20   O’Leary “KO” and she called him “Jack.”
21        160. Justices O’Leary and Bedsworth created the appearance of
22   impropriety of justices sitting on an appeal where the appellants sued their
23   court’s first presiding justice and the ADR company to which the majority
24   of retired justices from their court had gone to work after leaving the bench.
25        161. Justices O’Leary and Bedsworth ignored Plaintiffs’ federal
26   lawsuit. They did not recuse. They created the appearance of impropriety
27   where justices sit on the appeal of parties and their lawyer that have sued
28   the justices in federal court.

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 1        162. There is an appearance of impropriety when a justice empanels
 2   himself or herself on an appeal where the appellants and their attorney sued
 3   the justice. Justices O’Leary and Bedsworth deliberately and wrongly put
 4   themselves on Plaintiffs’ appeal after Plaintiffs sued them. Then, as would
 5   be expected, they ruled against Plaintiffs.
 6        163. Justices O’Leary and Bedsworth had to recuse.                     But for the
 7   Enterprise to be in position to injure Plaintiffs, they wrongly appointed and
 8   empaneled themselves to Plaintiffs’ appeals.
 9        Q.    Orange County Justices Wrongly Rule Against Plaintiffs
10        164. Presiding Justice O’Leary disrupted Plaintiffs’ lawful right to
11   obtain testimony from Judge Moss. As soon as it was docketed, she denied
12   Plaintiffs’ motion to take Judge Moss’ deposition, violating Court Rule
13   8.54(b)(1) that mandated no decision until after fifteen days, the deadline
14   for motion opposition. (G053798, Dkt. 4/3/18)
15        165. Judge Moss’ April 2016 judgment was too far-fetched to uphold
16   entirely. Justice Bedsworth and his panel reversed Judge Moss and ruled
17   the HOA rent and loan charges were unlawful; that Plaintiffs did not owe
18   any money to the HOA. (Chodosh v. PBPA G053798, 12/17/18 at 24) On
19   remand, HOA PBPA was ordered to return illegal HOA loan payments it
20   had collected from Plaintiffs.
21        166. Straining to affirm Judge Moss, among other erroneous rulings,
22   Justice Bedsworth held PBPA did not need a securities permit, (Op. 21)
23   contradicting the prior finding of the state agency having jurisdiction over
24   PBPA, the Department of Business Oversight (“DBO”), which found PBPA
25   “was required to obtain a permit.” (Exhibit J, pg. 4, ¶16)
26        R.    HOA Keeps Homes for Non-Payment of Rent and Loan
27              Not Owed
28        167. As key support to the Enterprise, Justice Bedsworth had to opine

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 1   to achieve the financial objective of taking the Park and homes. Defendants
 2   and their surrogate PBPA had to win to keep Plaintiffs’ homes. Justice
 3   Bedsworth’s Enterprise function was to wrongly deny Plaintiffs real
 4   property rights and recovery for their financial injury inflicted by the HOA
 5   unlawful leases and loans.
 6        168. Years before, in what Judge Stock had ruled were illegal “strict
 7   foreclosures,” (the abrupt forfeiture of real property without legal process)
 8   the HOA had summarily taken Plaintiffs homes for non-payment of rent
 9   and loans. (PBPA v. Eicherly (filed 4/9/10), Minute Order 11/18/11, pg. 2)
10        169. On appeal of Chodosh v. PBPA, in December 2018, the Orange
11   County Court of Appeal, by opinion author Justice Bedsworth, (whom
12   Plaintiffs had sued in federal court two (2) years earlier), held that Plaintiffs
13   did not owe their HOA for rent or loan. (Op. 12/17/18 at pg. 17, “judgment
14   reversed for unpaid rent”; Op. at pg. 18, fn. 19, pg. 22), Plaintiffs have “no
15   liability at all for the $200,000 assessment” and “The [Judge Moss]
16   judgment [in Chodosh v. PBPA] is reversed to the extent it provides that the
17   appellants [i.e. Plaintiffs] owe any money to PBPA.” (Op. at 23)
18        170. But Justice Bedsworth upheld and did not rectify PBPA having
19   terminating Plaintiffs’ HOA memberships and taken their homes for non-
20   payment of the rent and loans which he opined Plaintiffs never owed. He
21   did not order PBPA to compensate Plaintiffs for their homes.                Under the
22   Bedsworth opinion, PBPA kept Plaintiffs’ homes, taken by strict foreclosure,
23   as President Mantelli testified, for “nothing.”
24        S.    Judge Moss Does Not Recuse; Sits on Remanded Case
25        171. On March 20, 2019, the appellate court remanded Chodosh v.
26   PBPA back to Judge Moss. In 2016, Plaintiffs had sued Judge Moss in
27   federal court, complained about him to CJP and declared that he obstructed
28   justice and perjured himself. In open court, Plaintiffs’ counsel stated that

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 1   Judge Moss had “fixed” the Park sale. Despite the attacks, Judge Moss did
 2   not recuse from the remanded case.
 3        172. On May 20, 2019, Plaintiffs filed a Code of Civ. Proc. §170.6
 4   peremptory challenge to disqualify Judge Moss. (Exhibit F) Under binding
 5   Orange County appellate court authority penned by Presiding Justice
 6   O’Leary, Judge Moss had to grant the §170.6 “instantly”. (Hemingway,
 7   supra, 122 Cal. App. 4th at 1157-58 “instant” action on §170.6 vital to
 8   “confidence in the judiciary.”)
 9        173. Judge Moss sat on the §170.6 challenge for over six (6) months.
10   Finally, he granted it by order entered Nov. 20, 2019. (Exh. F)
11        T.       Judge Moss’ Perjury to Collect his Paychecks
12        174. While Judge Moss ignored Plaintiffs’ §170.6 disqualification for
13   a second time, each month he falsely affirmed, under oath, that he was
14   entitled to his paycheck because his submitted matters were up to date. He
15   swore: “I [Judge Moss] have no pending, undetermined matters that were
16   submitted for decision before [fill-in-date].”
17        175. The affidavits were not true.            Judge Moss had not acted on
18   Plaintiffs’ §170.6 disqualification that had been “submitted for decision
19   before” the affidavits’ cut-off dates, starting June 2, 2019. (Exhibit F)
20        176. After months of perjury on affidavits to collect his paychecks,
21   Judge Moss granted the §170.6 challenge by his order entered Nov. 20, 2019.
22   (Exhibit F)
23        177. Judge Moss stated he “was unaware of the [§170.6] filing.”
24   (Order 11/20/19) It was no excuse.           See, e.g., Exhibit F, In the Matter
25   Concerning Judge Brian Lamb (CJP 7/2/19 pgs. 4-5, “fact that a judge [that
26   perjures salary affidavit] may be unaware . . . is not a defense.”)
27        178. In 2016 Judge Moss committed perjury by false statement that
28   he had no ex parte communication about his strategic call in from vacation

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 1   to thwart the TRO, “self-re-qualify,” and save the sale. In 2019 Judge Moss
 2   perjured himself several times for his paycheck.             Judge Moss follows a
 3   pattern of perjury that serves the Enterprise.
 4        U.    CJP “No Action” - Four Years After J. Moss Complaint
 5        179. On April 25, 2016, Plaintiffs submitted a complaint to CJP about
 6   Judge Moss. (Exhibit G) In response, the CJP and its former and current
 7   Directors did nothing about Judge Moss’ court document proven “fix” of the
 8   fiduciary fraudulent Park sale.
 9        180. Three (3) years after Plaintiffs’ complaint, CJP (and its legal
10   counsel the AG) wrongly purported to approve disqualified Judge Moss’ re-
11   assumption of jurisdiction as what it improbably called an “exercise of
12   judicial discretion.” (Padilla, Chodosh v. CJP and AG, Demurrers, 12/20/18
13   and 7/19/19, pg. 10, fn. 2, 4)) (Exhibit G, 12/20/18 Demurrer excerpt)
14        181. Under CJP and court decisions, a disqualified judge taking back
15   the case is the highest and worst judge wrongdoing; it is willful judicial
16   misconduct. When done to make a “fix”, it is the “quintessential” judge bad
17   act. Inquiry Concerning Judge William R. Danser, No. 172 (6/2/05; CJP
18   website), pg. 25 quoting Inquiry Concerning Judge Michael E. Platt, No. 162
19   (CJP 2002), p. 20, 48 Cal. 4th CJP Supp. 227, 233              Judge Moss was not
20   exercising “judicial discretion” when he “self-re-qualified” and then “fixed’
21   the case to enable the Park sale. He was committing a crime.
22        182. A year later, i.e., four years (4) after the April 2016 complaint to
23   CJP, on May 14, 2020, CJP notified Plaintiffs “the commission found no
24   basis for action against judge [Moss] or determined not to proceed further
25   in this matter.” (Exhibit G)
26        183. For years, CJP did nothing about the Judge Moss “fix.” Worse,
27   CJP approved and enabled the “fix,” falsely stating the “quintessential”
28   judge bad act was proper “judicial discretion.” (Exhibit G, Dem. 12/20/18)

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 1        184. In stark contrast, CJP acted promptly to respond to public outcry
 2   about Judge Persky imposing lenient sentence on student athlete that
 3   sexually assaulted an unconscious woman. Within weeks, CJP quickly
 4   issued its decision exonerating Judge Persky.                CJP did not address
 5   Plaintiffs’ complaint about Judge Moss for over four (4) years. (Exhibit G)
 6        V.    CJP Does Not Refer Judge Crime Evidence; It Hides It
 7        185. CJP rule and policy provides for identification and referral of
 8   evidence of judge crime submitted by the public. CJP tells the public it has
 9   referred evidence of judge crime to prosecuting authorities on “multiple
10   occasions.” (Exhibit T; Rule Report, 8/29/17, pg. 15, re: Rule 102(g)) The
11   statement is false.    Worse, CJP never turns over judge crime evidence to
12   prosecutors. On the contrary, CJP hides it.
13        186. Upon receipt of evidence of possible judge crime, the CJP may or
14   may not consider it, then vote to refer, or not refer, the evidence to
15   prosecuting authorities. (CJP Rule 102(g); Policy Declaration 4.2; see,
16   Exhibit T) CJP repudiates that it has mandatory duty to refer judge crime
17   evidence to prosecutors.      It espouses a special CJP privilege to decide
18   whether or not to refer judge crime evidence to prosecutors.
19        187. CJP has three (3) judicial officer commissioners, two (2) judges
20   and one (1) justice. They are bound to the canons of ethics. They must refer
21   judge crime evidence to prosecutors. A judge or justice cannot vote to not
22   report judge crime. But that is what they do when they sit on CJP.
23        188. CJP judge and justice members, subject to the canons of the Code
24   of Judicial Ethics, must report to law enforcement evidence of another
25   judge’s crime. (Canon 3D(1); D. Rothman, Hon. R. Fybel, Hon. R. MacLaren,
26   and M. Jacobson, California Judicial Conduct Handbook, (4th Ed. 2017)
27   supra., pg. 335-6, §5:68 (“Handbook”); (“judge’s duty” to report crimes and
28   misconduct of another judicial officer is “an affirmative obligation under

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 1   canon 3D.”); See, Judicial Council of California, Memorandum, 11/10/06,
 2   pg. 4 (“CJC Memo.” “If a judge has reliable information that another judge
 3   has committed a serious criminal offense, the conduct must be reported to
 4   the CJP and the appropriate law enforcement agency.” ref. Rothman,
 5   Handbook, (2nd Ed. 1999), §5.65, p. 153), Exhibit Q)
 6        189. As its pattern and practice, CJP expects and requires its judge
 7   members to always vote to not refer judge crime evidence. CJP compels its
 8   judge and justice members to transgress their Canon 3D(1) ethical duty to
 9   report evidence of judge crime to law enforcement.
10        190. In 2019 CJP was audited for the first time since its formation in
11   1960. The State Auditor report title states the Auditor’s conclusion:
12   “Weaknesses in [CJP] Oversight Have Created Opportunities for Judicial
13   Misconduct to Persist.” (Audit of CJP, No. 2016 -137, 4/25/19) The Audit
14   finding and conclusion corroborate that CJP wrong practices cause “judicial
15   misconduct to persist.” (See, report extract, Exhibit N)
16        W.    AG Becerra – No Action On Judge Moss – Defers to CJP
17        191. On excuse of “lacks the resources,” California Attorney General
18   Becerra refused to investigate or prosecute Judge Moss. (Exhibit E)
19        192. Like CJP, AG Becerra falsely labeled the Judge Moss’ fix
20   “exercise of judicial discretion.” (Exhibit E) With full facts and
21   documentation proving Judge Moss’ wrongdoing, AG Becerra ignored and
22   condoned it; he enabled the Judge Moss “fix” that was judge crime.
23        193. AG Becerra has a policy of not investigating or prosecuting judge
24   crime. AG Becerra has his office direct the public to send all complaints
25   about judges to CJP, knowing CJP will conceal any judge crime evidence.
26        194. Consistent with his refusal to act on Judge Moss’ crime
27   perpetrated on vulnerable seniors, AG Becerra has never prosecuted a
28   judge.

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 1        195. Before AG Becerra, his predecessor Senator Kamala Harris,
 2   California attorney general 2011-2017, under the same policies she passed
 3   on to AG Becerra, also failed to prosecute judge crime. The last California
 4   judge prosecution was of Judge Danser in 2003. He fixed tickets for friends
 5   and celebrities. (See, Exhibit T)
 6        X.    CJP and AG Conspiracy Allows Judge Moss’ “Fix” Crime
 7        196. AG refers to CJP members of the public that complain about
 8   judge crime. The AG has a pattern and practice of incorrectly informing the
 9   public that the CJP has “exclusive jurisdiction” to consider evidence of judge
10   crime. (Exhibit R)
11        197. The AG does not tell the public that the AG – not the CJP – is
12   responsible for investigating judge crime. The AG knows that judge crime
13   evidence the public submits to CJP will not be referred to law enforcement,
14   that CJP will file it away with no action.
15        198. CJP’s tactic to prevent the public from knowing that it does not
16   prosecute judge crime is CJP assertion of absolute secrecy. CJP did not allow
17   the state auditor to review CJP file judge crime evidence. CJP refuses to
18   provide statistical information as to any judge crime referrals. (Exhibit T)
19        199. Because CJP and AG conspire and cooperate to gather and
20   conceal public complaints with evidence of judge crime, and did so in this
21   case, Judge Moss suffered no penalty, repercussion, or investigation for his
22   willful judicial misconduct and judge crime. CJP and AG conspired to
23   enable the Judge Moss “fix” that took from seniors millions of dollars in real
24   estate equity and cash.
25        Y.    Judge Moss Example of Pattern of Judge Crime
26        200. CJP and the AG neither investigated nor punished Judge Moss
27   misconduct and crime to “fix” the Park sale and perjure himself about it in
28   2015. As a result, they enabled and encouraged judge criminality.

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 1        201. Years after he “fixed” the Park sale, in 2019 Judge Moss again
 2   wrongly defied his disqualification and repeatedly perjured himself on
 3   affidavits to collect his paychecks from the public coffers. (Exhibit F)
 4        202. The assured lack of repercussions or consequences for Judge
 5   Moss’ judicial misconduct and crime, or for that of any other judge or justice
 6   that acts in and for the Enterprise, is the foundation that establishes and
 7   permits the ongoing pattern of judge crime integral to Enterprise success.
 8   VII. BACKGROUND FACTS OF DEFENDANTS’ RACKETEERING
 9        203. Plaintiffs incorporate by reference all preceding paragraphs.
10        A.    Defendants Take Millions in Real Estate Equity and
11              HOA Cash
12        204. By and through the Enterprise, Defendants converted and took
13   millions of dollars of real estate equity and HOA cash from the seniors for
14   Defendants’ own use and enrichment.
15        205. The      financial   objectives,     in   round-numbers,          which   the
16   Enterprise planned and achieved, were to acquire the Park for about
17   $15,000,000 under the appraised value (as determined by the lender on the
18   sale), to embezzle about $1,000,000 in the seniors’ HOA reserve and more
19   from sale proceeds, estimated to be about another $1,000,000, and most
20   lucrative of all, to force the seniors to sell their individual mobile homes to
21   Defendants for pennies on the dollar compared to what the seniors had paid
22   in earlier years when they had their own senior resident owned park.
23        206. The judge fixed Park sale and accompanying HOA money
24   embezzlement, perpetrated on the Plaintiffs and 112 other seniors, in one
25   swoop defrauded them out of an estimated $20,000,000 in total real estate
26   equity and cash.
27        207. Plaintiffs’ collectively paid $1,095,000 for their homes, which
28   they lost when the Enterprise caused them to lose their cases and appeals

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 1   by fixing the Orange County court process against them.
 2        208. HOA PBPA President Mantelli took office January 2013.
 3   Plaintiffs are informed and believe, and thereon allege, that she commenced
 4   the racketeering soon thereafter. She would deceive the seniors into selling
 5   the Park to her buyer at a price way below market.
 6        209. Under President Mantelli, the HOA seller did not procure a
 7   current appraisal, list the property for sale, solicit or seek competing offers,
 8   or do any marketing sales analysis.                President Mantelli hired no
 9   independent inspector of elections for the election whether to sell the Park
10   to her buyer. She oversaw the ballots herself, then announced the vote
11   approved the sale.
12        210. Mantelli stood before the members and falsely stated that she
13   would receive nothing from the Park sale and that she did not know the
14   buyer Saunders or his broker. In truth, she would receive substantial
15   kickback benefits, including a contract to manage the Park.
16        211. Standing beside President Mantelli and backing-up her self-
17   dealing, were HOA attorney Defendants Salisbury, Thomas, and Wood.
18   They helped deceive the HOA members to accept and vote for the fiduciary
19   fraudulent sale. They had their fiduciary HOA client sell its land with no
20   current appraisal, no listing, and no marketing to obtain competing offers.
21        212. They knew that in December 2015, the HOA had received a
22   higher cash offer with no broker commission. (Exhibit M) They helped
23   Mantelli conceal the better offer. Neither she nor they told the members
24   about the offer at higher price and no real estate commission that would
25   place about $20,000 more in the pocket of each of the 112 HOA members.
26        213. The attorney Defendants (Thomas, Wood and Salisbury)
27   breached their fiduciary duties to the HOA and its members, authorizing
28   and carrying out the below market rigged sale that would benefit

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 1   Defendants and yield to attorneys Salisbury and Thomas millions of dollars
 2   of the seniors’ money for legal fees.
 3        214. Breaching fiduciary duties, President Mantelli and her
 4   accomplices, attorney Defendants Wood, Thomas and Salisbury, made no
 5   effort to resolve litigation and take measures whereby the seniors could and
 6   would have kept their resident owned park (“ROP”).              Instead, in January
 7   2014, Mantelli had the members vote to specially assess themselves an
 8   additional $400 / month in HOA dues to pay attorneys’ fees to PBPA
 9   attorneys Thomas, Salisbury and others. (Exhibit K)
10        215. Thomas nearly always appeared in court with Wood.                  Their
11   junior attorneys, Ms. Domineh Fazel and Ms. Sivi Pederson, also frequently
12   double-teamed pleadings and hearings. Thomas’ fees, billed to the HOA,
13   were twice, triple or higher multiple of the fees that Wood charged the
14   insurance company for the same work or appearance.
15        216. HOA PBPA spent millions for legal fees, (Exh. O) to the point
16   that the legal fees were far more than the 2013 Plaintiffs’ settlement offer
17   that Mantelli and Thomas and Wood did not present to the HOA members.
18        217. Mantelli and Thomas and the Defendant HOA attorneys had no
19   intention to settle the litigation for the HOA and its seniors’ benefit. They
20   adhered to the Enterprise objective to use the litigation as a device to
21   deceive and direct the seniors into believing they had to sell the Park.
22        B.    Defendants Inform HOA Members Sale is only Option
23        218. In or about May 9, 2015, Mantelli, Saunders and Defendants
24   announced the sale of the Park to the HOA members, arguing it was the
25   only option, which was false.
26        219. Mantelli, Smith and Fiori concealed that Saunders had bribed
27   them and Director Dan Smith to approve the sale, and later did not disclose
28   Board receipt of a higher price, no broker commission, cash offer.

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 1        220. President Mantelli and Thomas and Wood and Salisbury
 2   maligned the Plaintiffs and incited the HOA members to not believe
 3   Plaintiffs that the litigation could be resolved and the Park kept.
 4        221. Judge Moss assisted the scheme by ruling against Plaintiffs over
 5   the law and facts proving their case. He allowed PBPA to operate as a failed
 6   and unlawful “resident park” with illegal leases and loans. Judge Moss
 7   acted as if PBPA were a legitimate HOA following the law under direction
 8   of faithful and honest fiduciaries. PBPA itself was fiduciary fraud victim.
 9        222. Judge Moss knew, among other things, that under President
10   Mantelli and Director and Treasurer Fiori, PBPA seven figure reserves had
11   gone missing and that, since Mantelli became HOA President in 2013,
12   PBPA had not rendered financial statements to the members for years.
13        223. With HOA spectators in his court, Judge Moss praised President
14   Mantelli, giving her credibility.
15        224. With Judge Moss’ fixed and wrong decisions and praise of her,
16   Mantelli told the members they were “winning”. Mantelli depicted herself
17   as the Cowgirl Park Sheriff, reassuring members “I’ve got your back.” (Exh.
18   P) In truth, self-dealing President Mantelli was back-stabbing the members.
19        225. Defendants promoted the sale as the way to end the $400 / month
20   extra HOA dues per member for legal fees, which was overwhelming many
21   fixed income seniors. Defendants falsely advised the seniors they could not
22   correct the PBPA lack of securities permit that placed consent decree
23   moratorium on sale of homes in the Park. (Exhibit J)
24        226. The misled HOA members asked questions and got dishonest
25   answers. Their fiduciary HOA Board President’s, Directors’ and attorneys’
26   duplicity and Judge Moss’ misconduct and crime prevented the members
27   from ascertaining that the real enemies were the fiduciary breaching and
28   self-dealing President Mantelli, the HOA Board and attorneys along with

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 1   the Park-buyer Defendants, Saunders and accomplices.
 2        227. The HOA seniors would not grasp, until after the Park sale
 3   closing, that Mantelli and the Defendants’ design all along was to buy the
 4   Park and take their homes at millions below fair value or for nothing, to
 5   steal their HOA reserves and a substantial part of the Park sale proceeds,
 6   and to oust them from the Park by raised rents and forced home buy out at
 7   low price.
 8        C.      Judge Moss and Justices Always Rule for PBPA
 9        228. Judge Moss, and later Justice O’Leary and Justice Bedsworth,
10   contributed to the Enterprise by ruling against Plaintiffs and the law and
11   facts and in favor of PBPA, but really for the benefit of Mantelli and the
12   Enterprise.
13        229. Because of Jesinoski v. Countrywide Home Loans 574 U.S. 931
14   (2015) Judge Moss was forced to rule that Plaintiffs had a valid “truth in
15   lending (“TILA”) claim (15 U.S.C. § 1601 et seq.) against PBPA for its illegal
16   HOA loans made to Plaintiffs and many members, secured by lien on the
17   homes.
18        230. Otherwise, Judge Moss intentionally disregarded the law and
19   ruled against Plaintiffs, in ways that were wrong and absurd, such as
20   finding HOA real property mortgage loans violated TILA, but then ruling
21   that Plaintiffs owned no real property. He correctly ruled that PBPA was
22   not a statutory “Davis Stirling” HOA, but then applied Davis Stirling case
23   law to uphold a Mantelli rigged HOA election. He ignored HOA law that
24   made the election invalid for lack of secret ballots and independent
25   inspector. Judge Moss approved HOA use of marked ballots, and President
26   Mantelli as ballot handler, vote counter and result announcer.
27        231. Phase IV trial concluded December 15, 2015.                       Judge Moss
28   announced he would be away for two (2) weeks. (Exhibit B) That is when

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 1   he “called in” on Haugen v. PBPA, a case on which he was disqualified.
 2         D.    Haugen v. PBPA – The TRO that Judge Moss “Fixed”
 3         232. Haugen v. PBPA, filed Nov. 12, 2015, (Exhibit B) impeded the
 4   Enterprise objective to close the illicit below market Park purchase.
 5   However, the Park Buyer Defendants and Defendant Fidelity worked out a
 6   way to close the fraudulent sale.
 7         233. Then on Dec. 21, 2015, Mr. Haugen filed for the TRO to enjoin
 8   the sale. This was an unforeseen sale impediment. Fidelity could not
 9   readily insure the new owner’s title and the lender’s deed of trust lien with
10   a TRO looming. The TRO imperiled the Park sale closing, the Enterprise’s
11   prime financial objective.
12         234. The TRO was set to be heard by the new judge, Hon. Gail Andler.
13   Plaintiffs are informed and believe, and thereon allege, that Defendants
14   feared that Judge Andler, unlike Judge Moss, would follow the facts and law
15   and rule for Plaintiff Haugen and enjoin the below market give-away Park
16   sale and its illicit gain.
17         235. Plaintiffs are informed and believe that the Park-buyer
18   Defendants, on December 21, 2015, panicked that the sale, scheduled for
19   closing the next day, Dec. 22, 2015, would not occur because of the TRO to
20   be heard by Judge Andler.
21         236. Plaintiffs are informed and believe, and thereon allege, that the
22   Park Buyer Defendants hatched the plan to have ex parte contact and
23   communication with Judge Moss, and to bribe him so that he would phone
24   in from vacation to thwart the TRO, even though he had been disqualified
25   in the Haugen v. PBPA case and had no judicial power to act in it.
26         E.    Attorney Susolik Allegedly Arranged the “Fix”
27         237. Plaintiffs are informed and believe and thereon allege, that in
28   December 21-22, 2015, Defendant Susolik made or caused to be made ex

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 1   parte contact and communication with Judge Moss to request his “call in”
 2   to thwart the TRO. (Exhibits B, W)
 3        238. Susolik’s client Saunders was not in the case.                    But Susolik
 4   showed up to court on Dec. 22, 2015 to hear disqualified Judge Moss’ call in
 5   to thwart the TRO. Judge Moss dictated to his clerk a Minute Order which
 6   included: “Appearances: Edward Susolik/Peter S. Bauman, Callahan &
 7   Blaine, specially appearing for John Saunders.” The sale closed four (4)
 8   hours after Judge Moss’ call-in. (Exh. B)
 9        239. Plaintiffs are informed and believe, and thereon allege, that the
10   Park Buyer Defendants, by or through Defendant Susolik, bribed and
11   directed Judge Moss to make the “call in” to save the Park sale from the
12   TRO; to make sure the Park sale transaction closed as scheduled by
13   recorded deed that same day, which it did.
14        F.    Saunders and Coldren Bribe HOA Directors
15        240. On the HOA seller side, Plaintiffs are informed and believe, and
16   thereon allege, that Saunders and Coldren bribed HOA President and
17   Director Mantelli into her fiduciary fraud and self-dealing with a kickback
18   commission upon closing of the fraudulent Park sale.
19        241. Plaintiffs are informed and believe, and thereon allege, that
20   Saunders and Coldren further bribed Mantelli by promise she would
21   manage the Park post-closing.         After closing, Mantelli, through “Primo
22   Management Partners, Inc.” (“PMP”) managed the Park. (Exhibit Y)
23        242. Plaintiffs are informed and believe, and thereon allege, that
24   Salisbury also held a PMP interest. Plaintiffs are informed and believe, and
25   thereon allege, that Saunders and Coldren bribed HOA PBPA President
26   Mantelli and legal counsel Defendant Salisbury with promise of post-closing
27   park management, in exchange for their breaching fiduciary duties to steer
28   PBPA to sell the Park to Saunders and Coldren for millions under market.

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 1        243. To assure HOA Park sale approval, Plaintiffs are informed and
 2   believe that Mantelli, Saunders and Coldren bribed HOA Directors
 3   Defendant George Fiori and non-defendant HOA Director Dan Smith by
 4   promise to purchase, post-Park closing, their homes in the Park at inflated
 5   six figure prices not available to other residents, and to sell to Fiori an ocean
 6   view home in the Park on favorable terms.
 7        244. Plaintiffs are informed and believe that after closing, Fiori and
 8   Smith sold their homes to Saunders and affiliates at overstated six figure
 9   prices. Smith moved away. Fiori sold one home in the Park to Saunders and
10   stayed in another home in the Park of his choosing.
11        G.    Highly Profitable Under Market Park Purchase
12        245. The Park purchase yielded millions of dollars of gain for the
13   buyers. They borrowed $35,797,000 for the Park purchase, (Exh. B) more
14   than $34,395,200 purchase price, allowing the buyer principals, after escrow
15   costs, to pocket about $1,000,000 cash at closing.
16        246. Using a lender’s loan to value ratio of seventy percent (70%), a
17   $35,797,500 loan means the lender had an appraisal for $51,139,000. The
18   Park buyers paid $34,395,200, so their ill-gotten real estate equity gain was
19   $16,743,800, with another $1,000,000 cash for pocket money. For no money
20   down, all with borrowed money on a real estate loan, Defendants instantly
21   stole about $18,000,000 in real estate equity from the seniors.
22        H.    Distribution of Park Sale Proceeds; Missing Money
23        247. From the HOA sale proceeds, PBPA attorneys received legal fees
24   totaling $1,113,815 (See Exhibit O)
25        248. After closing, Mantelli and the Park attorney defendants
26   withheld $1,000,000 as a “reserve”, which Plaintiffs are informed and
27   believe and thereon allege, they used to pay Attorney Defendant Thomas,
28   despite Saunders agreement to indemnify PBPA for legal fees.

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 1        249. Plaintiffs are informed and believe, and thereon allege, that
 2   before and after the Park sale, Mantelli converted and diverted for herself
 3   and PBPA attorneys Thomas, Salisbury and others approximately
 4   $2,000,000 in HOA dues paid by the HOA seniors and out of Park sales
 5   proceeds.
 6        250. Plaintiffs are informed and believe, and thereon allege, that
 7   Mantelli and PBPA, 2015 - 2020 provided no meaningful accounting for
 8   PBPA of the withheld sale proceeds, and have spent most of it on legal fees
 9   and other expenses that benefit Defendant Mantelli and Defendant PBPA
10   attorneys and their law firms.        Plaintiffs are informed and believe, and
11   thereon allege, that from the Park sale proceeds, Mantelli and other
12   Defendants have embezzled substantial funds that rightfully belong to the
13   Park seniors.
14        I.     Ouster of Senior Residents – More Racketeering Profit
15        251. After closing, Saunders and affiliates commenced to force buy
16   outs of the seniors from their homes. Most residents had paid six figure
17   prices when or before the Park was a “resident owned park.”
18        252. To promote the Saunders sale to the HOA members, in sales
19   materials to the members distributed May and June 2015, Mantelli and
20   Saunders falsely told the members that post-closing they would receive a
21   space lease with favorable terms and fixed rent. (Exhibit L)
22        253. But after Saunders and Coldren became the Park principal
23   owners, the promised terms did not materialize. Instead, rents went up,
24   and home sale values went down. There was no promised favorable lease,
25   but a one-sided landlord document with large rent increases.
26        254. Plaintiffs are informed and believe, and thereon allege, that
27   Saunders and accomplices have purchased homes from Park residents at
28   prices that were a fraction of what the residents paid for their homes.

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 1        255. The ultimate value in the Park and objective for the Park Buyer
 2   Defendants is to own all of the homes in the Park in order to easily convert
 3   the Park to a higher use than mobilehome park without the obstacle of
 4   residents that own their mobilehomes; to have them as just renters. The
 5   fraudulent and self-dealing sale, with its post-sale oppressive space leases,
 6   peddled and promoted to the seniors by deceit, achieved such goal.
 7   VIII. BACKGROUND FACTS FOR CO-CONSPIRATORS JUSTICE
 8         TROTTER, JAMS AND JUDICIAL OFFICERS
 9        256. Plaintiffs incorporate by reference all preceding paragraphs.
10        257. Plaintiffs are informed and believe, and thereon allege, that the
11   base racketeering and predicate crime for the Enterprise operation to
12   undermine and deny justice for Plaintiffs originated with the participation
13   of non-defendant co-conspirators Justice Trotter and JAMS.
14        A.    Justice Trotter and JAMS Racketeering
15        258. At the second mediation, (Nov. 21, 2013) when Plaintiffs would
16   not accept an HOA promissory note settlement, Justice Trotter told and
17   threatened that if they did not accept the HOA promissory note, he would
18   contact “Judge Nancy” and malign Plaintiffs by falsely stating they had
19   prevented settlement.
20        259. Plaintiffs are informed and believe, and thereon allege, that
21   Justice Trotter was acting as agent for Mantelli, Saunders, Coldren and
22   other Defendants, in an attempt to extort that became completed extortion
23   upon Plaintiffs loss of their homes and value by final court judgment.
24        260. Plaintiffs are informed and believe and thereon allege that
25   Justice Trotter’s attempted extortion was intended to coerce Plaintiffs to
26   take the HOA promise to pay settlement, and if they did not, that he would
27   malign them to their trial “Judge Nancy” to negatively impact their case.
28        261. Plaintiffs did not give in to the attempted extortion. Afterwards,

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 1   Judge Stock was on the bench for another month, December, 2013. She
 2   reversed herself against Plaintiffs in favor of PBPA, ordering a jury trial
 3   where previously she had said there would be only a bench trial. (PBPA
 4   wrongdoing facts were not disputed; there was nothing for, and never was,
 5   a jury trial.) January 2014 Judge Stock retired and joined JAMS.
 6        262. Plaintiffs are informed and believe, and thereon allege, that
 7   Justice Trotter communicated with Judge Stock in or about late November
 8   2013, and that he indicated or communicated his desire that she reverse
 9   herself to go against Plaintiffs in the case Chodosh v. PBPA, in exchange for
10   which her job at JAMS would be better assured.
11        263. Plaintiffs are informed and believe, and thereon allege, by doing
12   so, JAMS and Trotter for themselves and as agents for Defendants park
13   buyers bribed Judge Stock to rule and act against Plaintiffs.
14        264. On December 22, 2015, Judge Moss illegally “self-re-qualified”
15   after he thwarted Plaintiffs’ TRO and enabled the fiduciary fraudulent Park
16   sale. By his willful judicial misconduct and crime of “self-re-qualification”,
17   disqualified Judge Moss ousted assigned Judge Gail Andler. (Exhibit B)
18   Judge Moss said he “reassumed jurisdiction.” (Exhibit E)
19        265. Judge Andler had a duty to report Judge Moss’ misconduct to the
20   CJP and prosecuting authorities. (See, Canon of Ethics 3D(1), Handbook,
21   4th Ed. 2017, pg. 335-6, §5:68; 2nd Ed.§5.65, p. 153) Plaintiffs are informed
22   and believe, and thereon allege, that Judge Andler did not protest, report,
23   or take action about disqualified Judge Moss’ unlawful “reassuming
24   jurisdiction” that ousted her from the Park sale case Haugen v. PBPA,
25   thwarted the TRO, and enabled the fraudulent Park sale.
26        266. About a year after Judge Moss’ (Dec. 22, 2015) illegal takeover
27   of a case before her, in January 2017, Judge Andler joined JAMS.
28        267. Plaintiffs are informed and believe, and thereon allege, that

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 1   JAMS obstructed justice and rendered influence or bribed Judge Andler so
 2   that she would refrain from complying with Canon of Ethics 3D(1) et al. and
 3   not report Judge Moss to CJP and prosecuting authorities.
 4        268. JAMS wanted to ensure success of Judge Moss’ willful judicial
 5   misconduct with his “call in” from vacation to fix the fiduciary fraudulent
 6   Park sale for the benefit of JAMS favored “repeat business” clients. The
 7   JAMS favorites were to acquire the Park, and with JAMS help, they did.
 8        269. During the litigation in Chodosh, et al. v. J. Trotter and JAMS
 9   (D070952, filed 5/7/14) and afterwards, in that case and others, JAMS
10   advocated against Orange County justices recusing in the case (Dkt.
11   7/22/16). The justices were friends with their predecessor justices, most of
12   whom worked at JAMS, and could invite them to join JAMS post-bench
13   service. The JAMS, Trotter / Orange County Court of Appeal connections
14   and Plaintiffs having sued JAMS, made for glaring appearance of
15   impropriety that the Orange County justices would be perceived as likely
16   biased in favor of JAMS and against litigants that had sued JAMS.
17        270. But JAMS did not do the right thing and support the justices’
18   recusal so as to eliminate the overpowering appearance of impropriety.
19   JAMS unlawfully and unethically advocated for the Orange County
20   appellate court justices to stay on the case, and did so in face of the fact that
21   the majority of living Orange County justices had, post-retirement, joined
22   JAMS to earn compensation three or more times higher than their public
23   servant pay while on the bench.
24        271. Plaintiffs are informed and believe, and thereon allege, that at
25   all times during the Palm Beach Park litigation, from November 2013,
26   through 2019, that JAMS unlawfully and unethically exerted influence over
27   the Orange County judges and justices that are non-defendant co-
28   conspirators herein, Judge Moss and Judge Margines, Justice O’Leary and

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 1   Justice Bedsworth, and Judge Andler.
 2        272. Plaintiffs are informed and believe, and thereon allege, that
 3   Justice Trotter and JAMS wielded such influence with the intent and
 4   purpose to obstruct justice and deny honest judicial officer services for
 5   Plaintiffs so that Defendants, who are favored JAMS “repeat business”
 6   customers, could deprive and divest Plaintiffs and the Park seniors of their
 7   real estate equity in their Park and homes and embezzle HOA cash.
 8        B.    Judge and Justice Racketeering
 9        273. Judge Moss, Presiding Justice O’Leary, and Justice Bedsworth
10   are the principal judicial officers that engaged in willful judicial misconduct
11   intended to injure Plaintiffs’ in their property. Their main misconduct
12   method was to sit on, hear and decide Plaintiffs’ cases or appeals when they
13   were disqualified and had to recuse.
14        274. They denied Plaintiffs, at all times, an impartial judicial officer,
15   staying on the case or appeal to wrongly rule against Plaintiffs and the law
16   and fact, i.e. to intentionally disregard the law.
17        275. In December 2015 Judge Moss “self-re-qualified”, or as he put it
18   “reassumed jurisdiction” to intervene and fix the Park sale. (Exhibit E, pg.
19   8, ¶6, line 25) Presiding Judge Margines, whose §170.6 disqualification
20   order (Exhibit B) Judge Moss trampled and purported to reverse, ignored
21   Plaintiffs’ complaint about Judge Moss’ “call” in of the “fix.” (Exhibit Q)
22        276. Years later, in 2019, after remand of the case from appeal, Judge
23   Moss again disregarded Plaintiffs’ §170.6 peremptory disqualification, on
24   which the law required him to act “instantly,” keeping himself on the case
25   for six (6) months, during which time Judge Moss perjured himself by falsely
26   stating on salary affidavits that he was up to date on matters submitted to
27   him for determination. (Exhibit F)
28        277. Orange County Court of Appeal Presiding Justice O’Leary and

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 1   Justice Bedsworth unlawfully sat on and decided Plaintiffs’ appeals. They
 2   had to recuse given that Plaintiffs in December 2016 had sued them in
 3   federal court alleging they had conspired with Judge Moss to conceal his
 4   judge crime with the “fix”.
 5         278. Instead, Justice O’Leary and Justice Bedsworth stayed on
 6   Plaintiffs’ appeals, precisely and wrongly intentionally disregarding the law
 7   by ruling to inflict injury on Plaintiffs and impede and obstruct their pursuit
 8   of justice.
 9         279. As soon as it was docketed, Presiding Justice O’Leary denied
10   Plaintiffs’ motion to take Judge Moss’ deposition. She acted too quickly and
11   contrary to court rule.        To conceal and protect the Enterprise, she
12   intentionally disregarded the law, as it was crucial that Judge Moss not be
13   subject to Plaintiffs’ deposition questioning about how he “called in” to fix
14   the fiduciary fraudulent Park sale.
15         280. Justice Bedsworth authored the Chodosh v. PBPA opinion
16   (12/17/18) against Plaintiffs, holding they did not owe rent or for HOA loans,
17   but that HOA PBPA could still keep Plaintiffs’ homes even though it had
18   taken them by strict foreclosure for non-payment of the rent and loans that
19   he ruled Plaintiffs did not owe.
20         281. In May 2016, Presiding Justice O’Leary and Justice Bedsworth
21   denied Plaintiffs’ writ to enforce challenge to disqualified Judge Moss’ “call
22   in” from vacation to fix the Park sale. They upheld the “fix.”
23         282. Like Judge Moss, Justices O’Leary and Bedsworth were critical
24   to the Enterprise objective of taking the Park from Plaintiffs and the other
25   seniors by subjecting Plaintiffs to biased justices in the Enterprise and
26   committed to ruling against Plaintiffs and fact and law, i.e. judicial officers
27   that would engage in the willful judicial misconduct of intentional disregard
28   of the law in order to injure one side for the benefit of the other side.

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 1        283. Justices O’Leary and Bedsworth’s essential usefulness to the
 2   Enterprise was to back and uphold Judge Moss’ wrongdoing, which they did.
 3   They upheld the rulings of a judge that fixed a case.
 4        C.    Justice Bedsworth Wrongful Use of Contempt
 5        284. Justice Bedsworth threatened Plaintiffs’ counsel with contempt
 6   for stating Judge Moss “fixed” the Park sale and for statements in motions
 7   to disqualify the justices. Plaintiffs are informed and believe, and thereon
 8   allege, that Justice Bedsworth made the contempt threat to assist the
 9   Enterprise believing the threatened contempt would deter Plaintiffs’
10   inquiry into the racketeering crimes.
11        285. Before oral argument, by letter (Dkt. 7/17/20) to Presiding
12   Justice O’Leary, copied to all Div. 3 Justices, PBPA attorney Jeffry Smith,
13   a partner of Defendant Attorney Wood, sought to have Plaintiffs’ counsel
14   held in contempt for having stated that Judge Moss “fixed” the give - away
15   sale of the Park and for statements made in motions to disqualify Div. 3
16   Justices, including assailing the non-recusal of Presiding Justice O’Leary
17   and Justice Bedsworth. (See, transcript 7/20/18 extracts, Exhibit S)
18        286. At oral argument, Justice Bedsworth stated the proceeding
19   would include the court’s consideration of PBPA’s request that Plaintiffs’
20   counsel be held sanctioned and in contempt.
21        287. Justice Bedsworth inquired: “So you just told us that Judge Moss
22   engaged in willful, judicial misconduct and was part of a fix of the case; is
23   that correct?” Plaintiffs’ counsel affirmed, “that’s right.” Justice Bedsworth
24   declared: “That sounds to me like direct contempt.”             Counsel responded:
25   “Well, let's have an OSC [Order to Show Cause] re: contempt. Let's get
26   Judge Moss in here and see what he has to say.”
27        288. Justice Bedsworth announced that the court: “[W]ill consider
28   whether we're going to have an OSC re contempt.” Counsel explained:

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 1   “Well, all we need to do is ask Judge Moss a few questions. It's pretty
 2   simple.” (Transcript 7/20/18, pgs. 9-10; see Exhibit S)
 3        289. Following oral argument, Plaintiffs filed Offer of Proof for the
 4   Judge Moss fix. (Dkt. G053798, 7/23/18)
 5        290. Justice Bedsworth and the panel did not find contempt;
 6   acquitting Plaintiffs’ counsel of the criminal contempt charges.
 7        291. By not finding contempt against counsel that declared, in open
 8   court, that Judge Moss did a “fix,” Justice Bedsworth, under California law,
 9   had adjudicated that the Judge Moss “fix” charge was true. If it were not
10   true, under In re Koven (2005) 134 Cal. App. 4th 262, 265, 272, Bedsworth
11   had to hold counsel in contempt for falsely stating a judge did a “fix.” An
12   attorney false “fix” charge most egregiously impugns the court. (Ibid.)
13   Justice Bedsworth finding no contempt confirmed the truth of the “fix.”
14        292. In his Opinion, Justice Bedsworth pointedly disallowed counsel
15   the “attention” of a hearing for “contempt proceedings.” (12/17/18, Op. at 21)
16   In his Order denying rehearing, (01/09/2019) he emphasized the court did
17   “not give [the] attorney the spotlight of a contempt hearing.” (Exhibit S)
18        293. Plaintiffs are informed and believe, and thereon allege, that
19   Justice Bedsworth had another reason to not pursue contempt, that to do so
20   would mean Plaintiffs’ counsel, at the contempt hearing, would place Judge
21   Moss on the stand under oath for testimony that would expose Judge Moss’
22   crime, the Enterprise and its actors, including Justice Bedsworth.
23        294. Plaintiffs are informed and believe, and thereon allege, that
24   Justice Bedsworth threatened Plaintiffs’ counsel with contempt as part of
25   his racketeering for the Enterprise, with the objective of intimidating
26   counsel to cease investigation of the Judge Moss fix, the key crime vital to
27   the Enterprise.
28        295. Justice Bedsworth knew that judicial integrity mandated not

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 1   pursing contempt against counsel that acted appropriately to declare the
 2   Judge Moss “fix,” but holding Judge Moss accountable for his judicial
 3   misconduct and crime in fixing the Park sale case. Proper procedure was to
 4   refer Judge Moss to prosecuting authorities as required by Canon of Ethics
 5   3D(1) and Handbook authority.
 6         296. Justice Bedsworth did not honor his oath and ethical duty to
 7   refer Judge Moss for discipline and criminal prosecution. Instead, acting
 8   for the Enterprise, he threatened contempt where he knew there was none.
 9   IX.   BACKGROUND FACTS FOR CJP AND AG CONSPIRACY
10         297. Plaintiffs incorporate by reference all preceding paragraphs.
11         298. Plaintiffs are informed and believe, and thereon allege, that non-
12   Defendant co-conspirator Commission on Judicial Performance (“CJP”) and
13   its non-defendant co-conspirator Director and Chief Counsel Gregory
14   Dresser and the current California Attorney General (“AG”) non-Defendant
15   co-conspirator Xavier Becerra, conspired in the Enterprise to ignore Judge
16   Moss’ willful judicial misconduct and judge crime, and to allow it.
17         A.   CJP and AG Act to Ensure No Judge Crime Prosecution
18         299. CJP is “the governmental entity charged with the protection of
19   the public from judicial corruption.” Adams v. CJP (1994) 8 Cal.4th 630,
20   665. “The duty of the Attorney General [is] to see that the laws of the State
21   are uniformly and adequately enforced.” Calif. Const. Art. V, §13 However,
22   as Plaintiffs demonstrate, CJP does not protect the public from judge
23   corruption, and the AG fails to uniformly and adequately enforce the law
24   against crime-committing judges.
25         300. CJP and AG both fail in their duties to protect the public from
26   miscreant judges. Since the AG does not see to it that state law is enforced
27   against crime-committing judges, and because district attorneys (“DA”)
28   follow AG example, no AG prosecution of judge crime makes rare DA judge

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 1   crime prosecution.
 2        301. The last DA prosecution was Judge Danser in 2003. In 1990
 3   Judge Boags was convicted.          Both did “fixing,” and were convicted of
 4   conspiring to pervert and obstruct justice, Penal Code §182(a)(5). There is
 5   no record that the California attorney general has ever prosecuted a judge.
 6        302. Federal prosecutors convicted San Diego judges and an attorney
 7   for RICO conspiracy, 18 U.S.C. § 1962(d), through a pattern of racketeering
 8   activity with multiple acts of bribery in violation of Calif. Penal Code §92,
 9   §93, extortion in violation of 18 U.S.C. §1951, and mail fraud under 18
10   U.S.C. §§ 1341 and 1346. U.S. v. Frega, 179 F.3d 793 (9th Cir. 1999) (See,
11   Exhibit T)
12        303. Under their conspiracy with the Enterprise, AG Becerra (and
13   before him attorney general Harris) refuse to receive judge evidence from
14   the public. AG Becerra informs the public that complaints about judge
15   crime must be sent to CJP; that CJP has “exclusive jurisdiction” over judge
16   complaints. AG Becerra and before him, attorney general Harris, act and
17   acted to assure CJP received all publicly reported evidence of judge crime.
18        304. The AG does not explain to the public that evidence of judge
19   crime, such as bribery or falsification of court records, is for the AG to
20   investigate as crime to be prosecuted for criminal penalty, while complaint
21   about judge misconduct goes to CJP for consideration of disciplinary action,
22   such as censure, admonition, suspension or removal from office.
23        305. Inappropriately and disastrously for the public, the scheme
24   insures that all judge crime reporting lands at CJP.               There, CJP staff
25   attorneys cull and identify the publicly submitted judge crime evidence and
26   forward it to the commission. (Policy Decl. 4.2) The commission considers
27   the evidence then votes whether or not to refer the judge crime evidence to
28   prosecuting authorities. (CJP Rule 102(g); Policy Decl. 4.2; See, Exhibit T)

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 1        306. CJP has three (3) judicial officers as members; two superior court
 2   judges and one appellate justice. (Calif. Const. Art. VI, §8 (a)) Code of
 3   Judicial Ethics, Canon 3D(1) mandates a judge report evidence of another
 4   judge’s crime. (See, Handbook) A judge or justice, under canons of ethics,
 5   has no power, right or privilege, as a CJP commissioner or otherwise, to vote
 6   to ignore or to not refer judge crime evidence to prosecuting authorities.
 7        307. CJP rule and policy compel its judge and justice commissioner
 8   members to agree to a commission decision to not refer evidence of judge
 9   crime to prosecutors. CJP requires its judge members to defy and bypass
10   their Canon 3D(1) obligation to report judge crime for possible prosecution.
11        308. CJP has never referred a judge for criminal prosecution. (See
12   rule and policy statistics, Exhibit T) However, CJP falsely tells the public
13   that it has referred judge crime to prosecutors on “multiple occasions.”
14   (Exhibit T)
15        B.       CJP and AG Conspiracy to Not Investigate Judge Crime
16        309. The AG tells the public to send evidence of judge crime to the
17   CJP. The AG office never receives evidence of judge crime from the public.
18   With no evidence, in its office, the AG has no judge crime to investigate.
19        310. The AG wrongly directs the public to send evidence of judge
20   crime to the CJP. The AG knows that CJP will shelve and conceal the
21   evidence and not refer any of it to the AG or DA other prosecuting authority.
22   The AG knows CJP will suppress and conceal judge crime evidence.
23        311. The CJP and AG scheme functions flawlessly with the result
24   that, going back decades, CJP has never referred a judge for prosecution,
25   and the AG has never prosecuted a judge.
26        312. Judges in the Enterprise, to be inclined to commit crimes, are
27   given assurance that the CJP and AG will not investigate their judge
28   crimes, and that any evidence the public sends showing their judge crime

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 1   will be sent to CJP where it will be “deep-sixed.” Enterprise judges and
 2   justices are made comfortable that they will not be investigated, disciplined
 3   or prosecuted for their judge crime committed from the bench.
 4        313. The CJP and AG conspiracy in the Enterprise has the purpose
 5   and effect of allowing and encouraging judges to accept bribes and commit
 6   crimes from the bench, on guarantee they will not be disciplined or
 7   prosecuted.
 8        C.    AG Becerra and former AG Harris Permit Judge Crime
 9        314. Plaintiffs are informed and believe, and thereon allege, that AG
10   Xavier Becerra’s refusal to investigate or prosecute facts of judge crime was
11   in line and following the same practice conducted by his immediate
12   predecessor, former attorney general and now Senator Kamala Harris.
13        315. Like AG Becerra, Harris has a record of never prosecuting and
14   deliberately ignoring facts of probable judge crime and of falsely stating that
15   complaints of judge crime are for the CJP, not the AG.
16        316. As     one     example,       Harris      ignored      attorney-submitted
17   documentary evidence where the judge falsified court records to deprive a
18   woman of child custody or visitation. The complaint was for judge crime.
19   Harris responded saying the judge complaint must go to CJP. (Exhibit U)
20   Harris gave a pass to the crime-committing judge.
21        D.    CJP and AG Conspired to Enable Judge Moss’ Crime
22        317. Breaching their duties and in denigration of their functions as
23   guardians of the public against judicial corruption, CJP and its current and
24   former Chief Director Dresser and Henley, along with AG Becerra, actively
25   supported and upheld Judge Moss’ crime against the seniors. (Exhibit G)
26   They not only did nothing about it, but also wrongfully acted to prevent
27   Plaintiffs from exercising their right to take the deposition of Judge Moss.
28

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 1         E.    Judge Moss Knows he can get away with Judge Crime
 2         318. Judge Moss felt assured that CJP, its chiefs Dresser and Henley,
 3   and AG Becerra and former AG Harris would overlook his “fix” in 2015.
 4   They did; he faced neither CJP discipline nor AG criminal prosecution.
 5         319. Judge Moss was comfortable that the CJP and AG would afford
 6   him, as a corrupt judge in the Enterprise, the privilege to commit the perfect
 7   crime – judge crime for which the watchdog authorities guarantee there
 8   would be no discipline or prosecution.
 9         320. As a result, Judge Moss committed more judge crime in 2019,
10   perjuring himself on salary affidavits to receive his paychecks, while sitting
11   on the Plaintiffs’ §170.6 disqualification to delay their day in court for
12   refund of HOA loan payments that they desperately needed. (Exhibit F)
13         321. Judge Moss’ pattern of misconduct and crime, and CJP and AG
14   Becerra inaction and toleration, prove that the Enterprise can and does
15   count on CJP and AG to enable judges and justices to commit crimes for the
16   Enterprise without risk of discipline or prosecution.
17   X.     ENTERPRISE WRONGLY BARS JUDGE MOSS DEPOSITION
18         322. Plaintiffs incorporate by reference all preceding paragraphs.
19         323. The Defendants and their co-conspirators knew that the
20   Enterprise would be exposed if Judge Moss truthfully answered a few
21   questions, starting with: Why did he call in right on time to thwart the TRO
22   and to save the sale - if nobody asked him to?
23         324. Normally a litigant cannot obtain judge testimony. Calif. Evid.
24   Code §703 However, A judge can testify about statement or conduct that
25   could be a crime, the subject of CJP investigation, or where a person aware
26   of the facts might reasonably entertain a doubt that the judge would not be
27   impartial. Evid. Code §703.5 (b), (c), (d); Calif. Code Civ. Proc.
28   §170.1(a)(6)(iii).

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 1        325. Disqualified Judge Moss’ thwarting the TRO and “self-re-
 2   qualification” were judge crime. Plaintiffs had complained to CJP; the
 3   matter was subject of CJP investigation. (Exhibit G) A person aware of the
 4   facts of the disqualified Judge Moss strategic “call in” to fix the Park sale
 5   would entertain a doubt as to Judge Moss’ impartiality. Under Evid. Code
 6   §703.5 (b), (c) and (d), Plaintiffs had the right to take Judge Moss’ deposition.
 7        326. Plaintiffs subpoenaed Judge Moss for his deposition twice. He
 8   ignored the subpoenas and speciously objected.
 9        327. Defendants and their non-defendant co-conspirators display a
10   pattern of wrongfully acting to deny and prevent Judge Moss’ deposition.
11   On April 3, 2018, Plaintiffs made motion in the Orange County appellate
12   court to take the deposition. Justice O’Leary denied Plaintiffs’ motion as
13   soon as it was docketed. (Dkt. 4/3/18) Justice O’Leary did not wait for the
14   time to pass as Court Rule 8.54(b)(1) required; her denial was immediate.
15         328. CJP and AG told the Sacramento Superior Court not to allow
16   Judge Moss deposition. CJP and AG acknowledged Judge Moss “assigning
17   the case back to himself.” They admit the wrongdoing, since a disqualified
18   judge cannot “assign back to himself.” But going against the law, CJP and
19   AG characterized Judge Moss’ willful judicial misconduct as “exercise of
20   judicial discretion.” They vilified Plaintiffs’ seeking to take Judge Moss’
21   deposition as an “abusive litigation tactic.” (Padilla and Chodosh v. CJP
22   and AG, Demurrer, 12/20/18, pg. 10 and fn. 2, Exhibit G)
23         329. Justice Bedsworth did not hold Plaintiffs’ counsel in contempt
24   for declaring case “fix” in open court. He opined “not to give an attorney the
25   spotlight of a contempt hearing based on a statement the attorney made in
26   open court.” He rejected the suggestion: “[L]et's have an OSC re contempt.
27   Let's get Judge Moss in here and see what he has to say about things.”
28   (Trans. 7/20/18, pg. 9, Exh. S)

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 1         330. The appellate court, CJP and AG all supported Judge Moss’
 2   wrongful refusal to be deposed because they knew that if Judge Moss did
 3   speak, he alone could expose and detail key Enterprise communications,
 4   workings and Enterprise members’ roles, predicate crimes, and activities.
 5         331. Plaintiffs are informed and believe, and thereon allege, that the
 6   Defendants and non-party co-conspirators acted separately, serially, and in
 7   concert to forestall the deposition of Judge Moss and to carry out the
 8   objective to protect the Enterprise by preventing Judge Moss’ testimony.
 9   XI.   PATTERN AND ENTERPRISE EVIDENCE; ITS
10         CONCEALMENT; INJURY TO PLAINTIFFS’ PROPERTY
11         332. Plaintiffs incorporate by reference all preceding paragraphs.
12         333. Despite the racketeers’ efforts to conceal their wrongdoing,
13   Plaintiffs ascertained facts and evidence for and of the pattern and practices
14   of RICO violations alleged herein, which violations have been and remain
15   continuous and ongoing, occurred in this case over the past approximately
16   eight (8) years (2013 – 2020), and continuing.
17         334. Judge Moss concealed his self-re-qualification by having the
18   clerk not serve the 12/22/15 “self-re-qualification” Minute Order. (Exh. B)
19         335. Judge Moss back-dated and falsified pleadings on the case
20   Register of Actions, i.e. the docket. (Exhibit D) Judge Moss admitted: “With
21   respect to the filing times listed in the Register of Actions, I do not believe
22   all of them are accurate.” (J. Moss Answer, 4/29/16, pgs. 8-9; Exhibit E)
23         336. Complicit in Judge Moss “self-re-qualification” concealment,
24   Attorney Defendant Wood suppressed and withheld the TRO Opposition
25   papers that Judge Moss had falsified and back-dated and listed out of order
26   on the Docket. (Exhibits C, D)
27         337. Wood received the electronic service returned copies, which are
28   further proof of Judge Moss ex parte communication.

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 1        338. Because of their related section 1983 federal action (8:16-cv-
 2   02233) against non-defendant co-conspirators Justices O’Leary, Bedsworth
 3   and judges Moss and Margines, in 2017 and 2018 Plaintiffs ascertained
 4   more evidence of connections and communications between Defendants and
 5   the non-defendant co-conspirators.
 6        339. In or about November 2017, the opinion in Chodosh, et al. v
 7   JAMS and Justice Trotter, G070952, unpub. opinion, 9/13/17); 2017 Cal.
 8   App. unpub. LEXIS 6237; 2017 WL 4020447, brought forth witnesses who
 9   placed Judge Nancy Wieben Stock, around the time of the “mediation” (Nov.
10   2013), in discussions with JAMS. Plaintiffs did not have this information
11   during Chodosh v. JAMS, Trotter, 2014 – 2017.
12        340. The CJP “no action” letter dated May 14, 2020 (Exh. G) was still
13   more evidence of its conspiracy in the Enterprise, as described and alleged
14   herein. The letter proved deliberate CJP casting aside judge crime evidence.
15        341. The Enterprise inflicted injury upon Plaintiffs by bribed and
16   conflicted judicial officers that wrongfully ruled against Plaintiffs,
17   culminating in late 2018 and early 2019 with the Orange County Court of
18   Appeal, in Chodosh v. PBPA (G053798), the Justice Bedsworth authored
19   Opinion     (12/17/18)     and      Order       denying       Rehearing     Petition
20   (01/09/19)(“Opinion” and “Order”).
21        342. Petitions for discretionary reviews to the California and United
22   States Supreme Courts (Nos. S253784 and 18-9669) were denied 3/13/19
23   and 11/25/19.
24        343. With the Opinion, the Order, and denial of discretionary reviews,
25   Plaintiffs financial injury by HOA taking of their homes without
26   compensation, although contrary to law and the vile product of Enterprise
27   racketeering, became final in the state courts. This unjust defeat on appeal
28   (12/17/18 – 11/25/19) marked and established ascertainable and calculable

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 1   injury to Plaintiffs’ property for RICO claims.
 2          344. At all times, Plaintiffs have reasonably and diligently
 3   investigated Defendants’ and their co-conspirators and Enterprise
 4   members’ actions and wrongdoing.
 5          345. Defendants’ and the non-defendant co-conspirators’ concealment
 6   and impediments to Plaintiffs’ inquiry, as described and alleged herein,
 7   delayed and prevented Plaintiffs’ ascertainment of the pattern of predicate
 8   crimes and racketeering.
 9          346. Any applicable statutes of limitations have been tolled by
10   Defendants' and the non-defendant co-conspirators’ knowing, ongoing and
11   active concealment and denial of the events, documents and facts alleged
12   herein that constituted and revealed the pattern of racketeering.
13          347. Defendants     and    their    non-defendant       co-conspirators   are
14   estopped from asserting or relying on any statute of limitations defense
15   against Plaintiffs’ claims.
16   XII.   SCHEME, MOTIVES, FRAUDULENT INTENT AND INJURY
17          348. Plaintiffs incorporate by reference all preceding paragraphs.
18          349. The Enterprise scheme is and was to force and enable the
19   fiduciary fraudulent, self-dealing give-away real estate sale of the Palm
20   Beach Park and the taking of Plaintiffs’ homes by denying impartial justice.
21          350. Defendants and non-defendant conspirators have various
22   motives to conduct the Enterprise.
23          A.   The Fraud and Racketeering Scheme
24          351. To carry out the Defendants’ and Enterprise objective, at least
25   four (4) categories of fraud and racketeering activity were necessary.
26          352. First, Plaintiffs’ meritorious cases and claims had to be
27   thwarted, quashed and denied at all times by biased and bribed judicial
28   officers that would, by willful judicial misconduct, intentionally not follow

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 1   the law in order to rule against Plaintiffs.
 2        353. In 2013, before JAMS and Justice Trotter’s promise and threat
 3   to malign Plaintiffs to their trial judge, Judge Stock had found the facts and
 4   law were for Plaintiffs.
 5        354. After Justice Trotter and JAMS, starting in 2014, there had to
 6   be and was, on the part of the non-defendant co-conspirator judges and
 7   justices hearing Plaintiffs’ cases, willful judicial misconduct to disregard
 8   law and fact in order to enter wrong rulings designed to injure Plaintiffs by
 9   denying their rights to impartial justice.
10        355. Complementing the judicial corruption, there had to be and was
11   the undermining of judicial and executive oversight to ensure that no crime-
12   committing judge or justice would be disciplined or prosecuted; that neither
13   CJP nor AG would pursue judge crime.
14        356. Second, the Defendants could not do what was best for HOA
15   PBPA and its members. The Defendant Board President and Directors
16   would not faithfully carry out their fiduciary duties. Rather, they would
17   breach, and did breach, their duties by deceiving and defrauding the
18   beneficiaries of their trust, the Park member seniors, so that Defendants
19   could take and embezzle the seniors’ real estate equity and HOA cash and
20   the Plaintiffs’ homes.
21        357. There could be no settlement of the Park litigation to keep the
22   Park for the seniors, which could have easily been done. The Defendant
23   HOA President and Directors concealed from the members Plaintiffs’
24   reasonable and achievable 2013 settlement offer.
25        358. Instead, Defendants in HOA meetings, Defendants agitated to
26   blame the Plaintiffs for HOA difficulties, including the extra $400 / month
27   for PBPA attorney fees and the consent decree that stopped home sales.
28   (Exhibits K, J)

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 1        359. Third, the Enterprise had to deceive the Park residents into
 2   believing that selling the Park to the Park-buyer Defendants was in their
 3   best interests along with the deception that such sale was the “only option.”
 4   Defendants would steer the seniors to vote for the fraudulent give-away of
 5   the Park. This included concealing from the members the higher and better
 6   offer that was all cash and fast close with a major institutional buyer.
 7        360. Fourth, the Enterprise would be founded on the two (2) pillars of
 8   public corruption racketeering – immunity and secrecy. The judges and
 9   justices have immunity. JAMS and Justice Trotter claim immunity. CJP
10   Chiefs and the attorney generals will claim immunity. Immunity drives the
11   willingness of those having it to commit, ignore, or allow crimes.
12        361. CJP asserts the privilege to absolute secrecy, calling it
13   “confidentiality” derived from the California constitution. The judges and
14   justices and JAMS assert confidentiality. Attorneys generals claim it.
15        362. In the Enterprise, many of the actors are immune and all are
16   secretive and not transparent about facts and events and communications
17   that would prove the Enterprise. They all hide that they allow judge crime.
18        B.    Defendants’ Motives – Take Park - Embezzle HOA Cash
19        363. Defendants Saunders and Coldren and their LLCs and PCP were
20   motivated to utilize the Enterprise to acquire the Park and Plaintiffs’ homes
21   and HOA cash by fraud and deceit. Their attorney Defendant Susolik was
22   motivated to earn legal fees and demonstrate ability to contact judges ex
23   parte after hours to seek a judge “fix.”
24        364. Defendants Mantelli and Fiori sought to self-deal and breach
25   fiduciary duty to obtain secret commissions and compensation. HOA and
26   Park Buyer Defendants’ counsel Salisbury worked both sides, driven by
27   receipt of illicit legal fees and bribes and the need to prove her worth to her
28   real client Coldren.

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 1        365. PBPA attorneys Thomas and Wood displayed their eagerness to
 2   assist fiduciary breach and self-dealing in exchange for legal fees paid by
 3   the HOA and its insurance company. Attorney Wood showed his willingness
 4   to withhold evidence.
 5        366. Defendants Mantelli, Fiori and the HOA attorney Defendants
 6   Thomas, Wood and Salisbury were motived to embezzle and divert millions
 7   in HOA cash to their own use, guised as legal fees and without accounting
 8   to the members.
 9        C.    Defendant Fidelity Title Company’s Motive
10        367. Defendant Fidelity insured title of the lender, Thrivent
11   Association for Lutherans, that in 2007 made a $16,100,000 real estate loan
12   to PBPA for Park acquisition. The HOA would acquire the Park and convert
13   to “resident owned park” (“ROP”). Civil Code §799(c) The PBPA attorney
14   testified he did the ROP conversion “all wrong” such that the Thrivent Deed
15   of Trust was impaired.       The defective ROP and the loan made for an
16   unlawful “blanket” mortgage.
17        368. Fidelity’s motive was the sale would eliminate the cost to
18   Fidelity of having to pay title insurance to Thrivent and PBPA, which would
19   have benefitted the HOA seniors, but not Fidelity.
20        369. Fidelity would escape liability for the Thrivent loan. The loan
21   would be paid off at closing with HOA sale money. The Enterprise enabled
22   Fidelity to pass the cost of its title error and policy loss to the HOA seniors.
23        D.    Non-Defendant Co-Conspirator JAMS’ Motive
24        370. Plaintiffs are informed and believe, and thereon allege, that
25   Justice Trotter’s and JAMS’ motives and objectives in the racketeering and
26   Enterprise were to satisfy JAMS favored “repeat business” customers, the
27   Park-Buyer Defendants Saunders and Coldren and their related entities,
28   and their attorneys and the PBPA attorney Defendants.

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 1        371. Justice Trotter and JAMS would promote repeat business by an
 2   example of JAMS’ ability to deliver client favorable court outcomes to
 3   benefit JAMS repeat customers.
 4        372. JAMS’ racketeering to deliver results for repeat customers paid
 5   off in this case. JAMS got for its customers the results they sought.
 6        373. JAMS showed it could influence the Orange County courts for
 7   repeat JAMS customers, to the detriment of the other parties, the Plaintiffs
 8   and Park seniors, who presented no prospect of producing repeat business
 9   for JAMS.
10        E.     Co-Conspirator Judges and Justices Motives
11        374. Plaintiffs are informed and believe, and thereon allege, that non-
12   Defendant    co-conspirator     Judge     Moss     was     bribed     with   financial
13   remuneration to render his perfectly timed “call in” from vacation to fix the
14   fiduciary fraudulent Park sale.
15        375. Plaintiffs are informed and believe, and thereon allege, that non-
16   Defendant co-conspirators Judges Stock, Moss, Margines, Andler, and
17   Justices O’Leary and Bedsworth had pecuniary motives and objective in the
18   Enterprise to enhance their prospects of a post-bench lucrative private judge
19   position at JAMS. For Judges Stock and Andler, it paid off; they became
20   JAMS “neutrals,” i.e. “private” judges, in 2014 and 2017 respectively.
21        F.     Non-Defendant Conspirator CJP and Directors’ Motives
22        376. Agency non-Defendant CJP and its current and past Directors
23   Dresser and Henley, Plaintiffs are informed and believe, were and are
24   motivated to aid the Enterprise by conspiring to carry out racketeering and
25   predicate crimes that ensure no discipline for Judge Moss and other judges
26   and justices in the Enterprise.
27        377. Dresser and CJP (and previously Henley), contrary to their duty
28   to protect the public from judicial corruption, were and are incentivized to

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 1   protect and shield judicial officers from consequences for wrongdoing.
 2         378. Plaintiffs are informed and believe, and thereon allege, that CJP
 3   and its Directors’ motive for the racketeering was and is to ingratiate
 4   themselves with the judiciary and the retired judge ADR industry, whose
 5   “private” judges or “neutrals” count among them many retired state court
 6   justices and judges and federal judges and former California Supreme Court
 7   justices.
 8         G.    Non-Defendant Co-conspirator AG Motives
 9         379. Plaintiffs are informed and believe, and thereon allege, that
10   Defendant AG Becerra and his predecessor attorney general Senator
11   Kamala Harris, were motivated to not investigate or prosecute judge crime
12   because they believed the non-action would enhance support from the
13   judiciary and the bar for their election bids. They believed that not
14   investigating and prosecuting judge crime would avoid election time
15   controversy or disfavor among the judiciary and the State Bar.
16         380. Plaintiffs are informed and believe, and thereon allege, that non-
17   defendant co-conspirator AG Becerra and his predecessor former AG Harris
18   are and were motivated to conspire to aid the Enterprise by currying favor
19   with CJP, and for quid pro quo of CJP assistance in elections.
20         381. CJP helped elect AG Becerra.              During the November 2018
21   election, CJP pursued disciplinary charges against already retired El
22   Dorado County Superior Court Judge Steven Bailey, the Republican
23   candidate for Attorney General running against AG Becerra.
24         382. Trouncing its precedents, CJP went after retired Judge Bailey
25   for “improper action” and “prejudicial conduct.” Previously, CJP disciplined
26   an already retired judge only for “willful judicial misconduct,” the third and
27   highest level of judge wrongdoing. (Compare, Inquiry Concerning Former
28   Judge Steven C. Bailey, No. 202, (2/27/2019) to Inquiry Concerning Former

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 1   Judge William H. Sullivan, No. 163 (5/17/2002) and Inquiry Concerning
 2   Former Judge James R. Simpson, No. 168 (12/9/2002); see, CJP website)
 3        383. CJP pursued already retired Judge Bailey for “improper action”
 4   and “prejudicial conduct.” Precedents were for “willful judicial misconduct.”
 5        384. Plaintiffs are informed and believe, and thereon allege, that non-
 6   party co-conspirators CJP and AG Becerra conspired to obstruct justice for
 7   Plaintiffs and shield Judge Moss from investigation or prosecution for their
 8   own quid pro quo, CJP election assistance for AG Becerra in exchange for
 9   AG practice to not investigate or prosecute crime-committing judges like
10   Judge Moss.
11   XIII. USE OF THE MAILS AND WIRE AND INTERSTATE
12         COMMERCE IN FURTHERANCE OF THE ENTERPRISE
13        385. Plaintiffs incorporate by reference all preceding paragraphs.
14        386. Defendants’ and the non-defendant co-conspirators have used
15   the mail and electronic communications for the Enterprise operation from
16   2013 to the present, and continue to do so. Their mailing and electronic
17   dissemination of deceptive and false information violated and continues to
18   violate 18 U.S.C. §1341 and §1343.
19        A.    JAMS’ Use of Mail and Wire to Send False Information
20        387. At all times 2013-2017, by mail, electronic transmission, wire
21   and internet, JAMS directed to Plaintiffs and the public false advertising
22   that JAMS has high integrity and ethics. JAMS, Inc. v. Superior Court
23   (Kinsella) 1 Cal. App. 5th 984, 205 Cal. Rptr. 3d 307 (2016) found: “[JAMS]
24   statements that ‘[e]verything we do and say will reflect the highest ethical
25   and moral standards' and that JAMS is 'dedicated to neutrality, integrity,
26   honesty, accountability, and mutual respect in all our interactions' are . . . .
27   specific statements representing how JAMS conducts its operations with
28   neutrality, integrity, honesty and accountability. They are certainly

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 1   intended to be relied upon by customers of its services . . ..” Id. at 995-996
 2        388. JAMS mailings and electronic transmissions of such message to
 3   Plaintiffs in 2013-2014, upon which they reasonably relied, were false and
 4   misleading and fraudulent.
 5        389. Plaintiffs are informed and believe and thereon allege, that their
 6   case facts and events demonstrate that JAMS has no integrity, is dishonest,
 7   biased and dedicated to the denigration of justice and its replacement with
 8   “private” rendered JAMS’ justice, in which the JAMS favored customers
 9   “win” in court because JAMS attempts to extort litigants and influences
10   judges and justices and otherwise acts to obstruct justice to give advantage
11   to its preferred “repeat business” customers and their attorneys.
12        390. Under its business model, JAMS enjoys (a) near total immunity,
13   hiding its justice obstruction wrongdoing behind laws of mediation
14   confidentiality   and    quasi-immunity         which     inoculate     JAMS   from
15   accountability (e.g. Evid. Code §1119; Howard v. Drapkin (1990) 222
16   Cal.App.3d 843), and (b) courts with judges and justice whom, because of
17   such law, with few exceptions, rule in JAMS favor.
18        391. Before and until late 2016, as to Plaintiffs and the public, JAMS
19   promoted itself by mail and electronic media with the falsities quoted above,
20   that it was an honest and forthright vendor of ADR services, thereby
21   violating 18 U.S.C. §1341 and §1343.
22        392. Plaintiffs are informed and believe, and thereon allege, that as a
23   result of the above referenced rare case where JAMS lost, JAMS, Inc. v.
24   Superior Court (Kinsella), in or about late 2016, JAMS website added a
25   “disclaimer” and that in or about 2019, JAMS dropped its superlatives, no
26   longer broadcasting as it did to Plaintiffs, the JAMS promise that
27   “everything we do and say will reflect the highest ethical and moral
28   standards” and that JAMS was “dedicated to neutrality, integrity, honesty

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 1   and accountability.”
 2         393. Starting around 2019, JAMS replaced these “Mission” “values”
 3   with “Purpose” “values” that: “JAMS believes and is committed to:
 4   Neutrality, Integrity” etc. (Compare, JAMS “Mission, Vision, Values” [2014]
 5   and JAMS “Purpose, Vision, Values” [2020], Exhibit X) JAMS ceased to
 6   promise integrity but still believes in it.
 7         394. Before, when Plaintiffs went to mediation with Justice Trotter,
 8   JAMS promised integrity. Now JAMS “believes” in it, but only commits to
 9   integrity; it does not promise it.
10         395. Plaintiffs are informed and believe, and thereon allege, that
11   JAMS dropped its old “values” of promising integrity and ethics because
12   JAMS realized that, as to Plaintiffs’ litigation and the Kinsella opinion, and
13   Plaintiffs are informed and believe, in other matters, JAMS had not and did
14   not keep its promise to have integrity and exercise the highest ethics.
15         396. By mail and electronic media, JAMS fraudulently promised
16   integrity and to be ethical, but did not have integrity or ethics.
17         B.     Defendants’ Use of Mail and Wire to Mislead
18         397. From 2015 through 2019, Defendants mailed documents to
19   Plaintiffs and Park member seniors with false and misleading and
20   fraudulent information about the HOA and its Directors and the Park sale,
21   and the sale proceeds. The materials failed to disclose that HOA President
22   Mantelli, Director Smith and Director Fiori would be compensated for
23   steering the sale of the Park to Saunders and his accomplices. (See, e.g.,
24   Exhibit L)
25         398. Defendants use of the mail and electronic communication
26   throughout Enterprise operation 2013 to January 2019 included mailing
27   and transmitting numerous documents and letters to Plaintiffs and their
28   counsel that were false and fraudulent.

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 1        C.    Judge and Justice Use of Mail and Wire to Mislead
 2        399. Non-defendant Judge Moss issued false court orders that were
 3   mailed or sent electronically, including his orders of 12/22/15 to stop the
 4   TRO and self-re-qualify. (Exhibit B) He backdated the TRO Opposition
 5   pleadings and docketed them out of chronological order. (Exhibits C and D)
 6   He transmitted his “answer” to disqualification (Exhibit E) which had
 7   material untruths.
 8        400. Presiding Justice Kathleen O’Leary and Justice William
 9   Bedsworth caused to be issued and mailed or sent electronically court orders
10   that were false or wrongful and in furtherance of the Enterprise, including
11   denial of Judge Moss’ deposition (Dkt. 04/03/18), and orders in which they
12   refused to recuse.
13        401. Up until late 2016, Justice O’Leary authorized the Orange
14   County appellate court to display on the biographies of retired justice
15   Trotter and other justices their JAMS affiliation. JAMS had been on the
16   court website for years.
17        402. In 2016, Plaintiffs protested use of the website to promote JAMS.
18   Justice O’Leary had to remove JAMS. (Dkt. 8/4/16)
19        403. Plaintiffs contend the false and free advertising for JAMS, on the
20   court website, violated 18 U.S.C. §1343. It was electronic communication to
21   the public, in furtherance of the scheme, promoting JAMS through official
22   court channels.
23        D.    CJP and AG Use of Mail and Wire to Mislead
24        404. CJP uses mail and wire to disseminate to the public the false
25   information that CJP has referred judge crime evidence to prosecuting
26   authorities on “multiple occasions.” (Exhibit T) It disseminates annual
27   reports that misleadingly tout CJP performance as protective of the public.
28        405. The AG falsely tells the public, by mail and wire, that all

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 1   complaints about judges, including possible judge crime, must be sent to the
 2   CJP, as it has “exclusive jurisdiction” for judge oversight. (Exhibits R, U)
 3        E.     Engagement and Use of Interstate Commerce
 4        406. Plaintiffs are informed and believe, and thereon allege, that
 5   Defendants engaged in interstate commerce, including contacting out of
 6   state and foreign real estate lenders to loan more than 100% financing for
 7   the Park sale acquisition.
 8        407. JAMS and the buyer Defendants carried out the Enterprise by
 9   and through interstate commerce, including Park Buyer Defendants
10   borrowing millions from Jeffries LoanCore, an out of state lender that, upon
11   information and belief, made the loan using sovereign nation funds placed
12   with Jeffries for investment in U.S. real estate loans.
13        408. JAMS engages in interstate and international commerce
14   through its offices throughout the United States and in other countries.
15   XIV. PREDICATE CRIMES
16        409. Plaintiffs incorporate by reference all preceding paragraphs.
17        410. Defendants and non-Defendant co-conspirators, for their
18   Enterprise racketeering, committed various predicate crimes, both federal
19   and state law crimes, that are covered and included in 18 U.S. Code
20   §1961(1).
21        411. Federal law predicate offenses are mail and wire fraud, 18 U.S.C.
22   §1341, §1343, deprivation of “honest services” fraud, 18 U.S.C. §1346, and
23   the Hobbs Act, which prohibits extortion that constitutes bribery of state
24   public official, 18 U.S.C. § 1951, and 18 U.S.C. § 1512(c)(1), concealment and
25   alteration of documentary evidence.
26        412. On Plaintiffs’ 18 U.S.C. §1962(d) claim of conspiracy, 18 U.S.
27   Code §1349, entitled “Attempt and conspiracy” applies. It states: “Any
28   person who attempts or conspires to commit any offense under this chapter

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 1   shall be subject to the same penalties as those prescribed for the offense, the
 2   commission of which was the object of the attempt or conspiracy.”
 3        413. 18 U.S. Code §1961(1) “racketeering activity” means and
 4   includes any act or threat involving bribery or extortion, which is chargeable
 5   under State law and punishable by imprisonment for more than one year;
 6        414. The racketeering and Enterprise operate by violating various
 7   California state laws described in 18 U.S. Code §1961(1), including the
 8   following.
 9         415. Bribery of a judicial officer, violating California Penal Code §92,
10   is a felony where any person gives or offer to give a judicial officer something
11   of value with a corrupt intent to influence the officer's decision in an official
12   matter.
13         416. Bribery by a judicial officer, Penal Code §93, is a felony for a
14   judicial officer to ask, receive, or agree to receive something of value with a
15   corrupt intent to influence the officer's decision in an official matter.
16         417. Penal Code §7(6) states that 'bribe' signifies anything of value or
17   advantage, present or prospective, or any promise or undertaking to give
18   any, asked, given, or accepted. Section 7(3) provides: "The word 'corruptly'
19   imports a wrongful design to acquire or cause some pecuniary or other
20   advantage to the bribed or another person.”
21         418. Involved in the bribery was judge perjury, Penal Code §118,
22   where a person that has taken an oath to tell the truth, states as true any
23   material matter which he or she knows to be false, and Penal Code §118(a),
24   perjury by false affidavit, applicable to Judge Moss’ denial of ex parte
25   contact (Exhibit E), and false affirmation that his matters were up to date
26   in order to collect his paychecks, July 2019 – October 2019. (Exhibit F)
27         419. The racketeering involved extortion, Penal Code §518, where a
28   person obtains property or other consideration from another, with his or her

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 1   consent, or the obtaining of an official act of a public officer, induced by a
 2   wrongful use of force or fear, or under color of official right, and attempted
 3   extortion, Penal Code §524, where anyone “attempts, by means of any
 4   threat, . . . to extort property or other consideration from another”.
 5        420. Plaintiffs allege that Justice Trotter attempted to extort them,
 6   not for himself and JAMS, but as agent for the Defendants Mantelli,
 7   Saunders, Coldren, Wood and Thomas and affiliates.
 8        421. Justice Trotter’s threat and promise was attempted extortion
 9   under Penal Code §518 which became consummated extortion under §524,
10   when the threatened injury occurred upon Plaintiffs losing their homes by
11   final judgment in late 2019.
12        422. Involved in the bribery was document falsification, where the
13   Enterprise and Defendants made and used false and forged documents,
14   specifically Judge Moss and attorney Defendant Wood alteration and
15   concealment of court documents (Exhibits C, I) and the Haugen v. PBPA
16   Register of Action, i.e. “Docket” for which Judge Moss admits error.
17   (Exhibits D, E, pgs. 8-9, ¶6). Applicable are 18 U.S.C. §1512(c)(1), and Penal
18   Code §134, preparing false documentary evidence, Penal Code §135
19   destroying or concealing documentary evidence, and Government Code
20   §6200-§6201, alteration of court record.
21        423. Involved in the bribery, perjury, document falsification and
22   extortion was conspiracy, both conspiracy to commit a crime, and conspiracy
23   to obstruct justice, Penal Code §182(a) where two or more persons conspire:
24   (1) To commit any crime or (5) To commit any act . . . to pervert or obstruct
25   justice, or the due administration of the laws.
26        424. Involved in the bribery were state crimes of conversion,
27   including Saunders, et al. in bribery of the PBPA HOA Board President and
28   directors, Defendants Mantelli and Fiori, and HOA Director Dan Smith,

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 1   violations of Penal Code §487, felony grand theft, and by false pretenses,
 2   §532 and embezzlement, §503. These fiduciary crimes, involved in the
 3   bribery, were instrumental to Enterprise success.
 4         425. The state law predicate crimes were felonies, punishable by more
 5   than a year imprisonment. The crimes Defendants conspired to conduct
 6   were themselves felonies, making the conspiracies punishable as felonies.
 7   XV.   FACTS FOR RICO PREDICATE CRIMES
 8         426. Plaintiffs incorporate by reference all preceding paragraphs.
 9         427. Facts and proof of predicate crimes arise out of various lawsuits
10   (Exhibit Z) and legal proceedings between Plaintiffs and the Defendants and
11   non-Defendant co-conspirators.
12         A.   Lawsuits and Litigation Yield Evidence for RICO case
13         428. Plaintiffs are the plaintiffs in the main Park litigation case
14   Chodosh, et al., v. Palm Beach Park Association (filed 2010), and related
15   case, Chodosh v. JAMS and Justice Trotter, (filed 2014) and the federal case
16   Eicherly v. Presiding Justice O’Leary, Justice Bedsworth, Judge Moss, Judge
17   Margines, Saunders, Coldren, Mantelli, et al. (filed Dec. 2016) Plaintiff
18   Haugen filed Haugen v. Palm Beach Park Association on November 12, 2015
19   to stop the Park sale. (Exhibit B)
20         429. Plaintiffs also litigated against the CJP and AG, Eicherly v. CJP,
21   San Francisco County Superior Court, CGC16555780, A151723, 2016-2018)
22   and Padilla, Chodosh v. CJP and AG (Sacramento County Superior Court
23   34-2018-00242031, on appeal, C091221; 2018-present).
24         430. These lawsuits yielded substantial documentary evidence and
25   judicial admissions that provide proof or probable cause for the predicate
26   crimes, racketeering and conduct of the Enterprise by and through
27   Defendants and non-defendant co-conspirators JAMS and Justice Trotter,
28   the judges and justices, CJP and its directors, and the attorneys general.

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 1        B.    Defendants’ and Co-Conspirators’ Scheme
 2         431. Plaintiffs are informed and believe, and thereon allege, that
 3   Defendants’ and their non-defendant co-conspirators’ racketeering scheme
 4   was conducted and implemented by use of predicate crimes of mail and wire
 5   and deprivation of honest services fraud (18 U.S.C. §1341, §1343, §1346),
 6   along with bribery, attempted extortion, extortion, perjury and document
 7   falsification (18 U.S.C. §1951; Calif. Penal Code §92, §93, §118, §138, Govt.
 8   Code §68210, et al.) and other predicate crimes, as more particularly
 9   described and alleged herein.
10         432. Defendants attempted to extort, and did extort, the Plaintiffs,
11   bribed judges and obstructed justice in the Orange County courts, deceived
12   the Park seniors, and bribed fiduciary HOA Directors, causing Plaintiffs to
13   lose their right in court to an impartial judge and ultimately to be injured
14   in their property by loss of their homes’ value to the Park-buyer Defendants.
15         433. The predicate crimes were committed throughout the conduct of
16   the Enterprise from 2013 to 2019 and are ongoing.
17        C.    Judge Margines, Justices O’Leary and Bedsworth
18              Predicates
19        434. Non-defendant         co-conspirators       former      Presiding   Judge
20   Margines and Presiding Justice O’Leary and Associate Justice Bedsworth,
21   engaged and conspired in predicate crimes of deprivation of honest services
22   fraud (§1846), Hobbs Act (§1951) bribery-extortion, and state law crimes of
23   bribery and obstruction of justice (§92, et al., §182(a)(2) and (5)). They
24   upheld, for pecuniary and personal motives, Judge Moss’ fix of the fiduciary
25   fraudulent Park sale.
26        435. The justices enabled Defendants to take from Plaintiffs their
27   homes’ value, and from the Park seniors, the Park and HOA funds. They
28   did so largely by upholding the actions of a judge that “fixed” the case.

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 1        436. Plaintiffs are informed and believe and thereon allege that from
 2   2013 through 2019, the non-defendant co-conspirator judicial officer
 3   members and Defendants and agency officials engaged in conspiracy to
 4   defeat and thwart and deny Plaintiffs’ their rightful claims to an impartial
 5   judge in the state court, in order to take for Defendants Plaintiffs’ homes
 6   and value thereof and to take from the HOA seniors the mobilehome Park
 7   and HOA cash.
 8        437. The judicial officers conspired and racketeered with predicate
 9   crimes to bribe judicial officers (Penal Code §92, §93 et al.) and obstruct
10   justice (§182(a)(5)), all with the objective of denying Plaintiffs an impartial
11   judge (honest services fraud, 18 U.S.C. §1346); Hobbs Act, 18 U.S.C. §1951
12   (extortion under color of right) in order to wrest from them and the seniors
13   their homes and Park and HOA cash.
14        D.     Park Buyers Saunders, Mantelli, et al. Predicates
15        438. Between 2013 - 2017, Plaintiffs are informed and believe,
16   Saunders, Coldren and Mantelli acted to bribe PBPA HOA Directors Smith
17   and Fiori so they would participate in the Enterprise and fraudulently direct
18   the HOA members to sell the Park.
19        439. The bribes would assure that the HOA Board would conceal from
20   the HOA members the higher and better all-cash, no real estate commission
21   offer (Exhibit M) the Board received in December 2015.
22        440. The HOA bribery and HOA breach of fiduciary duty was felony
23   grand theft, Penal Code §487, and grand theft by false pretenses, §532, and
24   by embezzlement, §503. The self-dealing HOA Board fiduciaries Mantelli
25   and Fiori, and HOA attorneys Salisbury, Thomas, and Wood acted and
26   conspired to impair and deprive and defraud Plaintiffs out of honest
27   services.   18 U.S.C. §1346 The Board and attorneys, all fiduciaries,
28   conspired to commit crimes and obstruct justice. Penal Code §182(a)(1), (5)

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 1        E.    Justice Trotter Attempted Extortion for Defendants
 2        441. Non-defendant         co-conspirator      Justice     Trotter     told   and
 3   threatened Plaintiffs that he would communicate ex parte to Plaintiffs’ trial
 4   Judge Stock that Plaintiffs had caused the settlement failure. This was
 5   attempted extortion to benefit Defendants under Penal Code §524, and
 6   became extortion, §518, after Plaintiffs lost their homes’ value by the
 7   Bedsworth opinion (12/17/18) and thereby suffered the injury threatened in
 8   the attempted extortion.
 9        442. In Chodosh, et al. v. JAMS and J. Trotter, the appellate court
10   decided that JAMS did not commit extortion, because JAMS itself did not
11   seek to obtain Plaintiffs’ property. Prompted by the non-published opinion
12   publicity in late 2017, from the public Plaintiffs learned additional facts that
13   allow Plaintiffs to assert, on information and belief, that JAMS attempted
14   to extort and did extort Plaintiffs not for itself, but as agent for its repeat
15   customers the Park-Buyer Defendants and their attorneys.
16        F.    JAMS and Judge Stock Predicates
17        443. Plaintiffs allege on information and belief, that Judge Stock and
18   Justice Trotter were in communication in the time frame October 2013 to
19   February 2014 about Plaintiffs’ case and the mediation.
20        444. In October 2013, non-defendant co-conspirator Judge Wieben
21   Stock recommended that the Plaintiffs go back to “mediation” at JAMS with
22   Justice Trotter.    At the second mediation, Justice Trotter stated and
23   threatened he would malign Plaintiffs to Judge Stock.
24        445. After Justice Trotter’s statement and threat, Judge Stock
25   reversed her procedural rulings to go against Plaintiffs. About six (6) weeks
26   later, Judge Stock retired from the bench and went to work at JAMS.
27        446. Plaintiffs are informed and believe, and thereon allege, that
28   JAMS, through Justice Trotter, offered and held out and assured Judge

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 1   Stock of a position at JAMS in exchange for (quid pro quo) her agreement
 2   to turn her rulings against Plaintiffs before she exited the bench, and that
 3   such action was bribery, in contravention of Penal Code §92 and §93, honest
 4   services fraud, 18 U.S.C. §1346, and violation of the Hobbs Act, 18 U.S.C.
 5   §1951.
 6        G.    Defendants Request Judge Moss “Call-In” from Vacation
 7        447. Plaintiffs are informed and believe, and thereon allege, that the
 8   Park-buyer Defendants, through their agents, communicated to Judge Moss
 9   with request that he call in from vacation to thwart Plaintiffs’ TRO and
10   enable the illicit Park sale closing.
11        448. Plaintiffs are informed and believe that the Park-buyer
12   Defendants, or those acting with them, offered and provided to Judge Moss
13   one or more items of value in exchange for his call in from vacation just in
14   time to halt the TRO so the park sale could close that same afternoon.
15        449. The activity was crime, bribery under Penal Code §92 and §93,
16   denial of the intangible right to honest services fraud 18 U.S.C. §1346, and
17   Hobbs Act violation, 18 U.S.C. §1951.
18        450. Plaintiffs are informed and believe, and thereon allege, that at
19   all times 2014 – 2019, the Park-buyer Defendants bribed or conspired to
20   bribe Judge Moss in order that he enter and make his wrongful rulings that
21   intentionally disregarded the law and functioned to deny Plaintiffs’ their
22   rights and take their homes and the Park from the other seniors.
23        451. Plaintiffs are informed and believe, and thereon allege, that
24   Park-Buyers’ bribery of Judge Moss as described and alleged above also
25   constituted the crimes of conspiracy to obstruct justice, Calif. Penal Code
26   §182(a)(5) and of conspiracy to commit crime §182(a)(1).
27        H.    JAMS Unethically and Unlawfully Influences Judiciary
28        452. Plaintiffs are informed and believe, and thereon allege, that from

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 1   2013 through 2017, JAMS obstructed justice by insisting that Orange
 2   County justices, including Presiding Justice O’Leary and Justice
 3   Bedsworth, not recuse in Plaintiffs’ case against JAMS and Justice Trotter.
 4        453. Contrary to law and ethics, JAMS utilized its connections and
 5   influence at the Orange County courts to act and conspire to deprive
 6   Plaintiffs of an impartial judicial officer in all their cases and appeals, which
 7   is conspiracy to pervert and obstruct justice under Penal Code §182(a)(5)
 8        454. Plaintiffs are informed and believe, and thereon allege, that
 9   Justice Trotter and JAMS obstructed justice by unlawful influencing of
10   former Orange County Superior Court Judge Gail A. Andler, the judge
11   appointed to take over for disqualified Judge Moss. She was the judge that
12   allowed Judge Moss to “self-re-qualify” and take over the Haugen case so it
13   would not stop the Park sale. Months later, Judge Andler joined JAMS.
14   The events indicate probable cause for JAMS and Judge Andler conspiracy
15   to obstruct justice, Penal Code §182(a)(5), honest services fraud 18 U.S.C.
16   §1346 and for Hobbs Act violation, 18 U.S.C. §1951.
17         I.    Judge Moss’ Repeated Perjury 2016 and 2019
18         455. In April 2016, Judge Moss perjured himself when he stated
19   under oath on affidavit that he had no ex parte contact in the Haugen case,
20   breaking Penal Code §118 and §118a. (Exhibit E) He had to have such
21   communication to know to “call in” just in time to save the Park sale.
22         456. On July 31, August 30, September 30 and October 31, 2019,
23   Judge Moss executed the salary affidavit a judge must sign to receive a
24   paycheck. Under Calif. Const. Article VI, §19 and Calif. Government Code
25   §68210, a judge cannot be paid if the judge has any matter left undecided
26   for more than ninety (90) days. (Exhibit G)
27         457. Under the wording and dates of the affidavits, and the law that
28   Judge Moss had to rule on Plaintiffs’ §170.6 peremptory challenge

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 1   “instantly,” (Hemingway, supra) Judge Moss perjured himself on the
 2   affidavits he signed in July, August, September and October 2019. (Exhibit
 3   F) (Penal Code §118, §118a) He had not ruled “instantly.” Ninety (90) days
 4   expired August 20, 2019. False salary affidavit was made October 31, 2019.
 5   (Exhibit F) Judge Moss perjured himself on salary affidavits at least four
 6   (4) times.
 7        J.      Methods and Patterns of Predicate Crimes
 8        458. For the RICO objectives, Defendants and the Enterprise utilized
 9   three (3) methods and patterns of predicate crimes to achieve the
10   Enterprise’s financial and other goals.
11        459. First, corrupt court action and dishonest judicial decisions to
12   cause Plaintiffs’ loss of their case in court and their homes. (Honest services
13   fraud 18 U.S.C. §1346; Hobbs Act, 18 U.S.C. §1951; bribery, Penal Code §92,
14   et seq.; obstruction of justice, Penal Code §182(a)(5)).
15        460. Second, to deliver to Saunders and Coldren and the other
16   Defendants Plaintiffs’ homes and the Park for nothing or below market
17   values using fiduciary fraud and self-dealing, and crimes of conversion such
18   as Penal Code §484, §487, §503, §532, which are theft, grand theft,
19   embezzlement and grand theft by false pretenses.
20        461. Third, to attempt to extort and ultimately extort (Penal Code
21   §518, §524) Plaintiffs for the JAMS’ favored client by threat and action to
22   punish Plaintiffs for their refusal to accept an HOA paper promise to pay
23   settlement offer promoted by Justice Trotter (Ret.).
24        K.      Core Predicate Crime – Judicial Bribery and Influence
25        462. Throughout the Enterprise and its operation, the members, both
26   Defendants and non-defendant co-conspirators JAMS and Justice Trotter,
27   engaged in soliciting, procuring, and utilizing dishonest services from the
28   non-defendant judicial officer members, Judge R. Moss and Orange County

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 1   judges and justices as described herein.
 2        463. 18 U.S. Code §1346. Definition of “scheme or artifice to defraud”
 3   means “. . . . a scheme or artifice to deprive another of the intangible right
 4   of honest services.” In this case, the scheme was to bribe Judges Stock and
 5   Moss and likely Andler, and Plaintiffs are informed and believe, Justices
 6   O’Leary and Bedsworth.
 7        464. The quid pro quo was for Judge Moss to thwart the TRO and
 8   enable the Park sale in exchange for items of pecuniary value, a bribe and
 9   prospect of future JAMS job. For Judge Stock, the quid pro quo was a JAMS
10   job for reversal of her rulings that were for Plaintiffs. For Judge Andler it
11   was JAMS job for ignoring her duty to report Judge Moss’ “fix.” Justices
12   O’Leary and Bedsworth deprived Plaintiffs of due process in their appeals,
13   for which wrongdoing the justices had the bribe of an assured JAMS job.
14        L.    CJP and AG Conspiracy– No Consequences to Judge
15        465. Plaintiffs are informed and believe and thereon allege that non-
16   defendant co-conspirators Moss, O’Leary, and Bedsworth participated in the
17   Enterprise within the meeting of 18 U.S.C. §1962(c), and conspired to
18   participate under §1962(d) to carry out §1962(c) wrongdoing.
19        466. They and the other Defendants and non-party co-conspirators
20   conspired with CJP, Dresser and Henley and AG Becerra in the Enterprise
21   by their agreement not to investigate, pursue or prosecute information or
22   evidence of Judge Moss’ crime, thereby conspiring to obstruct justice for
23   Plaintiffs in violation of Penal Code §182(c)(5).
24        467. Plaintiffs are informed and believe and thereon allege that non-
25   defendant co-conspirators CJP, Dresser and Henley and AG Becerra and
26   AG Harris conspired to carry out the Enterprise, within the meaning of 18
27   U.S.C. § 1962(d), and therefore are subject to 18 U.S. Code § 1349, entitled
28   “Attempt and conspiracy” which states:            “Any person who attempts or

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 1   conspires to commit any offense under this chapter shall be subject to the
 2   same penalties as those prescribed for the offense, the commission of which
 3   was the object of the attempt or conspiracy. ”
 4        M.    Scheme of Pattern of Predicate Crimes
 5        468. The motivation for this eight-year-long scheme and cover-up
 6   with its pattern of predicate crimes is plausible and demonstrable, and
 7   largely proven by the documents attached as exhibits to this Complaint.
 8        469. Various patterns are discernible.            Judge Moss’ wrongful “re-
 9   qualification” and Judge Andler inaction to report it to CJP and law
10   enforcement under canon 3D(1) were consistent and complementary. Twice
11   disqualified Judge Moss stayed on the case and perjured himself to cover it
12   up. Several times the justices refused to recuse. Bribes were repeated and
13   universal; made to public officials and private citizen fiduciaries.
14   Coordinated and successive action prevented Judge Moss’ testifying.
15        470. The Enterprise relies upon a pattern and repeat of predicate
16   crimes; which the actors and conspirators recurrently commit, and have
17   committed on two (2) or more occasions. Defendants’ and the non-party co-
18   conspirators’ bribery, extortion, and obstruction of justice, and the
19   continuing use of judge bribery, perjury, and obstruction of justice by the
20   Enterprise participants and conspirators to carry out the scheme,
21   constitutes a pattern and practice of knowing and deceptive conduct that is
22   RICO racketeering.
23        471. Plaintiffs are informed and believe that the Enterprise is
24   ongoing, acting to intimidate and deter the Park seniors, and taking place
25   in other cases with other litigants, where JAMS and judicial officers and
26   attorneys act and conspire to take the property of other disfavored litigants
27   for the benefit of the VIP and “repeat” JAMS or ADR business customers.
28

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 1   XVI. PLAINTIFFS’, DEFENDANTS’ AND NON-DEFENDANT CO-
 2         CONSPIRATORS’ ROLES IN THE ENTERPRISE
 3        472. Plaintiffs state and allege their status and standing.            They
 4   describe and allege the Enterprise members’ individual roles, acts,
 5   omissions and participation and conspiracy in the Enterprise.
 6        A.    Plaintiffs
 7        473. Plaintiffs Floyd Chodosh, Sue Eicherly, Ole Haugen, Myrle
 8   Moore, Rodger Kane, Jr. and Todd Peterson are victims of the Enterprise,
 9   having suffered injury to their property because of the Defendants’ and non-
10   Defendant co-conspirators’ predicate crimes, racketeering by and through
11   their Enterprise whereby they illegally converted and seized, without
12   compensation, Plaintiffs’ homes and Park and HOA funds.
13        B.    Defendants
14              1.    JOHN SAUNDERS, PARK BUYER PRINCIPAL
15        474. John Saunders is principal Park-buyer Defendant and majority
16   or major owner-principal of the Park buying entities, the Defendant LLCs.
17   Saunders owns and operates other mobilehome parks where senior
18   residents have protested alleged abusive tactics.
19        475. Plaintiffs are informed and believe, and thereon allege, that from
20   early 2013, using the Enterprise, Saunders deliberately acted to incite,
21   implement and assist fiduciary fraud, self-dealing wrongdoing at the Park
22   so as to secure, by corrupt means, his and his accomplices’ capability to
23   purchase the senior mobilehome Park at a price millions below its market
24   value, and in a manner that would facilitate ouster of the seniors by forced
25   buy-outs at low values much less than what the seniors paid for their homes.
26        476. Saunders spoke to the HOA seniors, at meetings and
27   individually, to pitch the sale of the Park. At no time did he state that
28   Mantelli was receiving financial reward for directing the sale to him, or that

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 1   he had promised valuable favors to Directors Fiori and Smith. He did not
 2   disclose that, after sale closing, Mantelli would be Park manager and
 3   preferred leasing and sales agent.
 4        477. Saunders made various false and hollow promises which he had
 5   no intention of fulfilling, including post-sale favorable leases for residents,
 6   and that he would indemnify and pay the HOA legal expenses.
 7        478. The members post-closing leases were not as he promised. The
 8   legal fees he was to pay were instead paid out of seller PBPA proceeds from
 9   the fraudulent Park sale.
10        479. Included in the fiduciary fraud, Saunders and his buyer affiliates
11   received a $2,000,000 credit against the Park purchase price to use to pay
12   Plaintiffs in settlement for their claims.
13        480. Instead of settling, Saunders acted and conspired to take the
14   homes by use of the Enterprise and its corrupt judges and justices and the
15   bribery of Judge Moss carried out by his attorney Defendant Susolik, as
16   described and alleged herein.
17        481. Plaintiffs are informed and believe, and thereon allege, that
18   Saunders had a central and top role in the Enterprise. As Park Buyer
19   principal he carried out the illicit acquisition of the Park by and through the
20   Enterprise racketeering and fraud by providing the necessary mechanisms
21   and monetary support.
22        482. Plaintiffs are informed and believe and thereon allege that
23   Saunders bribed Defendant PBPA Board President Diana Mantelli and
24   Directors George Fiori and Dan Smith to secure HOA Board approval of the
25   Park sale to him and his accomplices at millions below market value.
26        483. Plaintiffs are informed and believe, and thereon allege, that
27   Saunders knew, approved, and allowed the December 21-22, 2015 bribery of
28   Judge Moss in order to save and enable the Park sale, and that he violated

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 1   Penal Code §92 and acted to deprive honest services, 18 U.S.C. §1846.
 2        484. Plaintiffs sent Saunders letters on March 23 and 29, 2016
 3   accusing him of participating in the ex parte communication with Judge
 4   Moss to arrange the “call in” from vacation to fix the Park sale. (Exhibit I)
 5   Saunders did not deny the accusation of criminal wrongdoing.
 6        485. Plaintiffs assert that, by his failure to deny the charges,
 7   Saunders adoptively admitted his participation in the ex parte contact with
 8   Judge Moss, which included conspiracy to obstruct justice, Penal Code
 9   §182(c)(5).
10        486. On information and belief, Plaintiffs allege that Saunders
11   violated 18 U.S.C. §§1962(c) and (d) by actively participating and conspiring
12   in the Enterprise scheme to extort and carry out and fraudulently conceal
13   judge bribery, perjury, and obstruction of justice, and to bribe fiduciaries
14   and deceive and defraud PBPA and its members, all for the result Saunders
15   intended, the taking of Plaintiffs’ homes and the HOA seniors’ Park and
16   converting such property to his personal financial benefit.
17                 2.   ROBERT COLDREN, PARK BUYER PRINCIPAL
18        487. Robert Coldren is an attorney that represents mobilehome park
19   owners against park tenants. Coldren is a principal Park Buyer Defendant
20   with interest in the Park buying entities, Defendant LLCs and PCP. The
21   LLC’s are Park record owner. PCP owns mobilehome parks. Coldren has
22   been reported as a principal owner or attorney representative for
23   mobilehome parks where seniors have suffered landlord abuse or ouster.
24        488. Plaintiffs are informed and believe, and thereon allege, that
25   Coldren had a central and top role in the Enterprise.                As Park Buyer
26   principal, he carried out the acquisition of the Park through the Enterprise.
27   He rendered the necessary mechanisms and financial support and
28   mobilehome and real estate law attorney expertise.

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 1        489. Plaintiffs are informed and believe, and thereon allege, that from
 2   2013, Coldren deliberately acted to incite, implement and assist fiduciary
 3   fraud, self-dealing and wrongdoing at the Park so as to secure, by corrupt
 4   means, his and his accomplices’ capability to acquire the senior mobilehome
 5   Park at some price millions below its market value, and in a manner that
 6   would allow ouster of the seniors by forced buy-outs at prices that would be
 7   a fraction of what the seniors had paid for their homes.
 8        490. Coldren and his buyer affiliates received a $2,000,000 credit
 9   against the already fraudulently low Park purchase price. For the credit,
10   the Park buyer was to indemnify PBPA for the Plaintiffs’ litigation, and to
11   try and settle Plaintiffs claims.
12        491. Instead of settling, Coldren chose to acquire Plaintiffs’ homes for
13   nothing through the Enterprise, by its use of corrupt judges and justices and
14   bribery of Judge Moss, carried out by Saunders’ attorney Defendant Susolik,
15   and by the work of his own lawyer, Defendant Salisbury, who wrongfully
16   doubled as PBPA attorney, i.e. represented seller and buyer.
17        492. Plaintiffs are informed and believe and thereon allege that
18   Coldren bribed Defendant PBPA Board President Diana Mantelli and
19   Directors George Fiori and Dan Smith to assure HOA Board approval of the
20   sale of the Park to him and his accomplices at millions below market value.
21        493. Plaintiffs are informed and believe, and thereon allege, that
22   Coldren was part of the December 21-22, 2015 bribery of Judge Moss to save
23   the Park sale, that he violated or conspired to violate Penal Code §92, and
24   to deprive honest services, 18 U.S.C. §1346.
25        494. Plaintiffs are informed and believe, and thereon allege, that
26   Coldren directed his attorney Defendant Lisa Salisbury to also act as PBPA
27   legal counsel. As an attorney, he knew that her representing both sides in
28   the real estate transaction, his side as buyer and PBPA on the seller side,

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 1   was an incurable conflict of interest that violated law, ethics and bar rules.
 2        495. Plaintiffs are informed and believe, and thereon allege, that
 3   Coldren’s corrupt purpose in having Salisbury represent PBPA was to place
 4   her where she could direct that PBPA interests were not honored. She would
 5   misdirect PBPA to sell the Park to him, her client, and his affiliates, in the
 6   fiduciary fraudulent, self-dealing real estate sale.
 7        496. Plaintiffs sent Coldren letters on March 23 and 29, 2016 accusing
 8   him of participating in the ex parte communication with Judge Moss to
 9   arrange the “call in” from vacation to fix the park sale. (Exhibit I) Coldren
10   did not deny the accusation of his criminal wrongdoing.
11        497. Plaintiffs asserted that, by his failure to deny the charges,
12   Coldren adoptively admitted his participation in the ex parte contact with
13   Judge Moss, which included conspiracy to obstruct justice, Penal Code
14   §182(c)(5).
15        498. Plaintiffs are informed and believe, and thereon allege, that
16   Coldren knew of the higher cash offer to purchase the Park which the HOA
17   Board, including Mantelli, Fiori and Smith, had received from Hometown
18   America in early December, 2015, (Exhibit M).
19        499. Plaintiffs are informed and believe, and thereon allege, that
20   Coldren acted and conspired to conceal the higher offer from the PBPA
21   members and that he threatened Hometown America with retaliation if it
22   pursued its higher and better offer to purchase the Park by going directly to
23   the HOA members and bypassing the self-dealing HOA PBPA President
24   Mantelli and Directors Smith and Fiori whom Coldren and affiliates had
25   bribed.
26        500. On information and belief, Plaintiffs allege that Coldren violated
27   18 U.S.C. §§ 1962(c) and (d) by actively participating and conspiring in the
28   Enterprise scheme to extort and carry out and fraudulently conceal judge

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 1   bribery, perjury, and obstruction of justice, and to bribe fiduciaries and
 2   defraud HOA PBPA and its members, all with the result Coldren intended,
 3   the taking of Plaintiffs’ homes and the HOA seniors’ Park and converting
 4   such real property to his personal financial benefit.
 5              3.    ICC 35902 LLC AND 3187 REDHILL LLC AND PCP
 6                    PARK BUYER ENTITIES
 7        501. ICC 35902 LLC and 3187 Redhill LLC, Plaintiffs are informed
 8   and believe, are legal entities established and majority owned or controlled
 9   by Saunders and Coldren.         The LLCs hold record title to the Park for
10   Saunders and Coldren and their affiliates.
11        502. Plaintiffs are informed and believe, and thereon allege, that
12   Pacific Current Partners (“PCP”) is a company majority owned or controlled
13   by Coldren.     It and an entity called Saunders Property Company, that
14   appears to be fictitious name for Saunders personally, acted in the
15   Defendants’ fraudulent acquisition of the Park. (See, PCP press release,
16   1/29/16; Exhibit V)
17        503. On information and belief, Plaintiffs allege that the LLCs and
18   PCP violated 18 U.S.C. §§ 1962(c) and (d) by actively participating and
19   conspiring in the Enterprise scheme to carry out the scheme for the intended
20   result of defrauding Plaintiffs and converting to their principals’ financial
21   benefit Plaintiffs’ homes and the Park.
22        504. Plaintiffs are informed and believe, and thereon allege, that the
23   LLCs and PCP had vital roles in the Enterprise, serving as the holding
24   companies for the Park real estate which the Park Buyer Defendants
25   corruptly acquired by and through Enterprise racketeering and wrongdoing.
26              4.    DIANA MANTELLI, HOA PBPA PRESIDENT AND
27                    REAL ESTATE BROKER
28        505. Diana Mantelli, Plaintiffs are informed and believe, and thereon

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 1   allege, was the architect of the racketeering and Enterprise to steal the Park
 2   and embezzle HOA cash.          She invented the scheme to take the Park,
 3   Plaintiffs’ homes and HOA funds from her fellow seniors, to burden them
 4   with more legal fees, connive to foment hatred and strife to distract the HOA
 5   members from her self-dealing, and to pursue effectively fiduciary theft.
 6        506. By fraud and deceit, Mantelli worked tirelessly and efficiently to
 7   convince her fellow HOA seniors to follow her self-serving recommendation
 8   to sell the Park to her accomplices, while concealing her self-interest and
 9   conflict of interest by which she would profit personally from the sale.
10        507. Since her election as HOA President in January 2013, Mantelli
11   was and always has been corruptly focused to carry out the huge illicit
12   financial gain she could realize by breaching, as HOA President and a real
13   estate broker, her fiduciary duties to the HOA and its members, and by
14   pursuing a self-dealing sale of the Park to her undisclosed affiliates,
15   Saunders, et al.
16        508. Upon information and belief, Plaintiffs allege that from early
17   2013 through January 2016 (PCP Press Release 1/29/16, Exh. V) Mantelli
18   was in contact and communication with Saunders, Coldren or their
19   representatives to arrange and conspire on the fiduciary, self-dealing taking
20   of the Park - the key financial Enterprise objective.
21        509. Mantelli worked and conspired with Saunders and the other
22   Park Buyer Defendants, including the PBPA attorneys, to take the homes
23   and Park and millions in HOA cash from the senior resident owners,
24   including Plaintiffs, and to do so by fiduciary fraud, self-dealing, extortion
25   by and through agents JAMS and Trotter, bribery of judicial officers, bribery
26   of HOA Directors Defendant George Fiori and non-party HOA Director Dan
27   Smith, and other predicate crimes.
28        510. Mantelli was instrumental in carrying out the Enterprise

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 1   objective.   She assisted Defendants Saunders and Coldren and their
 2   companies to acquire the Palm Beach Park by fiduciary fraud and self-
 3   dealing that was enabled by judge bribery and obstruction of justice.
 4        511. Plaintiffs are informed and believe, and thereon allege, that
 5   Mantelli, present in court on December 22, 2015, knew and was part of the
 6   scheme to bribe disqualified Judge Moss so that he would call in from
 7   vacation to thwart the TRO and enable the Park sale.
 8        512. Mantelli authored and gave to PBPA members false and
 9   misleading materials promoting the sale of the Park to her accomplices,
10   Saunders and the other park Buyer Defendants. (Exhibit L) Mantelli
11   promised the members certain leases and benefits after the Park sale. But
12   she had no intention to keep the promises; her intent was to not honor any
13   promises she or Saunders made to the HOA seniors.
14        513. At all times, Board President and real estate broker and
15   fiduciary Mantelli concealed from the members and falsely denied her
16   fiduciary breaching and self-dealing in the Park sale, plan to embezzle and
17   convert HOA cash, the deliberate failure to account or issue financials, and
18   inaction on settlements available in the litigation with Plaintiffs that would
19   have kept the Park for the seniors.
20        514. Plaintiffs are informed and believe, and thereon allege, that
21   Mantelli had a central role in the Enterprise, because as Board President
22   she could conceal and falsify, withhold or deliver, as necessary, misleading
23   HOA financial and other information, while misdirecting HOA attorneys to
24   do what profited her, rather than what was best for the HOA and members.
25        515. As a seasoned real estate broker, Mantelli knew how to
26   manipulate and direct the Park sale for her profit and that of the Enterprise.
27   At all times, her conduct and control in the Enterprise was vital to it.
28        516. Under HOA law and its bylaws, PBPA had to conduct a member

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 1   vote to approve the sale. PBPA did not retain an independent elections
 2   inspector. Mantelli conducted the vote, controlled and counted the ballots,
 3   after which she announced the members had approved the sale. Defendant
 4   attorneys Wood, Thomas and Salisbury allowed their client PBPA to ignore
 5   election monitor requirement. Mantelli handled the vote for a sale which
 6   would reward her, while concealing the reward from the voters.
 7        517. Mantelli acted for the Enterprise in November 2013 when she
 8   called Justice Trotter into the conference room so that he could, and did,
 9   threaten and tell Plaintiffs that he would malign them to their trial judge if
10   they refused the HOA offer to settle for its promise to pay.
11        518. Plaintiffs are informed and believe, and thereon allege, Mantelli
12   worked with Justice Trotter and PBPA’s attorneys, to benefit the Park-
13   buyer Defendants and herself.
14        519. Plaintiffs are informed and believe and thereon allege that
15   Saunders and Coldren caused bribes to be paid to HOA PBPA President and
16   real estate broker Mantelli, which she accepted, as quid pro quo for
17   deliberate breach of her fiduciary duties, to singularly promote and pursue
18   the give-away sale of the Park to Saunders and affiliates.
19        520. Plaintiffs are informed and believe, and thereon allege, that the
20   bribes included Saunders’ and Coldren’s promise that Mantelli, after the
21   closing, would be awarded a contract to manage the Park that would include
22   preferential privilege to handle the leasing and sale of homes in the Park,
23   transactions that would yield to her substantial real estate commissions.
24        521. After the Park sale closed, Plaintiffs are informed and believe,
25   and thereon allege, that Mantelli and Defendant Salisbury formed, owned
26   and operated PMP which managed the Park under a contract with PCP and
27   the LLCs. (Exhibit Y)
28        522. Plaintiffs are informed and believe, and allege, that Saunders

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 1   and Coldren knew and expected and directed that Mantelli breach her
 2   fiduciary duties to the HOA and its members by defrauding and deceiving
 3   them into voting for the give-away sale of the Park.
 4         523. Plaintiffs are informed and believe and thereon allege that
 5   Mantelli arranged or assisted in the park buyer Defendants’ Saunders and
 6   accomplices’ bribery of Board directors Dan Smith and George Fiori.
 7         524. Plaintiffs are informed and believe and thereon allege that
 8   Mantelli purported to have, as HOA PBPA counsel, Thomas and Wood, but
 9   she knew that they did not represent PBPA, or do what was best for it as
10   the HOA, but acted at all times to promote and enable her fiduciary
11   fraudulent self-dealing and to assist her in committing the predicate crimes,
12   racketeering and Enterprise operations necessary to achieve the objective
13   of selling the Park at millions under market to the Park buyer Defendants
14   Saunders, Coldren and their accomplices and to take Plaintiffs’ homes, as
15   she testified at trial, “for nothing.”
16         525. In January 2014, Mantelli embarked on campaign to pressure
17   and financially wear down the seniors by having Thomas charge the HOA
18   legal fees for which the seniors were assessed an additional $400 per month.
19   For many of the fixed income seniors, the extra $400 was a crushing
20   additional outlay.     With the seniors’ money, PBPA paid hundreds of
21   thousands of dollars in legal fees to Thomas and other attorneys. (Exh. K)
22         526. Plaintiffs are informed and believe, and thereon allege, that
23   Mantelli enabled attorney Defendant Thomas to charge HOA PBPA
24   excessive and unnecessary legal fees in the litigation, (Exhibit O) because
25   the objective was not to resolve litigation for the HOA and seniors, but to
26   use excessive legal fees as financial lever to convince the seniors to sell off
27   the Park to escape the burden of higher monthly HOA dues for legal fees.
28         527. At the same time, by misappropriating HOA funds to Thomas’

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 1   excessive and unnecessary legal fees, she was rewarding Thomas for
 2   breaching his fiduciary duties to PBPA, his supposed client, and instead
 3   working for her personal benefit and that of her accomplices.
 4        528. Mantelli told the members they had to sell the Park because the
 5   DBO had stopped sales of individual homes in the Park. (Exhibit J) She and
 6   the Defendant attorneys told the members that they faced maturity of the
 7   $16,100,000 Thrivent loan, which they said could not be paid without selling
 8   the Park.
 9        529. Nothing Mantelli or the attorneys told the members was true. A
10   proper HOA Board and counsel working for the HOA and its members would
11   have solved all the problems and kept the Park for the seniors.
12        530. Plaintiffs are informed and believe and thereon allege that
13   Mantelli, conspiring with Coldren, caused PBPA to hire as counsel
14   Defendant Lisa Salisbury, who was already attorney for buyer Defendant
15   Coldren, and that Mantelli caused the HOA to use Park sale funds to pay
16   Ms. Salisbury $75,421, (Sch. Atty. Fee Pmts. after Park sale, c. Jan. 2016;
17   Exh. O) Mantelli brought Salisbury in as purported PBPA counsel to help
18   conduct the racketeering scheme and fraud on the PBPA seniors.
19        531. Mantelli knew that attorney Salisbury was intractably conflicted
20   as representing both sides, buyer Coldren and seller HOA PBPA, and that
21   Salisbury was acting in disregard and violation of bar rules and ethics.
22        532. Plaintiffs are informed and believe, and thereon allege, that in
23   early December 2015, Mantelli received the cover letter and higher and
24   better offer to purchase the Park from Hometown America. (Exhibit M)
25        533. At all times, Mantelli acted and conspired with Board Directors
26   Fiori and Smith and the PBPA attorneys Wood, Thomas and Salisbury to
27   conceal, from the PBPA membership, the higher and better offer.
28        534. After she received the higher and better offer, President Mantelli

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 1   presided at the December 21, 2015 Board meeting to hear the offer
 2   presented and to take formal Board action on the better offer.
 3        535. At conclusion of the offer presentation, Mantelli promised that
 4   the Board would consider the offer and get back to offeror Hometown.
 5   However, Mantelli had no intent to respond to the better offer. She had
 6   already signed the deed for the fraudulent sale to Saunders and affiliates.
 7   It was scheduled to close the next day, Tuesday, December 22, 2015.
 8        536. Although it was better for the HOA members, Mantelli would not
 9   pursue the higher offer because it would not benefit her; it had no real estate
10   commission. She self-dealt to chase and gain what was best for her, which
11   was the Saunders sale from which she would receive commissions and a
12   post-closing, contract to manage the Park with lucrative preferential
13   privileges for sales and leases of homes in the Park.
14        537. On information and belief, Mantelli violated 18 U.S.C. §§ 1962(c)
15   and (d) by actively participating and conspiring in the Enterprise scheme to
16   recruit, finance and fraudulently conceal judge bribery, extortion, and
17   obstruction of justice, and to bribe HOA Directors and engage in fiduciary
18   fraud and self-dealing, including concealment of material information from
19   the HOA members, all of which had the result she intended of HOA taking
20   of Plaintiffs’ homes, as she put it, “for nothing” and thereby causing
21   Plaintiffs injury in their property, and to take the Park and HOA cash from
22   the PBPA seniors at a value millions under market.
23              5.    TREASURER FIORI BREACHES FIDUCIARY DUTY
24        538. George Fiori is PBPA Director, serving with President Mantelli
25   and other directors. Fiori has been PBPA treasurer since 2013.
26        539. Plaintiffs are informed and believe, and thereon allege, that Fiori
27   accepted a bribe from Saunders and Mantelli to approve the fiduciary
28   fraudulent, self-dealing sale of the Palm Beach Mobilehome Park to the

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 1   park buyer Defendants, Saunders, the LLCS, et al.
 2           540. Plaintiffs are informed and believe, and thereon allege, that Fiori
 3   had a vital role in the Enterprise, because as HOA PBPA Treasurer, he
 4   could and did conceal and falsify HOA financial information in order to
 5   deceive and misinform the HOA members. His acts to betray the HOA
 6   members were fundamental to Enterprise success.
 7           541. Plaintiffs are informed and believe, and thereon allege, that
 8   Saunders and affiliates, including Coldren and Mantelli, carried out the
 9   bribe by purchasing one of Fiori’s homes in Palm Beach Park at an inflated
10   near six figure price, when it was impossible for any other resident to
11   achieve such value after the sale of the Park and corresponding higher
12   rents.
13           542. Fiori had two (2) homes in the Park. Saunders bought one for
14   the artificially high price. Saunders and affiliates also bribed Fiori by
15   promising him the opportunity to buy an ocean view home in the Park.
16           543. Plaintiffs are informed and believe, and thereon allege, that Fiori
17   became aware of the bribery of Judge Moss to call in from vacation to thwart
18   the TRO and enable the Park sale, and that Fiori conspired to conceal it.
19           544. Plaintiffs are informed and believe, and thereon allege that Fiori,
20   as Board Member and Treasurer, was instrumental in carrying out the
21   fiduciary fraud and self-dealing whereby he assisted Defendants Saunders
22   and Coldren, their companies the LLCs and PCP, to acquire the Palm Beach
23   Park.
24           545. Plaintiffs are informed and believe and thereon allege that Fiori
25   approved the HOA hiring of attorney and defendant Lisa Salisbury, and
26   paying to her fees of $75,421 from the Park sale proceeds, and that he
27   authorized the HOA to pay millions in legal fees knowing that the attorneys
28   were working for Mantelli and him and the Enterprise, and not for the HOA

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 1   and its senior members. (Exhibit O)
 2        546. Plaintiffs are informed and believe, from 2016 through 2020.
 3   Treasurer Fiori did not prepare or provide the members with audited
 4   financial statements.
 5        547. Fiori has not provided the HOA members with the Park sale
 6   closing statement or any accounting for the sale proceeds. Treasurer Fiori,
 7   before, during the Park sale process and after its closing, from 2013 to the
 8   present, intentionally failed to provide PBPA members with any meaningful
 9   or adequate annual or other HOA or Park sale financial data.
10        548. Plaintiffs are informed and believe, and allege, that Fiori, Smith
11   and Mantelli acted and conspired to conceal PBPA financial transactions
12   and information from the members because Mantelli and Fiori and others
13   were embezzling HOA funds.
14        549. Plaintiffs are informed and believe, and thereon allege, that Fiori
15   knew of the higher cash offer to purchase the Park which the HOA Board
16   had received in early December 2015, and that Fiori acted and conspired to
17   conceal the higher offer from the HOA members, because it was not in his
18   personal interest to have the higher offer replace the Saunders, et al. sale
19   for which he would receive valuable bribes.
20        550. On information and belief, Fiori violated 18 U.S.C. §§ 1962(c)
21   and (d) by actively participating and conspiring in the Enterprise scheme to
22   fraudulently undertake and conceal fiduciary and judge wrongdoing and
23   bribery, and obstruction of justice, which had the result Fiori intended, the
24   HOA taking of Plaintiffs’ homes thereby causing them injury to their
25   property, as well as causing loss and damage to PBPA and its members by
26   his self-dealing give-away sale of the Park.
27              6.    LISA SALISBURY, ATTORNEY FOR BOTH SIDES
28        551. Lisa Salisbury purported to be legal counsel to fiduciary HOA

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 1   PBPA when she already was counsel to the Park buyer principal Defendant
 2   Robert Coldren. Salisbury made herself counsel for both sides, seller PBPA
 3   and the Defendant Park buyers. (Compare, PCP Press Release and
 4   Appellate Opinion cover, together reflecting double representation, Exh. Y)
 5        552. Plaintiffs are informed and believe, and thereon allege, that
 6   Salisbury, by purporting to represent both sides in the fiduciary fraudulent
 7   real estate sale transaction, which violated her oath and fiduciary and other
 8   duties as an attorney and as a real estate broker, for her own self-dealing,
 9   allowed and promoted the PBPA Board fiduciary fraud and self-dealing.
10        553. Plaintiffs are informed and believe, and thereon allege, that
11   Salisbury had a significant role in the Enterprise to direct and manipulate
12   matters to achieve the Enterprise objectives by misuse and breach of her
13   fiduciary duty to PBPA and its members.
14        554. Salisbury’s unique role in the Enterprise was that she acted on
15   both sides, as counsel to the fiduciary seller HOA, which she helped to
16   defraud of its real estate, and as counsel to Coldren, principal of the Park
17   buyer that acquired the Park by fiduciary fraud, judge bribery, and other
18   wrongdoing.      Salisbury was instrumental to the Enterprise for her
19   placement to work both sides.
20        555. Plaintiffs are informed and believe, and thereon allege, that
21   Salisbury was aware and approved the buyer Defendants’ bribery of Judge
22   Moss for his call in from vacation to thwart the TRO and enable the fiduciary
23   fraudulent sale of the Park.
24        556. By letters on March 23 and 29 2016, (Exhibit I) Plaintiffs accused
25   Salisbury of participation in the Judge Moss call in to thwart the TRO and
26   obstruct justice under Penal Code §182(a)(5).               She did not deny the
27   accusation, even after Plaintiffs advised her in writing that the failure to
28   deny was and would be considered an adoptive admission.                     Plaintiffs

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 1   contend that Salisbury adoptively admitted her participation in the bribing
 2   of Judge Moss so that he would call in to fix the Park sale.
 3        557. Plaintiffs are informed and believe and thereon allege, that as a
 4   direct result of the fiduciary fraudulent park sale closing, the seller HOA
 5   PBPA, in early 2016, paid Salisbury legal fees of $75,421.36. (Exh. O)
 6        558. Plaintiffs are informed and believe, and thereon allege, that
 7   Salisbury knew that she would not and could not lawfully and legitimately
 8   earn those fees because she was purporting to represent both sides of the
 9   real estate sale transaction, and that such dual representation was
10   intractably conflicted and prohibited under attorney professional and bar
11   rules and other law. Salisbury knew the fees were really payment for her
12   fiduciary fraud and self-dealing undertaken to the detriment of her seller
13   client PBPA and its members, but beneficial to her and the Park buyers who
14   were her true clients and with her actors in the Enterprise.
15        559. Plaintiffs are informed and believe and thereon allege that
16   Salisbury was aware that in early December 2015, the HOA and its Board
17   had received the higher, all cash offer to purchase the park from major
18   institutional cash buyer Hometown America (Exhibit M). She knew that
19   the Hometown sale would have put $20,000 more in the pocket of each HOA
20   senior. But it would not yield to her legal fees and the post-closing benefit
21   of a contract to manage the Park and transact its home sales and leases.
22        560. Plaintiffs are informed and believe, and thereon allege, that on
23   December 21, 2015, Salisbury met with Hometown America to hear it
24   present its higher offer, knowing that the effort was moot, as Mantelli and
25   Coldren, i.e. the buyer and the seller, and the PBPA Board, would not
26   consider the offer, given the fiduciary fraudulent self-dealing Park sale.
27        561. Plaintiffs are informed and believe, and thereon allege, that
28   Salisbury acted and conspired to conceal the offer from the HOA members

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 1   because she was acting in the interests of her Park buyer client Coldren and
 2   herself. She would personally gain from the Park sale by payment of legal
 3   fees and the promised contract to manage the Park post-closing.
 4           562. Plaintiffs are informed and believe, and thereon allege, that after
 5   closing of the Park sale, Mantelli and Salisbury formed PMP which then
 6   obtained a contract from Saunders and affiliates to manage Palm Beach
 7   Park, and that PMP has managed the Park from 2016 to the present,
 8   including preference to handle sales and leases of homes in the Park.
 9   (Exhibit Y)
10           563. Plaintiffs are informed and believe, and thereon allege, that
11   Saunders and Coldren promised and gave to Mantelli and Salisbury the
12   contract as part of a bribe of them to promote and breach their duties and
13   to engage in wrongdoing to ensure closing of the fiduciary fraudulent Park
14   sale.
15           564. On information and belief, Plaintiffs allege that Salisbury
16   violated 18 U.S.C. §§1962(c) and (d) by actively participating and conspiring
17   in the Enterprise scheme to carry out and conceal fiduciary deception, fraud
18   and self-dealing, along with bribery, judge bribery, perjury, attorney breach
19   of fiduciary duty and obstruction of justice, for the result Salisbury intended
20   of taking Plaintiffs’ homes and converting to her financial benefit cash from
21   the illicit Park sale, all to the harm and detriment of the Park seniors and
22   Plaintiffs, injuring them in their property.
23                 7.   THOMAS, ATTORNEY FOR MANTELLI, NOT PBPA
24           565. Allen Thomas purported to be PBPA’s attorney. Plaintiffs allege,
25   on information and belief, he was actually, at all times, counsel for Board
26   President Mantelli and the other Defendants and participants in the
27   Enterprise, working for their benefit and not that of PBPA.
28           566. Plaintiffs are informed and believe, and thereon allege, that

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 1   Thomas had a key role in the Enterprise, because by feigning that he was
 2   PBPA attorney, when in fact he really worked for Mantelli and the
 3   Enterprise, Thomas could be, and was, instrumental in the Enterprise’s
 4   deception and defrauding of PBPA members.
 5        567. Thomas acted and spoke to make the PBPA seniors think that
 6   he represented their interests, advising them they should pay him more
 7   legal fees, sell the Park to Saunders and accomplices, or take other action
 8   that would not benefit the members, but would profit Mantelli, the
 9   Enterprise, and most important, his law firm and himself.
10        568. At a member meeting on August 3, 2013, Mantelli held up
11   Thomas to the members as their attorneys. She falsely stated that he
12   represented each of the members. Thomas did not correct Mantelli by
13   clarifying to the members present that he purported to represent PBPA, or
14   that in truth he really worked for the personal benefit of self-dealing
15   fiduciary Mantelli, but that in no way did he represent them – the members.
16        569. Plaintiffs are informed and believe, and thereon allege, that
17   Thomas assisted Mantelli to deceive the HOA members that they had to sell
18   the Park, and that Thomas acted to suppress and conceal settlement and
19   purchase offers that were favorable to the HOA and its members, but
20   damaging or harmful to the Enterprise key goal to take and embezzle
21   millions in real estate and cash from the Park seniors and Plaintiffs.
22        570. PBPA would and did pay to Thomas and his firm substantial fees
23   (Exhibit O) derived from the seniors’ monthly dues and sale of the Park,
24   which fees were for legal work that was useless and counterproductive to
25   PBPA, but for Mantelli and the Enterprise, was essential and beneficial.
26        571. Plaintiffs are informed and believe, and thereon allege, that at
27   all times, Mantelli allowed and directed Thomas to run up excessive legal
28   fees, which he enthusiastically did, without care that it meant the seniors

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 1   would have to pay increased HOA dues. High legal fees would pressure the
 2   seniors to make them want to sell the Park and provide the means to
 3   embezzle HOA cash, and also serve to reward Thomas for his contributions
 4   to the success of the Enterprise.
 5        572. Plaintiffs are informed and believe, and thereon allege, that in
 6   exchange for arranging Thomas to over-charge the seniors for legal fees,
 7   Mantelli expected and made bargain with Thomas to act for her personal
 8   benefit and that of her accomplices.
 9        573. Plaintiffs are informed and believe, and thereon allege, that
10   Mantelli allowed Thomas to bill and take HOA funds for unnecessary and
11   duplicative and fraudulent legal work, in order to force members to pay legal
12   fees which would serve to drive the members toward the Enterprise
13   objectives and the goals of the Defendant participants, principally Mantelli.
14        574. Plaintiffs are informed and believe, and thereon allege, that
15   while purporting to represent HOA PBPA, Thomas really acted as counsel
16   to and for the personal benefit of President Mantelli, predominantly by
17   assisting her with the illicit Park sale and HOA cash embezzlement, and
18   also by defending her against complaint brought by the California
19   Department of Real Estate.
20        575. Plaintiffs are informed and believe and thereon allege that
21   Thomas, either when it occurred or soon thereafter, knew about and acted
22   to conceal disqualified Judge Moss’ willful judicial misconduct and
23   obstruction of justice when he called in from vacation to “fix” the fiduciary
24   fraudulent sale of the Park.
25        576. By letters on March 23 and 29 2016, (Exhibit I) Plaintiffs accused
26   Thomas of participation in the Judge Moss call in and obstruction of justice
27   under Penal Code §182(a)(5). Unlike the Park Buyer Defendants, Thomas
28   denied the accusation in letter dated March 25, 2016. (Exhibit I)

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 1        577. Plaintiffs contend that Thomas’ denial was untrue; that he knew
 2   about and participated in either or both of the bribing of Judge Moss to call
 3   in to fix the Park sale or the cover up of the bribery.
 4        578. Plaintiffs are informed and believe and thereon allege, that as a
 5   direct result of the fiduciary fraudulent park sale closing, in early 2016 the
 6   seller PBPA paid Thomas and his firm $671,200 for legal fees. (Exh. O)
 7        579. Plaintiffs are informed and believe, and thereon allege, that
 8   Thomas acted and conspired with President Mantelli and Defendants Fiori
 9   and Smith to cause the Park sale to close knowing that he and his firm and
10   colleague lawyers would receive hundreds of thousands of dollars in
11   purported legal fees from the sale proceeds.
12        580. On December 28, 2015, at the TRO hearing before Judge Moss,
13   Plaintiffs are informed and believe, and thereon allege, Thomas acted and
14   conspired with Wood, also present, and Judge Moss, to conceal and suppress
15   the fact of the closing of the fiduciary fraudulent and self-dealing sale of the
16   Park; closing by deed four hours after the disqualified Judge Moss “call in”
17   on December 22, 2015. They knew the TRO hearing had been made moot
18   by the Park sale closing, but did not raise it so as to avoid pointless hearing.
19        581. Plaintiffs are informed and believe, and thereon allege, that
20   Thomas knew of the Hometown America higher cash offer (without broker
21   commission) to purchase the Park which the HOA PBPA Board had received
22   in early December 2015. (Exhibit M) Thomas acted and conspired to conceal
23   the higher offer from the HOA members, because it was not in his personal
24   interest to have the higher offer replace the Saunders sale from which, at
25   its closing, he would receive substantial legal fees.
26        582. On information and belief, Thomas violated 18 U.S.C. §§ 1962(c)
27   and (d) by actively participating and conspiring in the Enterprise scheme to
28   generate, foster and then fraudulently conceal fiduciary and judge bribery,

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  1   obstruction of justice, and embezzlement, for the result Thomas intended,
  2   the taking of Plaintiffs’ homes, along with the taking of the seniors’ Park,
  3   and to take the seniors’ HOA cash and dues, by the illicit, fiduciary
  4   fraudulent, self-dealing activities described and alleged in this Complaint.
  5              8.    WOOD ATTORNEY FOR MANTELLI, NOT PBPA
  6        583. Cary Wood was insurance defense counsel to PBPA starting 2011
  7   and continuing to the present. At the Phase I trial closing (5/1/13) stating
  8   he was a litigator, he confessed he did now know anything about real estate.
  9   He was useless as counsel to PBPA. It confronted serious real estate
 10   problems arising from illegal leases, loans and other flawed real property
 11   and related transactions. But it did not matter; he did not work for PBPA.
 12   Wood did what was best for Mantelli and the Defendants and Enterprise.
 13        584. Mr. Wood is a partner in Lewis Brisbois Bisgaard and Smith LP,
 14   a large national multi-branched law firm that has 1,528 lawyers and is the
 15   16th largest law firm in the USA.
 16        585. Plaintiffs are informed and believe, and thereon allege, that the
 17   firm often hires JAMS’ services, and Plaintiffs are informed and believe and
 18   thereon allege, Wood and his firm are JAMS favored repeat customers.
 19        586. Plaintiffs are informed and believe, and thereon allege, that
 20   Wood knew of the Judge Moss bribe for the “call in” from vacation to thwart
 21   the TRO, and that Wood knew Judge Moss was corruptly on the side of
 22   PBPA on December 1, 2015 when Wood prepared and filed the invalid and
 23   unfounded “Objection” to the §170.6 peremptory challenge (Exh. B)
 24        587. Wood knew that the “Objection” was ineffective. It would serve
 25   as possible backstop foil should it become necessary for Judge Moss to
 26   illegally intervene to save the Park sale, which he did on December 22, 2015.
 27        588. By letters on March 23 and 29, 2016, Plaintiffs accused Wood of
 28   participation in the Judge Moss call in and obstruction of justice under

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  1   Penal Code §182(a)(5). Unlike the Park Buyer Defendants, Wood denied the
  2   accusation. (Exhibit I, 4/6/16 letter)
  3        589. Plaintiffs contend that Wood’s denial was false; that he knew
  4   about and participated in either or both of the bribing of Judge Moss to call
  5   in to fix the Park sale or the cover up of the bribery.
  6        590. Plaintiffs are informed and believe and thereon allege that Wood
  7   acted to conceal disqualified Judge Moss’ willful judicial misconduct in the
  8   “fix” of the fiduciary fraudulent sale of the Park.
  9        591. Wood failed and refused Plaintiffs’ demand for the file stamped
 10   returned TRO opposition pleadings Wood and his colleagues had submitted
 11   12/21/15, which documents, by or at the direction of Judge Moss, had been
 12   altered to cover for the Judge Moss’ “fix”. (Exhibits C, I)
 13        592. The altered documents reflect Judge Moss as the judge on the
 14   Haugen case on December 21, 2015. But Judge Moss did not purport to
 15   “self-re-qualify” until December 22, 2015, making it impossible for
 16   documents filed before December 22 to show him as the judge. (Filed TRO
 17   Opp. caption pages, Exhibit C; compare to altered and filed Opp. caption
 18   pages; TRO hearing place and date changed from Judge Andler to Judge
 19   Moss; see also, Docket, Exhibit D)
 20        593. Plaintiffs are informed and believe, and thereon allege, as
 21   described in the March 24, 2016 letter (Exhibit I), that Judge Moss’ falsified
 22   the TRO opposition documents. In a wrongful ex parte communication with
 23   Judge Moss, Wood received the falsified documents from Judge Moss.
 24        594. Plaintiffs demanded copies of the documents. Wood ignored the
 25   demand. Instead, he withheld and concealed the phony documents, thereby
 26   violating Penal Code §132, §134 and §135 and Government Code §6201 and
 27   in the federal case, 18 U.S.C. §1512(c).
 28        595. The documents, (Exhibit C) altered by or at the direction of

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  1   Judge Moss, are further evidence of Judge Moss’ “call in” from vacation to
  2   fix the Park sale, and the returned documents themselves constituted ex
  3   parte communication by Judge Moss to Wood.
  4        596. Plaintiffs are informed and believe, and thereon allege, that
  5   Wood knew at the time, or soon thereafter, that Defendant Park Buyers had
  6   ex parte contact with Judge Moss on December 21-22, 2015 to request his
  7   “call in” from vacation to fix the Park sale.
  8        597. On information and belief, Wood violated 18 U.S.C. §§ 1962(c)
  9   and (d) by actively participating and conspiring in the Enterprise scheme to
 10   carry out and implement and conceal fiduciary fraud and judge bribery,
 11   extortion, document falsification, and obstruction of justice, which had the
 12   result Wood intended of allowing and causing PBPA to take Plaintiffs’
 13   homes and causing them injury to their property, as well as the taking of
 14   the Park which injured the Park seniors.
 15              9.      SUSOLIK - PARK BUYER ATTORNEY
 16        598. Edward Susolik was Park Buyer Defendant Saunders’ legal
 17   counsel at the time disqualified Judge Moss carried out on December 22,
 18   2015 his strategic call in from vacation to first thwart the TRO and then
 19   “self-re-qualify.” (Exhibit B)
 20        599. Plaintiffs are informed and believe, and thereon allege, that
 21   Susolik, from before 2015, was personal friends with Judge Moss and
 22   Justice Trotter.
 23        600. Plaintiffs are informed and believe, and thereon allege that
 24   Susolik and his law firm Callahan & Blaine, often hire JAMS’ services, and
 25   Susolik and his firm and its partners are favored JAMS repeat customers.
 26        601. Representing Saunders, who was not a party in the case, Susolik
 27   made a “special” appearance in Judge Moss’ court in the morning of
 28   December 22, 2015 to be present for disqualified Judge Moss’ “call in” from

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  1   vacation to fix the Park sale. (Exhibit B).
  2        602. Judge Moss dictated to his clerk a Minute Order which stated:
  3   “Appearances: Edward Susolik/Peter S. Bauman, Callahan & Blaine,
  4   specially appearing for John Saunders.” (Exh. B)
  5        603. Susolik’s law firm advertises its prowess in contacting judges
  6   after hours outside of court. The National Law Journal, 6/21/04, pg. 55,
  7   reported that a name partner in Susolik’s firm: “tracked down a judge by
  8   phone at a late night private poker party and asked him to show up early to
  9   court the next day to block the forfeiture of a client’s hotel.” (Exhibit W)
 10   Susolik’s law partner told the judge, “I need you to come in a half-hour early
 11   to issue a restraining order to block the foreclosure of the Canyon Hotel.”
 12        604. Extolling its special, after-hours, out of court judge contact skills,
 13   Susolik’s firm exclaimed that "[The judge] was so amazed. He said not even
 14   his wife knew he was at this party."
 15        605. The after-hours judge communication was successful.               The
 16   grateful client’s hotel was saved from foreclosure by Susolik’s firm’s
 17   reaching the judge at the late night poker party to arrange the judge calling
 18   the ex parte hearing earlier than scheduled. The article indicated that the
 19   firm’s special skill and tactic of contacting out of court judges after hours
 20   had become “ingrained.”
 21        606. Plaintiffs are informed and believe, and thereon allege, that
 22   Saunders and Coldren hired Susolik because of his long-time personal
 23   friendship with both Justice Trotter and Judge Moss, and for his firm’s
 24   advertised capability and skill to provide the service of out of court, after
 25   hours, contact with a judge to effectuate special treatment for a client.
 26        607. Plaintiffs are informed and believe and thereon allege that,
 27   delivering that advertised service, Susolik either was the person that, in the
 28   time frame Dec. 21-22, 2015, communicated to Judge Moss the Park Buyer

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  1   Defendants’ request that disqualified Judge Moss call in from vacation to
  2   save the Park sale by thwarting the TRO, or Susolik participated in such ex
  3   parte communication.
  4         608. By letters sent on March 23 and 29, 2016, (Exhibit I) Plaintiffs
  5   accused Susolik of involvement in the Judge Moss call-in and obstruction of
  6   justice under Penal Code §182(c)(5). Susolik did not deny the accusation.
  7         609. Plaintiffs advised him that his failure to deny was an adoptive
  8   admission. Susolik still did not deny that he participated in the conspiracy
  9   to obstruct justice. Plaintiffs contend that Susolik did not deny because he
 10   did participate to arrange and conspire to cause and assist Judge Moss’ fix
 11   of the Park sale.
 12         610. Plaintiffs are informed and believe, and thereon allege, that
 13   Susolik had a critical role in the Enterprise. He was hired as Park Buyer
 14   attorney for contacts with Judge Moss and Justice Trotter, and as a partner
 15   in a law firm that promotes its special dexterity for locating and contacting
 16   out of court judges after hours. Susolik was integral to Enterprise ability to
 17   effectively and rapidly contact Judge Moss to call in from vacation.
 18         611. On information and belief, Susolik violated 18 U.S.C. §§ 1962(c)
 19   and (d) by actively participating in the Enterprise scheme to undertake and
 20   fraudulently carry out and conceal judge bribery and obstruction of justice,
 21   which had the result he intended of his clients taking Plaintiffs’ homes and
 22   causing them injury to their property, as well as to injure the other Park
 23   seniors, all for his clients’ financial gain and profit.
 24               10.     FIDELITY –INSURANCE FOR ENTERPRISE
 25         612. Defendant Fidelity National Title Company underwrote and
 26   administered the title insurance for the Park sale, both for the Park buyer’s
 27   lender Jeffries LoanCore LLC and the Park buyer LLC entities. (Exhibit B)
 28   The underwriting includes ascertainment of the authority of the company

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  1   officers that sign deeds and carry out the sale and transfer of real property.
  2         613. Plaintiffs are informed and believe, and thereon allege, that
  3   Fidelity had an indispensable role in the Enterprise which only it, and no
  4   other title company would carry out, that of providing the title insurance
  5   needed to close the Park sale and in particular to render such insurance to
  6   the lender for the Park sale, on the knowledge and with participation and
  7   conspiracy to effectuate judge bribery and fiduciary fraud and self-dealing
  8   to back the underwriting.
  9         614. Defendants relied upon Fidelity’s willingness to engage or
 10   conspire and to overlook predicate crimes and racketeering, including HOA
 11   fiduciary fraud and self-dealing and judge bribery, to “fix” a real estate sale
 12   in order to insure title in the lender from the illicit sale.
 13         615. Plaintiffs are informed and believe, and thereon allege, that in
 14   mid-November 2015, because of the Haugen v. PBPA lawsuit to stop the
 15   Park sale, that Fidelity advised Saunders and accomplices that, for the
 16   fraudulent Park sale, Fidelity would have difficulty insuring the title, even
 17   were there an exception for the lawsuit in the title policy and an indemnity
 18   from Saunders, Coldren and others.
 19         616. Plaintiffs are informed and believe that, by making the lawsuit
 20   an exception to title which Saunders or others would indemnify, Fidelity
 21   ultimately made, in or about early December 2015, some arrangement with
 22   Saunders and Coldren whereby it would insure the title for the LLCs and
 23   the loan for lender Jeffries LoanCore. As a result, Saunders and the Park
 24   Buyer Defendants and Mantelli moved forward to close the fraudulent Park
 25   sale, scheduling it for December 22, 2015.
 26         617. But when Plaintiff Haugen filed, on December 21, 2015, the ex
 27   parte application for TRO to enjoin the Park sale, Plaintiffs are informed
 28   and believe, and thereon allege, that Fidelity reconsidered insuring the title,

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  1   and that Fidelity communicated to Saunders and his accomplices that the
  2   December 22, 2015 closing was in jeopardy for lack of Fidelity’s willingness
  3   to provide title insurance due to the pending TRO application. (Exhibit B)
  4         618. Plaintiffs are informed and believe, and thereon allege, that in
  5   response, Saunders, the Park-Buyer Defendants and others embarked on
  6   the scheme to bribe disqualified Judge Moss to call in from his vacation to
  7   thwart the TRO and “self-re-qualify” back into Haugen v. PBPA.
  8         619. As described and alleged and the court documents show,
  9   disqualified Judge Moss did call in just in time to thwart the TRO and “self-
 10   re-qualify,” and the sale deed recorded only four (4) hours later. (Exhibit B)
 11   By his perfectly timed willful judicial misconduct, disqualified Judge Moss
 12   neutralized the TRO; he “fixed” the case so the sale would close escrow.
 13         620. Plaintiffs are informed and believe, and thereon allege, that
 14   Fidelity agreed to issue title insurance after Saunders or other Defendants
 15   informed Fidelity that Judge Moss could and would be bribed to unlawfully
 16   fix the Park sale by thwarting the TRO and purporting to take back the case
 17   by “self-re-qualification.”
 18         621. In March 2016 Plaintiffs wrote Fidelity to accuse it of knowledge
 19   and participation in the Judge Moss’ fix. (Exhibit I) Fidelity did not deny
 20   the charge, and therefore adoptively admitted it.
 21         622. Plaintiffs are informed and believe, and thereon allege, that
 22   Fidelity knew Judge Moss was or would be bribed or unlawfully influenced
 23   to effectuate the strategic “call in” to thwart the TRO and “self-re-qualify.”
 24         623. After Judge Moss called in from vacation and thwarted the TRO
 25   the morning of December 22, 2015, that same day, four (4) hours later, the
 26   transaction closed by deed which Fidelity, for Mantelli purporting to act for
 27   PBPA, caused to be delivered and recorded. (Exhibit B)
 28         624. Plaintiffs are informed and believe, and thereon allege, that

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  1   Fidelity insured title for the sale because Fidelity was confident Judge Moss
  2   could and would fix the Park sale and suffer no repercussions for it.
  3        625. Plaintiffs are informed and believe, and thereon allege, that
  4   Fidelity would not have insured the title if Judge Moss had not illegally
  5   interceded, as he did, to fix the sale, and if Fidelity had concern that Judge
  6   Moss, and those that conspired with him on the “fix”, including Fidelity, had
  7   any risk of criminal prosecution.
  8        626. Plaintiffs believe Fidelity is a JAMS “repeat” customer.
  9        627. On information and belief, Fidelity violated 18 U.S.C. §§ 1962(c)
 10   and (d) by actively participating and conspiring in the Enterprise to utilize,
 11   finance and fraudulently conceal fiduciary fraud and self-dealing and judge
 12   bribery, and by obstruction of justice, which had the intended result of
 13   taking Plaintiffs’ homes and causing them injury and damage, as well as
 14   injuring the Park seniors by the fraudulent Park sale, in order to benefit
 15   Fidelity by having the Park seniors pay off the Thrivent loan thereby
 16   removing Fidelity exposure and liability for title insurance.
 17        C.       Non Defendant – Co – Conspirators’ Roles
 18                 1.     ROBERT MOSS, PLAINTIFFS’ TRIAL JUDGE
 19        628. Robert J. Moss, Plaintiffs’ trial judge in the main case Chodosh
 20   v. PBPA, is the principal judicial officer wrongdoer. Disqualified on Haugen
 21   v. PBPA, the case to stop the Park sale, he called in from vacation, first
 22   stifled Plaintiffs’ TRO to halt the fraudulent sale, and then “self-re-
 23   qualified.”        The fraudulent sale closed four hours later, yet Judge Moss
 24   says nobody contacted him to request the “call in.”
 25        629. To cover his “quintessential” judge bad act, disqualified Judge
 26   Moss concealed, backdated and altered court documents. He falsified the
 27   TRO Opposition papers to state they were filed Dec. 21, 2015 with him as
 28   the judge. (Exhibit C) But he did not “self-re-qualify” until December 22,

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  1   (Exhibits B, D) making it impossible for him to be the judge the prior day.
  2        630. Judge Moss admits error (Exhibit E, pgs. 8-9) on the case
  3   Register of Actions (i.e. the “Docket”) showing the altered TRO opposition
  4   documents out of chronological order. Judge Moss doctored the Docket to
  5   conceal his judge bad act “fix.”
  6        631. Judge Moss entered two (2) “self-re-qualification” orders. His
  7   clerk did not serve the first order on Dec. 22, 2015. The second order, short
  8   text and cryptic, was entered Dec. 23 and served. Judge Moss doubling his
  9   illegal orders, and serving one and not the other, shows bad intent.
 10        632. After appeal, years later in early 2019, Judge Moss was required
 11   to rule on Plaintiffs’ peremptory challenge “instantly”. He sat on it for
 12   months, perjuring himself on affidavits to collect his paychecks. (Exhibit F)
 13        633. When Judge Moss is disqualified, he either “self-re-qualifies” or
 14   sits on his disqualification. By such willful judicial misconduct, disqualified
 15   Judge Moss kept himself or placed himself back on a case to rule against
 16   Plaintiffs and the law and facts and to thereby delay and impair Plaintiffs’
 17   rights and remedies, for the purpose of benefitting the Defendants and the
 18   Enterprise, all in exchange for Defendants’ bribes and favors.
 19        634. Biased and disqualified Judge Moss, while on Plaintiffs’ cases,
 20   from 2014 to 2019, ruled against Plaintiffs and law and fact, except on
 21   federal TILA, but only because Jesinoski v. Countrywide, supra, (2015)
 22   supported Plaintiffs’ TILA claims. But after ruling Plaintiffs had real
 23   property that had been illegally mortgaged under TILA, Judge Moss ruled
 24   that Plaintiffs had no real property.
 25        635. Judge Moss repeatedly denied Plaintiffs’ motions to amend the
 26   complaint to describe and allege glaring PBPA illegality that had been
 27   uncovered and shown since the Phase I trial before Judge Stock in April
 28   2013. Judge Moss enforced the leases and loans which Justice Bedsworth

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  1   held unenforceable; Plaintiffs owed nothing. (Op. 12/17/18)
  2         636. At all times, Judge Moss disregarded that fiduciary PBPA had
  3   the duty to act with the utmost good faith in the best interests of Plaintiffs,
  4   the HOA, and its members.           He unheeded that the PBPA President,
  5   Directors, and attorneys were fiduciaries not discharging, but defiling, their
  6   duties to act in the best interests of their beneficiaries.
  7         637. Judge Moss made PBPA win even when it had lost its corporate
  8   good standing for having been suspended. Judge Moss let PBPA keep a case
  9   going despite its breach of the five (5) year rule and failure to bring the case
 10   to trial.   In front of Judge Moss, except for TILA, PBPA always won and
 11   Plaintiffs lost, no matter the facts and contrary controlling law that meant
 12   Plaintiffs had to win.
 13         638. On information and belief, Judge Moss violated 18 U.S.C. §§
 14   1962(c) and (d) by, as described and alleged in this Complaint, actively
 15   participating in the Enterprise racketeering scheme to engage in willful
 16   judicial misconduct, accept bribes, commit perjury, fraudulently conceal his
 17   judge misconduct, crime and bribery, defraud Plaintiffs and the public of
 18   honest services, and obstruct justice with deliberate wrong rulings, all to
 19   thereby achieve the result Judge Moss intended, which was to injure
 20   Plaintiffs in their property by causing them loss of their homes, and to cause
 21   the Park seniors to lose their Park and HOA cash to the Defendants, all for
 22   the financial benefit of the Defendants and himself.
 23                2.   FORMER PRESIDING JUDGE MARGINES
 24         639. Former Orange County Presiding Judge Charles Margines
 25   disqualified Judge Moss on November 30, 2015. (Exhibit B) By letter dated
 26   April 26, 2016, to him, (Exhibit Q) Plaintiffs reported Judge Moss unlawful
 27   “self-re-qualification”   which    purported      to   reverse     Judge    Margines
 28   disqualification order.

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  1        640. Judge Margines did nothing about disqualified Judge Moss
  2   willful judicial misconduct in overruling his Order that disqualified Judge
  3   Moss. By not reporting Judge Moss’ misconduct, Judge Margines violated
  4   canon of ethics duty to refer a wrongdoer judge to the CJP and to the AG or
  5   other prosecuting authorities.
  6        641. The reporting obligation is set forth in Judge Canon of Ethics
  7   3D(1) and “What Action to Take when [Judges] becomes aware of misconduct
  8   by other judges”, CJC Memo., pg. 4, citing Handbook, 2nd Ed. (1999), §5.65,
  9   p. 153) (Exhibit Q) and the Handbook, 4th Ed. 2017, pg. 335-6, §5:68 “[A]
 10   judge's duty to take appropriate corrective action, including reporting
 11   crimes and misconduct, in regard to other judicial officers and attorneys is
 12   an affirmative obligation under canon 3D.”
 13        642. On information and belief, Judge Margines violated 18 U.S.C. §§
 14   1962(c) and (d) by actively participating and conspiring in the Enterprise
 15   racketeering scheme to protect and conceal Judge Moss’ wrongdoing,
 16   bribery and obstruction of justice, and to engage in a scheme to deprive
 17   Plaintiffs of honest judicial services, all of which had the intended and
 18   eventual result of injuring Plaintiffs in their property by causing loss of
 19   their homes.
 20              3.    PRESIDING JUSTICE KATHLEEN O’ LEARY
 21        643. Presiding Justice Kathleen O’Leary of the California Court of
 22   Appeal, Fourth District, Div. 3, starting in 2016, intentionally disregarded
 23   the law to rule against Plaintiffs. She upheld and permitted Judge Moss’
 24   willful judicial misconduct and crime of “calling in” from vacation to fix the
 25   Park sale by defying his §170.6 disqualification. (Dkt. Writ, G053512,
 26   5/26/16)
 27        644. Justice O’Leary disregarded the law she had expressly
 28   reaffirmed by writing in Hemingway v. Superior Court, supra, 122

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  1   Cal.App.4th at 1159: “Courts must refrain from any tactic or maneuver that
  2   has the practical effect of diminishing this important right [§170.6].”
  3        645. Plaintiffs are informed and believe that Presiding Justice
  4   O’Leary was infuriated by Plaintiffs’ litigation maneuvers that forced her to
  5   take down the JAMS promotional plugs on the court’s website retired
  6   justices’ biographies, including Justice Trotter.            Because of Plaintiffs,
  7   Justice Trotter could no longer promote JAMS on the court website.
  8        646. Justice O’Leary was a defendant in Plaintiffs’ federal lawsuit
  9   filed December 2016, dismissed without prejudice in January 2018. (Exhibit
 10   Z, caption page) Plaintiffs sued her because, among other things, she had
 11   approved Judge Moss’ fix.        Plaintiffs sued her and Judge Moss as co-
 12   defendants and co-conspirators.
 13        647. Although she was a defendant in the federal action, over
 14   Plaintiffs’ objection and call for her recusal, Justice O’Leary put herself on
 15   Plaintiffs’ appeal and then ruled against Plaintiffs, which was contrary to
 16   the facts and law, and thereby engaging in the willful judicial misconduct of
 17   intentional disregard of the law.
 18        648. Prominent was Justice O’Leary’s swift denial of Plaintiffs’
 19   motion to take Judge Moss’ deposition.            Plaintiffs filed the motion late
 20   March; it was docketed April 3, 2018. Justice O’Leary denied it three (3)
 21   hours later. She violated Court Rule 8.54(b)(1) that decision must wait for
 22   expiration of the 15-day deadline for any opposing party response.
 23        649. Plaintiffs are informed and believe, and thereon allege, that
 24   Justice O’Leary acted wrongly and rapidly to deny the motion to depose
 25   Judge Moss in order to protect Judge Moss and the Enterprise from
 26   Plaintiffs’ inquiry; that she acted and conspired to obstruct justice in
 27   violation of Penal Code §182(a)(5) and to participate in a scheme to deprive
 28   Plaintiffs of honest judicial services in violation of 18 U.S.C. §1846, et al.

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  1        650. Justice O’Leary dishonored her duty to report a wrongdoer judge
  2   to the CJP and to the AG or other prosecuting authorities, which obligation
  3   is set forth in Canon of Ethics 3D(1) and CJC Memo. and Handbook, 2nd
  4   Ed. (1999), and 4th Ed. 2017, pg. 335-6, §5:68, supra. Denigrating her canon
  5   3D affirmative obligation to report judge crime, Justice O’Leary instead
  6   wrongfully acted to uphold, support and sustain Judge Moss’ willful judicial
  7   misconduct and crime.
  8        651. On information and belief, Presiding Justice O’Leary violated 18
  9   U.S.C. §§1962(c) and (d) by actively participating and conspiring in the
 10   Enterprise scheme to support, protect and conceal Judge Moss’ wrongdoing,
 11   crime, bribery and obstruction of justice, and to contribute to denial of
 12   justice, which had the intended and eventual result of injuring Plaintiffs in
 13   their property by causing loss of their homes.
 14              4.    DIV. 3, JUSTICE WILLIAM BEDSWORTH
 15        652. William Bedsworth, associate appellate court justice, was also a
 16   defendant in Plaintiffs’ federal lawsuit 2016-2018.             Judge Moss, Judge
 17   Margines and Justice O’Leary were his co-defendants. Plaintiffs sued
 18   Justice Bedsworth because, among other things, he approved Judge Moss’
 19   “fix” of the Park sale. (Dkt. 5/26/16)
 20        653. A judge sued by litigants should not decide their case. Justice
 21   Bedsworth took on Plaintiffs’ appeal knowing he could not. He put himself
 22   on Plaintiffs’ appeal and then ruled against Plaintiffs. His plain intentional
 23   disregard of the law was willful judicial misconduct and judge crime.
 24        654. Over their objection and disqualification motions, Justice
 25   Bedsworth empaneled himself as Plaintiffs’ lead justice in their appeal. He
 26   authored the opinion whereby he ruled Plaintiffs never owed their HOA
 27   PBPA rent or loan payments. But he did not order PBPA to compensate
 28   Plaintiffs for their homes it seized specifically on the grounds of non-

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  1   payment of the rent and loans he ruled Plaintiffs never owed.
  2        655. Justice Bedsworth opined PBPA did not need a securities permit,
  3   (Op. 20) countermanding the state agency that declared by consent decree
  4   that such permit was required. (Exhibit J, pg. 4, ¶16, line 11) Overall, the
  5   opinion contradicted law and fact, but protected and praised Judge Moss.
  6        656. Justice Bedsworth attempted to deter Plaintiffs’ counsel from
  7   investigating Judge Moss’ misconduct and offenses and Justice O’Leary and
  8   the other Defendants and non-Defendant conspirators by wrongly, without
  9   foundation, threatening to hold Plaintiffs’ counsel in criminal contempt for
 10   his statements in court papers and open court that Judge Moss had “fixed”
 11   the Park sale. Justice Bedsworth knew it was true Judge Moss had “fixed,”
 12   such that he could not hold Plaintiffs’ counsel in contempt. (Exhibit S)
 13        657. Justice Bedsworth deciding Plaintiffs’ cases and appeal and
 14   writing the opinion in a way to intentionally disregard the law and deny
 15   Plaintiffs’ their day in court and compensation for their homes was his
 16   primary contribution to the Enterprise conspiracy to obstruct justice.
 17        658. Justice Bedsworth acted and conspired to obstruct justice in
 18   violation of Penal Code §182(a)(5) and to participate in a scheme to deprive
 19   Plaintiffs of honest judicial services in breach of 18 U.S.C. §1846.
 20        659. Justice Bedsworth despoiled his duty to report a wrongdoer
 21   judge to the CJP and to the AG or other prosecuting authority. See, Canon
 22   of Ethics 3D(1) and CJC Memo. and Handbook, 2nd Ed. (1999), and 4th Ed.
 23   2017, pg. 335-6, §5:68, supra.        Justice Bedsworth defied his canon 3D
 24   affirmative obligation to report judge crime. Instead, he wrongfully acted
 25   to uphold, support and sustain Judge Moss’ misconduct and crime which
 26   harmed many seniors and veterans, leaving some homeless.
 27        660. On information and belief, Justice Bedsworth violated 18 U.S.C.
 28   §§1962(c) and (d) by actively participating and conspiring in the Enterprise

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  1   scheme to protect and uphold Judge Moss’ wrongdoing, bribery and
  2   obstruction of justice, and the wrongdoing of other judicial officers,
  3   including himself, all of which had the intended result of injuring Plaintiffs
  4   in their property by causing loss of their homes, and harmed the seniors.
  5              5.     JAMS - “WORLD’S LARGEST” ADR VENDOR
  6        661. JAMS’ base role in the Enterprise arises out of its status and
  7   advantage as “the world’s largest private alternative dispute resolution
  8   (“ADR”) provider.” JAMS headquarters are in Orange County, California,
  9   with offices and facilities in Los Angeles County, and throughout the United
 10   States and the world.
 11        662. JAMS has hired many Orange County judges and justices. Most
 12   retired Orange County justices work there. JAMS reach today is to recruit
 13   retired judges and justices from throughout the USA and world.
 14        663. With the pandemic, JAMS has launched intense advertising to
 15   amplify its usual pitch, that litigants should hire JAMS for “private” justice
 16   to resolve or adjudicate disputes, and that it will be faster, better, and less
 17   expensive than going to court, none of which is necessarily or often true.
 18        664. JAMS states its mediator practices are “rooted in classic
 19   mediation settlement negotiations.” One JAMS “classic” mediation tactic is
 20   to tell and threaten mediation participants that JAMS will malign parties
 21   to their trial judge if they do not accept the JAMS mediator recommended
 22   settlement.     According to JAMS, this tactic is a “classic” settlement
 23   technique that is merely a way to put “pressure” on the threatened party in
 24   order to achieve settlement. (Chodosh v. JAMS, D070952, JAMS’ Opp. brief
 25   6/2/16, pgs. 39-40)
 26        665. At JAMS, mediation may include undisclosed and unauthorized
 27   mediator ex parte communication with the parties’ trial judge. According
 28   to JAMS, a mediator can “negotiate” with the trial judge, and not tell the

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  1   parties about the negotiations. (Ibid. pg. 52) About Plaintiffs’ case, JAMS
  2   posited: “There is no reason to think that, had Justice Trotter breached
  3   mediation confidentiality by making a report to the trial judge, the trial
  4   judge’s capacity to decide the case would be impugned.” (Ibid. pg. 28)
  5        666. JAMS mediators can and do “make a report to the trial judge,”
  6   but JAMS assures that “is no reason to think” that “the trial judge’s capacity
  7   to decide the case would be impugned.” JAMS admits its practice is to have
  8   undisclosed ex parte communication with its mediating customers’ trial
  9   judges, but declares such secret JAMS conduct is nothing to worry about.
 10        667. On the contrary, there is everything to dread. As it did in this
 11   case, JAMS can and will, Plaintiffs are informed and believe and thereon
 12   allege, if it suits JAMS’ favored customer, obstruct and disrupt an opposing
 13   litigant’s right to due process before an impartial judicial officer.
 14        668. JAMS mediation practice sells out justice, starting with false
 15   representations that JAMS has integrity and is ethical, then with promise
 16   and threat to carry out unlawful ex parte communication with the
 17   mediating parties’ trial judge, which is a JAMS “classic” settlement method.
 18        669. Plaintiffs are informed and believe, and thereon allege, that at
 19   times JAMS acts as agent for its favored “repeat business” clients and their
 20   counsel, with the specific intent to attempt to extort mediating parties to
 21   settle in a way favorable to the repeat customer, and that the mediator
 22   extortion that is described and alleged to have occurred against Plaintiffs is
 23   an example of a pattern of such attempted extortion. The attempted
 24   extortion obstructs justice and is honest services fraud. Penal Code
 25   §182(a)(5); 18 U.S.C. § 1346, et al.
 26        670. JAMS asserts that it has no obligation to disclose to parties
 27   mediating at JAMS that JAMS is in the process of hiring the parties’ trial
 28   judge. (Ibid. pg. 31) JAMS conducts mediation without disclosing to the

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  1   parties that it has hired or is in discussions to hire their trial judge.
  2        671. Plaintiffs are informed and believe, and thereon allege, that the
  3   non-disclosure in Plaintiffs’ case, whereby JAMS and Judge Stock did not
  4   disclose to Plaintiffs that JAMS was in the process of hiring Plaintiffs’ trial
  5   judge Hon. Nancy Wieben Stock (Ret.), was conspiracy to obstruct justice,
  6   within the meaning of Penal Code §182(a)(5) and that it effectuated honest
  7   services fraud under 18 U.S.C. § 1346.
  8        672. Plaintiffs’ allege on information and belief that JAMS also
  9   obstructs justice by unethically advocating that Orange County justices not
 10   recuse in cases and for parties where the party has sued JAMS.
 11        673. Orange County founded and based JAMS wants and advocates
 12   for cases in which it is a party or has an interest to be decided by Orange
 13   County judges and justices. JAMS knows and plans that the Orange County
 14   judges and justices will recognize that granting the JAMS request to not
 15   recuse will inure to the probability of the cooperating judge or justice getting
 16   a JAMS sinecure post-bench retirement.
 17        674. As part of the Enterprise, Justices O’Leary and Bedsworth,
 18   conflicted because of JAMS and Justice Trotter ties that mandated their
 19   recusal, instead stayed on the Plaintiffs’ appeals where they always ruled
 20   for PBPA and against Plaintiffs. They did so, Plaintiffs are informed and
 21   believe, to improve their opportunities for a JAMS job.
 22        675. JAMS influenced or bribed or unlawfully directed Plaintiffs’ trial
 23   judges Stock and Andler to rule against or not act for the benefit of
 24   Plaintiffs, in violation of Penal Code §182(a)(2), (5) and 18 U.S.C. §1346 and
 25   other laws as described and alleged herein.
 26        676. On information and belief, JAMS violated 18 U.S.C. §§ 1962(c)
 27   and (d) by actively participating and conspiring in the Enterprise scheme to
 28   extort Plaintiffs, bribe and influence their trial judges Stock and Andler and

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  1   Moss and their appellate justices O’Leary and Bedsworth, all with the intent
  2   to deprive Plaintiffs of their due process rights to impartial judicial officers,
  3   for the intended and eventual result of injuring Plaintiffs in their property
  4   by causing the loss of their homes to Defendants, for their financial gain as
  5   the JAMS favored “repeat business” customers.
  6              6.    JUSTICE “JACK” TROTTER (RET.) - JAMS HEAD
  7        677. In November 2015, during what he and JAMS called a
  8   “mediation”, Justice Trotter stated and promised to malign Plaintiffs by ex
  9   parte communication to their trial judge Nancy Wieben Stock if they did not
 10   take the HOA promissory note settlement offer he recommended.
 11        678. Plaintiffs are informed and believe, and thereon allege, that
 12   Justice Trotter, as agent of the Defendant Park buyers Saunders, Coldren,
 13   Mantelli and their affiliates, attempted to extort Plaintiffs to accept a non-
 14   cash HOA promissory note settlement.
 15        679. Hon. Nancy Wieben Stock had recommended that Plaintiffs go
 16   to JAMS mediation with Justice Trotter as mediator. Plaintiffs are informed
 17   and believe that Judge Stock joined or was in discussions to join JAMS at
 18   the same time that she directed Plaintiffs to attend the JAMS mediation.
 19        680. Plaintiffs are informed and believe and thereon allege that
 20   Justice Trotter, as he had promised and threatened, communicated ex parte
 21   with the Plaintiffs original trial judge Hon. Nancy Wieben Stock.
 22        681. Plaintiffs are informed and believe, and thereon allege, that after
 23   the mediation, because Justice Trotter told her that Plaintiffs had not
 24   accepted the settlement he dictated, Judge Stock agreed to rule against
 25   Plaintiffs in expectation that helping Justice Trotter retaliate as he
 26   requested would enhance her prospects at JAMS.
 27        682. Plaintiffs are informed and believe that such quid pro quo –
 28   Judge Stock ruling against Plaintiffs to secure JAMS job, was attempted

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  1   extortion and bribery, honest services fraud, and violation and conspiracy
  2   to commit crime and obstruct justice. Penal Code §92; 18 U.S.C. §1346;
  3   Penal Code §182(a)(2), (5)
  4         683. Plaintiffs are informed and believe, and thereon allege, that
  5   Justice Trotter acted or communicated to influence and direct that Justices
  6   O’Leary and Bedsworth and other Orange County appellate court judges
  7   and justices not recuse on Plaintiffs’ appeals in order that they sit on the
  8   appeals where they could, as JAMS and Justice Trotter desired, rule against
  9   Plaintiffs by engaging in the willful judicial misconduct of intentional
 10   disregard of the law.
 11         684. On information and belief, Justice Trotter (Ret.) violated 18
 12   U.S.C. §§1962(c) and (d) by actively participating and conspiring in the
 13   Enterprise scheme to influence, bribe and direct judicial officers to act or
 14   not act to the detriment of Plaintiffs, with the specific intended and eventual
 15   result of injuring Plaintiffs by causing loss of their homes and property to
 16   Defendants, who were JAMS favored “repeat” business customers.
 17               7.   NANCY WIEBEN STOCK (RET.) JAMS “NEUTRAL”
 18         685. Hon. Nancy Wieben Stock (Ret.) was Plaintiffs’ original trial
 19   judge in the main case Chodosh v. PBPA. As described and alleged,
 20   Plaintiffs are informed and believe that, in or about December 2013, holding
 21   out for the quid pro quo its lucrative post bench job offer, JAMS bribed or
 22   influenced Judge Stock to reverse decision favoring Plaintiffs for her final
 23   time on the bench in December 2013 before joining JAMS in January 2014.
 24         686. In October 2013, Judge Stock recommended that Plaintiffs go to
 25   JAMS mediation. Plaintiffs are informed and believe that Judge Stock had
 26   joined or was in discussions to join JAMS at that time. She did not disclose
 27   it.   Plaintiffs allege that post-mediation Justice Trotter told her that
 28   Plaintiffs had not accepted the settlement he dictated and that he wanted

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  1   Plaintiffs punished for rebuking him and JAMS.
  2        687. Plaintiffs contend that Judge Stock ruled against Plaintiffs in
  3   expectation that it would enhance her prospects with JAMS and Justice
  4   Trotter. Plaintiffs are informed and believe that such quid pro quo – Judge
  5   Stock ruling against Plaintiffs to secure JAMS job, was bribery and other
  6   violations, including Penal Code §93, §182(a)(5); 18 U.S.C. §1346, et al.
  7        688. On information and belief, Judge Stock (Ret.) violated 18 U.S.C.
  8   §§ 1962(c) and (d) by actively participating and conspiring in the Enterprise
  9   scheme to obstruct justice, which had the intended and eventual result of
 10   injuring Plaintiffs by causing loss of their homes and property to
 11   Defendants, who were JAMS favored “repeat” business customers.
 12              8.    JUDGE GAIL ANDLER (RET.) JAMS “NEUTRAL”
 13        689. On Nov. 30, 2015, Judge Margines granted Plaintiffs’ §170.6
 14   challenge disqualifying Judge Moss and appointing Judge Andler to replace
 15   him in Haugen v. PBPA. (Exhibit B) On December 22, 2015, Judge Andler
 16   did not appear in court for the TRO. Instead, Judge Moss stepped in and
 17   took the case to thwart the TRO and purport to “self-re-qualify.”
 18        690. The TRO hearing was noticed and scheduled before Judge
 19   Andler, but she was not in court. Her clerk told the parties to go to Judge
 20   Moss’ courtroom. There disqualified Judge Moss’ made his perfectly timed
 21   call in from vacation to first order TRO postponement, then to “self-re-
 22   qualify.” Judge Moss purported to remove and replace Judge Andler.
 23        691. Although Judge Moss unlawfully ousted her from Haugen v.
 24   PBPA and acted in the case despite his disqualification, Plaintiffs are
 25   informed and believe, and thereon allege, that Judge Andler did nothing
 26   about such Judge Moss’ willful judicial misconduct.
 27        692. On the fact of Judge Moss’ wrongdoing, Judge Andler was
 28   obligated to report Judge Moss to the Presiding Judge, the CJP and

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  1   prosecuting authorities under Code of Judicial Ethics Canon 3D(1) and
  2   other authority (Handbook, supra., pg. 335-6, §568). A judge that knows or
  3   has evidence of another judge’s willful misconduct or crime committed from
  4   the bench must report it to CJP and prosecuting authorities.
  5        693. Plaintiffs are informed and believe, and thereon allege, that
  6   Judge Andler deliberately did not report Judge Moss as a way to enhance
  7   her prospect of joining JAMS, which she did a year later, in January 2017.
  8        694. Plaintiffs are informed and believe, and thereon allege, that
  9   JAMS bribed or obstructed justice to cause Judge Andler to not discharge
 10   her duty to report Judge Moss, and that she complied with JAMS’ request,
 11   thereby violating some or all of Penal Code §92, §93, 18 U.S.C. §1346, 18
 12   U.S.C. §1951 and Penal Code §182(a)(2), (5).
 13        695. On information and belief, Judge Andler (Ret.) violated 18 U.S.C.
 14   §§ 1962(c) and (d) by actively participating and conspiring in the Enterprise
 15   scheme to allow and protect Judge Moss’ willful judicial misconduct and to
 16   obstruct justice, which had the intended and eventual result of injuring
 17   Plaintiffs by causing loss of their homes and property to Defendants, who
 18   were JAMS favored “repeat” business customers.
 19              9.    COMMISSION ON JUDICIAL PERFORMANCE
 20        696. The California Commission on Judicial Performance (“CJP”)
 21   took no action on Plaintiffs’ complaint (4/25/16; Exhibit G) and its proof of
 22   Judge Moss’ willful judicial misconduct and crime by “calling in” from
 23   vacation to “fix” the sale and “self-re-qualify.
 24        697. More than four (4) years after Plaintiffs filed their complaint
 25   against Judge Moss, by letter dated May 14, 2020, CJP informed Plaintiffs
 26   that it would not take action on the complaint. (Exhibit G)
 27        698. By itself the fact CJP took four (4) years to respond to a
 28   complaint demonstrates that CJP does not timely carry out its function to

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  1   discipline judges. The inexcusable delay proves that CJP does not discharge
  2   its primary function to protect the public from judicial corruption.
  3        699. In 2016 and 2018, Plaintiffs sued the CJP after it failed and
  4   refused to discipline Judge Moss for his willful judicial misconduct and
  5   obvious judge crime. Eicherly v. CJP, (2016) and Padilla, Chodosh v. CJP
  6   and AG (2018) The AG represented CJP and itself. Aligned and together,
  7   CJP and AG falsely asserted Judge Moss’ misconduct was proper.
  8        700. CJP and AG Becerra acknowledged Judge Moss “assigning the
  9   case back to himself.” But a disqualified judge cannot “assign back to
 10   himself.” Going against the law, CJP and AG Becerra characterized Judge
 11   Moss’ willful judicial misconduct as “exercise of judicial discretion” and
 12   vilified Plaintiffs’ seeking to take Judge Moss’ deposition as an “abusive
 13   litigation tactic.” (Padilla and Chodosh v. CJP and AG, Demurrer, 12/20/18,
 14   pg. 10 and fn. 2, Exhibit G)
 15        701. The demurrer, a CJP and AG court pleading, demonstrates the
 16   pattern and practice to neither investigate nor refer for prosecution evidence
 17   of probable judge crime. CJP and AG had the Judge Moss’ crime evidence,
 18   did nothing about it, and falsely declared Judge Moss’ acts were proper.
 19        702. CJP is “the governmental entity charged with the protection of
 20   the public from judicial corruption.” Adams v. CJP (1994) 8 Cal.4th 630,
 21   665. CJP must report evidence of judge crime to prosecuting authorities,
 22   but it deliberately does not do so.
 23        703. CJP has the duty to ascertain and confirm evidence of probable
 24   judge crime. But when it finds it, CJP contends it has no obligation to refer
 25   the evidence to prosecuting authorities, such that it can secret and conceal
 26   the evidence and not send it to prosecutors for their investigation.
 27        704. CJP asserts it can, and it does, conceal, suppress, and withhold
 28   judge crime evidence it receives from the public. Research and CJP annual

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  1   reports show that CJP has never referred evidence of judge crime to the AG
  2   or any District Attorney or other prosecuting authority. CJP gives a pass to
  3   crime committing judges.
  4        705. As shown by CJP doing nothing on the Judge Moss complaint,
  5   CJP actively conceals and fails to act on evidence of judge crime, does not
  6   refer it for prosecution, and claims that it has discretion to ignore and
  7   sequester evidence of judge crime the public has reported, with result that
  8   CJP allows judge crime to go unpunished, which in turn incentivizes more
  9   judge crime, because it is the perfect crime – it will never come to light.
 10        706. CJP proclaims to the public that it has referred judge crime for
 11   prosecution “on multiple occasions,” (CJP Rule Report, 8/29/17, re: Rule
 12   102(g), pg. 15; Exhibit T) The CJP statement is false.
 13        707. CJP says its statement of judge crime referral “on multiple
 14   occasions” is true, but asserts its privilege of “absolute secrecy” means it can
 15   refuse disclosure of statistical information in CJP records that, if it existed,
 16   would prove the truth of the statement. CJP declares it has the power to
 17   keep confidential such purely statistical information (e.g. no. of judges
 18   referred for prosecution per year, etc.) which would prove or disprove its
 19   claim of referral on “multiple occasions.” (Exhibit T)
 20        708. Plaintiffs are informed and believe, and thereon allege, that CJP
 21   refuses to provide or allow access to such statistics because the data would
 22   prove that CJP has never referred a judge for criminal prosecution, and that
 23   CJP routinely and consistently conceals and suppresses evidence of judge
 24   crime it receives from the public. CJP knows the data, once compiled and
 25   produced, would show that, after CJP staff attorneys forward judge crime
 26   evidence to the commissioners, under CJP Policy Declaration 4.2, the
 27   commissioners do not act on it or always vote to not make criminal referral.
 28        709. On the complaint against Judge Moss, CJP staff requested the

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  1   relevant incriminating documents, indicating the staff recognized the
  2   serious judge crime shown. (Exhibit G, letter 6/15/16) Complainant Eicherly
  3   submitted the documents, but it made no difference. The commission allows
  4   and enables judge crime. Judge Moss’ crime is a proven example.
  5        710. On information and belief, CJP violated 18 U.S.C. §1962(d) by
  6   conspiring in the Enterprise scheme to fraudulently allow, not investigate
  7   or refer, and to conceal judge crime and bribery, and to obstruct justice,
  8   which had the intended result of injuring Plaintiffs by causing loss of their
  9   homes and property.
 10              10.   CJP CHIEF DIRECTOR G. DRESSER
 11        711. At all times after January 2017 that Defendant CJP violated 18
 12   U.S.C. §1962 (d) as described and alleged herein, it was under the direction
 13   of non-defendant co-conspirator Gregory Dresser.
 14        712. Plaintiffs are informed and believe, and thereon allege, that CJP,
 15   under control and direction of Director Dresser, allowed and concealed
 16   Judge Moss’ misconduct and crime.
 17        713. On information and belief, as CJP Director and Chief, Dresser
 18   violated 18 U.S.C. §§ 1962(d) by conspiring in the Enterprise scheme to
 19   protect and allow and enable and conceal Judge Moss’ wrongdoing, bribery
 20   and obstruction of justice, which had the intended and eventual result of
 21   injuring Plaintiffs by causing loss of their homes and property.
 22              11.   CJP FORMER DIRECTOR V. HENLEY
 23        714. Victoria Henley was Director and Chief Counsel in charge of CJP
 24   in April 2016 when Plaintiffs submitted their complaint about disqualified
 25   Judge Moss “call in” from vacation to fix the Park sale. When Henley retired
 26   at end of 2017, CJP had issued no decision, report, or statement, other than
 27   to say the Judge Moss judge crime “was under consideration.” Three (3)
 28   years later, Plaintiffs received the CJP 5/14/20 letter stating CJP “found no

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  1   basis for action against judge [Moss].” (Exhibit G)
  2        715. Plaintiffs are informed and believe that Henley administered the
  3   CJP in a manner designed and intended to ensure that judges that
  4   committed crimes were not identified, acted upon, investigated, or
  5   disciplined. Plaintiffs are informed and believe, and thereon allege, that
  6   while she headed CJP, Henley deliberately ignored and did not take action
  7   on complaints CJP received about facts and evidence indicating judge crime.
  8        716. As to Judge Moss specifically, Plaintiffs are informed and believe
  9   and thereon allege that Henley, conspiring with the AG, acted to suppress
 10   and conceal Judge Moss’ crime to allow him, as the Enterprise judge
 11   participant, to get away with his judge crime.
 12        717. Plaintiffs are informed and believe, and thereon allege, that CJP
 13   staff attorneys recognized the sequential court documents (Exhibit B)
 14   proved Judge Moss’ willful judicial misconduct and crime, and that staff
 15   forwarded the documents to Henley and the commissioners with statement
 16   that the evidence indicated Judge Moss had committed crime.
 17        718. Plaintiffs are informed and believe that Henley did not urge or
 18   cause the commission to review Judge Moss’ crime identified by CJP staff
 19   attorneys, as CJP practice is not to ascertain and refer judge crime, but to
 20   ignore and conceal it, as described and alleged herein.
 21        719. For the Enterprise, Henley made sure that CJP did not
 22   investigate or discipline a judge that participated and conspired in the
 23   Enterprise, and that any evidence of the judge’s criminal wrongdoing would
 24   not be referred to prosecuting authorities. Rather, CJP would shelve it.
 25        720. On information and belief, former CJP Chief Director Henley
 26   violated 18 U.S.C. § 1962(d) by actively conspiring in the Enterprise scheme
 27   to protect and allow and enable and conceal Judge Moss’ willful judicial
 28   misconduct and judge crime, which had the intended and eventual result of

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  1   injuring Plaintiffs by causing loss of their homes.
  2              12.   ATTORNEY GENERAL (“AG”) XAVIER BECERRA
  3        721. Non-defendant co-conspirator California Attorney General
  4   Xavier Becerra (“AG Becerra”), in charge of the Office of the Attorney
  5   General in the California Dept. of Justice since 2017, Plaintiffs are informed
  6   and believe and allege, administers the office in a manner designed and
  7   intended to ensure that judges that commit crimes from the bench are not
  8   identified, acted upon, investigated, or prosecuted. AG Becerra gives a pass
  9   to crime-committing judges.
 10        722. In the case of Judge Moss, AG Becerra did nothing about the
 11   disqualified judge “call in” crime, asserting his office “lacked resources” to
 12   inquire into it. (Exhibit H) He refused to investigate judge crime against
 13   seniors and veterans that caused loss of their homes and millions of dollars
 14   in real estate equity and HOA cash, and made some of them homeless.
 15        723. Plaintiffs are informed and believe, and thereon allege, that AG
 16   Becerra intentionally does not investigate or prosecute judge crime, but that
 17   he purposefully allows judges to commit crime, and in exchange CJP helped
 18   him to get elected in November 2018 by an unprecedented and unwarranted
 19   public CJP Notice of Formal Proceedings issued to his Republican rival,
 20   former El Dorado County Superior Court Judge Steven Bailey (Ret.).
 21        724. Plaintiffs are informed and believe, and thereon allege, that the
 22   CJP, by proceedings in 2017 that found Judge Bailey engaged in improper
 23   action and prejudicial conduct, untimely and unfairly discredited the 2018
 24   Republican party attorney general candidate Judge Bailey (Ret.) in order to
 25   give advantage to Democratic candidate AG Becerra.
 26        725. For AG Becerra, CJP agreed to commence its disciplinary
 27   proceedings against retired Judge Bailey during the 2018 election,
 28   transgressing and offending rule, practice and protocol that candidates

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  1   should not be made to face charges for lesser offenses during an election.
  2        726. Judge Bailey was the first time CJP pursued an already retired
  3   judge for lesser misconduct of “improper action” and “prejudicial conduct.”
  4   On its prior precedent cases, CJP went after already retired judges only for
  5   “willful judicial misconduct,” the highest and worst level of judge
  6   wrongdoing.     (Compare, Inquiry re Former Judge Bailey, No. 202,
  7   (2/27/2019) to Inquiry re Former Judge Sullivan, No. 163 (5/17/2002);
  8   Inquiry re Former Judge Simpson, No. 168 (12/9/2002); CJP Website)
  9        727. Plaintiffs are informed and believe that the CJP – AG Becerra
 10   quid pro quo was AG Becerra’s pledge of no judge crime investigation or
 11   prosecution in exchange for CJP support with election by undermining the
 12   opponent with an untimely and unwarranted CJP disciplinary action.
 13        728. Public records and information search show that neither Becerra
 14   nor his predecessor, non-defendant co-conspirator Harris, ever investigated
 15   or prosecuted judge crime. By comparison and contrast, attorneys general
 16   in New York, Texas, Alabama, and other states have and do prosecute crime
 17   committing judges.
 18        729. California District Attorneys convicted two (2) judges, Judges
 19   Danser and Boags, Inquiry Concerning Judge William R. Danser, No. 172
 20   (6/2/05; CJP website); See also, Danser v. California Public Employees’
 21   Retirement System (2015) 240 Cal.App.4th 885); In re Charles D. Boags,
 22   (1990; CJP website) Federal authorities, United States attorneys, convicted
 23   Judges G. Dennis Adams (See, Adams v. CJP (1994) 8 Cal.4th 630, 665),
 24   along with former judges James Malkus, and Michael Greer. See, U.S. v.
 25   Frega, 179 F.3d 793 (9th Cir. 1999); see, Exhibit T.)
 26        730. AG Becerra does not and has not prosecuted judge crime.
 27   Former California attorney general Harris did not prosecute judges. Both
 28   attorney generals Xavier Becerra and Kamala Harris, allowed and enabled

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  1   judge crime and its concealment, as described and alleged in this Complaint.
  2        731. Plaintiffs are informed and believe, and thereon allege, that in
  3   California the CJP and AG Becerra, and before him AG Harris, conspired
  4   together, as part of and ancillary to the Enterprise, to not investigate or
  5   prosecute judge crime, thereby facilitating and enabling the judge crime of
  6   Judge Moss and other judicial officers that participate in the Enterprise.
  7        732. Plaintiffs are informed and believe, and thereon allege, that
  8   California, the most populous state with around 40 million people, has in
  9   non-defendant co-conspirator AG Becerra, an attorney general that,
 10   conspiring with the CJP, follows a pact and policy of permitting judge crime,
 11   and that before AG Becerra, former attorney general Harris engaged in the
 12   same practice and conspiracy with CJP. They both promoted a policy that
 13   did not investigate or prosecute, but permitted and hid, judge crime.
 14        733. On information and belief, AG Becerra violated 18 U.S.C. §§
 15   1962(d) by conspiring in the Enterprise scheme to protect and conceal Judge
 16   Moss’ willful judicial misconduct, bribery and obstruction of justice, which
 17   had the intended result of injuring Plaintiffs by causing loss of their homes.
 18              13.   FORMER ATTORNEY GENERAL SENATOR
 19                    KAMALA HARRIS
 20        734. Former California Attorney General Senator Kamala Harris was
 21   in charge of the Office of the Attorney General in the California Dept. of
 22   Justice 2011 – 2017.
 23        735. Plaintiffs are informed and believe and allege, that Senator
 24   Harris administered the office the same as her successor AG Becerra, which
 25   was in a manner designed and intended to ensure that judges that
 26   committed crimes from the bench were not identified, acted upon,
 27   investigated, or prosecuted. She did not establish any procedure or protocol
 28   to detect judge crime. She told the public to send judge crime evidence to

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  1   the CJP. While she was California attorney general, Senator Harris gave a
  2   pass to crime-committing judges.
  3        736. Disqualified Judge Moss’ “call-in” to save the Park sale occurred
  4   during Harris’ watch. His judge crime was reported to CJP April 2016 and
  5   to the AG December 2016. Former AG Harris did nothing about it.
  6        737. Plaintiffs are informed and believe, and thereon allege, that non-
  7   defendant co-conspirator former attorney general Harris, like AG Becerra
  8   after her, intentionally did not investigate or prosecute judge crime, that
  9   she purposefully allowed judges to commit crime.
 10        738. Public records and information search show that Harris, during
 11   the five (5) plus years she was California attorney general, never prosecuted
 12   judge crime.
 13        739. As one example, in 2014, then attorney general Harris was
 14   presented with attorney letter and presentation of clear evidence of a judge
 15   and court clerk falsifying and backdating court records to deny a single
 16   mother child custody and visitation.           The attorney had gathered and
 17   prepared detailed information that proved or showed high probability of
 18   judge crime. Rather than investigate the highly probable judge crime,
 19   Harris told the attorney to send the complaint to CJP. (Exhibit U)
 20        740. Plaintiffs contend that Harris, when she was California attorney
 21   general, did not fulfill her duty as attorney general to adequately and
 22   uniformly enforce the law.         She omitted entirely the investigation of
 23   evidence of judge crime, and evaded the duty by telling the public to send
 24   judge crime evidence to CJP (Exhibit U) where she knew CJP would not
 25   refer the evidence to law enforcement but would bury it.
 26        741. Plaintiffs are informed and believe that the CJP – former
 27   attorney general Harris quid pro quo was her pledge of no judge criminal
 28   investigation or prosecution in exchange for CJP and judiciary and bar

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  1   support for her election to higher office.
  2        742. On information and belief, non-defendant co-conspirator former
  3   California attorney general Senator Kamala Harris violated 18 U.S.C. §§
  4   1962(d) by conspiring in the Enterprise scheme to allow, protect and conceal
  5   judge crime, which contributed to the injury to Plaintiffs’ property by loss of
  6   their homes, in that her wrongdoing emboldened Judge Moss and
  7   racketeering judges to commit crimes from the bench for the Enterprise.
  8   XVII. THE RICO ENTERPRISE
  9        743. The Enterprise is an Association in fact within the meaning of
 10   18 U.S.C. §1961(4), consisting of three (3) layers or levels with participants
 11   and actors that communicate and interact horizontally within their own
 12   layer or level and vertically with racketeering participants in the other
 13   Enterprise levels or layers.
 14        744. JAMS is the main non-defendant actor and co-conspirator for the
 15   Enterprise base. JAMS itself is distinct from the Enterprise, which to
 16   function must include actor participants outside JAMS. At first base with
 17   JAMS are the dishonest judges and justices and agency officials that for
 18   personal pecuniary motive of a JAMS job or other personal gain rule and act
 19   as JAMS dictates or desires.
 20        745. The Orange County courts are utilized in the Enterprise, but the
 21   courts are not, in and of themselves, at this time, actors in the Enterprise.
 22        746. At the second level are the attorneys that engage in ex parte
 23   communication with JAMS and the corrupt judicial officers.
 24        747. At the third level are the JAMS’ customers and attorneys’ clients
 25   that will ultimately and directly financially benefit from the Enterprise.
 26        A.    Enterprise Base Layer – JAMS, Judges, CJP and AG
 27        748. At base level JAMS, Justice Trotter (Ret.), and Plaintiffs are
 28   informed and believe and allege, other JAMS “neutrals” executives, are

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  1   actor participants in the Enterprise, interfacing with the sitting judges and
  2   justices that are also Enterprise actor participants.
  3        749. The intersecting organizations at the first level are the
  4   California courts, both the Orange County Superior Court and the Orange
  5   County based Court of Appeal, and JAMS.                The courts and JAMS are
  6   involved with the Enterprise, but alone or together do not comprise it.
  7        750. Heading up the base JAMS Enterprise is or was Justice Trotter
  8   (Ret.) or his delegate or another JAMS functionary. Plaintiffs are informed
  9   and believe, and thereon allege, that in this case, JAMS exercised and
 10   extended influence over the judicial officer non-Defendant co-conspirators,
 11   Judges Moss, Stock, Andler, and Margines and Justices O’Leary and
 12   Bedsworth.
 13        751. The base Enterprise includes the non-defendant co-conspirators
 14   the judge oversight agency CJP, its current Chief Counsel and Director
 15   Gregory Dresser and prior Chief and Director Victoria Henley, and the
 16   Attorney General (“AG”) Xavier Becerra and former attorney general and
 17   non-defendant co-conspirator Senator Kamala Harris.
 18        752. In accordance with their pact and conspiracy, described and
 19   alleged herein, they act and conspire to allow and enable judge crime, as
 20   proven by CJP and AG permitting the Judge Moss’ “fix” and “self-re-
 21   qualification.”
 22        753. At the first layer and level, the judge and justice participants, as
 23   judicial officers, and CJP, part of the judiciary with judge and justice
 24   members, coordinate and conspire to ensure that all and each of them
 25   disregard, defy, and denigrate their duty to report judge crime to
 26   prosecuting authorities, as required by Canon 3D(1), (See, e.g., CJC Memo.,
 27   11/10/06, pg. 4 (Exhibit Q) and Handbook, 4th Ed. 2017, pg. 335-6, §5:68;
 28   2nd Ed. §5.65, p. 153)

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  1        754. This first level coordinated action to disrupt and prevent
  2   lawfully required reporting or referring of judge crime is a pattern and
  3   practice essential to Enterprise success. No one can report judge crime.
  4        755. Plaintiffs are informed and believe, and thereon allege, that the
  5   Enterprise relies upon the assurance of CJP and AG Becerra (and before
  6   Becerra former attorney general Harris) that no judge or justice will be
  7   investigated, disciplined or prosecuted for the crimes undertaken for the
  8   Enterprise. This assurance is essential to the first and base level.
  9        756. CJP and AG deliver, as with Judge Moss, security that no
 10   wrongdoer judicial officer will be questioned, investigated, disciplined,
 11   charged or prosecuted for Enterprise misconduct and crime.
 12        B.    Enterprise Second Level – The Attorneys
 13        757. At the second Enterprise level, Plaintiffs allege on information
 14   and belief, are Defendants Susolik, Thomas, Wood and Salisbury.             An
 15   attorney like Susolik, that personally knows the JAMS’ neutral and the trial
 16   judge, in this case Justice Trotter and Judge Moss respectively, and whose
 17   firm publicizes (Exhibit W) its capability to procure after-hours, outside of
 18   court, communication with judges, is a prototypical pre-qualified and proven
 19   skilled second level actor and participant for the Enterprise.
 20        758. At the second layer, as described and alleged herein, Plaintiffs
 21   are informed and believe that Susolik was instrumental to make or arrange
 22   the vacationing Judge Moss “fix” of the Park sale by the “call in” right on
 23   time. (Exhibit B) Thomas and Wood covered up the “fix.” Wood sequestered
 24   and withheld Judge Moss’ falsified court documents. (Exhibits C, I)
 25        C.    Enterprise Third Level – the Client Beneficiaries
 26        759. At the third level are the Park-Buyer Defendants, reapers of the
 27   multi-million-dollar illicit racketeered real estate gain, the Park Buyer
 28   Defendants Saunders, Coldren, the LLCs, PCP and the HOA Defendants

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  1   Mantelli, Fiori and other PBPA Directors. They receive the assistance and
  2   participation of attorney Defendants Wood, Thomas, and Salisbury who
  3   they compensate with funds embezzled from the HOA seniors.
  4        760. Mantelli, Saunders and Coldren, with help from Attorneys
  5   Wood, Thomas and Salisbury, make decisions for the third level.
  6        761. The third level attorney and ADR clients pay attorneys’ and
  7   “private” judge fees which drive the Enterprise actors financially, and in
  8   turn provide funds to bribe and corrupt judicial officers and make political
  9   donations to agency racketeers AG Becerra and AG Harris.
 10        D.    Enterprise Function, Horizontal and Vertical
 11              Communication
 12        762. Plaintiffs are informed and believe, and thereon allege that
 13   JAMS, through Justice Trotter, within the first layer, communicated with
 14   Judge Stock (Ret.), Judge Andler (Ret.), whom joined JAMS, and with Judge
 15   Moss and Justices O’Leary and Bedsworth.
 16        763. At the second level, Saunders and Coldren and Mantelli shared
 17   control, with Saunders and Coldren to direct second-level operative Susolik,
 18   who communicated or coordinated with Judge Moss and Justice Trotter.
 19   Attorneys Susolik and Wood contributed as attorneys whose firms and
 20   clients command JAMS “repeat business” favored status.
 21        764. At the third level, Plaintiffs are informed and believe, and
 22   thereon allege, Saunders and Coldren were in control, with Mantelli at the
 23   head of the HOA fiduciary breaches and wrongdoing, while Saunders and
 24   Coldren directed the Park Buyer Defendants’ offenses.                  Saunders and
 25   Coldren directed Susolik. He in turn communicated with the judges at the
 26   first level. Mantelli directed Wood and Thomas.
 27        765. Within the Enterprise, participants communicate horizontally
 28   within their own level. JAMS and Trotter communicated with judges Stock,

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  1   Andler, and others.      There was communication or unspoken or tacit
  2   agreements among JAMS, the judges, and the CJP and AG.
  3        766. At the second level, communicating with the Defendants and
  4   each other, attorneys Susolik, Wood, Thomas, Salisbury carry out the
  5   Enterprise.
  6        767. At the third level Saunders, Coldren and Mantelli coordinate
  7   fiduciary fraud and obstruction of justice for the theft of HOA real estate
  8   and cash. They carry out the Enterprise principal goal of stealing millions
  9   in real estate equity from vulnerable seniors.
 10        768. There was and is communication between the layers and levels,
 11   with first level participants JAMS, Justice Trotter and Judge Moss having
 12   contact or probable communication with Susolik and other attorneys at the
 13   second level. In turn, these second level attorney participants communicate
 14   with the third level client and beneficiary decision-maker participants
 15   Saunders and Coldren and Mantelli.
 16        769. The goal, purpose and function of each level and of each
 17   participant within each level is a routine and known constant, which
 18   obviates need for extensive contact, facilitates avoidance of incriminating
 19   written correspondence and records, and allows Enterprise operation with
 20   minimal, mostly verbal, inferred and non-explicit communication.
 21        770. The Enterprise is and was always distinct from JAMS or the
 22   Orange County courts or PBPA or the Attorney Defendants’ law firms or
 23   PMP. The Enterprise functions as an associated in fact group of individual
 24   and company and institutional or agency participants and players with
 25   defined roles and contributions, as described and alleged in this Complaint.
 26        771. Plaintiffs are informed and believe, and thereon allege, that the
 27   Enterprise is ongoing with regard to the other Park seniors. It serves to
 28   deter and oppress them from taking any legal action against the fiduciary

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  1   fraud and self-dealing that has befallen them. The Park seniors see and
  2   fear that the Orange County judges and justices, like with Plaintiffs, would
  3   rule for Saunders and Coldren and Mantelli, disregarding the law to uphold
  4   fiduciary misconduct and self-dealing criminal wrongdoing.
  5        772. Plaintiffs are informed and believe, and thereon allege, that the
  6   Enterprise, with the same three levels, some of the same actors and
  7   participants or other actors in Orange and other California counties in other
  8   cases, is ongoing and operating to secure for JAMS’ “repeat business”
  9   customers, and their attorneys, by corrupt means, the financial and other
 10   goals in litigation they seek and which JAMS and others in the Enterprise
 11   strive to deliver by attempted extortion of litigants, bribery of judges,
 12   obstruction of justice, honest services fraud, and such wrongdoing, all as
 13   this Complaint describes, details, and alleges.
 14        E.    Enterprise Commencement, Duration and Continuation
 15        773. Plaintiffs are informed and believe, and thereon allege, that the
 16   Enterprise operation to take the Park and the seniors’ homes and their HOA
 17   cash and to undermine and injure Plaintiffs in their property started in or
 18   about early 2013.
 19        774. Mantelli was elected Board President January 2013. The Park
 20   side Enterprise at the third level began in 2013 when Mantelli and the Park
 21   Buyer Defendants Susolik, Coldren and their affiliates began their scheme
 22   to defraud the Park seniors.
 23        775. JAMS first appeared for Justice Trotter’s attempted extortion in
 24   November 2013. Plaintiffs are informed and believe, and thereon allege,
 25   that JAMS, Trotter, Mantelli and her co-Defendants communicated and
 26   coordinated the Enterprise, all three levels, starting sometime in 2013 and
 27   continuing through 2019 and to the present.
 28        776. Plaintiffs are informed and believe, and thereon allege, that the

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  1   JAMS based Enterprise existed before it snared Plaintiffs in 2013, and that
  2   it is ongoing and continuing and operating to benefit JAMS preferred
  3   clientele.
  4         777. As to PBPA and the Park, the Enterprise continues both to
  5   thwart Plaintiffs’ remaining foothold in the state court litigation, and to
  6   deter and oppress other Park seniors from believing they would have any
  7   chance in Orange County courts to prevail, as they should under law and
  8   fact, against the Enterprise, Saunders, Coldren, Mantelli and their
  9   attorneys.
 10   XVIII.        CLAIMS FOR RELIEF
 11            A.    COUNT ONE: VIOLATION OF 18 U.S.C. §1962(c)
 12                      (Plaintiffs against all Defendants)
 13         778. Plaintiffs incorporate by reference all preceding paragraphs.
 14         779. Defendants and the non-defendant co-conspirators and each of
 15   them are "persons" within the meaning of 18 U.S.C. §1961(3) and §1964(c).
 16         780. The non-defendant co-conspirators that engaged in the
 17   Enterprise racketeering activities in violation of 18 U.S.C. §1962(c) with
 18   Defendants were JAMS, Justice Trotter, Judge Wieben Stock (Ret.) Judge
 19   Moss, Judge Margines, and Judge Andler (Ret.).
 20         781. At all times, the Defendants and non-defendant co-conspirators
 21   formed an association in fact for the purpose of the unlawful taking of real
 22   estate equity and cash from Plaintiffs and other seniors, injuring them in
 23   their property, by fiduciary fraud and self-dealing and related racketeering
 24   activity in and through the Enterprise, principally using denial and
 25   defrauding of honest judicial services, as described and alleged herein.
 26         782. The Association in Fact Enterprise includes JAMS, but is
 27   distinct from JAMS, as the Enterprise exists as a structured association of
 28   actors and conspirators as described and alleged in this Complaint.

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  1   Similarly, the Enterprise involves the Orange County courts, CJP, and
  2   private companies the LLCS, PMP, and others, none of which, by itself,
  3   constitutes the Enterprise, which is an association in fact of all of them and
  4   the Defendants and non-defendant co-conspirators.
  5        783. At all relevant times, as described and alleged herein, the
  6   Enterprise was engaged in, and its activities affected interstate commerce,
  7   within the meaning of 18 U.S.C. §1962(c).
  8        784. At all relevant times, the Defendants and non-defendant co-
  9   conspirators conducted the affairs of the Enterprise described and alleged
 10   herein through a pattern of racketeering activity in violation of 18 U.S.C.
 11   §1962(c) as described and alleged in this Complaint.
 12        785. At all relevant times, Defendants and the indicated non-
 13   defendant co-conspirators engaged in “racketeering activity” within the
 14   meaning of 18 U.S.C. §1961(1) by undertaking and doing the activity
 15   described and alleged in this Complaint, which acts were and involved
 16   various repeated violations that were predicate crimes, both federal and
 17   state, specified by 18 U.S.C. §1961(1), the federal crimes described and
 18   alleged herein, including mail and wire fraud, honest services fraud, Hobbs
 19   Act bribery extortion, and document falsification (18 U.S.C. §1341, §1343,
 20   §1346, §1951, §1512(c)) and the state law predicate crimes described and
 21   alleged herein, including attempted extortion and extortion, bribery,
 22   perjury, embezzlement, document falsification, grand theft and conspiracy
 23   to commit crime and obstruct justice (Calif. Penal Code §518, §524, §92, §93,
 24   §118, §118a, §503, §132, §133 §134, §487 and §182(a)(1), (5); Govt. Code
 25   §6200).
 26        786. Plaintiffs are informed and believe, and thereon allege, that each
 27   and every Defendant, and indicated non-defendant co-conspirator, within
 28   the time frame 2013 – 2019, committed and conspired in the commission of

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  1   at least two (2), but for most more, violations of the above and herein
  2   described predicate crimes, as stated and alleged in this Complaint.
  3        787. The crimes and acts of racketeering activity, summarized herein
  4   and described and alleged in detail in this Complaint, constituted a “pattern
  5   of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).
  6        788. The acts described and alleged were related to each other by
  7   virtue of common participants, a common victim (the Plaintiffs and Park
  8   seniors) a common method of commission against litigants similarly
  9   situated as Plaintiffs, and the common primary purpose and common result,
 10   like that in this case, of defrauding and converting and taking from the
 11   victims, here the Plaintiffs and Park seniors, their property, in this case
 12   millions in real estate equity and cash.
 13        789. The common feature and mechanism of the scheme is to injure
 14   the victims in their property, by making the victims, here the Plaintiffs,
 15   always lose in court through a pattern of bribed and dishonest judicial
 16   officers enlisted and compensated by the Enterprise.
 17        790. As described and alleged in this Complaint, the Enterprise,
 18   through Defendants and non-defendant co-conspirators, engaged in
 19   racketeering activity against Plaintiffs commencing 2013 and continuing to
 20   the present.
 21        791. Plaintiffs sustained injury to their property from the Enterprise
 22   in December 2018 and January 2019 when the Enterprise actor judicial
 23   officers (Opinion, J. Bedsworth, Op. 12/17/18) purposefully wrongfully
 24   adjudicated Plaintiffs were not entitled to their homes unlawfully taken by
 25   HOA PBPA or compensation therefor, thereby taking their homes and value
 26   thereof, by the carrying out of the Enterprise objective as described and
 27   alleged in this Complaint.
 28        792. JAMS and Justice Trotter (Ret.), along with other JAMS officials

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  1   not yet identified, Plaintiffs are informed and believe and thereon allege,
  2   exerted ongoing and continuous control over the base, first level and layer
  3   of the Enterprise, and participated in the operation or management of the
  4   base level affairs of the Enterprise, including, but not limited to, the
  5   following racketeering actions and predicate crime violations, as described
  6   and alleged in this Complaint, summarized and set forth below in
  7   approximate chronological order:
  8              a.    Issuing      false,    deceptive,      and      misleading
  9              information disseminated to the Plaintiffs and public by
 10              mail and electronic means that JAMS is ethical, honest,
 11              accountable and has integrity, which was not true, as
 12              JAMS states and admits, among other unethical
 13              practices, that its mediation tactics include promise and
 14              threat to communicate ex parte with the mediating
 15              parties’ trial judge so as to “pressure” one side to settle.
 16              b.    Acting as agent for Defendants Saunders, Coldren
 17              and Mantelli to attempt to extort Plaintiffs to settle
 18              their case for an HOA promissory note, and if Plaintiffs
 19              refused, to engage in unlawful ex parte communication
 20              with their trial judge Stock to malign them in her eyes
 21              and thereby to undermine Plaintiffs’ rights to a fair and
 22              impartial judge in the Orange County courts, and assure
 23              defeat of Plaintiffs in the Orange County courts by use
 24              of the Enterprise’s biased judges, which extorted injury,
 25              damage and loss did ultimately occur in December 2018
 26              and January 2019 when the JAMS corrupted justices
 27              decreed loss of Plaintiffs’ homes with no compensation
 28              therefor, as described and alleged herein.

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  1              c.    To bribe Judge Stock by holding out a JAMS job
  2              for quid pro quo of reversing her decisions to go against
  3              Plaintiffs, as her last judicial acts in the case before
  4              joining JAMS, which actions she took and which bribe
  5              Plaintiffs are informed and believe and allege she
  6              received, the bribe being the assurance of a JAMS job.
  7              d. To either bribe or influence trial judge Gail Andler by
  8              holding out a JAMS job for quid pro quo of her
  9              abandoning the Park sale case Haugen v. PBPA and not
 10              discharging her duty to report disqualified Judge Moss’
 11              strategic “call in” as willful judicial misconduct and
 12              crime to CJP and prosecuting authorities all in order to
 13              allow Judge Moss to thwart the TRO and unlawfully
 14              “self-re-qualify” and thereby fix the fiduciary fraudulent
 15              Park sale for the benefit of JAMS “repeat business”
 16              customers Saunders, Coldren, Susolik and Wood.
 17              e. Exerting influence over the Orange County justices
 18              by advocating that they not recuse in Plaintiffs’ appeals,
 19              including where Plaintiffs had sued JAMS and Justice
 20              Trotter.
 21        793. At the Enterprise first level, non-defendant co-conspirator
 22   judges and justices rendered base level acts for the Enterprise which were
 23   predicate crimes, as described and alleged herein, including, but not limited
 24   to, the following actions and predicate crimes as described and alleged
 25   herein, on information and belief, summarized and set forth below in
 26   approximate chronological order:
 27              a. Judge Stock (Ret.) accepting bribe to reverse her
 28              rulings against Plaintiffs in Chodosh v. PBPA in the

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  1              time frame December 2013, for the quid pro quo of
  2              assurance she would be offered a lucrative JAMS job,
  3              which position she did secure in or about January 2014.
  4              b. Judge Moss accepting bribes and being influenced for
  5              pecuniary gain, including a future JAMS job, to engage
  6              in willful judicial misconduct of intentional disregard of
  7              the law to rule against Plaintiffs and deny them
  8              impartial judicial decisions.
  9              c. Judge Moss accepting bribe to call in from vacation
 10              on a case not in his court, on which he was disqualified,
 11              to “fix” the case to thwart a TRO that would stop the
 12              fiduciary fraudulent Park sale.
 13              d. Judge Andler (Ret.) not reporting or referring Judge
 14              Moss’ unlawful “re-qualification” on and taking of the
 15              Park sale case from her to both the CJP and prosecuting
 16              authorities as required by Canon 3D(1) and other legal
 17              authority.
 18              e.   Then Presiding Judge Margines not reporting or
 19              referring Judge Moss’ unlawful “re-qualification” on and
 20              taking of the Park sale case from Judge Andler to both
 21              the CJP and prosecuting authorities as required by
 22              Canon 3D(1), CJC Memo. to Presiding Judges (Exh. Q)
 23              and other authority.
 24              f.   Presiding Justice O’Leary and Justice Bedsworth
 25              upholding Judge Moss’ illegal “fix” of the Park sale.
 26              g. Justice O’Leary and Justice Bedsworth refusing to
 27              recuse where Plaintiffs had sued the first presiding
 28              justice of their court who was also the former justice

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  1              colleague that could get them a JAMS job like that held
  2              by most living retired Orange County justices.
  3              h. Justice O’Leary and Justice Bedsworth deliberately
  4              placing themselves on Plaintiffs’ appeal after Plaintiffs
  5              had sued them in federal court, and acting and ruling in
  6              Plaintiffs’ appeal against them.
  7              i. Justice O’Leary immediate denial, in violation of court
  8              rules, of Plaintiffs’ motion to take the deposition and
  9              obtain the sworn testimony of Judge Moss, as
 10              specifically permitted by law.
 11              j. Justice Bedsworth authoring the opinion in Plaintiffs’
 12              appeal of Chodosh v. PBPA (G073598, 12/17/18) in
 13              which he engaged in willful judicial misconduct and
 14              intentional disregard of the law.            Justice Bedsworth
 15              ruled that Plaintiffs did not owe HOA PBPA for rent or
 16              loans. But he allowed PBPA to keep Plaintiffs’ homes
 17              even though PBPA had taken the homes by illegal strict
 18              foreclosure founded on Plaintiffs’ failure to pay the rents
 19              and loans which Justice Bedsworth ruled they did not
 20              owe.
 21              k.     In effort and tactic to dissuade Plaintiffs’ from
 22              pursuing their rights and claims, Justice Bedsworth
 23              threatened Plaintiffs’         counsel     with    contempt       for
 24              declaring in pleadings and open court that Judge Moss
 25              had “fixed” the case, even though Justice Bedsworth,
 26              from the court record, could see that Judge Moss had
 27              “fixed.” Justice Bedsworth backed down from the threat
 28              because he knew Judge Moss testifying at the contempt

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  1              hearing would reveal and expose the Enterprise.
  2              l.   Justice   Bedsworth       wrongly      denied      Plaintiffs’
  3              attorneys’ fees, and contradicted the government agency
  4              having jurisdiction’s finding that PBPA unlawfully
  5              lacked a securities permit for its conversion to ROP.
  6        794. At the Enterprise second level, Attorney Defendant Susolik and
  7   the other Defendant Attorneys participated and furthered the operation and
  8   management of the second level affairs of the Enterprise, including but not
  9   limited to the following actions and predicate crime violations, as described
 10   and alleged on information and belief herein, summarized and set forth
 11   below in approximate chronological order:
 12              a. Defendant attorneys Wood and Thomas and Mantelli
 13              participating or conspiring in the PBPA use of JAMS
 14              and Trotter as agent to attempt extortion of Plaintiffs by
 15              telling them to accept the HOA PBPA “promise to pay”
 16              settlement or suffer Trotter’s undermining of Plaintiffs’
 17              rights to impartial judicial officers.
 18              b.    Defendant Attorney Susolik or his surrogates
 19              conducting or coordinating ex parte communication
 20              whereby Judge Moss, disqualified on the Haugen v.
 21              PBPA Park sale case, and on vacation, was contacted
 22              and requested to call in from his vacation, thwart the
 23              application for TRO to stop the Park sale, and act to
 24              protect and assure that the closing of the lucrative
 25              fraudulent and self-dealing real estate sale would close
 26              that same day as scheduled.
 27              c. Attorneys Wood, Thomas and Salisbury acting and
 28              conspiring to carry out, facilitate, aid and conceal

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  1              Defendant Park-Buyers’ bribery of Judge Moss to rule
  2              against Plaintiffs and in particular to call in from
  3              vacation, just in time, to fix the Park sale.
  4              d. Attorney Wood and Thomas acting and conspiring to
  5              conceal Defendant park-buyers’ bribery of Judge Moss
  6              to call in from vacation, just in time, to fix the Park sale,
  7              by not raising sale closing at the December 28, 2015
  8              TRO hearing and by Wood’s concealment of Judge Moss’
  9              falsified TRO opposition pleadings.
 10              e.   Attorney Wood acting and conspiring to conceal
 11              Judge Moss’ falsification of court documents by
 12              concealing and refusing to disclose and reveal the TRO
 13              opposition pleadings returned to Wood (Exhibits C, I)
 14              which Judge Moss had caused to be altered and then
 15              filed to cover up his fixing of the Park sale by delay of
 16              the TRO and “self-re-qualification.”
 17              f.    Attorney Wood and Thomas participating or
 18              conspiring in the failed effort to have Justice Bedsworth
 19              hold Plaintiffs’ Counsel in contempt for stating in open
 20              court the truth that Judge Moss “fixed” the fiduciary
 21              fraudulent Park sale and for statements against the
 22              Justices.
 23        795. Mantelli and Saunders and Coldren, at times through and with
 24   the assistance of the Attorney Defendants Susolik, Salisbury, Thomas and
 25   Wood, operated the third level Enterprise for fraudulent acquisition of the
 26   Park, exerted ongoing and continuous control over the Enterprise, and
 27   participated in the operation or management of the affairs of the Enterprise,
 28   including but not limited to the following actions and violations of predicate

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  1   crimes, as described and alleged herein, summarized and set forth below in
  2   approximate chronological order:
  3              a. Issuing false, deceptive, and misleading information
  4              disseminated to the Park residents and HOA members
  5              stating the Plaintiffs were to blame for PBPA litigation,
  6              the additional $400 / mo. for legal fees, and inability to
  7              sell homes brought on by agency finding that PBPA
  8              lacked the required securities permit. (Exhibits J, K, L)
  9              b. Deliberately failing and refusing to settle with the
 10              Plaintiffs, including not informing the HOA members of
 11              Plaintiffs 2013 settlement offer, which provided means
 12              to resolve the litigation and retain and preserve the
 13              Park for the seniors, but would defeat the Enterprise
 14              objective of taking the seniors’ Park and homes in
 15              fiduciary fraudulent and self-dealing transactions.
 16              c. Conducting and conspiring to carry out, including
 17              through JAMS and Justice Trotter, as described and
 18              alleged   in    this   Complaint,       attempted       extortion,
 19              extortion, bribery of judges and obstruction of justice to
 20              deny Plaintiffs their rights to impartial judicial officers
 21              in order to take their homes and property by corrupt and
 22              intentionally wrong judicial decisions, as described and
 23              alleged herein.
 24              d. Controlling and directing or conspiring in the creation
 25              and operation of a cover-up scheme to conceal the
 26              extortion, bribery and obstruction of justice undertaken
 27              to deny Plaintiffs their rights and take their homes and
 28              property as described and alleged herein.

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  1              e. Arranging or allowing and not rebutting Judge Moss
  2              in court false statements that fiduciary breaching and
  3              self-dealing HOA President Mantelli was credible.
  4              f. Bribing fiduciaries, HOA Directors Fiori and Smith
  5              and Attorney Salisbury, to breach their duties in order
  6              to carry out the Enterprise objective of taking the Park
  7              and homes from the seniors.
  8              g.    With Mantelli, attorneys Wood, Thomas and
  9              Salisbury appearing before, writing to, or otherwise
 10              communicating to the PBPA HOA members the false
 11              representation that they and each of them acted as
 12              attorneys for the HOA and its members and their
 13              benefit, when in fact they worked to enable President
 14              Mantelli to deceive and defraud the members for her
 15              self-dealing sale of the Park and so she could orchestrate
 16              embezzlement of millions in HOA member money.
 17              h. In the fraud to persuade Park members to sell the
 18              Park, preparing and issuing false, deceptive, and
 19              misleading information (Exhibit L) disseminated to the
 20              Plaintiffs and park residents and HOA members stating
 21              the sale to Saunders was the only option for the Park
 22              and a good deal for the seniors; that the Park sale was
 23              the best to be had,
 24              i. Concealing and failing and refusing to disclose to the
 25              PBPA members the higher and better, no commission,
 26              cash offer for the Park that the Board had in hand that
 27              would have paid $20,000 more to each senior. (Exhibit
 28              M)

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  1              j. Defendants Saunders, Coldren, Mantelli, acting or
  2              conspiring with Defendant Attorney Susolik to secure
  3              unlawful action whereby Judge Moss, disqualified on
  4              the Haugen v. PBPA Park sale case, and on vacation,
  5              would be contacted ex parte and requested to call in
  6              from his vacation, thwart the application for TRO to stop
  7              the Park sale, and act to protect and assure that the
  8              closing of the lucrative fraudulent and self-dealing real
  9              estate sale would close that same day as scheduled.
 10              k. Defendants Saunders, Coldren, Mantelli, acting or
 11              conspiring with Attorneys Wood, Thomas and Salisbury
 12              to carry out, facilitate, and conceal Defendant Park-
 13              buyers’ bribery of disqualified Judge Moss to call in from
 14              vacation, just in time, to fix the Park sale.
 15              l. Attorney Wood receiving, as ex parte communication
 16              from Judge Moss, falsified court documents, the PBPA
 17              TRO opposition (Exhibit C, I) which Wood then
 18              deliberately concealed and withheld from Plaintiffs in
 19              order to cover up and shield Judge Moss’ unlawful “call
 20              in” from vacation to fix the Park sale.
 21              m. Allowing and authorizing attorney Thomas to take
 22              HOA PBPA funds for acting at all times as Mantelli’s
 23              personal attorney to carry out her fraudulent objectives
 24              and directives for the fraud and deception to take the
 25              Park and homes from the Plaintiffs and seniors.
 26              n. Allowing and authorizing attorney Salisbury to act
 27              in a totally conflicted capacity for being, at the same
 28              time, counsel to Park – buyer principal Coldren and

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  1              Park seller HOA PBPA, i.e. representing both sides in a
  2              real estate purchase and sale transaction, which double
  3              representation was impossible without PBPA consent or
  4              waiver, which could not be given, if at all, by the
  5              conflicted and self-dealing HOA Board.
  6              o. Taking funds from PBPA in payment of Salisbury’s
  7              legal fees for supposed services to PBPA which were
  8              inherently conflicted, contradictory, and detrimental to
  9              PBPA and its members.
 10              p.   Embezzling all or part of the $1,000,000 in HOA
 11              reserves and another up to estimated $1,000,000 in Park
 12              sales proceeds, and using some of the funds to
 13              compensate       and     further      Enterprise       Defendant
 14              attorneys Salisbury and Thomas and converting other
 15              funds to the use of Mantelli and Fiori and other PBPA
 16              Directors.
 17              q.   Allowing and directing Attorneys Thomas and
 18              Salisbury to act and conspire to embezzle and take HOA
 19              funds and Park sale proceeds to pay their excessive legal
 20              fees for work that did not benefit their supposed clients,
 21              the HOA and its members, but enriched their true
 22              clients, Mantelli, her HOA director and Park Buyer
 23              accomplices, Coldren and associates, and themselves.
 24              r. For over four and one-half (4.5) years, not providing
 25              or sending to the HOA members the Park sale escrow
 26              closing statement or any accounting with regard to the
 27              Park sale proceeds, and issuing minimal information
 28              about the sale proceeds, for the purpose of concealing

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  1              Defendants’ fiduciary fraud and embezzlement of
  2              millions of HOA member money.
  3              s.   Mailing     and      electronically      transmitting       or
  4              disseminating        documents         containing        material
  5              misrepresentations and omissions of fact to the
  6              Plaintiffs and Park residents and to the State courts and
  7              later the DBO, DRE and the California Supreme Court
  8              and the United States Supreme Court in the time 2013
  9              to 2019, in which Defendants made materially false
 10              statements about the Park sale, PBPA HOA finances,
 11              PBPA’s legal rights, status, decision making and
 12              legality of operation, and the leases and terms by which
 13              individual residents would stay and lease space in the
 14              Park following the Park sale.
 15        796. The Enterprise non-Defendant co-conspirators CJP, Dresser,
 16   Henley, AG Becerra, and former attorney general Senator Harris
 17   contributed to the Enterprise by conspiring with its actors to assure non-
 18   investigation, no discipline and no prosecution of the Enterprise’s crime
 19   committing judges and justices, in violation of 18 U.S.C. §1962(d), as
 20   described and alleged herein and in the next claim for relief under §1962(d).
 21        797. The Enterprise's members are distinct from the Enterprise and
 22   its activity and each exercised and continues to exercise control over various
 23   functions of the Enterprise, with their individual roles and participation
 24   described and alleged herein.
 25        798. Each Enterprise actor and member, each of the Defendants and
 26   non-defendant co-conspirators, was vital to the Enterprise, and conducted
 27   or controlled some aspect of the Enterprise critical to its success, as
 28   described and alleged herein.

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  1        799. For their wrongdoing and wrongful conduct participating in the
  2   Enterprise and committing predicate crimes, Defendants are liable to
  3   Plaintiffs for injury to their property and losses and damages in amounts to
  4   be determined at trial.
  5        800. The foregoing described and alleged participants and pattern of
  6   racketeering activity are distinct from the Enterprise itself, which does not
  7   solely engage in the above-described acts, but does so through its members
  8   and participants.
  9        801. As described and alleged herein, HOA PBPA was and remains a
 10   passive instrument of Defendants' racketeering activity, and together with
 11   and through Defendants, PBPA constitutes an alternative "enterprise"
 12   participant as that term is defined in 18 U.S.C. §1961(4).
 13        802. This Complaint details the ongoing pattern of racketeering
 14   based on facts that are known to Plaintiffs and their counsel. It is filed
 15   without the benefit of discovery, which will likely uncover more predicate
 16   acts and further demonstrate the breadth and scope of the Enterprise's
 17   racketeering.
 18        803. Collectively, all these violations alleged and described in this
 19   complaint, occurring over eight (8) years, are a "pattern of racketeering
 20   activity" within the meaning of 18 U.S.C. § 1961 (5).
 21        804. Each activity was related, had similar purposes, involved the
 22   same or similar participants and methods of commission, and had similar
 23   results affecting similar victims, including Plaintiffs and the Park residents.
 24        805. Plaintiffs are informed and believe, and thereon allege, that
 25   some Defendants and non-defendant co-conspirators continue to utilize the
 26   Enterprise to perpetrate racketeering activity on other litigants and persons
 27   in other cases, making the Enterprise an ongoing, continual operation,
 28   constantly seeking out new victims and targets like Plaintiffs, who have

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  1   valuable property for fraudulent and corrupt taking by JAMS or ADR
  2   company favored attorneys and their clients, and whom, like Plaintiffs, will
  3   not provide “repeat business” for JAMS or ADR services.
  4         806. Plaintiffs were injured in their property by the Enterprise
  5   racketeering and predicate acts and crimes in December 2018 and January
  6   2019, when the appellate court, under non-defendant conspirator
  7   Bedsworth’s opinion and denial of rehearing petition (12/17/18 and 1/9/19),
  8   upheld non-defendant co-conspirator Judge Moss’ judgment that allowed
  9   HOA PBPA to keep and retain Plaintiffs homes without paying any
 10   compensation or damages therefor.
 11         807. Finality of the wrongful judgment was not achieved until denial
 12   of Plaintiffs’ petitions for discretionary review to the California Supreme
 13   Court and the United States Supreme Court in March and November 2019.
 14         808. Because and as a result of Defendants’ violations of 18 U.S.C. §
 15   1962(c), Plaintiffs were injured in their property by loss of their homes’
 16   value in amounts that aggregate at more than $1,095,000 and the HOA
 17   seniors lost their mobilehome park, along with HOA cash.
 18         809. Pursuant to RICO, 18 U.S.C. § 1964(c), Plaintiffs are entitled to
 19   recover three-fold (3x) their damages plus costs and attorneys’ fees from the
 20   Defendants and each of them.
 21         B.     COUNT TWO: VIOLATION OF 18 U.S.C. §1962(d) BY
 22                CONSPIRING TO VIOLATE 18 U.S.C. §1962(c)
 23                        (Plaintiffs against all Defendants)
 24         810. Plaintiffs incorporate by reference all preceding paragraphs.
 25         811. Section 1962(d) of RICO provides that it "shall be unlawful for
 26   any person to conspire to violate any of the provisions of subsection (a), (b)
 27   or (c) of this section."
 28         812. As described and alleged in this Complaint, Defendants and the

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  1   non-defendant co-conspirators, JAMS, Trotter, Stock, Moss, Andler,
  2   Margines, O’Leary and Bedsworth violated 18 U.S.C. §1962(c) and also
  3   violated §1962(d) by conspiring to violate 18 U.S.C. §1962(c).
  4         813. Non-defendant co-conspirators, CJP, Chief Dresser and former
  5   Chief Henley and AG Becerra and former AG Senator Harris, violated
  6   §1962(d) by conspiring to violate 18 U.S.C. §1962(c).
  7         814. The object of this conspiracy has been and is to conduct or
  8   participate in, directly or indirectly, the conduct of the affairs of the §1962(c)
  9   Enterprise described and alleged herein through a pattern of racketeering
 10   activity also as described and alleged herein.
 11         815. Defendants and non-defendant co-conspirators agreed to join the
 12   conspiracy, agreed to commit and did commit or conspire to commit the acts
 13   described herein, and knew that these acts were part of a pattern of
 14   racketeering activity.
 15         816. Non-defendant co-conspirator CJP conspired to aid and further
 16   the Enterprise by ensuring that it would not investigate or discipline or
 17   refer for criminal investigation or prosecution judge crime reported to it by
 18   victims of the Enterprise, as described and alleged herein.
 19         817. By deliberate failure and refusal to discipline or refer judge
 20   crime, and by acting contrary to law and its duty by advocating to bar
 21   Plaintiffs’ lawful right to investigate judge crime as permitted by the
 22   Evidence Code, (i.e. opposing Plaintiffs’ deposition of Judge Moss) CJP
 23   conspired in and with the Enterprise and its first level actors.
 24         818. CJP allowed the Enterprise to engage and secure the judge crime
 25   it needed and needs to succeed in its objectives because CJP gave assurance
 26   that it would not discipline the Enterprise’s crime committing judges and
 27   would conceal and not refer evidence of their judge crime to prosecuting
 28   authorities.

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  1        819. Non-Defendant co-conspirators CJP Director Chiefs Dresser and
  2   Henley allowed and directed CJP cover up and enabling of judge crime, and
  3   specifically that of Judge Moss, as described and alleged herein.
  4        820. Non-Defendant co-conspirator AG Becerra, for personal benefit,
  5   conducts and directs that the Office of the Attorney General not investigate
  6   judge crime; that it not take-in judge crime evidence reported by the public.
  7        821. AG Becerra directs his office to instruct the public to submit all
  8   complaints about judges to the CJP, falsely stating the CJP has “exclusive
  9   jurisdiction” over judge complaints. CJP is a disciplinary agency. CJP
 10   cannot levy criminal charges to enforce the law.
 11        822. AG Becerra knows that judge crime evidence is dead on arrival
 12   at CJP, that CJP will not act on it, but hide and sequester it.
 13        823. AG Becerra conspires with CJP and the Enterprise to enable and
 14   protect judge crime by making sure publicly reported evidence of judge
 15   crime never comes to light in his office or at any other law enforcement
 16   agency.
 17        824. Within the Enterprise first level, CJP and its current Chief
 18   Dresser and former Chief Henley and AG Becerra and before him attorney
 19   general Harris exerted ongoing, continuous and shared control over the base
 20   level Enterprise component of law enforcement agency neutralization for
 21   the Enterprise’s judges’ crimes.
 22        825. They conspired to carry out the operation or management of the
 23   base level agency affairs for the Enterprise, including, but not limited to,
 24   the following racketeering actions and of predicate crime violations, as
 25   described and alleged herein, summarized and set forth below in
 26   approximate chronological order:
 27              a. CJP receiving but not acting on Plaintiffs’ complaint
 28              about Judge Moss and his “call in”, submitted to CJP in

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  1              April 2016, as shown by CJP “no action” letter issued
  2              over four (4) years later, dated May 14, 2020 (Exhibit C)
  3              b.   CJP not referring Judge Moss’ “call in” crime to
  4              prosecuting authorities pursuant to canon 3D(1) and
  5              Handbook authority and pursuant to CJP Rule 102(g)
  6              and Policy Declaration 4.2.
  7              c. CJP and AG Becerra asserting and declaring that
  8              Judge Moss’ “call in” was “exercise of judicial
  9              discretion”, i.e. legal and proper, which was wholly
 10              untrue, as the “call in” was willful judicial misconduct
 11              and judge crime under CJP and court precedents in
 12              which it has been labeled the “quintessential” judge bad
 13              act and because no jurisprudence allows a disqualified
 14              judge to “self-re-qualify.”
 15              d. CJP commencing public proceedings against already
 16              retired Judge Steven Bailey, AG Becerra’s Republican
 17              candidate opponent in the 2018 election for lesser
 18              offenses of “improper action” and “prejudicial conduct”
 19              when CJP precedents were to pursue already retired
 20              judges only for “willful judicial misconduct,” and to
 21              commence the charges not for public benefit, but to
 22              support and assist AG Becerra in his campaign against
 23              Judge Bailey as quid pro quo for his bargain to not
 24              prosecute crime-committing judges.
 25              e.   CJP commencing the public proceedings against
 26              Judge Bailey (Ret.) during the 2018 election, which was
 27              contrary to rule, policy and protocol of not charging
 28              candidate for lesser offenses during the election, but

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  1              which CJP violated in order to strategically and timely
  2              malign     candidate      Judge     Bailey,     the    Republican
  3              candidate, to benefit candidate AG Becerra, the
  4              Democrat.
  5              f. CJP and AG Becerra opposing Plaintiffs’ taking Judge
  6              Moss’ deposition in order to prevent what was certain to
  7              be his damning testimony against the Enterprise, by
  8              falsely labeling Plaintiff’s deposition subpoena as an
  9              “abusive litigation tactic.”
 10              g.   CJP and AG Becerra, and before him attorney
 11              general Harris, conspiring and cooperating to falsely
 12              direct and mislead the public that all complaints about
 13              judges, including grievances with evidence of judge
 14              crime, must be sent to the CJP and not the attorney
 15              general; and that the CJP has “exclusive jurisdiction”
 16              over all complaints about judges, for the purpose and
 17              having the effect of funneling evidence of judge crime to
 18              CJP where, both AG Becerra and AG Harris are
 19              informed, CJP will “deep-six” the evidence so that the
 20              crime-committing judge would not face discipline or
 21              criminal prosecution.
 22              h. CJP and AG feigning ignorance as to their total lack
 23              of bringing disciplinary or prosecutorial charges against
 24              a judge that committed crime from the bench that
 25              injured litigants, where they know the truth is that they
 26              have a conspiracy to not bring such charges.
 27              i. CJP falsely declaring to the public that it has referred
 28              judge crime for prosecution on “multiple occasions”,

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  1              when research reveals it has never done so, and using
  2              the mail and electronic transmission to disseminate
  3              such materially false information to the public.
  4              j. CJP assertion of absolute secrecy, refusing to provide
  5              raw statistical data to prove CJP public statement that
  6              it has referred judges to prosecuting authorities on
  7              “multiple occasions.” (Exhibit T)
  8              k. AG Becerra failure and refusal to investigate for
  9              prosecution Judge Moss’ “call in” crime of “fixing” the
 10              Park sale, in contravention of attorney general duty to
 11              adequately and uniformly enforce state law, (Calif.
 12              Const. Art. V, §13) by asserting as excuse “lack of
 13              resources”.
 14        826. Defendants and their non-defendant co-conspirators have
 15   engaged in numerous overt and predicate fraudulent racketeering acts in
 16   furtherance of the conspiracy, including material misrepresentations and
 17   omissions designed to defraud Plaintiffs, the courts, the public and Park
 18   residents, and to conceal and hide the bribery of judges and justices and to
 19   thereby obstruct justice so that Plaintiffs would lose in state court when on
 20   facts and law they should have won.
 21        827. The nature of the above-described overt acts, material
 22   misrepresentations and omissions in furtherance of the conspiracy gives
 23   rise to an inference that Defendants, co-conspirators and Enterprise
 24   participants not only agreed to the objective of an 18 U.S.C. § 1962(d)
 25   violation of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were
 26   aware that their ongoing fraudulent acts have been and are part of an
 27   overall pattern of racketeering activity.
 28        828. As a direct and proximate result of Defendants' and the non-

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  1   defendant co-conspirators’ overt acts and predicate acts in furtherance of
  2   violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. § 1962(c),
  3   Plaintiffs and the Park residents have been and are continuing to be injured
  4   in their property, as set forth more fully above, and Plaintiffs are informed
  5   and believe, other persons and litigants in other cases are and will be
  6   injured by the described conspiracy to carry out the pattern of predicate
  7   crimes for the racketeering Enterprise described and alleged herein.
  8               C.     COUNT THREE: UNJUST ENRICHMENT
  9                           (Plaintiffs vs. Defendants)
 10        829. Plaintiffs allege that under the laws of the State of California,
 11   the Defendants have acted to unjustly retain a benefit to the Plaintiffs'
 12   detriment, and that Defendants' retention of the benefit violates the
 13   fundamental principles of justice, equity, and good conscience.
 14   XIX. PRAYER
 15        WHEREFORE, Plaintiffs demand judgment on each claim for relief,
 16   jointly and severally, and other relief, as follows:
 17        1. Because most of the Plaintiffs are advanced age elders, authorizing
 18   the conduct of expedited discovery, starting with deposition of non-
 19   defendant co-conspirator Judge Robert Moss;
 20        2. Awarding Plaintiffs their actual damages and treble (three times)
 21   their actual damages on their RICO claims, together with costs and
 22   reasonable attorneys' fees;
 23        3. Awarding Plaintiffs pre-judgment and post-judgment interest as
 24   provided by law;
 25        4. Awarding Plaintiffs their costs and expenses in this litigation,
 26   including reasonable attorneys' fees and expert fees;
 27        5. Awarding Plaintiffs appropriate relief for Defendants' unjust
 28   enrichment, including compensation for the value of Plaintiffs’ homes and

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  1   pre-judgment interest on such home value amounts; and
  2        6. Awarding Plaintiffs such other and further relief as may be just and
  3   proper under the circumstances.
  4                          DEMAND FOR JURY TRIAL
  5        Plaintiffs demand a trial by jury on all claims so triable.
  6

  7    DATED: July 21, 2020                Respectfully Submitted,
  8
                                           LAW OFFICE OF PATRICK J. EVANS
  9
 10
                                           By: /s/ Patrick J. Evans
 11
                                                Patrick J. Evans
 12                                             Counsel for Plaintiffs
 13
                                                Floyd Chodosh, Sue Eicherly,
                                                Myrle Moore, Ole Haugen, Todd
 14                                             Peterson and Rodger Kane, Jr.
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           F. CHODOSH, et al. v. J. SAUNDERS, et al. COMPLAINT EXHIBITS

  E    Exhibit     Item / Document Title / Description                              Ref. Pg.
  X    Doc.                                                                         Pg. No.
  H.   Date
  A    c. 2015     Palm Beach Mobilehome Park, Aerial, Lot Scheme, 2015             3    167
       & earlier   Operating Permit, Historic painting “RV” park c. 1950s
  B    11/12/16    Haugen v. PBPA, (stop sale TRO case), caption / cover pg.        4    173
       11/16/15    Minute Order Judge Sherman Assigning Case to Judge Moss
       11/25/15    Plaintiff’s §170.6 Peremptory Challenge to Judge Moss
       11/30/15    Pres. Judge Margines, Order DQ. J. Moss; case – re assigned
       12/01/15    Judge Moss, Transcript, he admits no jurisdiction
       12/01/15    PBPA “Objection” to §170.6 Order Disqualifying J. Moss
       12/07/15    Plaintiff Haugen Opposition to PBPA §170.6 “Objection”
       12/09/15    Notice of Association of Counsel Allen Thomas
       12/15/15    PBPA Notice of Demurrer, by attorney C. Wood
       12/15/15    Chodosh v. PBPA, Judge Moss, will be “out for 2 weeks”
       12/21/15    Haugen v. PBPA, TRO Application & Decl. - stop park sale
       12/21/15    PBPA Opposition to Ex Parte Application for TRO
       12/21/15    PBPA Request for Judicial Notice to Support Opp.
       12/21/15    PBPA Opposition to Declaration of Harris for TRO
       12/21/15    PBPA Opposition to Declaration of Haugen for TRO
       12/21/15    PBPA Opposition to Declaration of Worthington for TRO
       12/21/15    PBPA Opposition to Declaration of Evans for TRO
       12/22/15    Moss Order, 9:00 a.m. TRO Delayed, sent to Moss courtroom
       12/22/15    Moss Order, Self-Re-Qualify #1, 9:29 a.m., not served
       12/22/15    Grant Deed, PBPA to LLCs, s/ Mantelli, recorded 1:18 p.m.
       12/23/15    Moss Order, Self-Re-Qualify #2, served by clerk
       12/28/15    Moss Order Deny TRO
  C    12/21/15    TRO Opp. Pleadings – Original and Altered, serial in order       4    208
  D    2015-16     Haugen Reg. of Actions/Docket 2015 – 16 (no chron. order)        4    221
  E    04/29/16    Judge Moss Answer - Denial of ex parte contact                   4    230
  F    03/20/19    Notice Appeal over, Case Remanded Back to Judge Moss             4    234
       05/20/19    Plaintiffs’ Peremptory Challenge, face page
       07/31/19    Judge Moss Salary Affidavit Cut-off 6/2/19; s/ 7/31/19
       08/30/19    Judge Moss Salary Affidavit Cut-off 7/2/19; s/ 8/30/19
       09/30/19    Judge Moss Salary Affidavit Cut-off 8/2/19; s/ 9/30/19
       10/31/19    Judge Moss Salary Affidavit Cut-off 9/1/19; s/ 10/31/19
       11/20/19    Judge Moss MINUTE ORDER Grant §170.6 filed 5/20/19
       12/03/19    Judge Moss Salary Affidavit Cut-off 10/2/19; s/ 12/3/19
       01/06/20    Judge Moss Salary Affidavit Cut-off 11/2/19; s/ 01/6/20
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  E Exhibit       Item / Document Title / Description                              Ref. Pg.
  X Doc.                                                                           Pg. No.
  H. Date
     07/02/19     CJP Order Admonish Judge B. Lamb, re: salary affidavits
  G 04/25/16      Letter transmittal Complaint against Judge Moss                  4    250
     04/26/16     Comm. on Judicial Perf. (“CJP”), Ltr. rec’d.
     06/15/16     CJP Staff Letter Requesting court documents
     06/20/16     Letter to CJP with requested court documents
     07/26/16     CJP Letter complaint “under consideration”
     12/20/18     CJP disqualified Judge Moss “judicial discretion”
     05/14/20     CJP Notice “no basis for action against the judge”
  H 03/02/17      AG Public Integrity Unit lack resources for judge crime          7    260
     02/11/17     Plaintiffs’ Counsel Letter to AG PI Unit re: Judge Moss
  I  03/23/16     Accuse Defendants of Obstruction of Justice                      24   273
     03/24/16     Accuse Counsel concealing altered court documents
     03/25/16     Attorney A. Thomas response and denial
     03/29/16     Accuse adoptive admissions to Obstruct Justice
     04/06/16     Attorney C. Wood response and denial
  J  6/19/16      Dept. of Business Oversight, PBPA Consent Decree                 13   303
  K 01/04/14      PBPA Ballot Increase Dues $400 / mo. for legal fees              17   310
  L 05/9/15       Park Sale Promotion Materials for HOA members                    18   312
                  Saunders Letters to PBPA members
  M    11/30/15   Hometown America, cover letter to Mantelli                       19   351
       11/30/15   Hometown America, higher offer to buy Park
  N    04/29/19   State Auditor, 1st ever Audit of CJP, Ltr. & 2 Pgs.              32   356
  O    01/01/16   Atty. fee payout grid, end 2015 early 2016, undated              17   360
       ’07-2017   Atty. Fees Paid to Thomas, Salisbury, et al. 2007 - 2017
  P    10/06/14   PBPA President Mantelli as Cowgirl Sheriff,                      37   363
                  Memo. to members: “we won”
  Q    11/10/06   CJC Memo re: Presiding Judge Responsibilities                    32   366
       04/26/16   Complaint to Presiding Judge Margines re: Judge Moss
  R    2017       AG Form Letters, CJP                                             33   379
                  “exclusive jurisdiction”; all judge complaints to CJP
  S    07/20/18   Chodosh v. PBPA, Appeal Oral Arg. Transcript                     48   393
       12/18/18   Opinion, Bedsworth, J., excerpt re: contempt
       01/09/19   Order Denying Pet. Rehearing, excerpt re: contempt

  T    1983-      CJP Rule 102(g) and Policy Declaration 4.2, grid data            31   405
       2019       35,000 complaints against judges 1983 – 2019


                          COMPLAINT FOR VIOLATIONS OF 18 U.S.C. §1962(c) and (d)
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  E Exhibit       Item / Document Title / Description                              Ref. Pg.
  X Doc.                                                                           Pg. No.
  H. Date
     08/29/17   CJP Report Judge Crime referred “multiple occasions”
     10/22/03   Daily Journal, CJP “referred J. Danser to DA”
     1988 etc.  LA Times, San Diego convicted judges 1988, 1997, 2000
  U 06/24/14    AG Kamala Harris Response re: reported Judge crime                 53   418
     06/09/14   Atty. B. Kaufman Ltr. to Harris reporting judge crime
  V 01/29/16    Pac. Curr. Partners PR (Salisbury rep. seller HOA)                 85   435
     07/13/15   Coldren v. Hart (2015) Salisbury Coldren attorney
  W 06/21/04    National Law Journal “Thinking Outside Box”                        40   439
                Susolik Firm contacts Judge after hours at poker party
  X    2014     JAMS Mission, Vision, Values (2014)                                66   441
                vs.
       2020     JAMS Purpose, Vision, Values (2020)
  Y    07/15/16 Primo Mgmt. Stmnt. Info. Mantelli and Salisbury                    40   444
                Primo Mgmt. Real Estate Sign at Park
  Z             Palm Beach Park Litigation                                         2    447
                Cases’ Caption Pages (2010 – 2020)

       04/09/10   PBPA v. Eicherly (unlawful detainer, filed)
       06/13/12   Chodosh v. PBPA, main case, G053798 (f: 12/10/10)
       12/13/10   Haugen v. PBPA (derivative complaint)
       08/10/11   PBPA v. Eicherly (“1 Dog” rule violation)
       05/02/14   Eicherly v. PBPA (HOA election challenge)
       05/12/14   Chodosh v. JAMS, Justice Trotter
       11/12/15   Haugen v. PBPA (stop the Park sale case)
       12/09/16   Eicherly v. CJP (for no action on Moss complaint)
       12/21/16   Eicherly v. O’Leary, Bedsworth, Moss, et al. (USDC)
       10/05/18   Chodosh, Padilla v. CJP and AG (taxpayer suit)




                          COMPLAINT FOR VIOLATIONS OF 18 U.S.C. §1962(c) and (d)
                                             165
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  1                    F. Chodosh, et al. v. John Saunders, et al.
  2
                                       [complaint 7/22/20]
  3

  4

  5                            COMPLAINT EXHIBITS
  6
                                               “A”
  7

  8
                                           -through-
  9
 10
                                              “Z”
 11

 12

 13

 14

 15
                                [Attachment to complaint 7/22/20;
 16                               starting page is this page 167]

 17

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                         COMPLAINT FOR VIOLATIONS OF 18 U.S.C. §1962(c) and (d)
                                            166
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                              F. Chodosh, et al., v. J. Saunders, et al.

                                           July 21, 2020

                                          COMPLAINT

                                           EXHIBIT – A




                      c. 2015            Palm Beach Mobilehome Park,
                      & earlier
                                                     Aerial,

                                                  Lot Scheme,

                                             2015 Operating Permit,

                                     Historic painting “RV” park c. 1950s




                                  EXHIBIT A
                                     167
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                                  EXHIBIT A
                                     168
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                                  EXHIBIT A
                                     169
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                                  EXHIBIT A
                                     170
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                                  EXHIBIT A
                                     171
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                                          A
                                  EXHIBIT __
                                     172
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                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – B


          11/12/16   Haugen v. PBPA, (stop sale TRO case), caption / cover pg.
          11/16/15   Minute Order Judge Sherman Assigning Case to Judge Moss
          11/25/15   Plaintiff’s §170.6 Peremptory Challenge to Judge Moss
          11/30/15   Pres. Judge Margines, Order DQ. J. Moss; case – re assigned
          12/01/15   Judge Moss, Transcript, he admits no jurisdiction
          12/01/15   PBPA “Objection” to §170.6 Order Disqualifying J. Moss
          12/07/15   Plaintiff Haugen Opposition to PBPA §170.6 “Objection”
          12/09/15   Notice of Association of Counsel Allen Thomas
          12/15/15   PBPA Notice of Demurrer, by attorney C. Wood
          12/15/15   Chodosh v. PBPA, Judge Moss, will be “out for 2 weeks”
          12/21/15   Haugen v. PBPA, TRO Application & Decl. - stop park sale
          12/21/15   PBPA Opposition to Ex Parte Application for TRO
          12/21/15   PBPA Request for Judicial Notice to Support Opp.
          12/21/15   PBPA Opposition to Declaration of Harris for TRO
          12/21/15   PBPA Opposition to Declaration of Haugen for TRO
          12/21/15   PBPA Opposition to Declaration of Worthington for TRO
          12/21/15   PBPA Opposition to Declaration of Evans for TRO
          12/22/15   Moss Order, 9:00 a.m. TRO Delayed, sent to Moss courtroom
          12/22/15   Moss Order, Self-Re-Qualify #1, 9:29 a.m., not served
          12/22/15   Grant Deed, PBPA to LLCs, s/ Mantelli, recorded 1:18 p.m.
          12/23/15   Moss Order, Self-Re-Qualify #2, served by clerk
          12/28/15   Moss Order Deny TRO




                                    EXHIBIT B
                                       173
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      pevans@pevanslawoffice.com
  4   Attorneys for Plaintiff, OLE HAUGEN
  5

  6
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
  7

  8            FOR THE COUNTY OF ORANGE – CENTRAL JUSTICE CENTER
  9
      OLE HAUGEN, an individual;                        CASE NO.
 10
                      Plaintiff,                         VERIFIED COMPLAINT FOR:
 11
 12                                                         1.   Breach of Contract - Violation of
                                                                 Bylaws re: 06/28/15 Membership
 13
                                                                 Vote to Sell Park and Dissolve;
 14    v.
                                                            2.   Breach of Statutory Election
 15                                                              Requirements; Corp. Code §7616;
      PALM BEACH PARK ASSOCIATION, a
 16   California non-profit mutual benefit                       Civil Code §5145, et al.;
      corporation; and DOES 1 - 20
 17                                                         3.   Breach of Mobilehome Space Lease
                    Defendants.                                  [Contract] – for Bylaw Breaches re:
 18
                                                                 06/28/15 Membership Vote;
 19
                                                            4.   Breach of Fiduciary Duty-
 20                                                              Conducting Illegal Vote; Board
 21
                                                                 Directors Conflicted [and Treble
                                                                 Damages, Civ. Code §3345];
 22
                                                            5.   Financial Elder Abuse Welf. &
 23                                                              Inst. Code §15610.30 et al. [and
 24                                                              Treble Damages, Civ. Code §3345];

 25                                                         6.   Quiet Title;
 26
                                                            7.   Accounting; and
 27
                                                            8.   Declaratory Relief
 28
      _________________________________________________________________________________________________
            VERIFIED COMPLAINT CHALLENGING HOA MEMBERSHIP VOTE AND TO QUIET TITLE
                                                      1


                                             EXHIBIT B
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                                  EXHIBIT B
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       pevans@pevanslawoffice.com
   4   Attorneys for Plaintiff OLE HAUGEN
   5
   6
   7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
   8

   9             FOR THE COUNTY OF ORANGE – CIVIL COMPLEX CENTER
  10

  11   OLE HAUGEN, an individual;                     CASE NO. 30-2015-00819837-CU-CO-CJC
  12                    Plaintiff,
                                                      [Assigned to Dept. CX102
  13    v.                                             Hon. Robert J. Moss, Judge Presiding]
  14
       PALM BEACH PARK ASSOCIATION, a                  PEREMPTORY CHALLENGE UNDER
  15   California non- profit mutual benefit           CODE OF CIVIL PROCEDURE SECTION
       corporation;                                    170.6; MOTION RE: DISQUALIFICATION
  16   and DOES 1 - 20                                 OF JUDICIAL OFFICER; DECLARATION
                                                       OF PLAINTIFF’S COUNSEL IN SUPPORT
  17                  Defendants.
  18                                                   Action Filed: Nov. 12, 2015
  19
  20

  21          TO THE HONORABLE COURT, DEFENDANT AND INTERESTED
  22   PERSONS:
  23
              I, Patrick J. Evans, hereby declare:
  24
              I am the attorney for Plaintiff, Ole Haugen (“Plaintiff”) in this action.
  25
  26          Pursuant to Code Civil Procedure sec. 170.6, Plaintiff hereby moves and requests that

  27   the assigned Judge, Honorable Robert J. Moss, be disqualified to hear the case and cause and
  28
       that the case and cause be re-assigned to another judicial officer.
                                                       1
             PEREMPTORY CHALLENGE – MOTION AND DECLARATION – CODE CIV. PROC. §170.6


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    1          This judicial officer has not presided over a hearing, motion or other proceeding in
    2
        this case.
    3
               Plaintiff’s counsel, the undersigned, under penalty of perjury, deposes and says that
    4

    5   Judge Robert J. Moss, the judge before whom the trial or hearing in the aforesaid action is

    6   assigned, is prejudiced against Plaintiff and/or his attorney, or the interest of the Plaintiff
    7
        and/or his attorney so that declarant cannot, or believes that he cannot, have a fair and
    8
        impartial trial or hearing before the judge.
    9

   10          I declare under penalty of perjury under the laws of the State of California that the

   11   foregoing is true and correct.
   12          Executed this 25th day of November, 2015 at Huntington Beach, California.
   13

   14
   15
                                             Respectfully submitted,

   16   DATED: Nov. 25, 2015                LAW OFFICE OF PATRICK J. EVANS
   17

   18
                                            By:_______________________________
   19                                                PATRICK J. EVANS
                                                   Attorney for Plaintiff, Ole Haugen
   20

   21

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               PEREMPTORY CHALLENGE – MOTION AND DECLARATION – CODE CIV. PROC. §170.6


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                                                                                                             123
                                 SUPERIOR COURT OF CALIFORNIA,
                                     COUNTY OF ORANGE
                                   CENTRAL JUSTICE CENTER                                                     340
                                                                                                              303
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                                           MINUTE ORDER
DATE: 11/30/2015                    TIME: 03:03:00 PM       DEPT: C01
JUDICIAL OFFICER PRESIDING: Supervising Judge Charles Margines
CLERK: L. Labrador
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2015-00819837-CU-BC-CXC CASE INIT.DATE: 11/12/2015
CASE TITLE: Haugen vs. Palm Beach Park Association
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72275651
EVENT TYPE: Chambers Work


                                                                                                             STOL
APPEARANCES                                                                                                  STO
                                                                                                             Stol
There are no appearances by any party.

A Peremptory Challenge under C.C.P.§170.6 as to the Honorable Robert J. Moss having been filed on
11/25/15, by Plaintiff, and this matter having been transferred to C1 for reassignment, the Court now
rules as follows:
This case is reassigned to the Honorable Gail A. Andler in Department CX101 for all purposes.

Counsel to contact clerk in Department CX101 within 15 days of receipt of this order to reschedule any
pending hearings.

The Court determines that for purposes of exercising C.C.P.§170.6 rights, there are two sides to this
matter unless the contrary is brought to the attention of the Court, by Ex-Parte motion. Counsel has 15
days from the date of the enclosed certificate of mailing in which to exercise any rights under
C.C.P.§170.6.

Court orders Clerk to give notice. Plaintiff to give notice to any parties not listed and to file proof of
service with the court within 10 days.
                                                                                                             STO




DATE: 11/30/2015                                MINUTE ORDER                                      Page 1
DEPT: C01                                                                                    Calendar No.
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                                                                            1


  1                        SUPERIOR COURT OF CALIFORNIA

  2                COUNTY OF ORANGE, CENTRAL JUSTICE CENTER

  3                               DEPARTMENT CX102

  4

  5      IN RE:                          )      LEAD CASE NO.
                                         )      30-2010-00423544
  6      PALM BEACH PARK ASSOCIATION     )
         CASES:                          )      CONSOLIDATED WITH:
  7                                      )      30-2010-00423807
         LEAD CASE:                      )      30-2010-00425213
  8                                      )      30-2010-00423173
         FLOYD M. CHODOSH, ETC., ET AL., )      30-2010-00425206
  9                                      )      30-2010-00425291
                         PLAINTIFFS,     )      30-2010-00425323
 10                                      )      30-2010-00435331
            VS.                          )      30-2010-00432261
 11                                      )
         PALM BEACH PARK ASSOCIATION,    )
 12      ET AL.,                         )
                                         )
 13                      DEFENDANTS.     )
         ________________________________)
 14

 15                HONORABLE ROBERT J. MOSS, JUDGE PRESIDING

 16                            REPORTER'S TRANSCRIPT

 17                               DECEMBER 1, 2015

 18

 19      APPEARANCES OF COUNSEL:

 20
            FOR PLAINTIFFS:                LAW OFFICE OF PATRICK J. EVANS
 21                                        BY: PATRICK J. EVANS

 22         FOR CROSS-COMPLAINANT:         ALLAN B. WEISS & ASSOCIATES
                                           BY: ALLEN L. THOMAS
 23

 24                        KATHY D. HOFFMAN, CSR #5787
                            COURT REPORTER PRO TEMPORE
 25

 26


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                                                                            2


  1            SANTA ANA, CALIFORNIA - TUESDAY, DECEMBER 1, 2015

  2                               MORNING SESSION

  3                  (THE FOLLOWING PROCEEDINGS WERE HAD IN OPEN

  4      COURT:)

  5            THE COURT:    LAST BUT NOT LEAST IS THE PALM BEACH PARK

  6      ASSOCIATION CASES.

  7            MR. EVANS:    GOOD MORNING, YOUR HONOR.      PATRICK EVANS

  8      FOR THE PLAINTIFFS, EXCEPT CHRIS MC LAUGHLIN.

  9            MR. THOMAS:    ALLEN THOMAS FOR CROSS-COMPLAINANT, PALM

 10      BEACH PARK ASSOCIATION, AND THE PARTY THAT BROUGHT THE

 11      EX PARTE.

 12            THE COURT:    THIS IS THE DEFENDANT'S EX PARTE TO

 13      EXPUNGE THE LIS PENDENS THAT WAS RECENTLY RECORDED.          I

 14      BELIEVE THIS LIS PENDENS WAS RECORDED IN THE NEW CASE THAT

 15      WAS FILED JUST THIS LAST MONTH; CORRECT?

 16            MR. EVANS:    THAT'S RIGHT, YOUR HONOR.      IT'S A NEW

 17      CASE, DEALS WITH ENTIRELY NEW FACTS.

 18            THE COURT:    MR. EVANS HAS FILED A 170.6, SO I DON'T

 19      HAVE JURISDICTION TO RULE ON THIS MOTION.

 20            MR. THOMAS:    WE'RE IN THIS COURT TO SEEK THE COURT TO

 21      ENFORCE ITS PREVIOUS ORDER.       WE FILED THIS EX PARTE IN THE

 22      CURRENT CASE BEING HEARD BY THIS COURT, AND WE BELIEVE THAT

 23      THE COURT ON NOVEMBER 13TH, 2015, GRANTED PALM BEACH PARK'S

 24      MOTION TO EXPUNGE A LIS PENDENS FILED BY ALL THE

 25      PLAINTIFFS, INCLUDING OLE HAUGEN, AND MR. EVANS AT THAT

 26      TIME ON BEHALF OF OLE HAUGEN SOUGHT TO CARVE OUT MR. HAUGEN


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                                                                            3


  1      FROM THE COURT'S RULING, AND THE COURT SAID NO.

  2                  WE BELIEVE THAT THIS COURT UNDER THE AUTHORITIES

  3      WE CITED IN THE EX PARTE, I THINK IT'S 125 OF THE CODE OF

  4      CIVIL PROCEDURE, HAS THE INHERENT POWER TO ENFORCE ITS

  5      ORDERS.

  6                  AND MR. EVANS RAN OUT THE MONDAY AFTER THAT

  7      FRIDAY, AND FILED -- OR RECORDED ANOTHER LIS PENDENS

  8      AGAINST THE SAME PROPERTY.      THE COURT FOUND ON THAT FRIDAY

  9      THAT MR. HAUGEN HAS NO INTEREST, PROPERTY RIGHT, TITLE TO

 10      THE REAL PROPERTY.      THE COURT ENGAGED MR. EVANS IN ORAL

 11      ARGUMENT OVER THE FACT THAT, EVEN ASSUMING WHATEVER HE

 12      CLAIMS IS TRUE, IT DOES NOT AFFECT MR. HAUGEN'S TITLE,

 13      POSSESSION, RIGHT TO REAL PROPERTY.

 14                  WE ATTACHED THE COMPLAINT FILED BY OLE HAUGEN AS

 15      AN EXHIBIT, AND CONTRARY TO MR. HAUGEN'S COUNSEL'S

 16      ARGUMENT, WE'RE NOT ADMITTING ANYTHING IN THERE IS TRUE,

 17      BUT WE POINTED OUT TO THE COURT IN THIS CASE, IN THE CASE

 18      BEFORE YOU, THAT, IN FACT, NOTHING THAT MR. HAUGEN ALLEGES

 19      HAS ANY RIGHT, TITLE, OR INTEREST TO THE PROPERTY.          IT'S

 20      ALL RELATING TO THIS ELECTION VOTE THAT THEY HAD TO SELL

 21      THE PROPERTY.      THERE'S NO CAUSES OF ACTION THAT PERTAIN TO

 22      RIGHT, TITLE, INTEREST IN THE PROPERTY.

 23            THE COURT:     LET ME STOP YOU, MR. THOMAS.     I AGREE WITH

 24      ALL THAT.    MY ONLY HANG-UP IS THIS NEW ACTION HE FILED A

 25      170.6 AGAINST ME.      THAT MEANS I DON'T HAVE JURISDICTION TO

 26      RULE ON THE NEW ACTION.      ALL THESE ARGUMENTS COULD BE MADE


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                                                                            4


  1      TO THE JUDGE TO WHICH THIS CASE IS ASSIGNED, BUT I DON'T

  2      HAVE JURISDICTION IF THEY FILE A 170.6.

  3            MR. THOMAS:     WELL, YOU DO HAVE JURISDICTION IN THE

  4      CURRENT CASE.      WE'RE GOING TO CHALLENGE THAT 170.6 ANYWAY,

  5      BECAUSE MR. HAUGEN HAS ALREADY ATTEMPTED TO DISQUALIFY YOU,

  6      AND THERE'S A UNITY OF INTEREST, SO THAT'S DOWN THE ROAD

  7      TOO, BUT MY POINT IS THAT YOU, YOUR HONOR, HAVE THE

  8      AUTHORITY TO ENFORCE YOUR ORDERS AND ADHERE TO THE FACT, OR

  9      AT LEAST ALLOW MY CLIENT TO ADHERE TO A SENSE OF JUSTICE IN

 10      THE CASE YOU ARE PRESIDING OVER, AND THAT THIS IS A DIRECT

 11      CHALLENGE, IN OUR OPINION, TO THE COURT'S AUTHORITY TO

 12      EXPUNGE A LIS PENDENS.

 13                 WE'RE SEEKING TO EXPUNGE IT THROUGH THE COURT'S

 14      INHERENT POWER.

 15            THE COURT:     I UNDERSTAND THAT.

 16            MR. THOMAS:     ALL RIGHT.   AND ALSO, YOUR HONOR, EACH

 17      DAY THAT THAT LIS PENDENS IS RECORDED, CONTRARY TO WHAT

 18      MR. HAUGEN WOULD ARGUE, EACH DAY IT CLOUDS TITLE, IF PALM

 19      BEACH WANTED TO GO OUT AND GET A LOAN TODAY, THE LENDER,

 20      THEY DON'T HAVE NOTICE OF ANYTHING.        AND HE SHOULD AT LEAST

 21      HAVE TO POST AN UNDERTAKING WHILE THIS THING WORKS ITS WAY

 22      THROUGH THE COURT.

 23            THE COURT:     I UNDERSTAND THAT TOO, BUT WITHOUT

 24      JURISDICTION, YOU HAVE TO FILE THIS MOTION IN THE

 25      DEPARTMENT TO WHICH THE NEW CASE IS ASSIGNED.

 26            MR. THOMAS:     DO WE HAVE ANY IDEA WHEN THAT MIGHT


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                                  EXHIBIT B
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       pevans@pevanslawoffice.com
   4   Attorney for Plaintiff,
       Ole Haugen.
   5

   6
                                   SUPERIOR COURT OF CALIFORNIA
   7
                         COUNTY OF ORANGE - CIVIL COMPLEX CENTER
   8
   9   OLE HAUGEN, an individual                       CASE NO.: 30-2015-000819837-CU-BC-CJC
  10                 Plaintiff,                        [Assigned to Dept. CX101;
                                                       Hon. Gail A. Andler, Judge Presiding]
  11   v.
                                                       PLAINTIFF’S OPPOSITION TO
  12   PALM BEACH PARK ASSOCIATION, a                  DEFENDANT PALM BEACH PARK
       California non-profit mutual benefit            ASSOCIATION’S OBJECTION TO CODE
  13   corporation, and DOES 1-20;                     OF CIVIL PROCEDURE §170.6
                                                       PEREMPTORY CHALLANGE
  14                 Defendants.
                                                       Complaint Filed: Nov. 12, 2015
  15

  16
              TO THE HONORABLE COURT AND DEFENDANT THROUH COUNSEL:
  17

  18
              PLEASE TAKE NOTICE that Plaintiff Ole Haugen files this Opposition to Defendant

  19   Palm Beach Park Association’s (“PBPA”) Objection (“Objection”) to Plaintiff’s §170.6

  20   peremptory challenge (the “Challenge”) of the Hon. Judge Robert J. Moss.
  21
              The Challenge was proper and effective. PBPA did not object to it by ex parte
  22
       application as specified in Hon. Randall Sherman’s Minute Order, entered 11/16. Two weeks
  23
       later, on 11/30, when Hon. Judge Moss honored the 170.6 Challenge, PBPA did not protest.
  24

  25          After two courts ruled the Challenge effective, PBPA objected. The Objection is

  26   untimely; it is too late. PBPA waived objection. Regardless, this case is not a “continuation” of
  27
       a prior case. PBPA has consistently insisted that nothing new can come into the existing case.
  28
                                                      1
                              PLAINTIFFS’ OPPOSITION TO PBPA 170.6 OBJECTION



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                                           B
                                  EXHIBIT __
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             SUPERIOR COURT OF THE STATE OF CALIFORNIA

                        FOR THE COUNTY OF ORANGE

                         COMPLEX JUSTICE CENTER

                            DEPARTMENT CX-102



  IN RE:                                             )
                                                     )
  PALM BEACH PARK ASSOCIATION CASES                  )
                                                     )
                                                     )
  LEAD CASE:                                         )
                                                     )   NO.   30-2010-
  CHODOSH V. PALM BEACH PARK ASSOCIATION,)                     00423544
  ET AL.,                                )
                                         )
                                         )
                                         )
                                         )


          THE HONORABLE ROBERT J. MOSS, JUDGE PRESIDING

            REPORTER'S DAILY TRANSCRIPT OF PROCEEDINGS

                            DECEMBER 15, 2015

  APPEARANCES OF COUNSEL:

     FOR PLAINTIFFS           PATRICK J. EVANS, ESQ.
                              LAW OFFICE OF PATRICK J. EVANS

     FOR DEFENDANTS           CARY L. WOOD, ESQ.
                              DOMINEH FAZEL, ESQ.
                              LEWIS BRISBOIS BIGAARD & SMITH, LLP


                              ALLEN L. THOMAS, ESQ.
                              ALLAN B. WEISS & ASSOCIATES




                 STEPHANIE A. KLINGAMAN, CSR# 12391
                      OFFICIAL COURT REPORTER


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                                                                                632


  1                AS FOR EJECTMENT, THIS COURT RULED ON

  2   MARCH 21, 2014 THAT THE CROSS-COMPLAINT DID NOT STATE

  3   ALL OF THE NECESSARY ELEMENTS FOR EJECTMENT.                   AND IT'S

  4   HARD TO BELIEVE, ARE THEY SERIOUS, THESE PLAINTIFFS

  5   SHOULD PAY MONEY AND BE EJECTED?

  6                NO CHALLENGE TO THE MARKET VALUE SO-CALLED.

  7   WELL, IT SEEMS TO ME THE SINGULAR INDICATION OF MARKET

  8   VALUE WOULD BE 102 SANDY THAT MR. COOK RENTS FOR $1200 A

  9   MONTH.   THAT'S A NEW MODERN UNIT MUCH BETTER THAN THE

10    PLAINTIFFS' UNIT.       WE HEARD TESTIMONY ABOUT THAT.              BUT

11    OF COURSE IT'S ILLEGAL.          AND MR. COOK COULD LIVE THERE

12    FOR THE NEXT 90 DAYS AND NOT PAY RENT.                   AND IF THE PARK

13    WENT AT HIM, HE COULD THUMB HIS NOSE AT THEM BECAUSE

14    IT'S ILLEGAL.      THAT'S THE LAW.

15                 THE SITUATION PREDICAMENT, IT IS CHAOS, AND

16    IT'S A TRAGEDY.       THESE FOLKS HAD AN OPPORTUNITY TO BUY

17    THIS PARK, AND NOW WE'RE TOLD THEY'RE GOING TO HAVE TO

18    SELL IT OFF.     THAT'S ANOTHER CHAPTER OF THIS SORDID TALE

19    COMING UP.

20                 AGAIN, YOUR HONOR, I URGE THE COURT, JUST CUT

21    TO THE QUICK, IT'S ALL ILLEGAL.             LET'S BE DONE WITH IT.

22         THE COURT:      THANK YOU, MR. EVANS.

23                 LADIES AND GENTLEMEN, I'LL TAKE THE MATTER

24    UNDER SUBMISSION, AND IT WILL BE A WHILE BEFORE YOU GET

25    MY DECISION, BECAUSE AFTER THIS WEEK, I'LL BE OFF FOR

26    TWO WEEKS AND THEN COME BACK, SO BE PATIENT, AND I'LL


                   DO NOT DUPLICATE PURUSANT TO CGC 69954(D)
                                    EXHIBIT B
                                       188
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 189 of 457 Page ID #:189




   1   PATRICK J. EVANS, SBN 110535
       LAW OFFICE OF PATRICK J. EVANS
   2   16897 ALGONQUIN ST., SUITE F
       HUNTINGTON BEACH, CALIFORNIA 92649
   3   Tel: 714\ 594-5722; Fax: 714\ 840-6861
       pevans@pevanslawoffice.com
   4   Attorney for Plaintiff, Ole Haugen
   5

   6
                                   SUPERIOR COURT OF CALIFORNIA
   7
                         COUNTY OF ORANGE - CIVIL COMPLEX CENTER
   8
   9   OLE HAUGEN, an individual;                             CASE NO. 30-2015-00819837-CU-BC-CJC
  10                  Plaintiff,                              [Hon. Gail A. Andler; Dept. CX-101]
  11                                                          APPLICATION FOR ORDER TO SHOW
                                                              CAUSE AND TEMPORARY
  12                                                          RESTRAINING ORDER TO ENJOIN SALE
        v.                                                    OF PALM BEACH MOBILEHOME PARK
  13                                                          TO SAUNDERS PROPERTY CO.;
                                                              MEMORANDUM OF POINTS AND
  14   PALM BEACH PARK ASSOCIATION, a                         AUTHORITIES AND DECLARATIONS OF
       California non-profit mutual benefit                   OLE HAUGEN, PATRICK EVANS,
  15   corporation; and DOES 1 - 20                           PATRICIA M. WORTHINGTON AND
                                                              BONNIE P. HARRIS IN SUPPORT [CODE
  16                                                          CIV. PROC. §526, 527]
  17                                                          [Notice and Declaration Re: Notice and
                                                              Request for Judicial Notice, Notice of
  18                                                          Lodgment of Transcript and (Proposed)
                                                              Order Filed and Lodged Separately]
  19
                                                              Hearing Date December 22. 2015
  20                                                          Hearing Time: 9:00 a.m.
  21                  Defendants.
                                                              Complaint Filed: Nov. 12, 2015
  22
  23     TO THE HONORABLE COURT AND DEFENDANT THROUGH COUNSEL:

  24          Plaintiff Ole Haugen applies for a temporary restraining order and for an Order to Show
  25
       Cause requiring Defendant Palm Beach Park Association (“PBPA”) to show why a preliminary
  26
       injunction should not issue pending trial in this action, enjoining PBPA and its Board of Directors,
  27
       attorneys and agents acting with it, from taking any action to sell the Palm Beach Park to John
  28


                                                          i
               APPLICATION FOR TRO AND MOTION FOR PRELIM. INJ. AGAINST SAUNDERS SALE

                                               EXHIBIT B
                                                  189
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 190 of 457 Page ID #:190




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                                  EXHIBIT B
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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 191 of 457 Page ID #:191




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                                  EXHIBIT B
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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 192 of 457 Page ID #:192




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                                  EXHIBIT B
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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 193 of 457 Page ID #:193




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 194 of 457 Page ID #:194




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                                  EXHIBIT B
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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 195 of 457 Page ID #:195




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                                  EXHIBIT B
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  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 196 of 457 Page ID #:196

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                                 SUPERIOR COURT OF CALIFORNIA,
                                     COUNTY OF ORANGE
                                    CIVIL COMPLEX CENTER                                               340
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                                           MINUTE ORDER
DATE: 12/22/2015                    TIME: 09:00:00 AM         DEPT: CX102
JUDICIAL OFFICER PRESIDING: Under the direction of Honorable Robert J. Moss
CLERK: Betsy Zuanich
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: None

CASE NO: 30-2015-00819837-CU-BC-CXC CASE INIT.DATE: 11/12/2015
CASE TITLE: Haugen vs. Palm Beach Park Association
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72288945
EVENT TYPE: Ex Parte


                                                                                                      STOL
APPEARANCES                                                                                           STO
Patrick J. Evans, from Law Office of Patrick J. Evans, present for Plaintiff(s).
Cary L. Wood/Domineh Fazel, from Lewis Brisbois Bisgaard & Smith LLP, present for Defendant(s).
 Allen L. Thomas present for defendant Palm Beach Park Association
Edward Susolik/Peter S. Bauman, Callahan & Blaine, specially appeared for John Saunders
                                                                                                      Stol
Application for Order to Show Cause and Temporary Restraining Order to Enjoin Sale of Palm
Beach Mobilehome Park to Saunders Property Co.
Ex Parte Application is continued to 12/28/2015, at 08:30 AM in this department.

Counsel for Palm Beach Park Association will give notice.
                                                                                                      STO




DATE: 12/22/2015                               MINUTE ORDER                                 Page 1
DEPT: CX102                                                                            Calendar No.
                                             EXHIBIT B
                                                196
  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 197 of 457 Page ID #:197

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                                    SUPERIOR COURT OF CALIFORNIA,
                                        COUNTY OF ORANGE
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                                             MINUTE ORDER
DATE: 12/22/2015                    TIME: 09:29:00 AM               DEPT: CX102
JUDICIAL OFFICER PRESIDING: Robert J. Moss
CLERK: Betsy Zuanich
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: None

CASE NO: 30-2015-00819837-CU-BC-CXC CASE INIT.DATE: 11/12/2015
CASE TITLE: Haugen vs. Palm Beach Park Association
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72288789
EVENT TYPE: Chambers Work


                                                                                                    STOL
APPEARANCES                                                                                         STO
                                                                                                    Stol
There are no appearances by any party.

Peremptory Challenge pursuant to C.C.P. §170.6 was filed by Plaintiff on 11/25/15, as to the Hon.
Robert J. Moss.

Matter was referred to Dept. C1 and case was reassigned to the Hon. Gail A. Andler in Department
CX101.

Defendant's Objection to the 170.6 against Judge Moss was filed on 12/01/15.

The Court, having read and considered the objection, now rules as follows:

Defendant's objection is granted.
Peremptory challenge is stricken.

Clerk to give e-Service notice to counsel.
                                                                                                    STO




DATE: 12/22/2015                                MINUTE ORDER                              Page 1
DEPT: CX102                                                                          Calendar No.
                                              EXHIBIT B
                                                 197
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 198 of 457 Page ID #:198

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 Civil Complex Center
 751 W. Santa Ana Blvd
 Santa Ana, CA 92701
 SHORT TITLE: Haugen vs. Palm Beach Park Association



     CLERK'S CERTIFICATE OF MAILING/ELECTRONIC                                          CASE NUMBER:
                      SERVICE                                                           30-2015-00819837-CU-BC-CXC


   I certify that I am not a party to this cause. I certify that the following document(s), Minute Order dated 12/22/15, have
   been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
   email address on December 22, 2015, at 9:36:20 AM PST. The electronically transmitted document(s) is in accordance with
   rule 2.251 of the California Rules of Court, addressed as shown above. The list of electronically served recipients are listed
   below:




                         CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE


V3 1013a (June 2004)                                                                            Code of Civ. Procedure , § CCP1013(a)


                                                       EXHIBIT B
                                                          198
  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 199 of 457 Page ID #:199

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  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 200 of 457 Page ID #:200

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  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 201 of 457 Page ID #:201

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  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 203 of 457 Page ID #:203

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  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 204 of 457 Page ID #:204

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                                   COUNTY OF ORANGE
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                                         MINUTE ORDER
DATE: 12/23/2015                    TIME: 02:25:00 PM         DEPT: CX102
JUDICIAL OFFICER PRESIDING: Under the direction of Honorable Robert J. Moss
CLERK: Betsy Zuanich
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: None

CASE NO: 30-2015-00819837-CU-BC-CXC CASE INIT.DATE: 11/12/2015
CASE TITLE: Haugen vs. Palm Beach Park Association
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72289750
EVENT TYPE: Chambers Work


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APPEARANCES                                                                                            STO
                                                                                                       Stol
There are no appearances by any party.

Defendant's objection having been granted and peremptory challenge stricken, this case is reassigned
to the Honorable Robert J. Moss for all purposes.

Clerk to give notice.
                                                                                                       STO




DATE: 12/23/2015                             MINUTE ORDER                                    Page 1
DEPT: CX102                                                                             Calendar No.
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                                           EXHIBIT __
                                              204
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 205 of 457 Page ID #:205

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
 Civil Complex Center
 751 W. Santa Ana Blvd
 Santa Ana, CA 92701
 SHORT TITLE: Haugen vs. Palm Beach Park Association



     CLERK'S CERTIFICATE OF MAILING/ELECTRONIC                                          CASE NUMBER:
                      SERVICE                                                           30-2015-00819837-CU-BC-CXC


   I certify that I am not a party to this cause. I certify that the following document(s), Minute Order dated 12/23/15, have
   been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
   email address on December 23, 2015, at 2:40:45 PM PST. The electronically transmitted document(s) is in accordance with
   rule 2.251 of the California Rules of Court, addressed as shown above. The list of electronically served recipients are listed
   below:

   ALLEN L. THOMAS                                                   LAW OFFICE OF PATRICK J. EVANS
   ALLAN@WEISSLAWASSOCIATES.COM                                      PEVANS@PEVANSLAWOFFICE.COM




   LEWIS BRISBOIS BISGAARD & SMITH LLP                               LEWIS BRISBOIS BISGAARD & SMITH LLP
   CARY.WOOD@LEWISBRISBOIS.COM                                       DOMINEH.FAZEL@LEWISBRISBOIS.COM




                                                                   Clerk of the Court, by:                               , Deputy




                         CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE


V3 1013a (June 2004)                                                                            Code of Civ. Procedure , § CCP1013(a)


                                                        EXHIBIT B
                                                           205
  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 206 of 457 Page ID #:206

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                                SUPERIOR COURT OF CALIFORNIA,
                                    COUNTY OF ORANGE
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                                          MINUTE ORDER
DATE: 12/28/2015                     TIME: 08:30:00 AM              DEPT: CX102
JUDICIAL OFFICER PRESIDING: Robert J. Moss
CLERK: Betsy Zuanich
REPORTER/ERM: Michelle Lott-Meyerhofer CSR# 8226
BAILIFF/COURT ATTENDANT: Angelina Bernal

CASE NO: 30-2015-00819837-CU-BC-CXC CASE INIT.DATE: 11/12/2015
CASE TITLE: Haugen vs. Palm Beach Park Association
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72288988
EVENT TYPE: Ex Parte


                                                                                                         STOL
APPEARANCES                                                                                              STO
Patrick J. Evans, from Law Office of Patrick J. Evans, present for Plaintiff(s).
Cary L. Wood, specially appearing for Lewis Brisbois Bisgaard & Smith LLP, present for Defendant(s).
Allen L. Thomas present for defendant Palm Beach Park Association
                                                                                                         Stol
Lead Case No. 30-2010-00423544 Chodosh vs Palm Beach Park Association

Deemed Related to:

Case No. 30-2010-00432259 Haugen vs Palm Beach Park Association
Case No. 30-2011-00498722 Palm Beach Park Association vs Eicherly

Consolidated with:

30-2010-00423807     Eicherly vs Palm Beach Park Association
30-2010-00425173     Schowalter vs Palm Beach Park Association
30-2010-00425213     Harris vs Palm Beach Park Association
30-2010-00425206     Moore vs Palm Beach Park Association
30-2010-00425291     Haugen vs Palm Beach Park Association
30-2010-00425323     Peterson vs Palm Beach Park Association
30-2010-00425331     Kane vs Palm Beach Park Association
30-2010-00432261     McLaughlin vs Palm Beach Park Association

Plaintiff Ole Haugen's Application for Order to Show Cause and Temporary Restraining Order to
Enjoin Sale of Palm Beach Mobilehome Park to Saunders Property Co.




DATE: 12/28/2015                              MINUTE ORDER                                     Page 1
DEPT: CX102                                                                               Calendar No.
                                            EXHIBIT B
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   Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 207 of 457 Page ID #:207

CASE TITLE: Haugen vs. Palm Beach Park Association           CASE NO: 30-2015-00819837-CU-BC-CXC

The Court having fully considered the arguments of all parties, both written and oral, as well as the
evidence presented, now rules as follows: Ex Parte Application is denied.

All objections are sustained.
Lodged transcript of Ole Haugen returned to plaintiff's counsel, (Patrick Evans), this date.
                                                                                                              ST




DATE: 12/28/2015                                 MINUTE ORDER                                       Page 2
DEPT: CX102                                                                                    Calendar No.
                                               EXHIBIT B
                                                  207
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 208 of 457 Page ID #:208




                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – C




                 12/21/15 TRO Opp. Pleadings – Original and Altered,
                          serial in order




                                   EXHIBIT C
                                      208
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 209 of 457 Page ID #:209




                                     SAC080

                                           C
                                  EXHIBIT __
                                     209
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 210 of 457 Page ID #:210




                                     SAC081

                                  EXHIBIT __
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                                     SAC082

                                  EXHIBIT __
                                           C
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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 212 of 457 Page ID #:212




                                     SAC083

                                           C
                                  EXHIBIT __
                                     212
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 213 of 457 Page ID #:213




                                     SAC084

                                  EXHIBIT __
                                           C
                                     213
Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 214 of 457 Page ID #:214




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 215 of 457 Page ID #:215




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 216 of 457 Page ID #:216




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 217 of 457 Page ID #:217




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 219 of 457 Page ID #:219




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 220 of 457 Page ID #:220




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Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 221 of 457 Page ID #:221




                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                          EXHIBIT – D




                 2015-16    Haugen v. PBPA

                            Register of Actions (“ROA”), also called:

                            “Docket”

                            2015 – 2016

                            (out of chronological order)




                                    EXHIBIT D
                                       221
  Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 222 of 457 Page ID #:222
Case Summary:
Case Id:     30-2015-00819837-CU-BC-CXC
Case Title: OLE HAUGEN VS. PALM BEACH PARK ASSOCIATION
Case Type: BREACH OF CONTRACT/WARRANTY
Filing Date: 11/12/2015
Category: CIVIL - UNLIMITED
Register Of Actions:
                                                               Filing    Filing
ROA                           Docket                                            Document Select
                                                               Date      Party
        E-FILING TRANSACTION 4463255 RECEIVED ON 11/11/2015
 1                                                          11/13/2015            NV
                             10:15:18 PM.
 2         COMPLAINT FILED BY HAUGEN, OLE ON 11/12/2015     11/12/2015         388 pages
         CIVIL CASE COVER SHEET FILED BY HAUGEN, OLE ON
 3                                                          11/12/2015          1 pages
                              11/12/2015
         NOTICE OF RELATED CASE FILED BY HAUGEN, OLE ON
 4                                                          11/12/2015          3 pages
                              11/12/2015
       PAYMENT RECEIVED BY FOR 194 - COMPLAINT OR OTHER
 5        1ST PAPER IN THE AMOUNT OF 435.00, TRANSACTION    11/13/2015          1 pages
           NUMBER 11877743 AND RECEIPT NUMBER 11701934.
           CASE ASSIGNED TO JUDICIAL OFFICER SHERMAN,
 6                                                          11/12/2015          1 pages
                        RANDALL ON 11/12/2015.
        E-FILING TRANSACTION 2422563 RECEIVED ON 11/13/2015
 7                                                          11/13/2015            NV
                             02:00:18 PM.
       SUMMONS ISSUED AND FILED FILED BY HAUGEN, OLE ON
 8                                                          11/13/2015          1 pages
                              11/13/2015
 9    CASE REASSIGNED TO ROBERT MOSS EFFECTIVE 11/16/2015. 11/16/2015             NV
        RELATED CASES INCLUDE: 30-2010-00423544 IN RE: PALM
 10                                                         11/16/2015            NV
                  BEACH PARK ASSOCIATION CASES.
       THIS CASE IS REASSIGNED TO THE HONORABLE ROBERT J.
 11                                                         11/16/2015            NV
                      MOSS FOR ALL PURPOSES.
         MINUTES FINALIZED FOR CHAMBERS WORK 11/16/2015
 12                                                         11/16/2015          1 pages
                             02:29:00 PM.
 13   CLERK'S CERTIFICATE OF SERVICE BY MAIL OC GENERATED 11/16/2015            1 pages
        E-FILING TRANSACTION 3354580 RECEIVED ON 11/23/2015
 14                                                         11/24/2015            NV
                             12:00:32 PM.
      NOTICE OF PENDENCY OF ACTION FILED BY HAUGEN, OLE
 15                                                         11/23/2015          7 pages
                            ON 11/23/2015
       PROOF OF PERSONAL SERVICE FILED BY HAUGEN, OLE ON
 16                                                         11/23/2015          2 pages
                              11/23/2015
        E-FILING TRANSACTION 3355872 RECEIVED ON 11/25/2015
 17                                                         11/30/2015            NV
                             08:58:11 PM.
      PEREMPTORY CHALLENGE PURSUANT TO 170.6 CCP (JUDGE
 18                                                         11/25/2015          3 pages
         ROBERT J. MOSS) FILED BY HAUGEN, OLE ON 11/25/2015
 19   CASE REASSIGNED TO GAIL ANDLER EFFECTIVE 11/30/2015. 11/30/2015             NV
        PEREMPTORY CHALLENGE UNDER C.C.P. 170.6 AS TO THE
 20                                                         11/30/2015            NV
                 HONORABLE ROBERT J. MOSS FILED.
        THIS CASE IS REASSIGNED TO THE HONORABLE GAIL A.
 21                                                         11/30/2015            NV
                     ANDLER FOR ALL PURPOSES.


                                       EXHIBIT D
                                          222
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                                                               Filing     Filing
ROA                          Docket                                              Document Select
                                                               Date       Party
        MINUTES FINALIZED FOR CHAMBERS WORK 11/30/2015
22                                                           11/30/2015          1 pages
                              03:03:00 PM.
       E-FILING TRANSACTION 4471094 RECEIVED ON 12/01/2015
23                                                           12/02/2015            NV
                              05:21:25 PM.
      PAYMENT RECEIVED BY FOR 195 - ANSWER OR OTHER 1ST
25    PAPER IN THE AMOUNT OF 435.00, TRANSACTION NUMBER      12/02/2015          1 pages
                11885676 AND RECEIPT NUMBER 11709869.
       OBJECTION (OBJECTION TO CODE OF CIVIL PROCEDURE
26     170.6 PEREMPTORY CHALLANGE) FILED BY PALM BEACH       12/01/2015          28 pages
                    PARK ASSOCIATION ON 12/01/2015
       E-FILING TRANSACTION 4473079 RECEIVED ON 12/07/2015
27                                                           12/07/2015            NV
                              06:53:46 AM.
28        OPPOSITION FILED BY HAUGEN, OLE ON 12/07/2015      12/07/2015          6 pages
       E-FILING TRANSACTION 4474587 RECEIVED ON 12/09/2015
29                                                           12/09/2015            NV
                              02:03:40 PM.
             NOTICE - OTHER FILED BY PALM BEACH PARK
30                                                           12/09/2015          2 pages
                       ASSOCIATION ON 12/09/2015
31             PROPOSED ORDER RECEIVED ON 12/15/2015         12/15/2015          3 pages
       E-FILING TRANSACTION 1295221 RECEIVED ON 12/15/2015
32                                                           12/15/2015            NV
                              12:21:33 PM.
      DEMURRER TO COMPLAINT FILED BY PALM BEACH PARK
33                                                           12/15/2015          17 pages
                       ASSOCIATION ON 12/15/2015
       REQUEST FOR JUDICIAL NOTICE FILED BY PALM BEACH
34                                                           12/15/2015          53 pages
                    PARK ASSOCIATION ON 12/15/2015
      PAYMENT RECEIVED BY FOR 36 - MOTION OR OTHER (NOT
        1ST) PAPER REQUIRING A HEARING IN THE AMOUNT OF
35                                                           12/15/2015          1 pages
         60.00, TRANSACTION NUMBER 11892748 AND RECEIPT
                           NUMBER 11716941.
      DEMURRER TO COMPLAINT SCHEDULED FOR 03/07/2016 AT
36                                                           12/15/2015            NV
           01:30:00 PM IN CX101 AT CIVIL COMPLEX CENTER.
37             PROPOSED ORDER RECEIVED ON 12/21/2015         12/21/2015          3 pages
       E-FILING TRANSACTION 4479843 RECEIVED ON 12/21/2015
38                                                           12/21/2015            NV
                              11:02:36 AM.
39    EX PARTE APPLICATION - OTHER RECEIVED ON 12/21/2015.   12/21/2015         58 pages
40           NOTICE OF HEARING RECEIVED ON 12/21/2015.       12/21/2015          7 pages
41     REQUEST FOR JUDICIAL NOTICE RECEIVED ON 12/21/2015.   12/21/2015         210 pages
42           NOTICE OF LODGING RECEIVED ON 12/21/2015.       12/21/2015          2 pages
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
43                                                           12/21/2015          2 pages
                  FILED BY HAUGEN, OLE ON 12/21/2015
      PAYMENT RECEIVED BY FOR 36 - MOTION OR OTHER (NOT
        1ST) PAPER REQUIRING A HEARING IN THE AMOUNT OF
44                                                           12/21/2015          1 pages
         60.00, TRANSACTION NUMBER 11895490 AND RECEIPT
                           NUMBER 11719701.
45             PROPOSED ORDER RECEIVED ON 12/21/2015         12/21/2015          3 pages
        MINUTES FINALIZED FOR CHAMBERS WORK 12/22/2015
46                                                           12/22/2015          1 pages
                              09:29:00 AM.
47    CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE      12/22/2015          2 pages

                                      EXHIBIT D
                                         223
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                                                                Filing Filing
ROA                            Docket                                          Document Select
                                                                 Date    Party
48       E-FILING TRANSACTION NUMBER 1295222 REJECTED.        12/22/2015        1 pages
        EX PARTE SCHEDULED FOR 12/22/2015 AT 09:00:00 AM IN
49                                                            12/22/2015         NV
                 CX102 AT CIVIL COMPLEX CENTER.
        EX PARTE SCHEDULED FOR 12/28/2015 AT 08:30:00 AM IN
50                                                            12/22/2015         NV
                 CX102 AT CIVIL COMPLEX CENTER.
        EX PARTE CONTINUED TO 12/28/2015 AT 08:30 AM IN THIS
51                                                            12/22/2015         NV
                           DEPARTMENT.
52     MINUTES FINALIZED FOR EX PARTE 12/22/2015 09:00:00 AM. 12/22/2015       1 pages
53       E-FILING TRANSACTION NUMBER 4480146 REJECTED.        12/22/2015       1 pages
54       E-FILING TRANSACTION NUMBER 4479844 REJECTED.        12/22/2015       1 pages
       E-FILING TRANSACTION 3363470 RECEIVED ON 12/21/2015
55                                                            12/22/2015         NV
                            04:55:54 PM.
      OPPOSITION FILED BY PALM BEACH PARK ASSOCIATION ON
56                                                            12/21/2015      105 pages
                             12/21/2015
        REQUEST FOR JUDICIAL NOTICE FILED BY PALM BEACH
57                                                            12/21/2015       75 pages
                  PARK ASSOCIATION ON 12/21/2015
         OBJECTION (TO DECLARATION OF BONNIE HARRIS IN
58     SUPPORT) FILED BY PALM BEACH PARK ASSOCIATION ON 12/21/2015             4 pages
                             12/21/2015
          OBJECTION (TO DECLARATION OF OLE HAGUEN IN
59     SUPPORT) FILED BY PALM BEACH PARK ASSOCIATION ON 12/21/2015             6 pages
                             12/21/2015
            OBJECTION (TO DECLARATION OF PATRICIA M.
60    WORTHINGTON IN SUPPORT) FILED BY PALM BEACH PARK 12/21/2015              4 pages
                     ASSOCIATION ON 12/21/2015
        OBJECTION (TO DECLARATION OF PATRICK J. EVANS' IN
61     SUPPORT) FILED BY PALM BEACH PARK ASSOCIATION ON 12/21/2015             13 pages
                             12/21/2015
62       E-FILING TRANSACTION NUMBER 4480145 REJECTED.        12/22/2015       1 pages
       E-FILING TRANSACTION 2431244 RECEIVED ON 12/22/2015
63                                                            12/23/2015         NV
                            02:32:42 PM.
        NOTICE OF CONTINUANCE FILED BY PALM BEACH PARK
64                                                            12/22/2015       3 pages
                     ASSOCIATION ON 12/22/2015
65    CASE REASSIGNED TO ROBERT MOSS EFFECTIVE 12/22/2015. 12/23/2015            NV
      THIS CASE IS REASSIGNED TO THE HONORABLE ROBERT J.
66                                                            12/23/2015         NV
                     MOSS FOR ALL PURPOSES.
         MINUTES FINALIZED FOR CHAMBERS WORK 12/23/2015
67                                                            12/23/2015       1 pages
                            02:25:00 PM.
68     CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE 12/23/2015            2 pages
         DEMURRER TO COMPLAINT REASSIGNED TO CX102 AT
69                                                            12/23/2015         NV
         CIVIL COMPLEX CENTER ON 03/07/2016 AT 01:30:00 PM.
70            PROPOSED ORDER RECEIVED ON 12/24/2015           12/24/2015       3 pages
       E-FILING TRANSACTION 4481999 RECEIVED ON 12/28/2015
71                                                            12/28/2015         NV
                            05:44:47 AM.
          REPLY TO OPPOSITION FILED BY HAUGEN, OLE ON
72                                                            12/28/2015       7 pages
                             12/28/2015
73     MINUTES FINALIZED FOR EX PARTE 12/28/2015 08:30:00 AM. 12/28/2015       2 pages

                                        EXHIBIT D
                                           224
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                                                                Filing    Filing
ROA                           Docket                                             Document Select
                                                                Date      Party
       E-FILING TRANSACTION 3364712 RECEIVED ON 12/24/2015
74                                                           12/28/2015            NV
                                02:22:10 PM.
      MOTION TO EXPUNGE LIS PENDENS FILED BY PALM BEACH
75                                                           12/24/2015         147 pages
                    PARK ASSOCIATION ON 12/24/2015
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
76                                                           12/24/2015          1 pages
       FILED BY PALM BEACH PARK ASSOCIATION ON 12/24/2015
          NOTICE OF LODGING FILED BY PALM BEACH PARK
77                                                           12/24/2015          9 pages
                       ASSOCIATION ON 12/24/2015
      PAYMENT RECEIVED BY FOR 36 - MOTION OR OTHER (NOT
        1ST) PAPER REQUIRING A HEARING IN THE AMOUNT OF
78                                                           12/28/2015          1 pages
         60.00, TRANSACTION NUMBER 11897744 AND RECEIPT
                            NUMBER 11721936.
         MOTION TO EXPUNGE LIS PENDENS SCHEDULED FOR
79       02/26/2016 AT 09:00:00 AM IN CX102 AT CIVIL COMPLEX 12/28/2015            NV
                                 CENTER.
       E-FILING TRANSACTION 2434753 RECEIVED ON 01/08/2016
80                                                           01/08/2016            NV
                                04:04:20 PM.
           NOTICE OF ERRATA FILED BY PALM BEACH PARK
81                                                           01/08/2016          3 pages
                       ASSOCIATION ON 01/08/2016
       E-FILING TRANSACTION 3368904 RECEIVED ON 01/11/2016
82                                                           01/11/2016            NV
                               08:39:23 AM.
        REQUEST FOR JUDICIAL NOTICE FILED BY PALM BEACH
83                                                           01/11/2016          17 pages
                    PARK ASSOCIATION ON 01/11/2016
          DEMURRER TO COMPLAINT REASSIGNED TO C14 AT
84                                                           01/11/2016            NV
        CENTRAL JUSTICE CENTER ON 03/11/2016 AT 09:00:00 AM.
      DEMURRER TO COMPLAINT SCHEDULED FOR 03/11/2016 AT
85                                                           01/11/2016            NV
           09:00:00 AM IN C14 AT CENTRAL JUSTICE CENTER.
      MOTION TO EXPUNGE LIS PENDENS REASSIGNED TO C14 AT
86                                                           01/11/2016            NV
        CENTRAL JUSTICE CENTER ON 03/11/2016 AT 09:00:00 AM.
         MOTION TO EXPUNGE LIS PENDENS SCHEDULED FOR
87       03/11/2016 AT 09:00:00 AM IN C14 AT CENTRAL JUSTICE 01/11/2016            NV
                                 CENTER.
       DEMURRER TO COMPLAINT CONTINUED TO 03/11/2016 AT
88                                                           01/11/2016            NV
                     09:00 AM IN THIS DEPARTMENT.
          MOTION TO EXPUNGE LIS PENDENS CONTINUED TO
89                                                           01/11/2016            NV
              03/11/2016 AT 09:00 AM IN THIS DEPARTMENT.
         MINUTES FINALIZED FOR CHAMBERS WORK 01/11/2016
90                                                           01/11/2016          1 pages
                                03:36:00 PM.
91     CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE 01/11/2016              2 pages
       E-FILING TRANSACTION 3371757 RECEIVED ON 01/19/2016
92                                                           01/19/2016            NV
                               08:56:39 AM.
        NOTICE - OTHER (CHANGE OF DEPARTMENT, LOCATION
93       AND DATE RE: MOTION) FILED BY PALM BEACH PARK       01/19/2016          3 pages
                       ASSOCIATION ON 01/19/2016
       E-FILING TRANSACTION 4491863 RECEIVED ON 01/19/2016
94                                                           01/20/2016            NV
                                03:56:36 PM.
             NOTICE - OTHER FILED BY PALM BEACH PARK
95                                                           01/19/2016          3 pages
                       ASSOCIATION ON 01/19/2016

                                       EXHIBIT D
                                          225
 Case 8:20-cv-01326-CJC-KES Document 1 Filed 07/22/20 Page 226 of 457 Page ID #:226

                                                               Filing    Filing
ROA                           Docket                                            Document Select
                                                               Date      Party
        E-FILING TRANSACTION 3374660 RECEIVED ON 01/26/2016
96                                                          01/27/2016            NV
                             04:29:14 PM.
        NOTICE OF CONTINUANCE FILED BY PALM BEACH PARK
97                                                          01/26/2016          6 pages
                      ASSOCIATION ON 01/26/2016
98        E-FILING TRANSACTION NUMBER 3364713 REJECTED.     02/26/2016          1 pages
        E-FILING TRANSACTION 1307430 RECEIVED ON 02/29/2016
99                                                          02/29/2016            NV
                             06:00:14 PM.
100         OPPOSITION FILED BY HAUGEN, OLE ON 02/29/2016   02/29/2016          6 pages
101         OPPOSITION FILED BY HAUGEN, OLE ON 02/29/2016   02/29/2016          6 pages
        REQUEST FOR JUDICIAL NOTICE FILED BY HAUGEN, OLE
102                                                         02/29/2016          7 pages
                            ON 02/29/2016
        E-FILING TRANSACTION 2446695 RECEIVED ON 02/26/2016
103                                                         03/01/2016            NV
                             12:58:21 PM.
         MOTION TO COMPEL ANSWERS TO INTERROGATORIES
104                                                         02/26/2016          18 pages
        FILED BY PALM BEACH PARK ASSOCIATION ON 02/26/2016
         MOTION TO COMPEL ANSWERS TO INTERROGATORIES
105                                                         02/26/2016          40 pages
        FILED BY PALM BEACH PARK ASSOCIATION ON 02/26/2016
        PAYMENT RECEIVED BY ONELEGAL FOR 36 - MOTION OR
          OTHER (NOT 1ST) PAPER REQUIRING A HEARING, 36 -
106        MOTION OR OTHER (NOT 1ST) PAPER REQUIRING A      03/01/2016          1 pages
           HEARING IN THE AMOUNT OF 120.00, TRANSACTION
           NUMBER 11928765 AND RECEIPT NUMBER 11752983.
                MOTION TO COMPEL ANSWERS TO FORM
107    INTERROGATORIES SCHEDULED FOR 04/22/2016 AT 09:00:00 03/01/2016            NV
                            AM IN C14 AT .
               MOTION TO COMPEL ANSWERS TO SPECIAL
108    INTERROGATORIES SCHEDULED FOR 04/22/2016 AT 09:00:00 03/01/2016            NV
                            AM IN C14 AT .
        E-FILING TRANSACTION 2448191 RECEIVED ON 03/03/2016
109                                                         03/04/2016            NV
                             02:00:50 PM.
        REQUEST FOR DISMISSAL WITHOUT PREJUDICE - ENTIRE
110                                                         03/03/2016          1 pages
              ACTION FILED BY HAUGEN, OLE ON 03/03/2016
      COMPLAINT DISPOSED WITH DISPOSITION OF REQUEST FOR
111                                                         03/03/2016            NV
                             DISMISSAL.
         CASE DISMISSED WITH DISPOSITION OF REQUEST FOR
112                                                         03/03/2016            NV
                             DISMISSAL
        E-FILING TRANSACTION 3389103 RECEIVED ON 03/08/2016
113                                                         03/08/2016            NV
                             05:48:11 PM.
      REPLY - OTHER FILED BY PALM BEACH PARK ASSOCIATION
114                                                         03/08/2016          10 pages
                            ON 03/08/2016
        E-FILING TRANSACTION 4514790 RECEIVED ON 03/09/2016
115                                                         03/09/2016            NV
                             08:31:46 AM.
        REQUEST FOR JUDICIAL NOTICE FILED BY PALM BEACH
116                                                         03/09/2016          6 pages
                   PARK ASSOCIATION ON 03/09/2016
        E-FILING TRANSACTION 4515211 RECEIVED ON 03/09/2016
117                                                         03/09/2016            NV
                             03:38:54 PM.
       NOTICE OF ENTRY OF DISMISSAL AND PROOF OF SERVICE
118                                                         03/09/2016          3 pages
                 FILED BY HAUGEN, OLE ON 03/09/2016
                                       EXHIBIT D
                                          226
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                                                              Filing    Filing
ROA                           Docket                                           Document Select
                                                              Date      Party
       NOTICE OF ENTRY OF DISMISSAL AND PROOF OF SERVICE
119                                                        03/09/2016          9 pages
                FILED BY HAUGEN, OLE ON 03/09/2016
       E-FILING TRANSACTION 3390052 RECEIVED ON 03/10/2016
120                                                        03/10/2016            NV
                            04:00:39 PM.
           NOTICE OF RULING FILED BY PALM BEACH PARK
121                                                        03/10/2016          4 pages
                    ASSOCIATION ON 03/10/2016
       E-FILING TRANSACTION 1309359 RECEIVED ON 03/10/2016
122                                                        03/10/2016            NV
                            05:02:54 PM.
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
123                                                        03/10/2016          4 pages
       FILED BY PALM BEACH PARK ASSOCIATION ON 03/10/2016
        MINUTES FINALIZED FOR MULTIPLE EVENTS 03/11/2016
124                                                        03/11/2016          1 pages
                            09:00:00 AM.
       E-FILING TRANSACTION 1309360 RECEIVED ON 03/10/2016
125                                                        03/15/2016            NV
                            05:02:56 PM.
      ORDER - OTHER (EXPUNGING LIS PENDENS) FILED BY PALM
126                                                        03/14/2016          2 pages
               BEACH PARK ASSOCIATION ON 03/14/2016
127           PROPOSED ORDER RECEIVED ON 03/16/2016        03/16/2016          10 pages
       E-FILING TRANSACTION 2451714 RECEIVED ON 03/16/2016
128                                                        03/17/2016            NV
                            05:05:31 PM.
129        OBJECTION FILED BY HAUGEN, OLE ON 03/16/2016    03/16/2016          46 pages
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
130                                                        03/16/2016          10 pages
                FILED BY HAUGEN, OLE ON 03/16/2016
       E-FILING TRANSACTION 4518934 RECEIVED ON 03/17/2016
131                                                        03/17/2016            NV
                            01:53:15 PM.
132    NOTICE OF ERRATA FILED BY HAUGEN, OLE ON 03/17/2016 03/17/2016          6 pages
133           PROPOSED ORDER RECEIVED ON 03/30/2016        03/30/2016          2 pages
       E-FILING TRANSACTION 1313344 RECEIVED ON 03/29/2016
134                                                        03/30/2016            NV
                            01:07:19 PM.
      NOTICE - OTHER (OF ORDER) FILED BY PALM BEACH PARK
135                                                        03/29/2016          4 pages
                    ASSOCIATION ON 03/29/2016
       E-FILING TRANSACTION 1313623 RECEIVED ON 03/30/2016
136                                                        04/01/2016            NV
                            10:09:23 AM.
      MOTION FOR ATTORNEY FEES FILED BY PALM BEACH PARK
137                                                        03/30/2016          86 pages
                    ASSOCIATION ON 03/30/2016
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
138                                                        03/30/2016          2 pages
       FILED BY PALM BEACH PARK ASSOCIATION ON 03/30/2016
       PAYMENT RECEIVED BY ONELEGAL FOR 36 - MOTION OR
        OTHER (NOT 1ST) PAPER REQUIRING A HEARING IN THE
139                                                        04/01/2016          1 pages
       AMOUNT OF 60.00, TRANSACTION NUMBER 11944809 AND
                    RECEIPT NUMBER 11768983.
       MOTION FOR ATTORNEY FEES SCHEDULED FOR 06/03/2016
140                                                        04/01/2016            NV
                     AT 09:00:00 AM IN C14 AT .
141      E-FILING TRANSACTION NUMBER 2451715 REJECTED.     04/04/2016          1 pages
       E-FILING TRANSACTION 2454509 RECEIVED ON 04/12/2016
142                                                        04/12/2016            NV
                            02:04:26 PM.
         NOTICE OF WITHDRAWAL OF MOTION FILED BY PALM
143                                                        04/12/2016          3 pages
               BEACH PARK ASSOCIATION ON 04/12/2016

                                       EXHIBIT D
                                          227
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                                                              Filing    Filing
ROA                           Docket                                           Document Select
                                                              Date      Party
         NOTICE OF WITHDRAWAL OF MOTION FILED BY PALM
144                                                        04/12/2016          3 pages
               BEACH PARK ASSOCIATION ON 04/12/2016
        MINUTES FINALIZED FOR MULTIPLE EVENTS 04/22/2016
145                                                        04/22/2016          1 pages
                             09:00:00 AM.
       E-FILING TRANSACTION 3408746 RECEIVED ON 04/29/2016
146                                                        05/02/2016            NV
                             02:39:50 PM.
        MEMORANDUM OF COSTS (SUMMARY) FILED BY PALM
147                                                        04/29/2016          6 pages
               BEACH PARK ASSOCIATION ON 04/29/2016
148           PROPOSED ORDER RECEIVED ON 05/16/2016        05/16/2016          3 pages
       E-FILING TRANSACTION 4548372 RECEIVED ON 05/16/2016
149                                                        05/18/2016            NV
                             07:55:06 PM.
      MOTION TO STRIKE OR TAX COSTS FILED BY HAUGEN, OLE
150                                                        05/16/2016          4 pages
                            ON 05/16/2016
       PROPOSED ORDER (COVER SHEET) (ELECTRONIC FILING)
151                                                        05/16/2016          4 pages
                FILED BY HAUGEN, OLE ON 05/16/2016
       PAYMENT RECEIVED BY ONELEGAL FOR 36 - MOTION OR
        OTHER (NOT 1ST) PAPER REQUIRING A HEARING IN THE
152                                                        05/18/2016          1 pages
       AMOUNT OF 60.00, TRANSACTION NUMBER 11969548 AND
                    RECEIPT NUMBER 11793704.
        MOTION TO TAX COSTS SCHEDULED FOR 08/05/2016 AT
153                                                        05/18/2016            NV
                       09:00:00 AM IN C14 AT .
       E-FILING TRANSACTION 4550397 RECEIVED ON 05/19/2016
154                                                        05/19/2016            NV
                             07:51:26 PM.
155       OPPOSITION FILED BY HAUGEN, OLE ON 05/19/2016    05/19/2016          4 pages
       E-FILING TRANSACTION 3417721 RECEIVED ON 05/25/2016
156                                                        05/25/2016            NV
                             11:06:35 AM.
      REPLY - OTHER FILED BY PALM BEACH PARK ASSOCIATION
157                                                        05/25/2016          3 pages
                            ON 05/25/2016
       E-FILING TRANSACTION 4554963 RECEIVED ON 05/31/2016
158                                                        05/31/2016            NV
                             02:34:52 PM.
       REQUEST FOR JUDICIAL NOTICE FILED BY PALM BEACH
159                                                        05/31/2016          5 pages
                  PARK ASSOCIATION ON 05/31/2016
       MINUTES FINALIZED FOR MOTION FOR ATTORNEY FEES
160                                                        06/03/2016          1 pages
                       06/03/2016 09:00:00 AM.
       E-FILING TRANSACTION 3420919 RECEIVED ON 06/03/2016
161                                                        06/03/2016            NV
                             12:33:37 PM.
           NOTICE OF RULING FILED BY PALM BEACH PARK
162                                                        06/03/2016          3 pages
                    ASSOCIATION ON 06/03/2016
       E-FILING TRANSACTION 1313624 RECEIVED ON 03/30/2016
163                                                        06/13/2016            NV
                             10:09:28 AM.
      ORDER - OTHER (ATTORNEYS' FEES) FILED BY PALM BEACH
164                                                        06/03/2016            NV
                  PARK ASSOCIATION ON 06/03/2016
       E-FILING TRANSACTION 3438791 RECEIVED ON 07/25/2016
165                                                        07/25/2016            NV
                             03:33:13 PM.
      OPPOSITION FILED BY PALM BEACH PARK ASSOCIATION ON
166                                                        07/25/2016          6 pages
                              07/25/2016
      MINUTES FINALIZED FOR MOTION TO TAX COSTS 08/05/2016
167                                                        08/05/2016          2 pages
                             09:00:00 AM.
                                       EXHIBIT D
                                          228
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                                                                Filing Filing
ROA                             Docket                                         Document Select
                                                                 Date    Party
 168       E-FILING TRANSACTION NUMBER 4548373 REJECTED.      08/05/2016        1 pages
         E-FILING TRANSACTION 4588342 RECEIVED ON 08/09/2016
 169                                                           08/09/2016          NV
                              12:18:51 PM.
              NOTICE OF RULING FILED BY PALM BEACH PARK
 170                                                           08/09/2016        5 pages
                        ASSOCIATION ON 08/09/2016
         E-FILING TRANSACTION 2485638 RECEIVED ON 08/15/2016
 171                                                           08/16/2016          NV
                              11:05:39 AM.
 172           PROPOSED JUDGMENT RECEIVED ON 08/15/2016.       08/15/2016        3 pages
         E-FILING TRANSACTION 4592159 RECEIVED ON 08/16/2016
 173                                                           08/17/2016          NV
                              07:18:46 PM.
 174          OBJECTION FILED BY HAUGEN, OLE ON 08/16/2016     08/16/2016        6 pages
            JUDGMENT (FOR COSTS OF THE SUIT) FILED BY THE
 175                                                           08/30/2016        3 pages
                 SUPERIOR COURT OF ORANGE ON 08/30/2016
Participants:
                         Name                          Type      Assoc Start Date End Date
OLE HAUGEN                                        PLAINTIFF            11/13/2015
LEWIS BRISBOIS BISGAARD & SMITH LLP               ATTORNEY             12/15/2015
PALM BEACH PARK ASSOCIATION                       DEFENDANT            11/13/2015
LAW OFFICE OF PATRICK J. EVANS                    ATTORNEY             11/13/2015
Hearings:
           Description          Date        Time            Department               Judge
                          Print this page




                                            EXHIBIT D
                                               229
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                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – E




                   04/29/16 Judge Moss Verified Answer –

                             Denial of ex parte contact in Haugen v. PBPA
                             (See, Answer, pg. 8, ¶6, lines 22-23)




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                                  EXHIBIT E
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                                  EXHIBIT E
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                                  EXHIBIT E
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                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – F




          03/20/19   Notice Appeal over, Case Remanded Back to Judge Moss
          05/20/19   Plaintiffs’ Peremptory Challenge, face page
          07/31/19   Judge Moss Salary Affidavit Cut-off 6/2/19; s/ 7/31/19
          08/30/19   Judge Moss Salary Affidavit Cut-off 7/2/19; s/ 8/30/19
          09/30/19   Judge Moss Salary Affidavit Cut-off 8/2/19; s/ 9/30/19
          10/31/19   Judge Moss Salary Affidavit Cut-off 9/1/19; s/ 10/31/19
          11/20/19   Judge Moss MINUTE ORDER Grant §170.6 filed 5/20/19
          12/03/19   Judge Moss Salary Affidavit Cut-off 10/2/19; s/ 12/3/19
          01/06/20   Judge Moss Salary Affidavit Cut-off 11/2/19; s/ 01/6/20
          07/02/19   CJP Order Public Admonishment, Judge B. Lamb




                                    EXHIBIT F
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                                                                                                             123
                                 SUPERIOR COURT OF CALIFORNIA,
                                     COUNTY OF ORANGE
                                   CENTRAL JUSTICE CENTER                                                     340
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                                           MINUTE ORDER
DATE: 03/20/2019                    TIME: 03:48:00 PM       DEPT: C01
JUDICIAL OFFICER PRESIDING: Presiding Judge Kirk H. Nakamura
CLERK: L. Labrador
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT:

CASE NO: 30-2010-00423544-CU-BC-CJC CASE INIT.DATE: 11/08/2010
CASE TITLE: In Re Palm Beach Park Association Cases (Chodosh)
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 72140196
EVENT TYPE: Chambers Work


                                                                                                             STOL
APPEARANCES                                                                                                  STO
                                                                                                             Stol
There are no appearances by any party.

This matter having been returned from the Court of Appeal, State of California, Fourth Appellate District,
Division Three, with the judgment affirmed in part, reversed in part and remanded with directions, this
Court now orders the following:
This case is reassigned to the Honorable Robert J. Moss in Department C14 for the purpose of
addressing the reversal of the judgement, as reasons stated on the Remittitur.
Court orders Clerk to give notice. Plaintiff to give notice to any parties not listed and to file proof of
service with the court within 10 days.
                                                                                                             STO




DATE: 03/20/2019                                MINUTE ORDER                                      Page 1
DEPT: C01                                                                                    Calendar No.
                                              EXHIBIT F
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   1   PATRICK J. EVANS, SBN 110535
       LAW OFFICE OF PATRICK J. EVANS
   2   16897 ALGONQUIN STREET, SUITE F
       HUNTINGTON BEACH, CALIFORNIA 92649
   3   Tel: 714\ 594-5722; Fax: 714\ 840-6861
       pevans@pevanslawoffice.com
   4   Attorneys for all Plaintiffs,
       Floyd M. Chodosh, et al.
   5
   6
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
   7
                FOR THE COUNTY OF ORANGE – CENTRAL JUSTICE CENTER
   8
   9
       In Re PALM BEACH PARK                           CASE NO. 30-2010-00423544-CU-BC-CJC
  10   ASSOCIATION CASES (Chodosh)
  11                                                  [Assigned to Dept. C-14
                                                       Hon. Robert J. Moss]
  12
                                             MOTION AND CHALLENGE FOR
  13   FLOYD M. CHODOSH, et al. individuals, DISQUALIFICATION OF JUDGE
                                             ROBERT J. MOSS;
  14                Plaintiffs,              CODE OF CIVIL PROCEDURE
                                             §170.6(a)(2); MOTION TO DISQUALIFY
  15      v.                                 JUDICIAL OFFICER AFTER PARTIAL
                                             REVERSAL ON APPEAL;
  16                                         DECLARATION OF PLAINTIFF’S
       PALM BEACH PARK ASSOCIATION, a COUNSEL IN SUPPORT
  17   California non- profit mutual benefit
       corporation,                          [NO HEARING REQUIRED;
  18                                         NO NOTICE REQUIRED]
                     Defendant.
  19                                         Action Filed: Nov. 10, 2010
  20
  21   TO THE HONORABLE COURT, DEFENDANT AND INTERESTED PERSONS:
  22
              I, Patrick J. Evans, hereby declare:
  23
              I am counsel for all Plaintiffs, Floyd M. Chodosh, et al. (“Plaintiffs”) in this action.
  24
  25          Pursuant to Code Civil Procedure sec. 170.6(a)(2), Plaintiffs hereby move and request
  26   that the assigned Judge, Honorable Robert J. Moss, be disqualified to hear the case and cause
  27
       and that the case and cause be re-assigned to another judicial officer.
  28

                                                       1
            MOTION TO DISQUALIFY – MOTION AND DECLARATION – CODE CIV. PROC. §170.6(a)(2)


                                             EXHIBIT F
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                                  EXHIBIT __
                                           F
                                     238
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                                  EXHIBIT __
                                          F
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                                  EXHIBIT __
                                          F
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                                     SUPERIOR COURT OF CALIFORNIA,
                                         COUNTY OF ORANGE
                                       CENTRAL JUSTICE CENTER
                                            MINUTE ORDER
DATE: 11/20/2019                    TIME: 01:50:00 PM                 DEPT: C14
JUDICIAL OFFICER PRESIDING: Robert J. Moss
CLERK: Joanne M Schwartz
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: Kosal Thach

CASE NO: 30-2010-00423544-CU-BC-CJC CASE INIT.DATE: 11/08/2010
CASE TITLE: In Re Palm Beach Park Association Cases (Chodosh)
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Breach of Contract/Warranty

EVENT ID/DOCUMENT ID: 73172294
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

Motion and Challenge for Disqualfication of Judge Robert J. Moss pursuant to Code of Civil Procedure
170.6 (a)(2) is filed by plaintiffs, Floyd M. Chodoshe, et al on 05/20/22019.

Peremptory challenge was filed as Declaration-Other. Court was unaware of filing until this date.

Challenge made by plaintiffs is granted.

Case is transferred to the Presiding Judge in Department C01 for reassignment.

Court orders clerk to give notice.




DATE: 11/20/2019                                MINUTE ORDER                                     Page 1
DEPT: C14                                                                                    Calendar No.
                                              EXHIBIT __
                                                      F
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                                  EXHIBIT __
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                                     242
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                                  EXHIBIT __
                                          F
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                        STATE OF CALIFORNIA
           BEFORE THE COMMISSION ON JUDICIAL PERFORMANCE


   IN THE MATTER CONCERNING                    DECISION AND ORDER IMPOSING
   JUDGE BRIAN LAMB                            PUBLIC ADMONISHMENT




        This disciplinary matter concerns Judge Brian Lamb, a judge of the Inyo
 County Superior Court since 2003. His current term began in 2015. Pursuant to
 rule 116 of the Rules of the Commission on Judicial Performance, Judge Lamb
 and his attorney, Daniel S. Agle, appeared before the commission on June 26,
 2019, to contest the imposition of a proposed public admonishment issued on
 March 29, 2019. Judge Lamb has waived his right to formal proceedings under
 rule 118 and to review by the Supreme Court. Having considered the written and
 oral objections and argument submitted by Judge Lamb and his counsel, and
 good cause appearing, the Commission on Judicial Performance issues this
 public admonishment pursuant to article VI, section 18(d) of the California
 Constitution, based upon the following statement of facts and reasons.

                     STATEMENT OF FACTS AND REASONS
        Judge Lamb engaged in improper conduct by failing to timely act in three
 family law cases and by signing two false salary affidavits. His prior discipline for
 similar misconduct—an advisory letter in 2006 and a private admonishment in
 2015—were significant aggravating factors.
        Canon 3B(8) of the Code of Judicial Ethics requires judges to dispose of all
 judicial matters promptly and efficiently. Canon 3 requires judges to perform their
 judicial duties competently and diligently. Canon 2A requires judges to act at all
 times in a manner that promotes public confidence in the integrity and impartiality
 of the judiciary.



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       Under California law, judges are expected to decide matters submitted to
 them within 90 days of submission, and are prohibited from receiving their
 salaries when they have undecided matters under submission for more than 90
 days. (Cal. Const., art. VI, § 19; Mardikian v. Commission on Judicial
 Performance (1985) 40 Cal.3d 473, 477, fn. 4.) Government Code section 68210
 requires judges to execute affidavits declaring that they are in compliance with
 the law.
       1. In Regard to the Marriage of Richardson (SICVFL15-57764). Judge
 Lamb delayed more than 14 months—from January 3, 2017 until March 6,
 2018—in issuing a final judgment and statement of decision in this matter. Trial
 concluded on August 23, 2016. The matter was submitted for decision on
 September 2, 2016. Judge Lamb issued a judgment on December 2, 2016. The
 petitioner filed an ex parte application for relief from the judgment, requesting a
 statement of decision. Judge Lamb issued an order vacating the judgment,
 converting it to a proposed statement of decision, and inviting objections from the
 parties. Both parties timely filed objections on January 3, 2017. On February 10,
 2018, Judge Lamb set a hearing on the objections for February 26, 2018. He did
 not issue the dissolution judgment or the statement of decision until March 6,
 2018, more than 14 months after the parties filed their January 3, 2017
 objections.
       Judge Lamb recognized that a “considerable amount of time” passed
 between his receipt of objections on January 3, 2017 and his setting the hearing
 on February 10, 2018, and apologized for the delay. He said he “lost track” of
 the matter, but this is inconsistent with the fact that he ruled on a motion in the
 case in the intervening period. Judge Lamb’s “lost track” explanation is the same
 one he offered in connection with his 2006 advisory letter and his 2015 private
 admonishment.




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       The 14-month delay between the January 3, 2017 objections and the
 March 6, 2018 final judgment and statement of decision was unreasonable.
 (Mardikian, 40 Cal.3d at p. 477, fn. 4.) Delay in dissolution proceedings
 “necessarily prejudices the parties who are unable to remarry, utilize assets, or
 establish stable homes for the children of the marriage.” (Id. at p. 483, fn. 9.)
 Judge Lamb’s conduct violated canon 3B(8) and canon 3.
       2. In Regard to the Marriage of Faldowski (SICVFL12-53648/15-58551).
 Judge Lamb delayed more than 12 months—from August 25, 2016 until
 September 5, 2017—before issuing a final statement of decision in this matter. A
 post-judgment request for order regarding child support, attorney fees, and
 support arrearages was submitted for decision on May 27, 2016. Judge Lamb
 issued a tentative decision 90 days later, on August 25, 2016. On September 15,
 2016, the respondent filed a request for a statement of decision. Due to a
 clerical error, this request was not brought to Judge Lamb’s attention until six
 weeks later, on October 27, 2016. Judge Lamb granted himself a 40-day
 extension of time to December 5, 2016 to issue the statement of decision. The
 day before this extension ran out, Judge Lamb ordered the petitioner to draft the
 proposed statement of decision. The petitioner filed the proposed statement of
 decision on December 12, 2016, followed by timely objections and a reply,
 closing the pleadings on December 27, 2016. Judge Lamb did not issue the final
 statement of decision until September 5, 2017, more than 12 months after he had
 issued his tentative decision.
       Judge Lamb contended that there is no deadline for the issuance of a final
 statement of decision. Judge Lamb was, however, still required by canon 3B(8)
 to resolve the matter fairly, promptly, and efficiently. Judge Lamb admitted that
 he was reminded of the outstanding final statement of decision on June 6, 2017,
 when he held a hearing on petitioner’s March 28, 2017 request for order, which
 stated that the parties were still waiting for the statement of decision and final
 judgment, and described the negative impact of the delay on the petitioner.


                                           3

                                      EXHIBIT __
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 Judge Lamb nevertheless delayed an additional three months before issuing the
 final statement of decision. Issuing the final statement of decision more than 12
 months after the tentative decision was unreasonable and violated canon 3B(8).
       3. In Regard to the Marriage of Kruse (SICVFL16-59777). Judge Lamb
 ruled on a request for an order for support and attorney fees 63 days late in this
 matter. He presided over a hearing on the request on September 1, 2016. The
 matter was submitted for decision on October 4, 2016. Judge Lamb did not issue
 an order on the request until March 7, 2017, 63 days after the 90th day after
 submission. This delay was unreasonable and violated canon 3B(8).
       Further, on December 6, 2016, the respondent filed a request for a ruling
 regarding attorney fees and costs, pursuant to Family Code section 2031,
 subdivision (a)(2), which requires that a ruling on fees must issue within 15 days
 of the hearing. Judge Lamb did not issue an order within 15 days. This also
 violated canon 3B(8).
       Judge Lamb apologized for these delays and told the commission that he
 did not know how he “lost track” of this matter. He admitted, however, that a
 court operations manager sent him emails on November 30, 2016 and December
 19, 2016, both of which attached a submitted matter list showing that the ruling in
 Kruse was due by January 3, 2017. He also admitted that the presiding judge
 sent him an email on December 20, 2016 reminding him of his upcoming
 submitted matter deadlines, including Kruse.
       In addition, in January 2017 and February 2017, while Kruse remained
 pending and undecided in excess of 90 days, Judge Lamb signed and submitted
 salary affidavits pursuant to Government Code section 68210 in which he falsely
 declared that no cause remained pending and undetermined that had been
 submitted to him for decision in excess of 90 days. Judge Lamb stated that he
 did not know the January and February 2017 salary affidavits were false when he
 signed them, but the fact that a judge may be unaware that he or she has
 matters that have been under submission for more than 90 days is not a defense


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 to a charge of filing false salary affidavits. “A judge who executes a salary
 affidavit affirming he or she has no overdue ruling should take care to ensure that
 the statement is true when it is made.” (Inquiry Concerning Freedman (2007) 49
 Cal.4th CJP Supp. 223, 246; Public Admonishment of Judge John D. Kirihara
 (2012), p. 3.) Lamb’s false salary affidavits violated his duty to respect and
 comply with the law and to act at all times in a manner that promotes public
 confidence in the integrity of the judiciary (canon 2A).
       Judge Lamb’s conduct was, at a minimum, improper action.
       In determining to issue this public admonishment, the commission
 considered Judge Lamb’s prior discipline to be a significant aggravating factor.
 Judge Lamb received an advisory letter in 2006 for issuing a decision in a family
 law case 22 days after the 90th day after the matter had been submitted for
 decision. Judge Lamb stated that the matter “slipped between the cracks” and
 “dropped from his radar screen.” Judge Lamb told the commission he had
 conferred with his presiding judge and that they “redesigned their current
 practices for tracking submitted cases,” and “put in place parallel and redundant
 systems for calendaring of submitted matters, and for alerting judges to the
 pendency and status of those cases,” said he would meet with his presiding
 judge “on a regular basis to assure himself that matters are decided on a timely
 basis, and that [he] has the time and other resources he needs to file timely
 decisions on submitted matters,” and said that these changes were “to ensure
 nothing like this occurs again in Inyo County.” The commission considered
 Judge Lamb’s apology and remedial steps mitigating, but also warned him that
 the failure to promptly decide family law matters is particularly egregious in light
 of the harm to the parties.
       Judge Lamb then received a private admonishment in 2015 for failing to
 issue a decision in a submitted matter until six months after he stated he would.
 Judge Lamb was reminded about the need to issue the decision approximately
 four months after the matter was submitted and obtained the file to determine


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  which judge was responsible for the matter, but failed to promptly review the file
  (and it was his case all along). During that time, another judge expressed
  concern to Judge Lamb about the submitted matter and the 90-day rule. A
  month later, Judge Lamb was provided definitive notice that it was his decision
  that was overdue, but he did not issue the decision until another month had
  passed. While the underlying matter remained pending and undecided in excess
  of 90 days, Judge Lamb also signed false salary affidavits declaring that no
  cause remained pending and undetermined that had been submitted to him for
  decision in excess of 90 days. Judge Lamb recognized that he should not have
  allowed the matter to “fall off his radar,” said he regretted the delay, and asserted
  that he did not knowingly sign the false salary affidavits. The private
  admonishment referred to the 2006 advisory letter, and the further delay in ruling
  after it became clear that Judge Lamb was responsible for the outstanding ruling,
  as aggravating factors.
        The commission recognizes that Judge Lamb is a hard-working judge, but
  it did not consider his assertions about his workload or his apologies mitigating in
  this matter because he has been previously disciplined twice for similar
  misconduct.
        Commission members Nanci E. Nishimura, Esq.; Hon. Michael B. Harper;
  Anthony P. Capozzi, Esq.; Ms. Sarah Kruer Jager; Ms. Kay Cooperman Jue;
  Hon. Lisa B. Lench; Dr. Michael A. Moodian; and Mr. Adam N. Torres voted for
  the public admonishment. Hon. William S. Dato, Mr. Eduardo De La Riva, and
  Mr. Richard Simpson did not participate.

  Dated: July 2, 2019                    ________________________________
                                                   Nanci E. Nishimura
                                                   Chairperson




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                                      EXHIBIT __
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                        F. Chodosh, et al., v. J. Saunders, et al.

                                     July 21, 2020

                                      COMPLAINT

                                      EXHIBIT – G




         04/25/16   Letter transmittal Complaint against Judge Robert J. Moss
         04/26/16   Comm. on Judicial Perf. (“CJP”), Complaint Letter received
         06/15/16   CJP Staff Letter Requesting Dec. 21-22, 2015 Court Documents
         06/20/16   Letter to CJP providing requested court documents
         07/26/16   CJP Letter complaint “under consideration”
         12/20/18   CJP / AG Demurrer disqualified Judge Moss “judicial discretion”
         05/14/20   CJP Notice “no basis for action against the judge”




                                     EXHIBIT G
                                        250
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                          Law Office Of Patrick J. Evans
                                16897 Algonquin Street, Suite F
                                 Huntington Beach, CA 92649
                         Tel.: (714) 594 – 5722; Fax: (714) 840 – 6861
                            E-mail: pevans@pevanslawoffice.com

                                          April 25, 2016
BY COURIER
Commission on Judicial Performance
455 Golden Gate Avenue, Suite 14400
San Francisco, California 94102
Re: COMPLAINT AGAINST ORANGE COUNTY SUPERIOR COURT JUDGE
    THE HONORABLE ROBERT J. MOSS, ARISING IN THE CASE:
    Ole Haugen vs. Palm Beach Park Association, #30-2015-00819837 and in related cases
    WILLFUL JUDICIAL MISCONDUCT - TAKING BACK CASE ON WHICH JUDGE HAD
    BEEN DISQUALIFIED BY 170.6 CHALLENGE GRANTED BY SUPERVISING JUDGE

Dear Commissioners and Staff:

My clients and I hereby lodge complaint against Orange County Superior Court Judge the
Honorable Robert J. Moss. My clients are Floyd Chodosh, et al., identified in the enclosures.

Judge Moss called in from vacation to take back a case on which he had been disqualified by my
client’s 170.6 peremptory challenge. The case concerned the sale of a seniors only mobilehome
park situated on rare and valuable coastal property in Orange County.

Judge Moss, acting through his clerk, took back the case and delayed our TRO hearing. Four
hours later, the Park was sold in the sale we alleged involved fiduciary breach and self-dealing.

The basis for our complaint is presented in detail through Statements of Disqualification,
Appendix of Exhibits, Memorandum of Points and Authorities, and Requests for Judicial Notice.
The documents are included in the enclosed four (4) binders. For convenience, a flash drive
with the materials in pdf file format is also enclosed.

For review it may be best to start with Appendix Exhibit A, read it and other Appendix exhibits,
then the Statements of Disqualification and the Memorandum, which make reference to case
pleadings and other documents in the Requests for Judicial Notice.

Please let us know any question or follow up. Thank you for your attention and service.

                                                     Sincerely,



                                                     PATRICK J. EVANS

Encls.: Four (4) 3 ring binders, one flash drive


                                               EXHIBIT G
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                                                                 415    557-1200
                                                             FAX 415 557-1266
                                                          Web Site http//cjp.ca.gov




                                                               April    26 2016




        Patrick     Evans       Esq
        Law    Office of Patrick            Evans
        16897
                  Algonquin St.           Suite

        Huntington     Beach     CA         92649


        Dear   Mr   Evans


                  This letter   is   to   acknowledge         receipt   of                          about      California
                                                                             your complaint
        judges      We    are presently           reviewing    this information         and you     will    be advised   in
                                                                                                                              writing
        at   later date   of the     commissions action            in this matter




                                                                        Very    truly   yours




                                                                        Mary Harvey
                                                                        Secretary      to   Staff   Counsel




                                          Confidential    under California Constitution

                                 Article      VI    Section     18 and Commission Rule 102




                                                              EXHIBIT G
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                                      ~an Jlfrandsco, QIP,. 94102-3660
                                                 (415) 557-1200
                                               FAX (415) 557-1266
                                             Web Site: http://cjp.ca.gov


                                                 June 15,2016

       Patrick J. Evans, Esq.
       Law Office of Patrick J. Evans
       16987 Algonquin Street, Suite F
       Huntington Beach, CA 92649

       Dear Mr. Evans:

               This letter concerns the correspondence you submitted to the Commission on Judicial
       Performance on April 25, 2016. In order to proceed further with your complaint, please provide
       the following documents from case number 30-2015-00819837 at your earliest convenience:

              1. A copy of the CCP 170.6 peremptory challenge you tl.led on November 25, 2015;
              2. A copy ofthe written order or minute order, if any, reassigning the case on November
                 30, 2015 , based on your 170.6 challenge;
              3. A copy of the defendant's objection filed on December 1, 2015 ;
              4. A copy of your opposition to the objection filed on December 7, 2015;
              5. A copy ofthe writtenorder or minute order, if any, reassigning the case back to the
                 judge on December 22 or 23,2015

               The additional information and documents you provide will be reviewed upon receipt.
       Without fmiher details, we cannot determine whether there may be grounds for a judicial
       investigation. Please provide the above information by July 6, 2016. If we do not hear from you
       by that date, your complaint will be processed based on the information in the file.

              Please note that this commission does not have the authority to provide legal advice,
       reverse or re-litigate legal rulings, move your case to another department or court, or otherwise
       intervene in your case. Our work is limited to handling complaints involving allegations of
       misconduct by California state court judges.

              Thank you for your prompt attention to this matter.

                                                      Very}ruly yours?                                                , _...-·-··

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                                                      Anne M. Hunter
                                                      Staff Counsel
       AH:as/L06142016 Evans




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                                              EXHIBIT G
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       1    XAVIER BECERRA
            Attorney General of California
       2    ANTHONYR. HAKL
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             Attorneys for Commission on Judicial Performance,               Exempt from Filing Fees,
       8     Commission Director and Chief Counsel Gregory                   Gov. Code§ 6103
             Dresser, California Department ofJustice, and
       9     Attorney General Xavier Becerra

      10                        SUPERIOR COURT OF THE STATE OF CALIFORNIA ·

      11                                      COUNTY OF SACRAMENTO

      12

      13

      14
           DINA PADILLA, and FLOYD CHODOSH,                           Case No. 34-2018-00242031
      15 . California residents and taxpayers,

      16                                            Plaintiffs,
                                                                      DEFENDANTS' NOTICE OF
      17                   v.                                         DEMURRER AND DEMURRER
                                                                      TO COMPLAINT; MEMORANDUM OF
      18                                                              POINTS AND AUTHORITIES
           COMMISSION ON JUDICIAL
      19   PERFORMANCE, an agency ofthejudicial                       Date:         January 25, 2019
           branch, and its Director and Chief Counsel,                Time:         2:00 p.m.
      20   GREGORY DRESSER, in his official                           Dept:         53
           capacity and not individually; THE                         Judge:        The Honorable David I. Brown
      21   CALIFORNIA DEPARTMENT OF                                   Trial Date: NIA       .
           JUSTICE, OFFICE OF THE ATTORNEY                            Action Filed: October 5, 2018
      22   GENERAL, an agency of the executive
           branch; and XAVIER BECERRA, in his
      23   official capacity as Attorney General, and                 eservation No. 2387889
           not individually, and DOES 1-10,
      24
                                                 Defendants.
      25

      26

      27

      28
                                                                  1
                   Defendants' Notice of Demurrer & Demurrer; Memorandum of Points and Authorities (34-2018-00242031)




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       1   II.   COMPLAINT ALLEGATIONS

       2         Plaintiffs filed the instant complaint on October 5, 2018, alleging nine causes of action.

       3   (Compl.1111106-354.) The claims largely arise from Plaintiffs' belief that the commission has not

       4   taken action on an alleged complaint- about Orange County Superior Court Judge Richard J.

       5   Moss, who presided over litigation seeking to stop the sale of the mobile home park where

       6   Plaintiff Chodosh owned a home.

       7         According to the complaint, the residents in the underlying litigation filed a peremptory

       8   challenge to disqualify Judge Moss on November 25, 2015. (Compl.              ,i,i   19(7), 62 & Exh. J.) The

       9   case was temporarily reassigned to another judge and all relevant parties were given an

      10   opportunity to object to the challenge. (Compl. 11 19(7) & Exh. J.) On December 21, the

      11   residents filed an emergency application to enjoin the sale of the mobile home park. (Ibid.) On

      12   December 22, 2015, Judge Moss issued an order striking the peremptory challenge and assigning

      13   the case back to himself. (Ibid.) He also continued the hearing for emergency injunctive relief to

      14   December 28, 2015. (Ibid.) Hours after the December 22 order, the deed for the sale of the

      15   mobile home park was recorded. (Compl. 1119(7).)

      16         The residents allegedly complained about Judge Moss to the commission in a letter dated

      17   April 2016. (Campi., Exh. H.) Since responding to a request by the commission for additional

      18   information, in June 2016, the residents claim that they have not been informed about the status

      19   of their complaint and believe the commission has not reported the matter to prosecuting

      20   authorities. (Ibid.) Plaintiffs contend they should be able to obtain information about the status

      21   of the commission's investigation into the alleged complaint, and to have the commission refer

      22   the complaint about Judge Moss to prosecuting authorities. (Id.      ,i,i   107-171, 188-201.)2

      23         With respect to the Attorney General, Plaintiffs allege that he has ''abdicated [his] duty and

      24   role to investigate and prosecute judge crime." (Compl. ,r 178) Plaintiffs point to information on

      25   the Attorney General's website and "form letters" advising the public to direct complaints about

      26
                   2 Plaintiffs recently noticed the deposition of Judge Moss in this case. The attempt to
      27   depose a sitting judge over the exercise of judicial discretion is an improper and abusive litigation
           tactic. It, in combination with the fact that Judge Moss was also a target in Eicherly, highlights
      28   the need to dismiss this action outright.
                                                              10
                  Defendants' Notice of Demurrer & Demurrer; Memorandum of Points and Authorities (34-2018-00242031)




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                                                           ~an Jlfrancisco, <!IJ\ 94102-366 0
                                                                                            (415) 557-1200
                                                                                          Fax (415) 557-1266
                                                                                        Website: http://cjp.ca.gov
                                                                                                May 14, 2020




        Patrick J. Evans, Esq.
        Law Offices of Patrick J. Evans
        16897 Algonquin Street, Suite F
        Huntington Beach, CA 92649

        Dear Mr. Evans:

              I am writing to i_n fo_rm yoµ about the comrni$:S,idn' s a ction :~ith respect to your
        complaint dated Apti'i-·2s, _2016, .an.c.U\irthe/,~ubmissj>o'ns·.::n: !.:,; .
                                       (~ •rJ' ~ •... I I    : .- : I     '             •   ;        •-   ~   •




               At its May 2020 meeting, after considering all of the information before it about
        this matter, the commission found no basis for action against the judge or determined not
        to proceed further in this matter. Commission member Ms . Kay Cooperman Jue was
        recused from this matter, pursuant to commission policy declaration 6.1. (See Rules of
        the_Comn1ission op .
                             Judicial Performance, rule 102(e)(1 ).)
                         '.,•,\•




                We do appreciate your time and effort in brit1g'1hg· this matter to the commission' s
                                                   .      '    ·.
        attention.

                                                                                                              Very truly yours,


                                                                                                                  MM';A~          !$a; ✓J /3d
                                                                                                              Mariah Baird
                                                                                                              Staff Counsel

        MB :jr/L05142QEv:ans .,.




                                    . Confic:l~ntia.l\Lll<;ler:Galifornia Gonstitution,  .
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                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – H




             03/02/17 AG Public Integrity Unit lack resources for judge crime

             02/11/17 Plaintiffs’ Counsel Letter to AG PI Unit re: Judge Moss




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                          Law Office of Patrick J. Evans
                                16897 Algonquin Street, Suite F
                                 Huntington Beach, CA 92649
                         Tel.: (714) 594 – 5722; Fax: (714) 840 – 6861
                            E-mail: pevans@pevanslawoffice.com

                                      February 11, 2017

 By U.S. Mail

 State of California, Office of the Attorney General
 California Department of Justice
 Attn: Public Inquiry Unit
 P.O. Box 944255
 Sacramento, CA 94244-2550

 Re: COMPLAINT FOR JUDICIAL MISCONDUCT AGAINST
     HON. ROBERT J. MOSS, ORANGE COUNTY SUPERIOR COURT JUDGE;
     REQUEST THAT ATTORNEY GENERAL INITIATE INVESTIGATION
     BASED ON ALLEGATIONS AND EVIDENCE SET FORTH IN:
     SUE EICHERLY, et al. vs. HON. ROBERT J. MOSS, et al.
     USDC Central District, Case No. 8:16-cv-CJC-KES (filed 12/21/2016)


 To the California Department of Justice, Office of the Attorney General:

 California residents Sue Eicherly, et al., filed a lawsuit in federal court for loss of their
 homes and loss of their ocean front Palm Beach Park mobilehome park, which they own
 with 120 other seniors. The loss of their homes and ocean front mobilehome park, they
 contend, was the direct result of willful, purposeful judicial misconduct and wrongdoing
 on the part of Orange County Superior Court Judge Robert J. Moss. Ms. Eicherly and her
 fellow victims believe the evidence demonstrates Judge Moss’ judicial misconduct was
 also criminal wrongdoing. The evidence against Judge Moss is overwhelming. The
 enclosed federal complaint reviews the facts, events and evidence in detail. This letter
 and attached grid provide an overview. Plaintiffs request investigation of Judge Moss.

 Evidence Proving Judge Moss’s Illegal Actions – Abetting Real Estate Theft

 Judge Moss’ wrongdoing is most prominently demonstrated by his strategic call in from
 his vacation to take over a case not in his courtroom and on which he had been
 disqualified, just in time to enter an order to stop the TRO that threatened the fiduciary
 fraudulent sale of the park. Judge Moss thwarted the TRO at 9:00 a.m. The fraudulent
 sale, by which 120 seniors were swindled of millions in real estate, closed at 1:18 p.m.


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 California Department of Justice; Attn: Public Inquiry Unit
 RE: Criminal Complaint against Hon. Robert J. Moss, OC Superior Court Judge
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 Judge Moss was, as he admitted in open court, disqualified from the case brought to stop
 the fiduciary fraudulent sale of the Palm Beach Park mobilehome park, Haugen v. PBPA,
 [OCSC filed Nov. 12, 2015].

 The base wrongdoing is that disqualified Judge Moss called in from vacation to enter
 orders putting himself back on that case in order to foil an application for temporary
 restraining order (“TRO”). Judge Moss’ first order continued the TRO hearing. He
 neutralized the TRO threat to the fraudulent, corrupt sale. Four (4) hours after Judge
 Moss called in from vacation to intervene and quash the TRO, the deed for the fraudulent
 sale recorded. As a direct result of Judge Moss’ actions, the valuable mobilehome park
 property was “sold” to the buyer for millions of dollars under market value. The buyer
 fixed the sale with the HOA President and Board; Judge Moss was there to help out.

 Additionally, as the evidence proves, prior to his illegal intervention in the TRO case,
 Judge Moss acted to silence and punish the HOA members who dared to oppose the
 HOA perpetrated fiduciary fraud and real estate thievery occurring at their seniors only
 “resident owned” mobilehome park.

 Judge Moss entered illegal orders against the Plaintiffs that allowed the HOA, by a mere
 vote of the board of directors, to take away their homes for no consideration. Judge
 Moss’ enforced illegal contracts and leases for what the evidence before him proved were
 unlawful “bootleg” residential structures, built without permits that had dangerous,
 substandard electric wiring, faulty plumbing, inadequate water and sewer, and frequent
 power outages and raw sewage spills.

 Based on HOA representations, Plaintiff Eicherly paid $185,000 for one such illegal
 home with bootleg plumbing and endured the health hazard of raw sewage overflow.
 Judge Moss stripped her of the home, and gave it to the HOA for nothing. Judge Moss
 entered $250,000 in judgments against her.

 Judge Moss did the same to other elderly Plaintiffs who dared to contest and fight the
 Palm Beach Park HOA’s illegal activities and practices. The evidence, court orders,
 documents, transcripts, prove Judge Moss acted unlawfully to uphold and support
 illegality and illegal contracts, the end result of which was to facilitate the give-away sale
 of the senior owned park.

 Judge Moss’ illegal actions have harmed not just Ms. Eicherly and her fellow plaintiffs,
 but all of the approximately 120 Palm Beach seniors that had homes in the “senior” park,
 which is a “resident owned park” [Civ. Code sec. 799(c)] i.e. the residents own the park.

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 Accompanying Grid and Documents; The Federal Lawsuit Detail.

 Accompanying this letter is a grid that lists and describes key court filed documents,
 Judge Moss’ Minute Orders, transcripts, and the deed for the sale. The grid presents the
 documents in sequence, proof that Judge Moss, disqualified in the case, intervened in a
 wrongful and illegal manner to assure the fraudulent fiduciary sale would close escrow
 and seniors would lose millions of dollars in equity in their homes and the Park. The grid
 references the federal lawsuit page numbers.

 The federal complaint describes in detail, with reference to exhibits consisting of court
 records, transcripts and other documents, the evidence that, Plaintiffs believe, proves
 beyond a reasonable doubt that Judge Moss committed crimes in order to harm Plaintiffs
 and favor their opponents, allowing the opponents to steal Palm Beach Mobilehome Park,
 one of the last large ocean side parcels in South Orange County.

 The capstone evidence, which should be straightforwardly obtained, would be Judge
 Moss’ answer to the question as to who alerted him about the TRO and asked him to call
 in from vacation, put himself back on the Haugen case (on which case he had been
 disqualified) and intercede on behalf of the HOA Board members and the “buyer” to
 facilitate the fiduciary fraudulent and self-dealing mobilehome park sale.

 The deed for the fraudulent sale recorded four (4) hours after Judge Moss called in from
 vacation to illegally intervene and quash the TRO. Thus, it is clear his answer can only
 be that he had unlawful ex parte communication with someone for the purpose of
 expediting the dirty real estate sale which stripped 120 senior citizens of the millions of
 dollars in real estate equity they held in their “resident owned park.”

 Judge Moss Intervention to Cause Fiduciary Fraudulent Sale of Mobilehome Park

 Judge Moss’ intervened in the case Haugen v. PBPA. Judge Moss’, when he stepped in
 to make sure the self-dealing HOA Directors, led by their Board President, a real estate
 broker, would close the fiduciary fraudulent and self-dealing sale of the mobilehome
 park, caused 120 seniors to be robbed of their homes and the $13,000,000 in real estate
 equity (minimum) they held in their homes and their “resident owned” mobilehome park.
 (Such lost equity is calculated using the lender’s value placed on the park; see federal
 complaint pg. 77 ¶308)

 Plaintiff Haugen, for himself and others, filed the lawsuit in November 2015 with the
 specific design to expose the fiduciary fraudulent sale, an insider, self-dealing transaction

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 rigged by the HOA’s Board President and real estate broker. Ample evidence of the
 scam was before Judge Moss in the related Chodosh case. On Nov. 30, 2015, Judge
 Moss was disqualified on the Haugen case.

 Evidence of the scam is ample, including that the HOA President and Board failed to
 advise and hid from the HOA members a higher and better purchase offer for the Park.
 (Fed. Comp. Exh. I, pg. 56 ¶225) The HOA Board President hired, as counsel to the
 HOA for the sale, the attorney that represented the seller! Thus, in the fiduciary
 fraudulent deal, there was an attorney that represented both sides. (Id. Exh. J, pg. 78,
 ¶310) The evidence of fiduciary fraud and self – dealing is overwhelming. Judge Moss
 ignored it all. On the contrary, Judge Moss acted quickly to intervene and make happen
 the fiduciary fraudulent self-dealing park sale.

 Around mid-December, 2015, Plaintiffs were alerted that the Board President and her
 insider, real estate cronies planned to close their fraudulent deal on Dec. 22, 2015. On
 Dec. 21, 2015, Plaintiffs brought a temporary restraining order (“TRO”) to stop the sale.
 With Judge Moss disqualified, the Haugen case had been assigned to Judge Andler. The
 TRO hearing was scheduled in her courtroom.

 Haugen was not Judge Moss’ case. On Nov. 30, 2015, Judge Moss had been disqualified
 in Haugen, which disqualification Judge Moss admitted on the record Dec. 1, 2015. He
 also stated on the record that he would be on vacation and out of the courthouse the last
 two weeks of December 2015.

 On Dec 15, 2015 Judge Moss stated that December 21-22, he would be out of the
 courthouse. Yet, suddenly, on the morning of Dec. 22, 2015, Judge Moss called in from
 outside the court to thwart Plaintiff Haugen’s application for a temporary restraining
 order (“TRO”) to halt the unlawful park sale. First, at 9 a.m. Judge Moss issued an order
 continuing the TRO. Then at 9:29 a.m. he entered an order placing himself back on the
 Haugen case where, as the court documents show and he admitted on the record, he had
 been disqualified. Judge Moss purported to illegally override his own disqualification,
 after taking action to stop the TRO.

 The sequence and time gap prove the coordination of Judge Moss’ intervention and the
 fraudulent real estate closing. On Dec. 22, 2015, at 9 a.m., Judge Moss entered the orders
 blocking the TRO and placing himself back on the Haugen case. With the TRO halted,
 four (4) hours later, the deed for the fraudulent give away sale of the seniors’ park was
 recorded.

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 It is not coincidence or chance that Judge Moss called in from vacation to take back a
 case on which he had been disqualified so that he could enter Minute Orders that assured
 a TRO would not block the fiduciary fraudulent sale scheduled to close that same day.
 Judge Moss’ opportune intervention and obstruction of justice was designed to assure
 closing of the fraudulent sale, all to the detriment of 120 seniors lied to by their HOA
 Directors and their real estate cohorts who together stole at least $13,000,000 from them,
 based on the market value ascribed by the lender on the sham sale. (See federal
 complaint pg. 77, ¶308)

 Who contacted Judge Moss about intervention to Save the Fraudulent Park Sale?

 Since the documents establish Judge Moss’ wrongdoing, the only remaining and key
 question to Judge Moss would be, on Dec. 21 and/or 22, 2015, who contacted him and
 directed him to call in from his vacation to thwart the TRO? In his declaration opposing
 Plaintiffs’ move to oust him, Judge Moss denied ex parte communication. (Fed.
 complaint Exh. G, pg. 189, lines 22-23)

 It is inconceivable that, without being contacted, Judge Moss suddenly and precipitously
 while on vacation, called into the court about a case not in his courtroom and on which he
 had been disqualified, proceeded to have his clerk enter orders to quash the TRO with the
 deed for the fraudulent sale recording four (4) hours later. It was not happenstance the
 Judge Moss “phoned in” the critical and timely minute orders.

 Oddly, the court record for his order continuing the TRO includes an “appearance” by
 counsel for buyer’s individual principal, John Saunders, in the sham sale. (Fed.
 Complaint pg. C 128) The buyer was not a party in the litigation: buyer’s counsel had
 never appeared. The buyer had no right or basis to appear in the case; yet it did.
 Appearance of the buyer’s counsel is noted on Judge Moss’ order that postponed the
 TRO, clearing the way for theft of the seniors’ real estate at a rigged price that was
 millions below fair market value.

 Investigation of Judge Moss’ probable crime entails two easily conducted tasks: (1)
 review of the court filings, transcripts and other documents that prove the foregoing,
 which documents are provided herein: and (2) question to Judge Moss and answer from
 him as to who told him to intervene. Ample evidence, as described in the federal
 complaint, leads to the inescapable conclusion that Judge Moss had an ex parte
 communication whereby he agreed to intervene to assist with the sham sale. As an
 example of more evidence, the TRO opposition papers, as served on Plaintiff, bear the
 courtroom number of and name of Judge Andler. However, the opposition papers filed

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 with the court had been altered and list disqualified Judge Moss and his courtroom as the
 forum for the TRO hearing.

 Judge Moss Takes Plaintiffs Homes Without Legal Process; More Real Estate Theft

 Judge Moss entered orders to the effect that the PBPA HOA Board of Directors, by a
 mere vote of the Board of Directors, could “terminate” the Plaintiffs’ homeowner rights.
 Judge Moss ruled and adjudged that an HOA, by a vote of its Board, could “take” a
 member’s home.

 Absurd as it sounds and was, these were Judge Moss “rulings”. It is common knowledge
 that a homeowner can lose a home by foreclosure or eviction, but not by an HOA Board
 “vote”, i.e. a contract of forfeiture. An HOA Board cannot just “take” a member’s home.

 In entering his orders, Plaintiffs believe that Judge Moss engaged in crime, as the effect
 was to transfer real estate from the Plaintiffs to their HOA for nothing. Plaintiffs had
 paid hundreds of thousands of dollars for their homes. Judge Moss purported to
 authorize the HOA to take Plaintiffs’ homes for nothing, merely by a board vote.

 Ongoing “Bootleg” Mobilehome Park; Judge Moss Upholds Unlawful Housing

 Meanwhile, with the Park “sold,” dozens of seniors continue to live there in homes that
 are illegal, substandard, and unpermitted, units with substandard water, electric and sewer
 service. The Attorney General must be aware of the tragedy of the Oakland Ghostship
 fire, where 36 people died because of dangerous substandard “bootleg” housing. As an
 example, Plaintiff Eicherly’s home had substandard bootleg electrical wiring, and jury
 rigged water and sewage, with regular back up and expulsion of raw sewage. Judge
 Moss heard ample evidence of these unlawful, unsafe housing conditions at Palm Beach
 Park - at one-point commenting that he had “heard enough” about sewage. Yet, Judge
 Moss upheld and enforced the illegal leases and contracts.

 Request That Attorney General Initiate Investigation of Judge Moss

 Plaintiff Sue Eicherly, and the other Plaintiffs, are in urgent need of protection from
 Judge Moss. He continues to take action against them in order to cause them further
 personal injury and financial loss. Judge Moss’ wrongdoing has and continues to harm
 not only Plaintiffs, but the 120 other Park residents and HOA members as well who have
 or stand to lose their homes and millions in real estate equity.

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  Plaintiffs, victims of Judge crimes, assert their rights under Marsy’s Law, Calif.
  Constitution Article I, sec. 28, [Described on the Attorney General’s website
  [https://oag.ca.gov/victimservices/content/bill_of_rights]

  Judge Moss’ willful judicial misconduct, which the evidence shows was also crime, has
  caused three (3) serious and far reaching harms:

  (1) 120 Seniors have lost millions in real estate value in their mobilehome park;

  (2) Plaintiffs have lost their homes and had judgments entered against them all based on
      illegal leases and contracts; and

  (3) Dozens of seniors are made to live in substandard, “bootleg” dangerous housing that
      threatens them and is a hazard to their families and everyone. A judge cannot be
      allowed to uphold dangerous illegal housing.

  Based on all the above information and proof, Plaintiffs, United States Citizens and
  California residents, request that the Attorney General initiate an investigation of Judge
  Moss’ illegal actions and wrongdoing. Complainants contend the evidence will readily
  reveal judge crime whereby homes and real estate equity worth millions of dollars have
  been unlawfully taken from 120 California elders and seniors.

                                                   Sincerely,




                                                   PATRICK J. EVANS
                                                   For Plaintiffs Sue Eicherly, et al.

  Attachment: Grid for Court and other Documents
  Enclosures:
      File Stamped copy – Complaint [hard copy] SUE EICHERLY, et al. vs. HON.
        ROBERT J. MOSS, et al., C. D. So. Div., No. 8:16-cv-CJC-KES (filed 12/21/16);
      Notice of Errata, filed Dec. 26, 2016 (note complaint page 113A inserted) and;
      Flash drive with this letter and attachment, Federal complaint and Errata Notice



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       COURT FILED ORDERS, DOCUMENTS, PLEADINGS, TRANSCRIPTS,
     DEED AND DEED OF TRUST AND JUDGE MOSS DENIAL – IN SEQUENCE
                TO SHOW PROBABLE JUDGE MOSS CRIME
     BY INTERVENTION TO ASSURE FRAUDULENT SELF-DEALING SALE OF
     PALM BEACH MOBILEHOME PARK – A VALUABLE COASTAL PARCEL

Ole Haugen v. Palm Beach Park Association (“PBPA”) OCSC #30-2015-00819837 (filed 11/12/15)
     Case Pleadings Orders Filed, Transcripts Chronology, (date and time if same day)
                                     Nov. – Dec. 2015

Fed.     Date          Judicial    Filer         Document Title, Description, Content
Comp.    Filed:        Officer     Court or
Page     Haugen        Presiding   Party         [Note that if the document is more than one page,
No.      ROA #                                   only the first page of the document is provided, or if
                                                 transcript, cover page and excerpted pages with text
                                                 are provided]

C 105    11/12/15      Sherman     Plaintiff     Verified Complaint (caption, first page only)
         ROA 2                     Haugen

C 106    11/16/15      Sherman     Court         Minute Order Reassigning Case to Judge Moss;
         ROA                                     Notice of Parties Right to file 170.6
         12-13

C 107    11/25/15      Moss        Haugen        170.6 challenge and affidavit against Judge Moss
         ROA 18

C 108    11/30/15      Margines    Court         Minute Order: “A Peremptory Challenge under
         ROA 22                                  C.C.P. §170.6 as to the Hon. Robert J. Moss having
                                                 been filed on 11/25/15 by Plaintiff, and this matter
                                                 having been transferred to C1 for reassignment, the
                                                 Court now rules as follows: This case is reassigned
                                                 to the Honorable Gail A. Andler in Dept. CX 101
                                                 for all purposes.”

C 109    12/1/15       Moss        Moss          Transcript of Hearing to Expunge this case’s Lis
         No ROA        9:00        In the        Pendens by ex parte PBPA filed in Chodosh case.
To       n/a as to     hearing,    case:         Judge Moss acknowledges he is disqualified and has
         Haugen        conduced    Chodosh       no jurisdiction in Haugen case because of 170.6 and
C 112    case;         not in      v.            that case has been assigned to another judge. Judge
         Hearing       Haugen      Palm          Moss states: “Mr. Evans has filed a 170.6, so I
         not in        case, in    Beach         don’t have jurisdiction to rule on this motion.”
         Haugen        Chodosh     Park          [Page C110 lines 18-19.” - and – “My only hang-up
         case but in   case        Assoc.        is this new action he [Evans] filed a 170.6 against

                                                 1


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        Chodosh                  (“PBPA”)     me. That means I don’t have jurisdiction to rule
        case                     NOT in       on the new action. All these arguments could be
                                 the          made to the judge to which this case [Haugen] is
                                 Haugen       assigned, but I don’t have jurisdiction if they file a
                                 case         170.6.” (Page C111, line 24 – page C112, line 2] -
                                              and- “But without jurisdiction, you have to file this
                                              motion in the department to which the new case is
                                              assigned.” (Id. pg. C112 lines 23-25)

C 113   12/1/2015    Andler      PBPA         Objection to Plaintiff’s 170.6 challenge filed by
        5:21 p.m.                             PBPA in courtroom of Judge Andler, CX101, Judge
        ROA 26                                to whom Haugen case was assigned in granting of
                                              170.6 on Nov. 30, 2015 (See above, pg. C 108)
C       12/7/2015    Andler      Haugen       Opposition to PBPA Objection to 170.6 challenge.
113A    ROA 28                                Mr. Haugen opposes the Objection, matter of
                                              objection to be decided by Judge Andler.

C 114   12/9/2015    Andler      PBPA         PBPA Notice of Association of Counsel, caption
        ROA 30                                cover page correctly reflects that Haugen case
                                              “Assigned to Judge Gail A. Andler, Dept. CX – 101.”
C 115   12/15        Andler      PBPA         Demurrer, (ROA 53); filed and noticed for hearing
        ROA 33                                before Judge Andler.

C 116   12/15/15     Moss        Moss         Transcript of Hearing final day of trial in the case
        No ROA                   In the       Chodosh v. PBPA, Tuesday, Dec. 15, 2015. Judge
To      n/a as to    Trial       case -       Moss states he will be out of the court the following
        Haugen       Transcript, Chodosh      two weeks, i.e. Dec. 21 – 31, 2015. Judge Moss
C 118   case;        Last Day    v.           states: “Ladies and Gentlemen, I’ll take the matter
        Transcript   of Trial of PBPA         under submission, and it will be a while before you
        from         Chodosh     Not in the   get my decision, because after this week, I’ll be off
        Chodosh      v. PBPA     Haugen       for two weeks and then come back, so be patient
        case                     case         and I’ll get it off to you as soon as I can.”
                                              [Page C117 lines 23-28 and page C 118, line 1)

C 119   12/21        Andler      Haugen       Plaintiff Haugen files his notice and Ex Parte
To      11 a.m.                               application, including declarations in support and
C 121   ROA 39-                               request for judicial notice, to obtain from Judge
        41                                    Andler a temporary restraining order (“TRO”) to stop
                                              the fiduciary fraudulent and HOA Director / Board
                                              President self-dealing sale of the Palm Beach
                                              Mobilehome Park.




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D 139      12/21       Andler      PBPA        PBPA files Opposition and Objections to application
(orig.     4:54 p.m.                           for TRO
as filed   ROA 56                              Note that Opposition papers, as served, have cover
opp.,                                          and caption pages that show the TRO hearing and
see                                            matter will be heard by Judge Andler. (e.g. Page D
page                                           139) However, filed copies of the caption / cover
C 122                                          pages were altered to change the Judge to Judge Moss
                                               and the hearing to his courtroom and for new hearing
D139                                           date of Dec. 28, 2015. (See page C 122, See Federal
                                               Complaint, Exhibit D, for juxtaposition of the
                                               original as filed opposition paper cover / caption
                                               pages compared to the “as filed” altered opp. papers
                                               cover / caption pages.)

C 128      12/22       Judge       Clerk of    Minute Order “Ex Parte Application is continued to
           9 a.m.      Moss’       Judge       12/28/2015, at 08:30 AM in this department.
           ROA 52      Clerk,      Moss        Counsel for PBPA will give notice.”
                       “Under                  Appearances of Plaintiff and Defendant notes as is
                       the                     standard.
                       Direction
                       of Hon.                 Order notes “special” appearance for the Buyer’s
                       Robert J.               principal, John Saunders; Order states: “Edward
                       Moss”                   Susolik / Peter S. Bauman, Callahan & Blaine,
                                               specially appearing for John Saunders.”



C 129      12/22       Moss       Court        Minute Order (46) “There are no appearances by any
           9:29 a.m.   Note:                   party. Peremptory Challenge pursuant to C.C.P.
           ROA 46-     unlike                  §170.6 was filed by Plaintiff on 11/25/15, as to the
For        47          other                   Hon. Robert J. Moss. Matter was referred to Dept. C1
Proof                  orders,                 and case was reassigned to the Hon. Gail A. Andler in
of                     does not                Department CX101. Defendant's Objection to the
Service                say “under              170.6 against Judge Moss was filed on 12/01/15. The
See pg.                direction               Court, having read and considered the objection, now
                       of Judge                rules as follows: Defendant's objection is granted.
C 130                  Moss” It                Peremptory challenge is stricken. Clerk to give e-
                       says he                 Service notice to counsel.”
                       was the                 Clerk Cert. of Service (ROA 47) Note that Clerk did
                       judicial                not serve the Minute Order; the Proof of Service
                       officer                 addresses are blank, See pg. C 130.




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 C 131     12/22       Saunders     n/a          Excerpts of Grant Deed and Deed of Trust for the
 C 132     1:18 p.m.   PBPA         Recorded     Park Sale. The Park Sale closes, PBPA Grant Deed,
 N 218                              Deed for     signed by Mantelli, purporting to convey Park to
 N 219                              fraudulent   Saunders’ entities, is recorded.
 N220                               Park sale;
                                    Deed of      [Fraudulent Sale closed less than four (4) hours after
                                    Trust        Judge Moss called in from vacation and issued his
                                    pages        Orders at 9 a.m. [to continue TRO hearing] and 9:29
                                                 a.m. placing himself back on the case.]

 C 133     12/22       Moss         PBPA         Following Judge Moss’ taking back the Haugen case,
           2:35 p.m.                             PBPA gives Notice of Continuance of Ex parte
           ROA 64                                hearing

 C 134     12/23       Clerk,       Court        Judge Moss’ second Minute Order, placing himself
           ROA 67-     “Under                    back on Haugen case: “There are no appearances by
 C 135     68          the                       any party. Defendant's objection having been granted
 Clerk’s               Direction                 and peremptory challenge stricken, this case is
 proof                 of Hon.                   reassigned to the Honorable Robert J. Moss for all
 of                    Robert J.                 purposes. Clerk to give notice.”
 service               Moss”                     Clerk’s Proof of Service (C 135) shows document
                                                 sent to counsel, unlike first Minute Order in which
                                                 Judge Moss took back the Haugen case. (See C 129-
                                                 130 above) There was no reason for Judge Moss to
                                                 enter two (2) Minute Orders placing himself back on
                                                 the case. The clerk did not serve the first order but
                                                 did serve the second order.
                                                 The first order gave detail as to Judge Moss’ take-
                                                 over of a case on which he had been disqualified.
                                                 The second order gave no such detail.

 C 136 - 12/28/2015 Moss            Court        Judge Moss’ Minute Order - Ex parte hearing result,
 C 137   ROA 73                                  TRO denied, etc.
 G 189 4/29/2016 Moss               Moss         Judge Moss’ Verified Answer to Statement of
                                                 Disqualification, re Haugen case and his calling in to
                                                 continue the TRO hearing, Judge Moss declares
                                                 under oath: “I specifically deny that I engaged in any
                                                 ex parte contacts in the Haugen case.”



Prepared by P. J. Evans 2/11/2017




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                      F. Chodosh, et al., v. J. Saunders, et al.

                                    July 21, 2020

                                    COMPLAINT

                                     EXHIBIT – I




     03/23/16   Plaintiffs’ Letter Accusing Defendants of Obstruction of Justice
     03/24/16   Letter Accusing Counsel of concealing altered court documents
     03/25/16   Letter from Attorney A. Thomas; his response and denial
     03/29/16   Letter asserting adoptive admissions of accusations to Obstruct Justice
     04/06/16   Letter from Attorney C. Wood response and denial




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                                        March 23, 2016
JOHN R. SAUNDERS                                             BY EMAIL [Addresses]
SAUNDERS PROPERTY COMPANY
ICC 35902 LLC AND 3197 REDHILL LLC
c/o Attorneys Indicated as their Counsel at relevant time period July 2015 – January 2016:
(Current counsel for Mr. Saunders [post events] copied as “cc”, see last page)
Edward Susolik                   Robert S. Coldren                    Lisa G. Salisbury
Peter S. Bauman                  Coldren Law Offices, APLC            Salisbury Law Group, APLC
Callahan & Blaine                3 Hutton Centre Dr. Ste. 900         3720 S Susan St. Ste. 110
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CHICAGO TITLE COMPANY AND FIDELITY NATIONAL TITLE COMPANY c/o counsel
Thomas E. Dias
Fidelity National Law Group
915 Wilshire Blvd., Ste. 2100
Los Angeles, CA 90017
[Tom.Dias@fnf.com]

Re: Ole Haugen vs. Palm Beach Park Association, #30-2015-00819837; NOTICE OF PROBABLE
    CAUSE FOR ACCUSATION OF OBSTRUCTION OF JUSTICE, PENAL CODE §182

Dear Counsel:


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Saunders, PBPA and Fidelity, c/o counsel
Re: Accusation of Obstruction of Justice, Penal Code sec. 182
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LETTER AND NOTICE AND REQUEST TO ADDRESSEES, c/o COUNSEL

This letter and its notices and request, directed in care of counsel, are to:

       John R. Saunders, Saunders Property Company, ICC 35902 LLC, and 3197 Redhill LLC,
       in care of attorneys who indicated they represented one or more of these parties (collectively
       “Saunders”) in the time frame July 2015 – January 2016. [Please note that this letter is copied
       to Mr. Saunders’ current attorney, Mark B. Wilson. We are informed that Mr. Wilson started
       Ms. Saunders’ representation after the facts and events giving rise to the accusation herein.]

       Palm Beach Park Association (“PBPA”), in care of its counsel of record in pending litigation.

       Chicago Title Insurance Company and Fidelity National Title Insurance Co. (collectively
       “Fidelity”), in care of its in-house attorney.

This letter addresses obstruction of justice, violations of Penal Code sec. 182, arising from probable
improper ex parte contact with Hon. Robert J. Moss resulting in Judge Moss having purported to grant
a PBPA objection to Plaintiff Ole Haugen’s C.C.P. 170.6 challenge in the captioned case, Ole Haugen
v. PBPA 30-2015-00819837 (Filed 11/12/15; dismissed without prejudice 3/3/16).

Judge Moss was disqualified, which disqualification he acknowledged in open court on Dec. 1, 2015.
However, on Dec. 21-22, 2015, while on vacation and from outside the court, Judge Moss issued
orders striking Plaintiff Haugen’s 170.6 challenge and reinstating himself back on the Haugen v.
PBPA.

Plaintiffs contend there is probable cause to believe that someone, on behalf of Saunders, PBPA and
Fidelity, improperly contacted Judge Moss ex parte for the specific purpose of requesting that Judge
Moss take over Haugen v. PBPA by reinstating himself as the judge on the case. This would place him
in the position to continue and then deny Plaintiff’s ex parte application for temporary restraining order
(“TRO”). The TRO threatened to stop and restrain the fiduciary fraudulent sale of the Palm Beach
Mobilehome Park (“Park”) to Saunders, which sale would financially benefit Saunders, those in control
of PBPA and Fidelity.

PROBABLE CAUSE TO BELIEVE THERE WAS OBSTRUCTION OF JUSTICE

Please be advised I am counsel to Plaintiff Ole Haugen in this case Haugen v. PBPA (filed 11/12/15;
dismissed without prejudice 3/3/16) to Plaintiffs in the Chodosh action (filed 2010), and to other
interested parties.

In my capacity as Officer of the Court, it is my opinion, following a thorough investigation and fact
and evidence analysis, that probable cause exists to believe that Saunders, PBPA and Fidelity engaged
in conspiracy to obstruct justice within the meaning of California Penal Code §182.



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The “probable cause” standard has been met, such that a reasonable person, apprised of the facts and
evidence, would believe the crime of Obstruction of Justice was committed by those accused herein.
Black’s Law Dictionary defines “probable cause”:

       PROBABLE CAUSE. “Probable Cause” may be defined to be an apparent state of facts found
       to exist upon reasonable inquiry, (that is, such inquiry as the given case renders convenient and
       proper) which would induce a reasonably intelligent man to believe, in a criminal case, that the
       accused person had committed the crime charged, or, in a civil case, that a cause of action
       existed. (Citations omitted)

A Dictionary of Law, Henry Campbell Black, West Pub. Co. 1891, pg. 60.

GRANTING OF OBJECTION TO 170.6 IMPROPER

Facts and events substantiating probable cause largely begin on Nov. 25, 2015 – and continue through
Dec. 28, 2015 in this case. The key facts and events occurred in the time period Dec. 21 – 22 when a
filed but unserved 12/22/15 Minute Order, purported to grant the PBPA 170.6 objection and “take
back” the Ole Haugen case, i.e. the disqualified judge overrules the 170.6 challenge that disqualified
him. A judge disqualified by 170.6 cannot “overrule” the 170.6 and keep himself or herself on the
case, i.e. ignore a proper 170.6 challenge. See, e.g., Code Civ. Proc. §170.6(a)(1), §170.3(c)(5);
Davcon v. Roberts & Morgan (2003) 110 Cal. App. 4th 1355. Accompanying this letter are a
document list / matrix and documents which support probable cause. 1

CHRONOLOGY OF EVENTS AND DOCUMENTS; COURT’S STATEMENTS

The case was filed Nov. 12, 2015. Hon. Randall Sherman was assigned to the case. (Matrix Doc. #1)

On Nov. 16, 2015, based on Notice of Related Case, Judge Sherman reassigned the case to Judge Moss
by order making the reassignment and granting the right to a 170.6 challenge. (#2)

On November 25, 2016, Plaintiff filed 170.6 challenge. (#3)



       1
         For convenience and information, attached is a matrix listing the documents, orders and
transcripts that support probable cause. Attached to the matrix are face sheets or the entire document
showing filing dates for pleadings and orders in Haugen v PBPA, along with transcripts for hearings
Dec. 1 and Dec. 28, 2015 and excerpts from the Grant Deed recorded 12/22/15 at 1:18 p.m. signed by
Diana Mantelli, PBPA Board President. Also attached or provided are the Objection to PBPA
[Proposed] Order and [Proposed] Alternative Order with facts and conclusions of law, along with
Notice of Errata, filed in the Ole Haugen case on March 16 and 17. (Note these pleadings may be sent
by separate second email).


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Presiding Judge C. Margines, on Nov. 30, 2015 reassigned the case to Dept. CX 101, Hon. Gail
Andler. (#4)

On Dec. 1, 2015 Judge Moss conducted a hearing in the Chodosh case in which PBPA sought to
expunge the lis pendens in this case. [See Hearing Transcript, (#5)]

At the hearing, Judge Moss first clarified that the lis pendens PBPA was challenging was the lis
pendens in this case, i.e. Haugen v. PBPA.

        THE COURT: This is the defendant's ex parte to expunge the lis pendens that was recently
        recorded. I believe this lis pendens was recorded in the new case that was filed just this last
        month; correct?

        MR. EVANS: That's right, your Honor. It's a new case, deals with entirely new facts.

(Chodosh, Transcript 12/1/15, pg. 2, lines 12-17)

Judge Moss then stated and acknowledged:

THE COURT: Mr. Evans has filed a 170.6 so I don’t have jurisdiction to rule on this motion.

(Chodosh, Transcript 12/1/15, pg. 2, lines 18-19)

Although Judge Moss stated that he had been disqualified and had no jurisdiction in this case, PBPA
counsel Allen Thomas was persistent. He argued that Judge Moss had authority to expunge the lis
pendens in the Haugen v. PBPA case in the ex parte application PBPA had brought in Chodosh:

        MR. THOMAS: Nothing that Mr. Haugen alleges has any right, title, or interest to the
        property. It's all relating to this election vote that they had to sell the property. There's no causes
        of action that pertain to right, title, interest in the property.

(Id. pg. 3, lines 18-22) In response, Judge Moss stated:

        THE COURT: Let me stop you, Mr. Thomas. I agree with all that. My only hang-up is this new
        action he filed a 170.6 against me. That means I don't have jurisdiction to rule on the new
        action. All these arguments could be made to the judge to which this case is assigned, but I
        don’t have jurisdiction if they file a 170.6.

(Id. pg. 3, lines 23-26, pg. 4, lines 1-3)




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That same day, on Dec. 1, 2015, late in the afternoon, at 5:20 p.m., PBPA filed an Objection to
Plaintiff’s 170.6 challenge. The objection was filed in Dept. CX 101, Judge Andler. (#6)

On Dec. 7, 2015, Plaintiff filed an Opposition to the PBPA Objection. The Opposition was filed in
Dept. CX 101, Judge Andler. (#7)

On Dec. 15, 2015, PBPA filed a demurrer for review and hearing before Judge Andler. (#8)

Thus, upon and from Judge Margines’ Nov. 30, 2015 reassignment of the case to Dept. CX 101, Judge
Andler, the case remained in CX 101 until December 22, 2015, when Judge Moss, calling in from
vacation, purported to strike Plaintiff’s 170.6 and put himself back in the case.

On December 21-22, 2015, Judge Moss was on vacation and not in the courthouse.2 The Haugen case
was not assigned to Judge Moss, but had been reassigned to Judge Andler. It appears that Judge
Andler was not in the court on Dec. 21-22. In any event, the ex parte for TRO was set to be heard in
her courtroom, CX 101. In her absence, it would have been transferred to another judge, but not Judge
Moss, as Plaintiff and moving party had disqualified him as ruled by Supervising Judge Margines. (#4)

On Dec. 21, 2015, Plaintiff gave PBPA notice of the ex parte application for TRO at 9:45 a.m. At
11:02 a.m. Plaintiff filed and served his ex parte application and related papers. (#9) They were filed
and hearing set for the next day, Dec. 22, in Dept. CX 101, Hon. Gail Andler. On Dec. 21, 2015, at
4:54 p.m. PBPA filed an opposition to the TRO application, request for judicial notice and evidentiary
objections. (#10) The opposition and accompanying pleadings were filed with cover / caption pages
showing the court as Dept. CX 101, Hon. Gail Andler.

On the morning of Dec. 22, 2015, I was present for Plaintiff, Saunders and PBPA were present in court
through counsel, with Ed Susolik and Peter Bauman there for John Saunders, and PBPA having in
attendance three attorneys, Cary Wood, Allen Thomas and Domineh Fazel, along with PBPA President
Diana Mantelli, and the PBPA Secretary and Treasurer. (#11) Fidelity was not present. All parties
were informed that the case and hearing on the TRO had been transferred back to Judge Moss. The
parties were directed to appear in Judge Moss’ courtroom, Dept. CX 102.

On Dec. 22 at or around 9:00 a.m. Judge Moss, who was not in the courthouse, communicated with his
Clerk, “directing” her to issue a Minute Order (12/22 9:00 a.m.) which continued the hearing on


       2
          In the Phase IV Chodosh case, on the last day, Dec. 15, 2015, Judge Moss stated: “Ladies and
Gentlemen, I'll take the matter under submission, and it will be a while before you get my decision,
because after this week, I'll be off for two weeks and then come back, so be patient, and I’ll get it to
you as soon as I can.” (Chodosh Phase IV Trial Transcript, 12/15/15, page 632, lines 23-26 and page
633, line 1) On Dec. 22, 2015 in the morning at court, Judge Moss’ Clerk in Dept. CX 102 confirmed
that Judge Moss was not in the courthouse on Dec. 21-22 and that he was on vacation.


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Plaintiff’s ex parte application for TRO to 12/28 and changed the court from Dept. CX 101, Judge
Andler, to Dept. CX 102, Judge Moss. (#11)

Then at 9:29 a.m., Judge Moss issued a Minute Order striking the 170.6 and placing himself back on
the case. (#12)

Neither of Judge Moss’ Minute Orders (12/22 9:00 a.m. and 12/22 9:29 a.m.) were served. The Minute
Orders were in reverse order, with Judge Moss taking action in the case to continue the ex parte
hearing (9:00 a.m.) before he purported to place himself back on the case (9:29 a.m.)

Judge Andler did not grant PBPA’s objection to Plaintiff’s 170.6 objection. CX 101 did not send the
case back to Judge Moss in CX 102. The record is that Judge Moss re-appointed himself, which was
improper, unauthorized, and a void act. (See Objection filed 3/16/16 for authorities and discussion.)

After the morning session and with Judge Moss having placed himself back on the case, that afternoon,
barely four (4) hours after the parties were told that Judge Moss had taken back the case, PBPA and
Saunders closed the Palm Beach Park sale. They recorded a Deed 12/22/15 at 1:18 p.m. (copy of
excerpts of the Deed are included in matrix and in Plaintiff’s Objection to Order filed 3/16/16, see #13)

On Dec. 22, 2015, at 2:35 p.m., even though the sale had already closed, PBPA counsel Cary Wood
filed and served Notice of Continuance of the hearing on the TRO, continuing the matter from 12/22 to
12/28. (#14) There was no reason to continue the TRO hearing, as the sale had closed 12/22.

On Dec. 23, 2015 Judge Moss issued another Minute Order. It stated minimally that “There are no
appearances by any party. Defendant's objection having been granted and peremptory challenge
stricken, this case is reassigned to the Honorable Robert J. Moss for all purposes. Clerk to give notice.”
Judge Moss’ clerk served this Minute Order. (#15) 3

As noted, the clerk had not served the 12/22/15 9:29 Minute Order, (#12) which gave the critically
important detail that Judge Moss himself had stricken the 170.6 against him and placed himself back
on the case from which he had acknowledged (on 12/1) he was disqualified.

       3
          With the case back in Judge Moss’ courtroom, on 12/24/2015 PBPA filed a motion to
expunge the lis pendens. (#16) However, that same day the Secretary of State had suspended PBPA for
failure to comply with filing requirements. As a result, stripped of its corporate powers, PBPA had no
standing to file the motion. On Dec. 28, 2015, Judge Moss denied Plaintiff’s TRO. (Transcript of
Hearing #17, Minute Order denying TRO, #18) Aside from lack of jurisdiction for Judge Moss having
been disqualified, which disqualification he could not, himself, reverse, the 12/28 TRO denial was void
as PBPA, having been suspended, had no right or power to be in court that day. Note that neither Mr.
Wood nor Mr. Thomas, on 12/28, informed the court that the sale had closed, such that there could be
no TRO to stop it. Failure in their duty to prevent a pointless hearing is telling. Why did they conceal
the closing from the court and Plaintiff?


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The unserved 12/22 9:20 a.m. Minute Order provides: “There are no appearances by any party.
Peremptory Challenge pursuant to C.C.P. §170.6 was filed by Plaintiff on 11/25/15, as to the Hon.
Robert J. Moss. Matter was referred to Dept. C1 and case was reassigned to the Hon. Gail A. Andler in
Department CX101. Defendant's Objection to the 170.6 against Judge Moss was filed on 12/01/15. The
Court, having read and considered the objection, now rules as follows: Defendant's objection is
granted. Peremptory challenge is stricken. Clerk to give e-Service notice to counsel.”

The 12/23 Minute Order, (#15) which the Clerk served, for lack of detail, could be viewed to suggest
that Judge Andler had stricken the 170.6. Judge Moss’ 12/22 9:29 Minute Order (#12), not served,
states that Judge Moss himself struck the 170.6 against him, i.e. he ignored and quashed the 170.6
challenge already ruled effective on 11/30/15 by Minute Order of Supervising Chief Judge Charles
Margines. (#4) Judge Moss purported to override the 11/30 Order of Supervising Judge Margines.

PROBABLE CAUSE TO INFER IMPROPER EX PARTE COMMUNICATION

Plaintiffs contend that a reasonable person, apprised of the documents and facts, would conclude it was
not coincidence that Judge Moss, out on vacation, called in to his Clerk to involve himself in Ole
Haugen v PBPA, a case not in his court. Informed of the facts, events and provided the Minute Orders
and other documents, a person would infer and believe that Saunders, PBPA or Fidelity, or some or all
of them, contacted Judge Moss ex parte about the TRO to request that he intervene to make sure
Plaintiff Haugen’s TRO did not stop the scheduled Park sale.

Because of Judge Moss’ statements on Dec. 1 (#5), as of Dec. 21-22 Saunders, PBPA and Fidelity
knew that Judge Moss would rule in their favor and deny the TRO. Thus, as of Dec. 21-22, they had
motive to get the case back before Judge Moss as he was on record that he would deny the TRO.

The narrow time frame, and that Judge Moss was out on vacation, further support probable cause to
believe that, sometime between Dec. 21 around 10 a.m. up until Dec. 22 at 9:00 a.m., Judge Moss
received an ex parte communication about the TRO and an improper request that he take back the case
in order to deny the TRO so the Park sale could go forward as scheduled on Dec. 22.

QUESTIONS AND INQUIRY REGARDING JUDGE MOSS ORDERS DEC. 21-22, 2015

Questions arise, as to which Plaintiffs believe they know the answers, based on information in this
letter and other evidence they have obtained, including:

   1. How did Judge Moss, who was on vacation and not in the court, learn of the 12/21/15 TRO
      application, which was not filed in a case in his court?

   2. Between 12/21 10 a.m. (time of ex parte notice) and 9:00 a.m. on 12/22 (first Judge Moss Order
      continuing TRO hearing #11), when did Judge Moss learn of the application for TRO?


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   3. Who contacted him and told him about the TRO? What did the person(s) say to Judge Moss?

   4. Once apprised of the TRO, how and why did Judge Moss suddenly issue a Minute Order (#12)
      placing himself back on the case, i.e. striking the 170.6 challenge that had disqualified him?

   5. How could Judge Moss suddenly grant the PBPA Objection to the 170.6 three (3) weeks after
      the objection had been filed during which time it was in another court and not granted?

   6. Why was there a second Minute Order, dated and served 12/23/15 (#15), which stated only that
      the PBPA objection to Plaintiff’s 170.6 had been granted and that Judge Moss was back on the
      case?

   7. Why did the 12/23 Minute Order (#15) provide scant information and not state which court had
      stricken the 170.6, while the 12/22 9:29 a.m. Minute Order (#12) recited the 170.6 history and
      indicated Judge Moss had stricken Plaintiff’s 170.6 and put himself back on the case?

   8. Why did the Court Clerk not serve the 12/22 9:29 a.m. Minute Order (#12) stating Judge Moss
      had ruled on the objection, but did serve the 12/23 Minute Order (#15) with its minimal
      information not including that Judge Moss himself had placed himself back on the case?

We believe there is probable cause to assume that the answers to these and similar questions are that
Saunders, PBPA or Fidelity acted to have ex parte communication with Judge Moss and that whomever
of the three had the ex parte communication it was with the knowledge and consent of the others. We
believe it is most probable that Saunders communicated wrongfully with Judge Moss, with PBPA’s
and Fidelity’s knowledge, support and complicity. We make these conclusions based on the court
record, communications, events and interactions on Dec. 21 – 22, and other investigation and
information, only part of which is revealed in this letter.

CONSPIRACY TO OBSTRUCT JUSTICE – VIOLATION OF PENAL CODE §182

Penal Code sec. 182, establishes the crime of conspiracy to obstruct justice. It states in relevant part:
“(a) If two or more persons conspire: (5) To commit any act injurious to the public health, to public
morals, or to pervert or obstruct justice, or the due administration of the laws.” (Emphasis added)

It is probable that only one (1) of Saunders, PBPA or Fidelity wrongfully communicated ex parte with
Judge Moss on 12/21 or 12/22 to inform him that the TRO could obstruct the scheduled sale and
making the request that he intervene to take over the case as he had already stated his view (Transcript
in Chodosh, 12/1) that he would deny Plaintiff Ole Haugen’s TRO and that he believed Ole Haugen
had no rights at the Park. We have probable cause to suspect that Saunders made the ex parte
communication, with the knowledge and consent and support of PBPA and Fidelity.



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There is probable cause to believe that all and each of Saunders, PBPA and Fidelity sought and wanted
Judge Moss to be placed back on the case, as he already indicated he would rule against Plaintiff and
deny the TRO, so that Plaintiff would lose, and that all and each of them communicated with each
other about the communication made and action taken by or more of them to contact and communicate
ex parte to request and have Judge Moss put himself back on the case.

Saunders, PBPA and Fidelity each had financial motive to close the sale. For Saunders, the sale would
yield many millions of dollars in real estate equity taken from PBPA members by use of fiduciary
breaches, fraud and self-dealing perpetrated largely by PBPA President Diana Mantelli.

The sale was not in PBPA’s interest, but its interests were cast aside by its Board President Diana
Mantelli and its attorneys Allen Thomas and Allan Weiss. They used PBPA to achieve their personal
interests. Ms. Mantelli wanted the below market sale to go through to benefit buyer Saunders and his
broker Hensley Realty Corp., with whom she had a prior relationship, and we are informed and believe,
to earn an undisclosed commission. PBPA was to pay PBPA attorneys Messrs. Thomas and Weiss
$300,000 in outstanding legal fees upon closing. For Fidelity the sale would cause its insured lender
Thrivent Financial for Lutherans to have its loan paid off, thereby relieving Fidelity of liability and
exposure on the lender’s title insurance policy it had issued to Thrivent for its $16,100,000 loan.4

Saunders, PBPA and Fidelity were all provided and given notice of the ex parte papers on Dec. 21,
2015. They all knew about the TRO application on Dec. 21. Probable cause is supported by the
timing, as after receiving Plaintiff’s TRO ex parte papers, there was ample time to wrongfully
communicate with Judge Moss in order to request that he intervene to prevent the TRO from stopping
the sale. Further, there is probable cause to assume that whomever communicated ex parte with Judge
Moss, after the ex parte communication, such person advised the others that the ex parte contact with
Judge Moss had occurred. There is probable cause to believe that Saunders, PBPA and Fidelity were
all informed and involved in the wrongful effort to make ex parte contact with Judge Moss for the
purpose of unfairly denying Plaintiff Haugen his right to a hearing on his TRO before the judge
assigned to the case and to avoid, as was his right, the judge he had disqualified for prejudice.

ACCUSATION OF OBSTRUCTION OF JUSTICE BASED ON PROBABLE CAUSE

In summary, please be advised that it is our position and view that there is probable cause to believe
that Saunders, PBPA and Fidelity, and each of them, engaged in conspiracy to obstruct justice within
the meaning of Penal Code §182.


       4
           The Chicago Title Co. Insurance policy held by Thrivent insured enforceability of the deed of
trust for its loan, which deed of trust was invalid and void because of violation of the Subdivided Lands
Law and other real estate laws. (The violations and reasons the Deed of Trust was void were set forth
in numerous pleadings provided to Chicago / Fidelity, e.g. the [Proposed] Fifth Amended Consolidated
Complaint in Chodosh lodged December 2013.)


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REQUEST FOR RESPONSE

Plaintiffs request that each of Saunders, PBPA and Fidelity respond to the accusation (a) individually
as to each of them; and (b) provide any explanation or facts that they believe indicate they did not
conspire as accused herein and that they did not violate Penal Code §182.

We would appreciate any and all explanation or clarification or denial or documents that Saunders,
PBPA, Fidelity or any of them provide. If there are facts or documents that they or any of them believe
would diminish or counter the probable cause we reasonably perceive, please apprise and provide us
with such information and documents.

Plaintiffs request the courtesy of any response within five (5) days, i.e. on or before Monday,
March 28, 2016 at 5:00 p.m.

                                                     Sincerely,




                                                     PATRICK J. EVANS
Attachments:

      Matrix / Grid showing pleadings and Orders filed in Haugen v. PBPA, Nov. – Dec. 2015
       Attached to Matrix: face / caption pages for pleadings in Ole Haugen v. PBPA, showing filing
       dates and times, 12/1/15 transcript from Chodosh v. PBPA, 12/28 transcript in this case; and
       excerpts of Grant Deed and Deed of Trust for the Park sale, Deed recorded 12/22/15 1:18 p.m.

      Objection to [Prop.] Order, [Alt. Prop.] Order and Notice of Errata filed 3/16-17/2016 (Note
       these will be emailed separately in second email)

cc. (With attachments)
        Current Counsel to John R. Saunders. Counsel that we are informed were retained after
        conspiracy and obstruction of justice alleged herein): (copied by email)

       Mark B. Wilson
       Klein Wilson
       4770 Von Karman Avenue
       Newport Beach, CA 90071
       [wilson@kleinandwilson.com]


       Chodosh Plaintiffs (w/ attachments), including Ole Haugen


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      COURT DOCUMENTS, PLEADINGS AND ORDERS FILED, TRANSCRIPTS AND DEED
      Ole Haugen v. Palm Beach Park Association (“PBPA”) OCSC #30-2015-00819837 (filed 11/12/15)
    Case Pleadings Orders Filed, Transcripts Chronology, (date and time if same day) Nov. – Dec. 2015

#     Date Filed: Judicial     Filer    Document Title, Description, Content
      ROA #       Officer      Court
                  Presiding    or
                               Party

1     11/12/15     Sherman,    Haugen Verified Complaint (caption, first page only)
      ROA 2        Plaintiff

2     11/16/15  Sherman        Court    Minute Order Reassigning Case to Judge Moss; Notice of Parties
      ROA 12-13                         Right to file 170.6

3     11/25/15     Moss        Haugen 170.6 challenge and affidavit against Judge Moss
      ROA 18

4     11/30/15     Margines    Court    Minute Order: “A Peremptory Challenge under C.C.P. §170.6 as to
      ROA 22                            the Hon. Robert J. Moss having been filed on 11/25/15 by Plaintiff,
                                        and this matter having been transferred to C1 for reassignment, the
                                        Court now rules as follows: This case is reassigned to the Honorable
                                        Gail A. Andler in Dept. CX 101 for all purposes.”

5     12/1/15      Moss        Haugen Transcript of Hearing to Expunge this case’s Lis Pendens by ex parte
      No ROA       9:00               PBPA filed in Chodosh case. Judge Moss acknowledges he is
      n/a .        hearing            disqualified and has no jurisdiction in this case, Ole Haugen v. PBPA
                                      and that case has been assigned to another judge. Judge Moss also
                                      indicates he “agrees” with PBPA counsel Allen Thomas that Plaintiff
                                      Ole Haugen’s lis pendens should be expunged.

6     12/1         Andler      PBPA     Objection to Plaintiff’s 170.6 challenge
      5:21 p.m.
      ROA 26

7     12/7         Andler      Haugen Opposition to PBPA Objection to 170.6 challenge
      ROA 28

8     12/15        Andler      PBPA     Demurrer, (ROA 53) RJN (34) & Evidentiary Objections
      ROA 33

9     12/21        Andler      Haugen Ex Parte application for TRO to stop Park Sale
      11 a.m.                         (RJN 39) RJN (41) and [Prop.] Order (45)
      ROA 39-
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 10 12/21           Andler          PBPA     Opposition and Objections to application for TRO
    4:54 p.m.
    ROA 56

 11 12/22           Clerk,      Court        Minute Order “Ex Parte Application is continued to 12/28/2015, at
    9 a.m.          “Under the               08:30 AM in this department.
    ROA 52          Direction                Counsel for PBPA will give notice.”
                    of     Hon.
                    Robert J.                Note: Clerk did not serve the Minute Order. PBPA did not serve it
                    Moss”                    with its “Notice of Continuance of Ex Parte, #14 below.

 12 12/22     Moss                  Court    Minute Order (46) “There are no appearances by any party.
    9:29 a.m.                                Peremptory Challenge pursuant to C.C.P. §170.6 was filed by Plaintiff
    ROA 46-47                                on 11/25/15, as to the Hon. Robert J. Moss. Matter was referred to
                                             Dept. C1 and case was reassigned to the Hon. Gail A. Andler in
                                             Department CX101. Defendant's Objection to the 170.6 against Judge
                                             Moss was filed on 12/01/15. The Court, having read and considered
                                             the objection, now rules as follows: Defendant's objection is granted.
                                             Peremptory challenge is stricken. Clerk to give e-Service notice to
                                             counsel.”
                                             Clerk Cert. of Service (ROA 47)

 13 12/22           Saunders        n/1      Excerpts of Grant Deed and Deed of Trust for the Park Sale. The Park
    1:18 p.m.       PBPA                     Sale closes, PBPA Grant Deed, signed by Mantelli, purporting to
                                             convey Park to Saunders’ entities, is recorded.

 14 12/22           Moss            PBPA     Notice of Continuance of Ex parte hearing
    2:35 p.m.
    ROA 64

 15 12/23     Clerk,      Court              Minute Order “There are no appearances by any party. Defendant's
    ROA 67-68 “Under the                     objection having been granted and peremptory challenge stricken, this
              Direction                      case is reassigned to the Honorable Robert J. Moss for all purposes.
              of     Hon.                    Clerk to give notice.”
              Robert J.
              Moss”

 16 12/24/15        Moss            PBPA     Notice and Motion to Expunge Plaintiff’s lis pendens

 17 12/28/15        Moss            Haugen Transcript of Hearing on Plaintiff’s Application for TRO. Judge Moss
    No ROA          8:30                   denies the TRO.
    n/a             hearing

 18 12/28           Moss            Court    Minute Order - Ex parte hearing result, TRO denied, etc.
    ROA 73

Prepared by P. J. Evans 3/23/2016



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                            Law Office Of Patrick J. Evans
                                  16897 Algonquin Street, Suite F
                                   Huntington Beach, CA 92649
                           Tel.: (714) 594 – 5722; Fax: (714) 840 – 6861
                              E-mail: pevans@pevanslawoffice.com

                                          March 24, 2016



PALM BEACH PARK ASSOCIATION c/o its counsel:

Cary S. Wood                                               By email
Domineh Fazel
Lewis Brisbois Bisgaard & Smith, LLP                      [woodc@lbbslaw.com]
633 West 5th St., Suite 4000                              [domineh.fazel@lewisbrisbois.com]
Los Angeles, CA 90071




Re: Ole Haugen vs. Palm Beach Park Association, #30-2015-00819837; FOLLOW UP ON
    NOTICE OF PROBABLE CAUSE FOR ACCUSATION OF OBSTRUCTION OF JUSTICE,
    PENAL CODE §182; 12/21/22 EX PARTE COMMUNICATION THROUGH COURT
    ALTERED TRO OPPOSITION FILED BY PBPA

Dear Mr. Wood and Ms. Fazel:

This letter is directed to Palm Beach Park Association (“PBPA”) counsel Mr. Cary Wood and Ms.
Domineh Fazel, and is copied to PBPA’s other counsel and counsel for John R. Saunders, Saunders
Property Company, ICC 35902 LLC, and 3197 Redhill LLC, (collectively “Saunders”) and
Chicago Title Insurance Company and Fidelity National Title Insurance Co. (collectively
“Fidelity”), in care of its in-house attorney. This letter follows up on our letter of yesterday
regarding probable cause to find obstruction of justice, violations of Penal Code sec. 182, arising
from what we contend are probable improper ex parte contacts with Hon. Robert J. Moss.

On Dec. 21, 2015, at 9:45 a.m. Plaintiff Ole Haugen gave notice of his application for temporary
restraining order “(TRO”) to stop the sale of the Park to Saunders on the basis that PBPA Board
President Diana Mantelli had an undisclosed relationship with Saunders and given the overall
complete breach of fiduciary duties (e.g. selling the Park without marketing or listing it for sale,
use of 2 year old appraisal, ignoring other offers, etc.) At 11:00 a.m. Mr. Haugen filed and served
his ex parte papers for the TRO.

That same day, Dec. 21, 2015, at 4:54 a.m., we received service copies of the PBPA opposition to
Plaintiff Ole Haugen’s ex parte application for TRO. Accompanying the Opposition were a
Request for Judicial Notice (“RJN”) and four (4) objections to the declarations in support of the
TRO, i.e. objections to the TRO application supporting declarations of Bonnie Harris, Ole Haugen,
Patricia M. Worthington, and Patrick Evans.

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A true and correct copy of the caption / face page of each of these pleadings, received by 12/21/15
electronic service, are attached hereto. Appended to the back of the six (6) caption / face pages are
the electronic service email from One Legal.

Earlier this week we downloaded the filed TRO Opposition documents from the court website. A
true and correct copy of the caption / face pages of each of these pleadings, received by download
from the court “case access” web site earlier this week, on March 21-22, 2016, are attached hereto.
Appended to the back of the six (6) caption / face pages are the payment confirmation and
document download screens from the OCSC website.

Please compare the served documents’ face pages with those for the filed, i.e. downloaded copies.
Obviously the filed copies have the court stamp in the upper right hand corner, showing the filing
date and time of 12/21/15 at 4:55 p.m. (one minute after the time on the served copies email
transmittal). Normally the court stamp on the filed document would be the only difference when
compared to the served document. When filed, usually the Clerk does nothing to the document
except to stamp it “filed”.

However, as the attachments reveal, as of 12/21/15 at 4:55 p.m., the filed TRO Opposition
documents had been altered to change the judicial officer and courtroom for the hearing from Hon.
Gail A. Andler in Dept. CX 101 to Hon. Robert J. Moss in CX 102 and to change the hearing date
from 12/22/15 before Judge Andler to 12/28/15 before Judge Moss. The filed Opposition and
RJN have the hearing courtroom and dates changed, but no striking of Judge Andler’s name. The
four (4) filed objections to the four (4) declarations have the courtroom and hearing date changed,
and Judge Andler’s name is crossed out. None of the documents have a change inserting Judge
Moss’ name.

We reviewed this matter with the Clerk’s office. We are advised that the Clerk, on instruction
from the court, changed the judicial officer and court and the hearing date and that the Clerk made
such changes before filing the documents. Once documents are filed, they are court records and
cannot be altered.

However, it is possible for the clerk, in this case we are told the E-filing clerk, to change hearing
places, dates and times on the face of a document before filing it, where the hearing place, date has
changed and the clerk has received instructions from the court to make the changes on the
submitted document before filing it. Therefore, in this situation, the Clerk, based on instructions
from the court, changed the court hearing the matter and continued the hearing date by making
changes to the document face pages, then filed the altered documents.




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The filed documents, compared to the served documents, provide probable cause to believe that, on
12/21/15, Judge Moss or someone acting at his direction, told the E filing Clerk to make the
change of judicial officer, courtroom and hearing date. Thus, it appears and there is probable cause
to believe that on Dec. 21 one or more of Saunders, PBPA or Fidelity (using the names and
definitions from yesterday’s letter 3/23/15) engaged in the unlawful ex parte communication with
Judge Moss to request that he take back the case and continue the 12/22 a.m. TRO hearing, so as to
prevent the TRO from affecting the already scheduled 12/22 closing of the Park sale to Saunders.

As the attorneys’ filing and serving the documents, you received confirmation that the court filed
the documents. Through the One Legal filing facility, you received an email stating that the
documents were “accepted” and a Notice of Confirmation of the filing.

Further, after the clerk filed the documents, copies of the documents as filed were transmitted to
One Legal and made available to the filing party, in this case Lewis Brisbois, Bisgaard & Smith
LLP, its attorneys Mr. Cary Wood and Ms. Domineh Fazel. It appears that you received
confirmation of the filed “accepted” documents, and the filed documents themselves sometime in
the evening of Dec. 21, 2015, along with the “Notice of Confirmation of Filing”.

In this highly unusual situation, you did not get back the same documents you filed with just a
court file stamp added. You received from the court documents that were not identical to those
you filed and served, and which had the critical and basic information that the judicial officer and
court hearing the matter had changed and that the hearing date had been continued. What you
served was not what was filed. As of 12/21 you know what you served was not what was filed.

There is probable cause to believe that your receipt of these altered filed documents, with the
information from the alternation, exhibits an improper ex parte communication with the court and
in particular Judge Moss. In fact, your receipt of the altered documents appears to have constituted
an ex parte communication from Judge Moss to PBPA. You received altered documents indicating
a changed court and hearing date, which documents were not simultaneously served on Plaintiff.

Perhaps you could have obviated the ex parte communication somewhat by immediately serving
Plaintiff with the changed documents, or at least the cover pages. However, at no time did you
serve the altered filed documents on Plaintiff so that Plaintiff had the same information as
Defendant about the changed courtroom and hearing date.

Rather, after the Clerk had already, on the morning of 12/22, informed the parties of the changed
court and continuance, you then, at 2:35 p.m., gave notice of the change in court from Judge
Andler to Judge Moss and the continued hearing date. You knew the previous day on 12/21 of the
courtroom change and the continuance, but you did not communicate what you had learned ex
parte from the court to the Plaintiff. Moreover, your “notice” came after the sale closed.



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Also telling is that the clerk filed your Opposition Documents with changed judicial officer, court
and hearing date, on Dec. 21, 2015, before there had been any order purporting to place Judge
Moss back on the case. Judge Moss did not put himself back on the case until the next day, Dec.
22, when he entered the Order (albeit void) at 9:29 a.m. stating he had granted the three (3) week
old (filed 12/1) PBPA Objection to Plaintiff’s 170.6 disqualification of him. (Yesterday’s letter
provided you detail about that order and had an attachment that included a copy of the order).

Your TRO Opposition documents were filed with changed court and hearing date BEFORE Judge
Moss’ invalid Orders transferring the case from Judge Andler to himself and continuing the
hearing. (12/22/15 Orders, 9:00 and 9:29 a.m.; see letter of yesterday and attachments for copies of
the Orders.)

The Clerk’s alteration and sending back to you the changed Opposition documents provide
probable cause to believe that:

       (1) The initial unlawful ex parte communication(s) with Judge Moss, requesting that he
       intervene to prevent the TRO from stopping the Park sale scheduled for 12/22, occurred on
       12/21;

       (2) On 12/21, through the altered Opposition, Judge Moss communicated to PBPA, (and
       through it with Saunders and Fidelity, as all were alleged conspirators) that he had taken
       back the case and continued the hearing;

       (3) Saunders, PBPA and Fidelity had full knowledge, as of 12/21, that the objective of their
       alleged conspiracy had been and would be met, i.e. that the fiduciary fraudulent sale of the
       Park would not be impeded by the threatened TRO hearing on 12/22;

       (4) On 12/21 they knew that Plaintiff had been denied the information that Judge Moss had
       taken back the case and continued the TRO hearing.

LBBS associate attorney Ms. Fazel prepared and signed the PBPA TRO Opposition documents
with Mr. Wood as the supervising partner. You received the filed and altered documents from the
court. There is probable cause to believe that both of you, Mr. Wood and Ms. Fazel, as PBPA
attorneys and agents, engaged in conspiracy to obstruct justice. Based on current investigation and
information, it does not appear that either of you initiated the unlawful ex parte communications.
However, it is our view that the altered filed Opposition documents, which you received back
through One Legal on 12/21, along with other facts, provide ample evidence of probable cause to
believe that each of you, for PBPA, engaged in conspiracy in violation of Penal Code sec. 182.




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Keep in mind that we have requested a response from Saunders, PBPA and Fidelity by 5:00 p.m.
Monday, 3/28/16. If you have a response, comment, explanation, denial or other information that
you contend helps to absolve you of our charges herein that there is probable cause to believe you,
as PBPA attorneys and agents, personally engaged in conspiracy to obstruct justice, please provide
it by that deadline.

Meanwhile, we request that by noon 12:00 p.m. tomorrow, March 25, 2016, that you provide the
date and time that you received the Notice of Confirmation of filing for the PBPA TRO Opposition
from the Clerk, i.e. the date and time that the court “accepted” the TRO opposition documents.

There is nothing privileged about the date and time that counsel received confirmation of a court
document filing. Again, please provide the information and a copy of the “Notice of
Confirmation” of filing from One Legal by Noon tomorrow.

Be advised that our investigation into these serious matters continues. Therefore, our views and
statements are subject to change based on new information. Nothing herein or in any
correspondence shall be viewed or construed as a waiver or concession of any right or remedy.

                                                  Sincerely,




                                                  PATRICK J. EVANS



Attachments:

    PBPA Opposition to TRO application in Haugen v. PBPA, served 12/21/15, 4:54 p.m.

    PBPA Opp. to TRO application as filed in the court, with changes, 12/21/15, 4:55 p.m.

cc. (with attachments, by email; see next page)




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cc:

JOHN R. SAUNDERS, SAUNDERS PROPERTY COMPANY,
ICC 35902 LLC AND 3197 REDHILL LLC (collectively “Saunders”)

c/o attorneys indicated as their Counsel at relevant time period July 2015 – January 2016:
(Current counsel for Mr. Saunders [post events] copied as “cc”, see below)

 Edward Susolik                 Robert S. Coldren                Lisa G. Salisbury
 Peter S. Bauman                Coldren Law Offices, APLC        Salisbury Law Group, APLC
 Callahan & Blaine              [rcoldren@coldrenlawoffices.com] [lsalisbury@slg.tc]
  [ES@callahan-law.com]
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Current Counsel to John R. Saunders:

Mark B. Wilson
Klein Wilson
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PALM BEACH PARK ASSOCIATION, OTHER COUNSEL:

Allen L. Thomas, Allan B. Weiss and Sivi Pederson,     Jeffry A. Miller and Arezoo Jamshidi
Thomas Law Firm Inc. & Allan B. Weiss & Assoc.         Lewis Brisbois Bisgaard & Smith, LLP
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J. John Anderholt III
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CHICAGO TITLE COMPANY AND FIDELITY NATIONAL TITLE COMPANY c/o counsel

Thomas E. Dias
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Chodosh Plaintiffs (w/ attachments), including Ole Haugen

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                             Law Office Of Patrick J. Evans
                                   16897 Algonquin Street, Suite F
                                    Huntington Beach, CA 92649
                            Tel.: (714) 594 – 5722; Fax: (714) 840 – 6861
                               E-mail: pevans@pevanslawoffice.com

                                        March 29, 2016
JOHN R. SAUNDERS                                             BY EMAIL [Addresses]
SAUNDERS PROPERTY COMPANY
ICC 35902 LLC AND 3197 REDHILL LLC
c/o Attorneys Indicated as their Counsel at relevant time period July 2015 – January 2016:
(Current counsel for Mr. Saunders [post events] copied as “cc”, see last page)
Edward Susolik                   Robert S. Coldren                    Lisa G. Salisbury
Peter S. Bauman                  Coldren Law Offices, APLC            Salisbury Law Group, APLC
Callahan & Blaine                3 Hutton Centre Dr. Ste. 900         3720 S Susan St. Ste. 110
3 Hutton Centre Drive, 9th Fl.   Santa Ana, CA 92707                  Santa Ana, CA 92704
Santa Ana, CA 92707              [rcoldren@coldrenlawoffices.com]     [lsalisbury@slg.tc]
[ES@callahan-law.com]
[pbauman@callahan-law.com]

PALM BEACH PARK ASSOCIATION c/o its counsel
Cary L. Wood and Domineh Fazel                              J. John Anderholt III
Lewis Brisbois Bisgaard & Smith, LLP                        Anderholt Whittaker
633 West 5th St., Suite 4000                                73-525 El Paseo Drive, Suite E2516
Los Angeles, CA 90071                                       Palm Desert, CA 92260
[woodc@lbbslaw.com]                                         [john@anderholtwhittaker.com]
[domineh.fazel@lewisbrisbois.com]
Allen L. Thomas, Allan B. Weiss and Sivi Pederson,          Jeffry A. Miller and Arezoo Jamshidi
Thomas Law Firm Inc. & Allan B. Weiss & Assoc.              Lewis Brisbois Bisgaard & Smith, LLP
5001 Airport Plaza Drive, Suite 240                         701 B. St., Suite 1900
Long Beach, CA 90815                                        San Diego, CA 92101
[thomaslawfirm@aol.com; allan@weisslawassociates.com        [Jeff.Miller@lewisbrisbois.com]
sivi@weisslawassociates.com]                                [Arezoo.Jamshidi@lewisbrisbois.com]

CHICAGO TITLE COMPANY AND FIDELITY NATIONAL TITLE COMPANY c/o counsel
Thomas E. Dias
Fidelity National Law Group
915 Wilshire Blvd., Ste. 2100
Los Angeles, CA 90017
[Tom.Dias@fnf.com]
Re: Ole Haugen vs. Palm Beach Park Association, #30-2015-00819837; NOTICE OF SAUNDERS,
    PBPA AND FIDELITY ADOPTIVE ADMISSION TO ACCUSATION OF OBSTRUCTION
    OF JUSTICE, PENAL CODE §182; REQUEST FOR RESPONSE FROM THEIR COUNSEL

Dear Counsel:


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Saunders, PBPA and Fidelity and their counsel (counsel specified on first page)
Re: Saunders, PBPA and Fidelity Adoptive Admission of Accusation of Obstruction of Justice, P. C. §182;
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This letter and its notices and request, are directed to the following entities and counsel for the
following entities, with such counsel being specifically identified on the first page hereof:

       John R. Saunders, Saunders Property Company, ICC 35902 LLC, and 3197 Redhill LLC,
       in care of attorneys who indicated they represented one or more of these parties (collectively
       “Saunders”) in the time frame July 2015 – January 2016. [Please note that this letter is copied
       to Mr. Saunders’ current attorney, Mark B. Wilson. We are informed that Mr. Wilson started
       Ms. Saunders’ representation recently, weeks after the facts and events at issue.]

       Palm Beach Park Association (“PBPA”), in care of its counsel of record in pending litigation.

       Chicago Title Insurance Company and Fidelity National Title Insurance Co. (collectively
       “Fidelity”), in care of its in-house attorney.

Please be reminded that I am counsel to Plaintiff Ole Haugen in this case Haugen v. PBPA 30-2015-
00819837 (filed 11/12/15; dismissed without prejudice 3/3/16) to Plaintiffs in the consolidated action
Chodosh v. PBPA 30-2010-00423544 (filed 2010), and to other interested parties.

On March 23, 2016 Saunders, PBPA and Fidelity received our letter and its attachments concerning
Plaintiffs’ assertion of probable cause to allege obstruction of justice, violations of Penal Code §182,
arising from alleged improper ex parte contact with Hon. Robert J. Moss resulting in Judge Moss
having purported to grant a PBPA objection to Plaintiff Ole Haugen’s C.C.P. 170.6 challenge in Ole
Haugen v. PBPA.

The March 23 letter requested that the Saunders, PBPA and Fidelity entities respond, including any
denial or refutation, by 5:00 p.m. on Monday, March 28, 2016. They did not respond.

Please be advised that, for failure to deny the serious accusation of probable cause to believe they
committed the crime of conspiracy to obstruct justice, that Plaintiffs contend each and all of Saunders,
PBPA and Fidelity, the legal entities as defined herein, have adoptively admitted their commission of
the crime of conspiracy to obstruct justice.

In the context of accusations of crime or probable cause to believe the accused committed a crime, the
failure of the accused to deny can be an adoptive admission. Evid. Code §413. See, Salinas v. Texas
570 U.S. __, 133 S. Ct. 2174 (2013), People v. Tom (2014) 59 Cal. 4th 1210 (Defendant’s silence as
evidence of guilt). In People v. Riel (2000) 22 Cal. 4th 1153, 1187-1189, the California Supreme Court
held that a failure to deny when a “reasonable person would speak out” is an adoptive admission. By
not denying the charge of probable cause to believe they committed and conspired to commit
conspiracy to obstruct justice, we contend the specified legal entities defined above as Saunders, PBPA
and Fidelity, have adoptively admitted to conspiracy to obstruct justice, violation of P.C. §182.


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Saunders, PBPA and Fidelity and their counsel (counsel specified on first page)
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While the legal entities Saunders, PBPA and Fidelity did not deny the charge of probable cause to
believe they committed the crime, and we contend therefore have adoptively admitted to the charges,
purported PBPA attorney Allen Thomas1 sent a letter dated March 25, 2016 in which he denied the
accusation as to himself personally and no one else. (Copy of letter attached)2

Mr. Thomas correctly points out that PBPA, as a corporation, can only appear in court through
counsel.3 However, his denial is not made for or on behalf of PBPA, but only as to himself personally.
In any event, Plaintiffs contend that he and his colleagues never had and do not have any authority or
right to act for PBPA. (See footnote 1)

In that Mr. Thomas, for himself as an attorney, saw fit to deny the accusation of probable cause to
believe that he personally engaged in conspiracy for obstruction of justice, we believe it appropriate to

       1
          Please note that Plaintiffs have stated and maintained throughout the Chodosh and related
litigation that Mr. Thomas, his colleagues Mr. Allan Weiss, and Ms. Sivi Pederson, and their firms,
Allan B. Weiss & Associates and the Thomas Law Firm, do not and have never represented PBPA.
Individual directors J. Wiley et al., sued by PBPA member Ole Haugen as derivative plaintiff in the
action Haugen v. Wiley, et al. 30-2010-00432259, retained such counsel in 2011. Later as of Sept.
2012 such counsel purported to represent PBPA, filing on its behalf a cross complaint, even though
doing so made them adverse to their original clients J. Wiley et al. By representing the former Board
and PBPA they represented both sides in the same litigation. The record shows that (i) such counsel
never obtained a conflict waiver, assuming but not conceding that such waiver would remedy the
conflict and (ii) that counsel takes the position there was no conflict such that they could represent
derivative action defendants J. Wiley et al. and at the same time represent PBPA. For convenience, in
this and other correspondence and in pleadings, such counsel are referred to as counsel to PBPA.
However, Plaintiffs have previously stated and asserted in many pleadings and in open court, and
hereby repeat, that it has always been and remains their position that Mr. Thomas and colleagues have
not and do not effectively and actually represent PBPA due to fatal conflicts of interest that they refuse
to acknowledge, must less rectify by ceasing the representation and withdrawing from the litigation.
Plaintiffs’ position has been asserted and preserved in numerous times. For the record, Plaintiffs’
objection to such counsel purporting to act or contending they act for PBPA is repeated and reaffirmed.
       2
          Plaintiffs do not respond to the self-serving and misguided factual inaccuracies and
misstatements of law set forth in Mr. Thomas’ letter, but may do so in the near future if necessary or
appropriate. Except for the letter’s communication of Mr. Thomas’ denial for himself personally,
(letter page 1, lines 4-6 and pg. 4, italics) and the correct statement that PBPA must appear in court
through counsel, Plaintiffs dispute and refute and deny everything Mr. Thomas’ letter states or asserts.
       3
         Mr. Thomas states: “. . . you well know that Palm Beach Park Association can only appear in
court through counsel.” (pg. 4, 4th paragraph, 1st sentence)


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Saunders, PBPA and Fidelity and their counsel (counsel specified on first page)
Re: Saunders, PBPA and Fidelity Adoptive Admission of Accusation of Obstruction of Justice, P. C. §182;
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afford the same opportunity to deny to other counsel for PBPA and to counsel for Saunders and
Fidelity. While the legal entities have already adoptively admitted to conspiracy to obstruct justice,
and while we contend it could be argued that their counsel also adoptively admitted for failure to deny,
for clarification and to establish the record Plaintiffs believe that such entities’ counsel, identified on
the first page of this letter, and subject to the footnotes 1 and 3 caveats, should be afforded the right and
opportunity to deny the charge of probable cause to believe that such counsel engaged in conspiracy to
obstruct justice as described in the March 23, 2016 letter and its attachments and the March 24 letter.

Mr. Thomas’ putative PBPA counsel colleagues, together with Mr. Wood, Ms. Fazel, Mr. Miller, Ms.
Jamshidi and Mr. Anderholt (whose status as counsel to PBPA Plaintiffs do not challenge) must keep
in mind that the PBPA Opposition to the TRO which PBPA attorney Ms. Fazel filed and served on
12/21/15, which was returned to her in altered state and through her to all PBPA counsel, was an ex
parte communication from Judge Moss. The filed Opposition included handwritten changes that
purported (i) to reflect removal of the case from Hon. G. Andler and reassignment of it to already 170.6
disqualified Hon. R. Moss; (ii) to change the hearing from court dept. CX 101 to CX 102 and (iii) to
grant continuance of hearing date from 12/22 to 12/28. Court Clerk return of the altered documents to
PBPA counsel constituted an ex parte communication from Judge Moss to PBPA counsel. My letter of
March 24, 2016 to Ms. Fazel and Mr. Wood, copied to other counsel, provides detail and documents
about this improper ex parte communication between Judge Moss and PBPA. It should be noted that
Ms. Fazel and Mr. Wood have not refuted or denied the content and charges of the March 24, 2016
letter, which we take as another adoptive admission. Meanwhile, they have refused to indicate when,
on Dec. 21, they received the Opposition with the court’s changes and to provide the email with Notice
of Confirmation of Filing. We have renewed our request for the information and Notice.

Therefore, when Mr. Thomas says in his letter that “I have never had an ex parte communication with
Judge Moss . .” (pg. 4, 4th par. underline added) such statement is false because through his co-
counsel to PBPA, who he asserts to represent along with his colleagues and Mr. Wood, Ms. Fazel, et
al., there was an ex parte communication when Judge Moss caused the PBPA Opposition to the ex
parte TRO application to be modified on 12/21 and communicated only to PBPA through its counsel.

Apart from such ex parte communication, established by the court record and not denied by Saunders,
PBPA or Fidelity, Plaintiffs request that each of Mr. Weiss, Ms. Pederson, Mr. Wood, Ms. Fazel, Mr.
Miller and Ms. Jamshidi assert and state, if they can, denial of having committed or participated in any
other ex parte communication or act that was part of the alleged conspiracy to obstruct justice.

Similarly, Plaintiffs request that each of Edward Susolik, Peter Bauman, Robert Coldren, Lisa
Salisbury, counsel to Saunders, and Tom Dias, counsel to Fidelity, state and assert their denial, if they
can, as to any involvement or participation in the alleged conspiracy to obstruct justice as described in
the March 23, 2016 letter and its attachments and the follow up March 24 letter.




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Saunders, PBPA and Fidelity and their counsel (counsel specified on first page)
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Plaintiffs request that each of such counsel for Saunders, PBPA and Fidelity respond (a) individually as
to each of them; and (b) provide any explanation or facts that they believe indicate they or any of them
did not participate in a conspiracy to obstruct justice under Penal Code §182 as described in the March
23, 2016 letter and its attachments and our letter dated March 24.

We would appreciate any and all explanation or clarification or denial or documents that counsel to
Saunders, PBPA, Fidelity or any of them care to provide.

Moreover, in general, if there are facts or documents that Saunders, PBPA, Fidelity or their counsel or
any of them believe would diminish or counter the probable cause we believe we reasonably perceive
of conspiracy to obstruct justice, please apprise and provide us with such information and documents.

Plaintiffs request the courtesy of receiving any denial, refutation, comment or documents within three
(3) days, i.e. on or before this Friday, April 1, 2016 at 5:00 p.m.


                                                    Sincerely,




                                                    PATRICK J. EVANS



Attachment: PBPA Counsel Allen L. Thomas’ letter dated March 25, 2016 to Patrick J Evans

cc. (Sent separately; with attachment, by email)
        Current Counsel to John R. Saunders:

       Mark B. Wilson
       Klein Wilson
       4770 Von Karman Avenue
       Newport Beach, CA 90071
       [wilson@kleinandwilson.com]


       Chodosh Plaintiffs (w/ attachment), including Ole Haugen



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          6/19/16   Department of Business Oversight, PBPA Consent Decree




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               01/04/14 PBPA Ballot Increase Dues $400 / mo. for legal fees




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              05/09/15 Park Sale Promotion Materials for HOA members
              05/01/15 Saunders Letter of Intent
              06/18-19 Follow up promotion, Saunders letters 6/18 & 6/19/2015
              06/21/15 PBPA Board Letter Recommending Saunders sale




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                                         COMPLAINT

                                         EXHIBIT – M




                  11/30/15 Hometown America, cover letter to Mantelli

                  11/30/15 Hometown America, higher offer to buy Park




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November 30,
         3 2015

PALM BEA  ACH PARK ASSOCIATIO
                        A       ON
c/o Diana Mantelli,
          M         Presiident
101 Palm Drr.
San Clementte, CA 92672  2-3647

Dear Diana:

We have become aware that you aree considering      g a sale of PPalm Beach Park and waant to expresss our
strong intereest in acquiiring the com mmunity. Hometown
                                                    H            AAmerica is a well-knowwn and resppected
manufactureed housing community
                         c            owner
                                      o       and operator
                                                   o         in sseveral statess. We ownn 15 propertiies in
California, inncluding Lagguna Terracee not too far from
                                                    f     you in Laguna Beacch. As an inntroduction, bbelow
is a brief history and overview of Hommetown Ameerica (www.hhometownam       merica.com).

Founded in 1997, Hom    metown is a private real estate invesstor based inn Chicago. Since 20022, the
company haas been owneed and operaated by the management
                                                    m             t team with Washington State Investtment
Board (“WS  SIB”) as our sole investorr. We operaate under a loong-term opeerating agreeement with W    WSIB
which has coommitted mo  ore than $1 billion of equiity to our entterprise. Todday, our portfolio is compprised
of 50 commmunities valueed at more thhan $2 billionn. Our assetts are primariily high quallity, age-restrricted
communitiess concentratted in Califfornia, the Northeast,
                                                   N             F
                                                                 Florida, and Chicago. As evidencce of
Hometown America’s aggressive
                         a           acquisition
                                     a             appetite,
                                                   a           we have purchhased sevenn communitiies in
            hus far in 201
California th            15.

Once Homettown Americca became aw      ware that Palmm Beach Parrk was for salle, we did ouur research. B  Based
on current market
             m       condiitions and ou ur understan
                                                   nding of the prior offer the HOA coonsidered, w       we are
presenting th he enclosed offer to purcchase Palm Beach
                                                      B      Park. As illustratted in the leetter of intennt, our
offer will net the residentt association $2.275 milliion (approximmately $20,0000 per membber) more thaan the
other offer under
             u      consideeration. As you review, please take notice that oours is an alll-cash offer w   which
enhances surrety of a quiick closing. We are awaare of the cuurrent litigatiion, and havee experiencee with
these types of issues. After
                         A       reviewiing the publiically availabble informattion, we expect to resolvve the
litigation in conjunction
              c            with
                           w the sale.

We know th hat time is off the essencee, and that a sale is a priiority for thee members annd residents.. We
pledge to moove as rapidlly as possiblee to bring thee sale to a coonclusion thaat will benefiit all involved and
allow the reesidents to enjoy
                         e      and liive in a com  mmunity thaat is well ruun and well maintained by a
professional managemen nt company.

Please contaact me with any
                         a questionss. I am also free to meet you at the community too present ourr offer
in more detaail and answeer any questio
                                      ons you migh
                                                 ht have. I loook forward too hearing from you.

Best regardss,


Doug Minah han
Vice Presideent, Acquisitiions
(312) 604-75574
dminahan@h  hometownam  merica.com


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November 30,
         3 2015

PALM BEA  ACH PARK ASSOCIAT    TION
c/o Diana Mantelli,
          M         Pressident
101 Palm Dr.
          D
San Clemennte, CA 9267 72-3647

RE: Palm Beach
         B     Park, San Clemebte, CA (the “Property”)
                                           “

Dear Diana::

The purposee of this lettter is to con
                                     nfirm the innterest of Hoometown A America, L.L  L.C. or one of its
affiliates (“P
             Purchaser”) in acquiringg the entire fee simple aand leaseholld interests iin the Property, a
manufactureed housing community
                        c             with 126 sittes in San C
                                                             Clemente, CA  A. The Purrchaser wouuld be
buying the improvemeents thereon    n, all easem ments and aappurtenancees thereto, and all perrsonal
property in ncluding invventory hom  mes used or o useful inn connectioon with thee operationn and
maintenancee of the imprrovements (ccollectively, the “Properrty”).

The following is a summ         me of the majjor points off the Purchasser’s expresssion of interest in
                      mary of som
purchasing the
           t Property y:

   1.          Purchase Price:
                          P      $38,2
                                     250,000, lesss a $2,0000,000 creditt to cover litigation iissues
               (“Indemnifiication Cred
                                     dit”) and a $605,000
                                                  $         creedit for threee months off free rent. T
                                                                                                     These
               credits mirrror your prior offer. In additioon, Hometow       wn will paay 100% of the
               prepaymentt penalty asssociated withh the payofff of the existting loan annd the associiation
               will not be responsible for a sales commission
                                                   c            since Homeetown is not representedd by a
               broker. Therefore, our net purchasse price of $$35,645,000 exceeds yoour previous offer
               by $2,275,0000, or approximately $20,000 per m   member. B  Below is a taable summarrizing
               Hometown’’s offer and the
                                      t net proceeeds payablee to the comm   munity:

                      Gross Purchase Price
                                       P                                           $38,250,000
                      Less: Litigation Credit
                                       C                                          ($2,0000,000)
                      Less: Three Mon nths Free Ren  nt                             ($6055,000)
                      Less: Debt Repay yment Fee (H  Hometown to ppay this)                  $0
                      Less: Broker Feee (no broker invvolved)                                $0
                      Net Purchase
                          P         Price to the Co ommunity                       $35,645,000


   2.                   oney Depossit: $350,00
               Earnest Mo                    00 will be paid at tim
                                                                  me of signinng the Purcchase
               Agreement (as defined below).
                                     b

   3.          Contract annd Closing: Upon
                                       U    Seller’s acceptancee of this lettter, Purchaseer will comm
                                                                                                     mence
               preparation of a definiitive purchaase and salee agreement in a form customary for a
               transaction of this size and
                                        a type (thee “Purchase Agreement””).


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   4.       Inspection Period: Purchaser shall have thirty (30) days after execution and delivery of
            the Purchase Agreement to cause one or more attorneys, engineers, auditors, architects
            and other experts of its choice and at Purchaser’s expense to (i) inspect the Property and
            any documents related to the Property, and (ii) inspect, examine, survey, obtain
            engineering inspections, appraise and otherwise do that which, in the opinion of
            Purchaser, is necessary to determine the condition and value of the Property for the uses
            intended by Purchaser. Purchaser understands and agrees that the information obtained
            pursuant to such inspection shall be kept in confidence and shall not be revealed to
            outside parties other than to its lenders, attorneys, accountants, investors, principals,
            affiliates or clients or as otherwise required by law or for any valid business purpose of
            Purchaser.

   5.       Closing Date: The closing date of the purchase and sale of the property shall be twenty
            (20) days after the Inspection Period.

   6.       Real Estate Commission: Seller and Purchaser acknowledge that Seller is responsible
            for commissions payable in this transaction, if any. Purchaser has not engaged a broker
            in conjunction with this transaction.

   7.       Closing Costs: Seller shall be responsible for all transfer taxes, closing fees and other
            expenses due from or incurred by Seller in connection with the transaction.

   8.       Certain Warranties: The Purchase Agreement shall contain customary representations,
            warranties, indemnities or other satisfactory assurances.

   9.       Prorations: Purchaser will receive a credit against the purchase price to be paid at
            closing on account of security deposits, prepaid rents, property taxes and assessments,
            and other items of income and expense as of midnight on the day preceding closing.

   10.      Documents to be Delivered: The Purchase Agreement shall contain a list of requested
            documents, copies of which Seller shall promptly furnish Purchaser within 5 days of the
            execution date of the Purchase Agreement.

Purchaser and Seller each acknowledge that (i) a transaction of this type involves many essential
and nonessential terms and conditions and that there has not yet been a definite statement of all the
terms and conditions of the proposed transaction, (ii) this letter is not intended to constitute an offer
or an acceptance of an offer, and (iii) this letter is not intended to constitute an agreement to execute
the Purchase Agreement or any real estate agreement in the future. It is the intention and
understanding of Purchaser and Seller that the only instrument executed between Purchaser and
Seller with respect to the Property shall be the Purchase Agreement and that the Purchase
Agreement, if executed, will contain all the terms and conditions deemed essential by Purchaser and
Seller with respect to the purchase and sale of the Property as contemplated by this letter.

Notwithstanding (a) anything contained in this letter to the contrary, (b) subsequent negotiations, (c)
any action taken hereafter by either Purchaser or Seller, or (d) any actual or claimed reliance, it is
understood that, except for the obligations set forth in the immediately preceding paragraph, which
shall survive termination of this letter, neither Purchaser nor Seller will be legally bound in any



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manner unleess and untill the Purchasse Agreemen
                                               nt has been pprepared, exxecuted and ddelivered byy both
Purchaser an
           nd Seller.

Please conffirm that thee foregoing accurately sets
                                                 s   forth Seeller’s understanding wwith Purchaser by
signing a coopy of this leetter below where
                                      w     noted
                                                d and returninng the samee to me within seven (7) days
of the date of
            o this letter of intent.


Very truly yours,
           y

HOMETOWWN AMERIC  CA, LLC
By: Homettown Comm
                 munities Limiited Partnersship




Doug Minah han
Vice Presideent

ACCEPTED
       D AND AGR
               REED TO THIS
                       T    ______
                                 ____ DAY O
                                          OF ______________________, 2015.

BY:

NAME:

TITLE:
(“Seller”)




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               04/29/19 State Auditor, 1st ever Audit of CJP,

                          Auditor’s Cover Letter and 2 Pgs.




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                        Commission on
                        Judicial Performance
                        Weaknesses in Its Oversight Have Created
                        Opportunities for Judicial Misconduct to Persist


                        April 2019




                                                                           REPORT 




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                                                                                    Elaine M. Howle State Auditor



           April 25, 2019
           2016-137

           The Governor of California
           President pro Tempore of the Senate
           Speaker of the Assembly
           State Capitol
           Sacramento, California 95814

           Dear Governor and Legislative Leaders:

           At the request of the Joint Legislative Audit Committee, the California State Auditor presents
           this audit report of the Commission on Judicial Performance (CJP). CJP is the agency charged
           with investigating complaints about judicial misconduct and deciding whether to discipline
           California judges for violations of the code of judicial ethics, and our review found that CJP
           must address the following weaknesses:
             • It does not consistently take all reasonable steps when it investigates alleged misconduct.
             • Its structure and disciplinary processes do not align with best practices.
             • It has not worked suﬃciently to increase its transparency and accessibility.

           In about one-third of the cases we reviewed, we found that CJP’s investigators did not take
           all reasonable steps to determine the existence or extent of alleged misconduct, such as
           inappropriate demeanor or improper delegation of duties to court staﬀ. These missed steps
           include not speaking with all relevant witnesses, not obtaining additional evidence, and
           not taking a broad approach to determining misconduct in light of a pattern of allegations.
           Furthermore, CJP’s structure—as a single entity that both investigates alleged judicial
           misconduct and makes decisions about the appropriate level of discipline—results in judges
           facing potential discipline from a body of commissioners that is privy to unfounded allegations
           of misconduct. CJP also delegates responsibility for evidentiary hearings on alleged misconduct
           to three judges appointed by the Supreme Court of California, a practice that falls short of the
           voters’ intent to increase the public’s role in judicial discipline with the passage of Proposition 
           in . Finally, CJP has not taken steps to hold meetings that are open to the public or to
           accept electronically submitted complaints, despite decades of public scrutiny about its lack of
           transparency and inaccessibility.

           CJP’s operations and structure must change signiﬁcantly to address the issues that this audit
           revealed. CJP can change its internal policies to address concerns about the planning and
           supervision of its investigations. However, changes to CJP’s structure will require an amendment
           to the California Constitution and CJP will need to inform the Legislature about any related
           funding needs as it adjusts its practices.

           Respectfully submitted,



           ELAINE M. HOWLE, CPA
           California State Auditor



   621 Capitol Mall, Suite 1200   |   Sacramento, CA 95814   |   916.445.0255   |   916.327.0019 fax   |   w w w. a u d i t o r. c a . g o v

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                                                                                                       California State Auditor Report 2016-137               1
                                                                                                                                       April 2019




   Summary
   Results in Brief                                                                                           Audit Highlights . . .


   A strong judicial oversight agency is essential to maintain a fair and                                     Our audit regarding CJP’s processes for
   impartial judiciary that limits the potential for judges to abuse or                                       investigating and disciplining judges
   misuse their power. Since its inception in 1960, the Commission on                                         highlighted the following:
   Judicial Performance (CJP) has been the single agency responsible                                          » CJP’s investigators failed to pursue
   for investigating complaints of judicial misconduct.1 CJP’s mission is                                       allegations thoroughly and ignored
   to protect the public, enforce rigorous standards of judicial conduct,                                       warning signs of ongoing misconduct.
   and maintain public conﬁdence in the integrity and independence
   of the judicial system. Its 11 commissioners—consisting of judges,                                           • In about one-third of the cases we
   attorneys, and members of the public—discipline judges when CJP’s                                              reviewed, investigators did not take
   staﬀ prove with clear and convincing evidence that those judges                                                all reasonable steps—interviewing
   have engaged in misconduct. Judicial misconduct usually involves                                               witnesses, obtaining evidence,
   behavior that conﬂicts with the California Code of Judicial Ethics                                             or observing the judges—to
   (ethics code), which requires judges to diligently, impartially, and                                           determine the existence or extent
   properly perform their duties in a way that does not undermine                                                 of alleged misconduct.
   public conﬁdence in the judiciary. However, this audit concludes                                             • CJP does not evaluate its complaint
   that CJP has missed opportunities to fully investigate allegations of                                          data to identify potential patterns
   misconduct, has a structure and processes for discipline that do not                                           of judicial misconduct that could
   align with best practices and falls short of the intent of the voters,                                         merit investigation.
   and has failed to ensure it is suﬃciently transparent and accessible
   to the public.                                                                                             » CJP’s structure and disciplinary
                                                                                                                proceedings are not aligned with judicial
   We found that ﬂaws in CJP’s investigative processes could allow                                              discipline best practices.
   judicial misconduct to go undetected and uncorrected. Examples                                               • Commissioners are involved in both
   of alleged misconduct from the cases that we reviewed include                                                  the investigatory and disciplinary
   threatening to assault litigants, inappropriate comments, and                                                  functions, resulting in judges facing
   inappropriate relationships with subordinates. When we reviewed                                                potential discipline from a body
   30 of CJP’s investigations of judicial misconduct, we determined                                               of commissioners that is privy to
   that in about one-third of those cases, investigators did not take                                             unfounded allegations of misconduct.
   all reasonable steps—such as interviewing relevant witnesses,
   obtaining necessary evidence, or observing the judges—to                                                     • CJP’s reliance on judges to hear cases
   determine the existence or extent of alleged misconduct. For                                                   involving their peers falls short of the
   example, one case that we reviewed involved a judge who made                                                   voters’ intent to increase the public’s
   aggressive and intimidating comments from the bench. Although                                                  role in judicial discipline with the
   CJP was able to discipline the judge for some of the allegations                                               passage of Proposition 190 in 1994.
   in this case, it did not attempt to obtain audio ﬁles that may                                             » CJP has not taken important steps to
   have proved further misconduct. The weaknesses we observed                                                   improve its transparency and accessibility
   in CJP’s investigations are due in part to a lack of key safeguards                                          to the public.
   for ensuring high quality investigations, such as documented
   investigation strategies and regular managerial oversight.                                                   • It has rarely directed its outreach
                                                                                                                  activities toward members of the
                                                                                                                  public—out of more than 120 events
                                                                                                                  held during a ﬁve-year period, only
                                                                                                                  three targeted the general public.
   1   Throughout this report, we use the abbreviation CJP to refer to the agency’s 11 commissioners and
       22 staﬀ. We use the term commission to refer to the decision-making body of 11 commissioners.                           continued on next page . . .

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                                       July 21, 2020

                                        COMPLAINT

                                        EXHIBIT – O




          01/01/2016   Atty. fee payout grid, end 2015 early 2016, undated

          2007-2017    Atty. Fees Paid to Thomas, Salisbury, et al. 2007 – 2017




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                    PALM BEACH PARK ASSOCIATION–ATTORNEYS’ FEES PAID

                      IN THE PALM BEACH PARK MATTERS, 2007 TO PRESENT

                (2007 –2017, Reported except 2016-2017 amount, which is Estimate)


   Ref.         Palm Beach Park          “Legal” Fees         Reference, Source of Information
   Line         Association
   Year         Years / Period           Amounts              Reference:
                Ending                                        PBP Financial Statements / Newsletter

   2007  12/31/2007                       $198,420            Paid to Gibbs / other attorneys 2007
   2008  12/31/2008                        $99,211            Paid to Gibbs / other attorneys 2008
   2009  12/31/2009                       $191,000            Newsletter, Feb., 2010
   2010  12/31/2010                       $209,693            Newsletter, Feb. 2011
   2011  12/31/2011                       $366,383            Newsletter, Feb. 2012
   2012  12/31/2012                       $807,239            Newsletter, Feb. 2013
   2013  12/31/2013                       $626,878            Trial Exh. PBPA produced Dec. 14, 2015
   2014  12/31/2014                       $833,936            Trial Exh. PBPA produced Dec. 14, 2015
   2015  12/31/2015                     $1,113,936            PBPA 2015 Fin. Stmnt. & Atty. Detail
   2016-7As of Feb. 2017                  $600,000            Est. based on PBPA Distribution Letter
         (estimated)                                          to Members, dated 3/9/17
   TOTAL 2007 – 2017*                   $5,046,696**

   *******      ******************       ***************      ********************************************

  *Figures do not include approximately $400,000 in legal fees that PBPA paid to opposing counsel in 2012
  when it lost the unlawful detainer cases.

  **It is believed this figure is low; additional fees were paid to PBPA counsel.



  **************************************************************************************************




  Rev. 6/2017




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                                              EXHIBIT – P




                     10/06/14
                                 HOA PBPA President D. Mantelli
                                 as Cowgirl Sheriff,
                                 memo to members: “we won”




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                                  EXHIBIT P
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                                        EXHIBIT – Q




               11/10/06 CJC Memo re: Presiding Judge Responsibilities

               04/26/16 Complaint to Presiding Judge Margines re: Judge Moss




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                       Law Office Of Patrick J. Evans
                             16897 Algonquin Street, Suite F
                              Huntington Beach, CA 92649
                      Tel.: (714) 594 – 5722; Fax: (714) 840 – 6861
                         E-mail: pevans@pevanslawoffice.com

                                    April 26, 2016

  DELIVERED TO DEPT. C01

  Honorable Charles Margines
  Presiding Judge
  Orange County Superior Court, Dept. C01
  700 Civic Center Drive West
  Santa Ana, California 92701


  Re: STATEMENTS OF DISQUALIFICATION AND COMPLAINT
      AGAINST ORANGE COUNTY SUPERIOR COURT JUDGE
      THE HONORABLE ROBERT J. MOSS, ARISING IN THE CASE:
      Ole Haugen vs. Palm Beach Park Assoc., #30-2015-00819837
      and related cases; WILLFUL JUDICIAL MISCONDUCT - TAKING
      BACK CASE ON WHICH JUDGE WAS DISQUALIFIED


  To:   The Honorable Charles Margines,
        Presiding Judge, Orange County Superior Court:

  I represent Floyd Chodosh and others in several cases concerning the Palm Beach
  Mobilehome Park. Hon. Nancy Wieben Stock (Ret.) was the trial judge through
  2013. Honorable Robert J. Moss took over the cases January 2014. We write to
  make you aware of our complaint against Honorable Robert J. Moss.

  On Friday, April 22, 2016, we filed Statements of Disqualification, Memorandum
  of Points and Authorities and Requests for Judicial Notice. Accompanying this
  letter is a small 3 ring binder with the Statements and Statement Appendix of
  Exhibits and Memorandum (and copy of proof of service). The Requests for
  Judicial Notice are in three large binders. Judge Moss was served yesterday.

  .


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 Letter to OCSC Presiding Judge, Hon. Charles Margines
 April 26, 2016
 Page 2



 On Nov. 12, 2015 Ole Haugen filed suit to stop his HOA from selling the “seniors
 only” mobilehome park where he lives. He contends the sale arranged by the
 Board President was void for having fiduciary breach, fraud and self-dealing. The
 Park is about 13.5 acres of valuable coastal property in Orange County.

 The case was initially assigned to Judge Randall Sherman. On Nov. 16, 2015
 Judge Sherman reassigned the case to Judge Moss as a related case to the Palm
 Beach Park litigation. Mr. Haugen filed a 170.6 challenge against Judge Moss.

 On Nov. 30, 2015 your Honor the Presiding Judge granted Plaintiff Ole Haugen’s
 170.6 peremptory challenge and reassigned the case. (Dept. C01, 11/30/15 Minute
 Order, copy attached, one page).

 On Dec. 21, 2015, Mr. Haugen filed for a TRO to stop the sale of the Palm Beach
 seniors only mobilehome park (“Park”). The HOA seller and buyer had scheduled
 to close the sale on Dec. 22, 2015. The TRO application, filed Dec. 21, threatened
 the closing.

 On Dec. 21-22, Judge Moss, who was on vacation (App. Exh. B, pg. P pg. 141,
 lines 23-26), called in to the court and intervened in the Haugen case; a case where
 the Presiding Judge had ruled he was disqualified.

 Acting through his clerk, Judge Moss took back and took over the Haugen case.
 On Dec. 22, 2015 he entered two (2) Minute Orders. The first Order continued the
 TRO hearing to Monday 12/28 in his courtroom. (Ent. 12/22 9:00 a.m.).

 In the second Minute Order, Judge Moss purported to grant an objection (filed
 12/1) to the 170.6 (filed 11/25, granted 11/30) to strike the 170.6 and place himself
 back on the Haugen case. (Ent. 12/22, 9:29 a.m., copy attached). Also, Judge
 Moss, or someone acting at his direction, on Dec. 21, caused the filing clerk to
 alter pleading cover pages to move the TRO hearing to Judge Moss’ courtroom and
 to continue the hearing to 12/28. (Appendix of Exhibits C, D, E)

 Four hours after Judge Moss’ 12/22 9:29 a.m. Minute Order (copy attached) that
 put him back on the case, the Park sale closed. The Grant Deed recorded 12/22/15
 at 1:18 p.m. (Copy of Deed face sheet attached)

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                           F. Chodosh, et al., v. J. Saunders, et al.

                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – R




             2017      AG Form Letters, CJP
                       “exclusive jurisdiction”; all judge complaints to CJP




                                   EXHIBIT R
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     Thank you for your correspondence to the Office of the Attorney General regarding a
  California judge, commissioner, or referee.

     We have reviewed your correspondence and determined that the following agency is in a
  much better position to render assistance to you in this matter. If you wish to pursue the matter
  further, we suggest you contact:

                                            Commission on Judicial Performance
                                            455 Golden Gate Avenue, Suite 14400
                                            San Francisco, CA 94102
                                            Telephone: (415) 557-1200
                                            Fax: (415) 557-1266
                                            Internet: http://cjp.ca.gov/

     The Commission on Judicial Performance is the independent state agency in California
  responsible for investigating complaints of judicial misconduct and judicial incapacity and for
  disciplining judges, pursuant to article VI, section 18 of the California Constitution. This agency
  has exclusive jurisdiction over judicial complaints.

     We hope that our effort to help you to identify the correct government office to address your
  concern will be beneficial to you.

     Again, thank you for contacting the Office of the Attorney General.




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    Thank you for your correspondence to the Office of the Attorney General.

     While we appreciate the time and effort it has taken to contact our office, we are unable to
 assist you. The role of the Attorney General is to represent the People of California, collectively,
 in civil and criminal matters before trial courts, appellate courts, and the supreme courts of
 California and the United States. However, the Attorney General is prohibited by law from
 representing private individuals or providing legal advice, legal research or legal analysis to
 private individuals under any circumstances. As a result, the Attorney General cannot represent
 you in your private litigation or intercede on your behalf.

    Therefore, we suggest that you consult with a private attorney to determine any civil remedies
 that may be available to you. An attorney would directly represent your interests and is the one
 whose advice would be most helpful to you.

    Your complaint about the judge(s) involved in this case should be directed to the Commission
 on Judicial Performance. The Commission has exclusive jurisdiction over complaints against
 judges. You may contact the Commission as follows:

 Commission on Judicial Performance
 455 Golden Gate Avenue, Suite 14400
 San Francisco, CA 94102
 Telephone: (415) 557-1200
 Fax: (415) 557-1266
 Internet: http://cjp.ca.gov

    We regret that we are unable to assist you. However, we hope the information we have
 provided clarifies our restrictions in regard to your request. Thank you again for writing.




    PL 902B judge in civil case                  pg. 1 of 1




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     Thank you for your correspondence to the Office of the Attorney General regarding a
  criminal case.

     While we appreciate the time and effort it has taken to contact our office, we are unable to
  assist you. This office has no authority to provide advice or representation to defendants. In
  addition, the role of the Attorney General's Office is to represent the State of California in
  criminal appellate cases and to advocate that convictions be upheld.

     If you wish to pursue this matter, we suggest that you consult with an attorney. An attorney
  would directly represent your interests and is the one whose advice would be most helpful to
  you.

     Your complaint about the judge(s) involved in this case should be directed to the Commission
  on Judicial Performance. The Commission has exclusive jurisdiction over complaints against
  judges. You may contact the Commission as follows:

  Commission on Judicial Performance
  455 Golden Gate Avenue, Suite 14400
  San Francisco, CA 94102
  Telephone: (415) 557-1200
  Fax: (415) 557-1266
  Internet: http://cjp.ca.gov

     Again, thank you for contacting the Office of the Attorney General.




            PL 903B judge in criminal case                  pg. 1 of 1




                                             EXHIBIT R
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     Thank you for your correspondence to the Office of the Attorney General regarding a child
 custody and/or visitation matter. We regret that we are unable to assist you, as our office has no
 jurisdiction over child custody or visitation issues.

    Concerns about child custody and visitation orders issued by the Family Court must be
 directed to the Family Court Services Office in the county where the orders were issued. Family
 Court Investigators, Child Custody Evaluators, and Family Court Mediators are available to
 provide dispute resolution in each of the 58 counties. Contact information is available at
 http://www.courts.ca.gov/selfhelp-familycourtservices.htm.

    If you suspect that a child's health or safety is jeopardized due to abuse or neglect by a parent
 or other caretaker who has custody of the child, please contact the police or sheriff's department
 and the Child Welfare Services Agency in the county where the child resides. If you are the
 victim of parental child stealing or willful concealment of your child to frustrate visitation, you
 should file a report with your local police or sheriff's department, who will refer the case to the
 county district attorney's Office for prosecution, if appropriate.

    We have forwarded your complaint to our new Bureau of Children's Justice (BCJ). On
 January 5, 2015, the Office of the Attorney General announced the formation of BCJ within the
 California Department of Justice (CADOJ). The new Bureau will be dedicated to enforcing civil
 and criminal laws to ensure that all of California's children are on track to meet their full
 potential. BCJ's efforts will focus on several areas, including California's foster care and
 adoption systems, discrimination in education, elementary school truancy, human trafficking of
 vulnerable youth, and childhood trauma. The Bureau of Children's Justice will use the criminal
 and civil law enforcement powers of CADOJ, identify and pursue needed improvements to
 public policy regarding children, and work with local, state, and national stakeholders to enhance
 supports available for children in need and to hold those who prey on the most vulnerable
 children accountable.

    BCJ uses complaints to develop information about patterns or practices that might indicate the
 need for formal investigation or law enforcement action by our office. Once a pattern is
 discovered, what originated as a private dispute may become a matter of broad public interest
 and thus warrant the Attorney General's intervention under state and federal civil rights laws.
 When this office files legal action, it is done on behalf of the collective legal interests of the
 people and is primarily directed at ending ongoing illegal activity.

    If you have a complaint against the judge assigned to this case, contact the Commission on
 Judicial Performance. The Commission is responsible for investigating complaints of judicial
 misconduct and judicial incapacity and for disciplining judges. The Commission may be
 contacted as follows:

 Commission on Judicial Performance
 455 Golden Gate Avenue, Suite 14400
 San Francisco, CA 94102
 Telephone: (415) 557-1200
 Fax: (415) 557-1266
 Internet: http://cjp.ca.gov/


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     If you have a complaint against an attorney involved with this case, contact the State Bar.
  The Bar takes complaints against attorneys from citizens and other sources, investigates those
  complaints, and prosecutes attorneys against whom allegations of unethical conduct appear to be
  justified. You may contact the Bar as follows:

  State Bar of California
  Intake Unit
  845 S. Figueroa Street
  Los Angeles, CA 90017
  Telephone: (213) 765-1000 (outside of CA) or (800) 843-9053 (toll free)
  Internet: http://www.calbar.ca.gov

      If you have a complaint against a mediator or evaluator with Family Court Services, talk to
  the Director of Family Court Services at your local court to find out how to make a complaint.
  Follow the procedures for filing a complaint in your court. If you are not happy with the result
  after you file the complaint, you can explain your complaint to the judge at the time of your
  hearing. If your complaint is about ethical conduct, or if you believe the court did not deal with
  your complaint appropriately, there are state licensing boards that address complaints about
  licensed professionals.

     The Board of Behavioral Sciences licenses and regulates Marriage and Family Therapists
  (MFT), Licensed Clinical Social Workers (LCSW), and Licensed Educational Psychologists
  (LEP). This agency may be contacted as follows:

  Board of Behavioral Sciences
  1625 North Market Blvd., Suite S-200,
  Sacramento, CA 95834
  Telephone: (916) 574-7830
  Fax: (916) 574-8625
  http://www.bbs.ca.gov/

      The Board of Psychology licenses and regulates psychologists. This agency may be contacted
  as follows:

  California Board of Psychology
  1625 North Market Blvd., Suite N-215
  Sacramento, CA 95834
  Telephone:(866) 503-3221
  Internet: http://www.psychboard.ca.gov/

     Finally, we recommend that you consult with a family law attorney. An attorney would
  directly represent your interests and is the one whose advice would be most helpful to you. You
  may obtain a referral to a certified lawyer referral service by contacting the State Bar at
  (866)442-2529 (toll-free in California) or (415)538-2250 (from outside California), or via their
  website at: http://www.calbar.ca.gov.

    Again, thank you for contacting the Office of the Attorney General.


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    Thank you for your correspondence to the Office of the Attorney General.

     If you have concerns about your criminal case or if you wish to appeal a conviction, you
 should consult with an attorney. An attorney would directly represent your interests and is the
 one whose advice would be most helpful to you. This Office has no authority to provide advice
 or representation to defendants. In addition, the role of the Attorney General's Office is to
 represent the State of California in criminal appellate cases and to advocate that convictions be
 upheld.

    If you are seeking a modification of your sentence pursuant to Proposition 36, Proposition 47,
 or Proposition 64 you should consult with your public defender or a private attorney. The law
 requires that you file a petition in the superior court where you were sentenced if you believe you
 are entitled to relief under these propositions. The Attorney General cannot assist you in
 preparing a court filing.

 If you have questions about parole, including questions related to Proposition 57, then you
 should contact the Board of Parole Hearings. The Board may be contacted as follows:

 Board of Parole Hearings
 P.O. Box 4036
 Sacramento, CA 95812-4036

    If you have a complaint against an attorney, you should contact the State Bar. The Bar has
 exclusive jurisdiction over complaints against attorneys. You may contact the Bar as follows:

 State Bar of California
 Intake Unit
 845 S. Figueroa Street
 Los Angeles, CA 90017
 Telephone: (213) 765-1000 (outside of CA) or (800) 843-9053 (toll free)
 Internet: http://www.calbar.ca.gov

    If you have a complaint against a judge, you should contact the Commission on Judicial
 Performance. The Commission has exclusive jurisdiction over complaints against judges. You
 may contact the Commission as follows:


 Commission on Judicial Performance
 455 Golden Gate Avenue, Suite 14400
 San Francisco, CA 94102
 Telephone: (415) 557-1200
 Fax: (415) 557-1266
 Internet: http://cjp.ca.gov

    If you have a complaint against a District Attorney, please be advised that California law
 gives discretionary authority to a locally elected prosecutor in filing criminal actions. Your


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  concerns about the District Attorney should be discussed with your attorney so that they may be
  addressed through the judicial process.

     If you have a complaint against a law enforcement agency, please be advised that it is the
  Department of Justice policy that local governments will be primarily responsible for citizen
  complaints against law enforcement agencies or employees of law enforcement agencies, and
  that appropriate local resources (e.g. sheriff or police department, district attorney, citizens
  review commission, and/or grand jury in the area of jurisdiction) be utilized for resolution of
  such complaints.

      You should first direct your complaint to the local law enforcement agency. Every law
  enforcement agency in California is required to establish a procedure to investigate citizens'
  complaints (Penal Code Section 832.5). A written description of the procedure is available from
  all law enforcement agencies. If a resolution of your complaint is not obtained through this
  procedure, you should contact the county district attorney and county grand jury in the county
  where the law enforcement agency is located. Most complaints against local law enforcement
  can be resolved by contacting the aforementioned agencies.

     If you are seeking a pardon, you should contact the Office of the Governor. You may contact
  the Governor as follows:

  Office of the Governor
  State Capitol
  Attn: Legal Affairs Secretary
  Sacramento, CA 95814
  Internet: gov.ca.gov/pdf/interact/how_to_apply_for_a_pardon.pdf

     If you wish to file a monetary claim against the State of California, you should contact the
  California Government Claims Board. You may contact the Board as follows:

  Government Claims Program
  P.O. Box 3035
  Sacramento, CA 95812-3035
  Telephone: (800) 955-0045
  Internet: http://www.vcgcb.ca.gov/claims/howtofile.aspx

     If you wish to advocate for a California law to be enacted, amended or repealed (IE
  sentencing laws), you should contact your representatives in the California Legislature. Your
  may contact the Legislature as follows:




  California State Assembly
  State Capitol


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 P.O. Box 942849
 Sacramento, CA 94249-0000
 Internet: http://www.assembly.ca.gov


 California State Senate
 State Capitol
 Sacramento, CA 95814
 Internet: http://www.senate.ca.gov

     If you have questions or concerns pertaining to your immigration status, you should contact
 the U.S. Citizenship and Immigration Services. You may contact your nearest field office as
 follows:

 San Diego Field Office, 1261 3rd Avenue, Suite A, Chula Vista, CA 91911
 Fresno Field Office, 1177 Fulton Mall, Fresno, CA 93721
 Imperial Field Office, 509 Industry Way, Imperial, CA 92251
 Los Angeles Field Office, 300 North Los Angeles Street, Los Angeles, CA 90012
 Sacramento Field Office, 650 Capitol Mall, Sacramento, CA 95814
 San Bernardino Field Office, 655 West Rialto Avenue, San Bernardino, CA 92410
 San Francisco Field Office, 444 Washington Street, San Francisco, CA 94111
 San Jose Field Office, 1887 Monterey Road, San Jose, CA 95112
 Santa Ana Field Office, 34 Civic Center Plaza, Santa Ana, CA 92701

 Please note, the Attorney General referenced in statutes pertaining to immigration refers to the
 United States Attorney General, not the California Attorney General.

     If you feel the information contained within your criminal history record is incorrect, you may
 submit a formal challenge to the Department of Justice only after you have received a copy of
 your record from the Department pursuant to California Penal Code sections 11120 to 11127.
 Bureau of Criminal Identification and Information (BCII) form 8706, Claim of Inaccuracy or
 Incompleteness, will be mailed to you along with your record. Submit form 8706 and any
 supporting documentation to the Department of Justice to the address provided on the form. The
 challenge will be reviewed and a written response will be provided along with an amended copy
 of your criminal history record if appropriate. You may contact the Record Review Unit as
 follows:

 California Department of Justice
 Record Review Unit
 P.O. Box 903417
 Sacramento, CA 94203-4170
 Telephone: (916) 227-3849
 Internet: http://ag.ca.gov/fingerprints/

    If you are trying to obtain court records, please contact the clerk of the Superior Court where
 you were convicted. The clerk will either be able to provide you with the records, or advise you


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  if the records have been transferred or destroyed. If the records are no longer available directly
  from the Superior Court, you may be able to obtain copies from the attorney who represented
  you.

     Our Office cannot provide you with transcripts of oral proceedings in the Superior Court.
  Government Code Section 69954 requires that transcripts of oral trial court proceedings be
  acquired from the court reporter, and not from another government agency that may possess the
  transcript. The clerk of the Superior Court of the county in which the proceedings were held may
  be able to assist you in locating and acquiring court transcripts. In addition, you may be able to
  obtain copies from the attorney who represented you.

      Our Office also cannot provide you with laboratory case records prepared by our Bureau of
  Forensic Services. Laboratory case records prepared by the Bureau of Forensic Services are
  considered investigatory records of this Office. Government Code Section 6254, subdivision (f)
  expressly exempts investigatory and security files of the Attorney General from disclosure. Also,
  in the case of Dick Williams v. Superior Court (1993) 5 Cal.4th 337, 354 the California Supreme
  Court held that investigative records in the possession of law enforcement agencies are exempt
  from disclosure.

     We hope this information will be helpful to you.




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    Thank you for your correspondence to the Office of the Attorney General.

    If you have a complaint against a state correctional facility or correctional employee, you
 should contact the Office of the Inspector General. The Office of the Inspector General is
 responsible for independent oversight of the California Department of Corrections and
 Rehabilitation, which includes Adult Operations, Adult Programs, Juvenile Justice, the
 Corrections Standards Authority, the Board of Parole Hearings, the State Commission on
 Juvenile Justice, the Prison Industry Authority, and the Prison Industry Board. You may contact
 the Inspector General as follows:

 Office of the Inspector General
 10111 Old Placerville Road, Suite 110
 Sacramento, CA 95827
 Telephone: (800) 700-5952
 Fax: (916) 928-5974
 Internet: http://www.oig.ca.gov/

    If you wish to appeal your conviction, you should consult with an attorney. An attorney
 would directly represent your interests and is the one whose advice would be most helpful to
 you. This Office has no authority to provide advice or representation to defendants. In addition,
 the role of the Attorney General's Office is to represent the State of California in criminal
 appellate cases and to advocate that convictions be upheld.

    If you are seeking a modification of your sentence pursuant to Proposition 36, Proposition 47,
 or Proposition 64 you should consult with your public defender or a private attorney. The law
 requires that you file a petition in the superior court where you were sentenced if you believe you
 are entitled to relief under these propositions. The Attorney General cannot assist you in
 preparing a court filing.

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 should contact the Board of Parole Hearings. The Board may be contacted as follows:

 Board of Parole Hearings
 P.O. Box 4036
 Sacramento, CA 95812-4036


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 exclusive jurisdiction over complaints against attorneys. You may contact the Bar as follows:

 State Bar of California
 Intake Unit
 845 S. Figueroa Street
 Los Angeles, CA 90017
 Telephone: (213) 765-1000 (outside of CA) or (800) 843-9053 (toll free)
 Internet: http://www.calbar.ca.gov


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     If you have a complaint against a judge, you should contact the Commission on Judicial
  Performance. The Commission has exclusive jurisdiction over complaints against judges. You
  may contact the Commission as follows:

  Commission on Judicial Performance
  455 Golden Gate Avenue, Suite 14400
  San Francisco, CA 94102
  Telephone: (415) 557-1200
  Fax: (415) 557-1266
  Internet: http://cjp.ca.gov

     If you have a complaint against a District Attorney, please be advised that California law
  gives discretionary authority to a locally elected prosecutor in filing criminal actions. Your
  concerns about the District Attorney should be discussed with your attorney so that they may be
  addressed through the judicial process.

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  Department of Justice policy that local governments will be primarily responsible for citizen
  complaints against law enforcement agencies or employees of law enforcement agencies, and
  that appropriate local resources (e.g. sheriff or police department, district attorney, citizens
  review commission, and/or grand jury in the area of jurisdiction) be utilized for resolution of
  such complaints.

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  enforcement agency in California is required to establish a procedure to investigate citizens'
  complaints (Penal Code Section 832.5). A written description of the procedure is available from
  all law enforcement agencies. If a resolution of your complaint is not obtained through this
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  can be resolved by contacting the aforementioned agencies.

     If you are seeking a pardon, you should contact the Office of the Governor. You may contact
  the Governor as follows:

  Office of the Governor
  State Capitol
  Attn: Legal Affairs Secretary
  Sacramento, CA 95814
  Internet: gov.ca.gov/pdf/interact/how_to_apply_for_a_pardon.pdf

     If you wish to file a monetary claim against the State of California, you should contact the
  California Government Claims Board. You may contact the Board as follows:

  Government Claims Program
  P.O. Box 3035

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 Sacramento, CA 95812-3035
 Telephone: (800) 955-0045
 Internet: http://www.vcgcb.ca.gov/claims/howtofile.aspx

    If you wish to advocate for a California law to be enacted, amended or repealed (IE
 sentencing laws), you should contact your representatives in the California Legislature. Your
 may contact the Legislature as follows:

 California State Assembly
 State Capitol
 P.O. Box 942849
 Sacramento, CA 94249-0000
 Internet: http://www.assembly.ca.gov


 California State Senate
 State Capitol
 Sacramento, CA 95814
 Internet: http://www.senate.ca.gov

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 Imperial Field Office, 509 Industry Way, Imperial, CA 92251
 Los Angeles Field Office, 300 North Los Angeles Street, Los Angeles, CA 90012
 Sacramento Field Office, 650 Capitol Mall, Sacramento, CA 95814
 San Bernardino Field Office, 655 West Rialto Avenue, San Bernardino, CA 92410
 San Francisco Field Office, 444 Washington Street, San Francisco, CA 94111
 San Jose Field Office, 1887 Monterey Road, San Jose, CA 95112
 Santa Ana Field Office, 34 Civic Center Plaza, Santa Ana, CA 92701

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 your record from the Department pursuant to California Penal Code sections 11120 to 11127.
 Bureau of Criminal Identification and Information (BCII) form 8706, Claim of Inaccuracy or
 Incompleteness, will be mailed to you along with your record. Submit form 8706 and any
 supporting documentation to the Department of Justice to the address provided on the form. The
 challenge will be reviewed and a written response will be provided along with an amended copy
 of your criminal history record if appropriate. You may contact the Record Review Unit as
 follows:


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  California Department of Justice
  Record Review Unit
  P.O. Box 903417
  Sacramento, CA 94203-4170
  Telephone: (916) 227-3849
  Internet: http://ag.ca.gov/fingerprints/

      If you are trying to obtain court records, please contact the clerk of the Superior Court where
  you were convicted. The clerk will either be able to provide you with the records, or advise you
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  from the Superior Court, you may be able to obtain copies from the attorney who represented
  you.

     Our Office cannot provide you with transcripts of oral proceedings in the Superior Court.
  Government Code Section 69954 requires that transcripts of oral trial court proceedings be
  acquired from the court reporter, and not from another government agency that may possess the
  transcript. The clerk of the Superior Court of the county in which the proceedings were held may
  be able to assist you in locating and acquiring court transcripts. In addition, you may be able to
  obtain copies from the attorney who represented you.

      Our Office also cannot provide you with laboratory case records prepared by our Bureau of
  Forensic Services. Laboratory case records prepared by the Bureau of Forensic Services are
  considered investigatory records of this Office. Government Code Section 6254, subdivision (f)
  expressly exempts investigatory and security files of the Attorney General from disclosure. Also,
  in the case of Dick Williams v. Superior Court (1993) 5 Cal.4th 337, 354 the California Supreme
  Court held that investigative records in the possession of law enforcement agencies are exempt
  from disclosure.

     We hope this information will be helpful to you.




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                         F. Chodosh, et al., v. J. Saunders, et al.


                                      July 21, 2020

                                       COMPLAINT

                                       EXHIBIT – S




           07/20/18 Chodosh v. PBPA, Appeal Oral Arg. Transcript

           12/18/18 Opinion, Bedsworth, J., excerpt re: contempt

           01/09/19 Order Denying Pet. Rehearing, excerpt re: contempt




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                  IN THE COURT OF APPEAL OF THE STATE OF

               CALIFORNIA FOURTH DISTRICT – DIVISION THREE



                                   July 20, 2018


        FLOYD M. CHODOSH, et al.,               ) Case No. G053798
        Plaintiffs and Appellants,              ) Audio No. Chodosh
                                                )
                          v.                    )
                                                )
        PALM BEACH PARK ASSOCIATION,            )
        Defendant and Respondent.               )
                                                )
                               Respondents.     )
                                               _)




                  Transcription Of Tape-Recorded Hearing




        Transcribed by:
        Nanette Jensen

        Job Number:
        TP91080B




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  19         ATTORNEY EVANS:      Since we're having a hearing today
  20         on the motion to disqualify, I won't -- I don't
  21         believe it's necessary to say a whole lot about
  22         that.   I believe our papers are quite extensive.            I
  23         don't believe that there's a --
  24              JUSTICE BEDSWORTH:      They're definitely extensive.

  25              ATTORNEY EVANS:      Yeah.   I don't believe there's a


                                                                              6

              LYNDEN J. AND ASSOCIATES, INC.          (800) 972-3376


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   1         prayer that what I filed AND positions we've taken of

   2         a fact in law that we've laid out puts us anywhere

   3         near this Koven case which I knew about.

   4              For one thing, we had -- we add federal law suit

   5         that the district court dismissed without prejudice

   6         and that was reversed by the Ninth Circuit to be --

   7         I'm sorry -- was dismissed with prejudice by the

   8         district court and the Ninth Circuit reversed that.

   9              And what we also have what's absolutely

  10         astounding I reread it yesterday, thought about it,

  11         and he's not here today, Mr. Miller, but we have his

  12         July 17 letter calling me names and so forth.

  13         Nothing of any substance, no facts of course.            But he

  14         says -- he flat out says, quote, "On November 25,

  15         2015 Mr. Haugen again filed another challenge against

  16         Judge Moss under code of civil procedure section
  17         170.6.    On December 22 Judge Moss granted the

  18         association objection but the challenge was

  19         defective, improper, and untimely.         Judge Moss

  20         retained jurisdiction over the case."

  21              So what I want to know during that three-week

  22         period he must have lost jurisdiction or how did he

  23         retain it?    I mean, this is offensive and absurd, but

  24         what it really is, is an admission.          An admission of

  25         what Judge Moss did.


                                                                           7

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   1                Judge Moss called in from vacation precisely on

   2         time to supposedly take back this case and stop a
   3         TRO.    He gets it backwards.      First he stops the TRO.
   4         He's not even the judge on the case.          Then re-
   5         qualifies, auto-self re-qualifies himself, which
   6         everyone knows that's just common sense that you
   7         can't do that.     I mean, a bad hockey player put in

   8         the penalty box can't say, "well, you said two

   9         minutes ref, but you know what?         I've decided it's

  10         only going to be a minute.        I'm going back on the

  11         ice."    Same concept.
  12                The other offensive thing is somehow what Judge
  13         Moss did in that case which is willful, judicial
  14         misconduct under all the -- under all the case law

  15         that's been laid out in our papers repeatedly.            It

  16         was intentional disregard of the law.          It was a fix.

  17         And they want to talk about how a fix is something

  18         that -- a fix is defined in the judge handbook which
  19         I have a copy of here.
  20                But their argument is, well, if Judge Moss did

  21         that in the Haugen case, if he fixed that case so

  22         that these self-dealing fiduciaries could steal this

  23         park for millions under value, they didn't even have

  24         an appraisal.     They hid from the members another
  25         offer in writing that was higher.         And the attorneys


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   1         were involved in all of it.

   2              What they're saying is somehow Judge Moss did

   3         that in one case but on the other case you can't

   4         consider that because he must have been fair and

   5         impartial in one case but not the other.           There was

   6         some kind of split personality.

   7              JUSTICE BEDSWORTH:      Okay.    So you just told us

   8         that Judge Moss engaged in willful, judicial

   9         misconduct and was part of a fix of the case; is that

  10         correct?

  11              ATTORNEY EVANS:      I said that in the papers, Your

  12         Honor.     It's in the papers already.

  13              JUSTICE BEDSWORTH:      And you're saying it again

  14         today?

  15              ATTORNEY EVANS:      That's right.

  16              JUSTICE BEDSWORTH:      That's sounds --
  17              ATTORNEY EVANS:      Well, you asked.

  18              JUSTICE BEDWORTH:      That sounds to me like direct

  19         contempt.

  20              ATTORNEY EVANS:      Well, let's have an OSC re

  21         contempt.    Let's get Judge Moss in here and see what

  22         he has to say about things.

  23              JUSTICE BEDSWORTH:      We will consider whether

  24         we're going to have an OSC re contempt.

  25              ATTORNEY EVANS:      Well, all we need to do is ask


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              LYNDEN J. AND ASSOCIATES, INC.          (800) 972-3376


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   1         Judge Moss a few questions.        It's pretty simple.

   2              JUSTICE BEDSWORTH:      You have more time.

   3              ATTORNEY EVANS:      I'll reserve the rest for

   4         rebuttal.

   5              JUSTICE BEDSWORTH:      Very well.

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12               JUSTICE BEDSWORTH:      You have two minutes.
13           ATTORNEY EVANS:      And this idea that the members
14         consented, that they consented to the leases.            They
15        consented to all of this.        No, they didn't.      They're
16          victims.    They're victims of crime by a fiduciary.
17             Now, I'd like to conclude with a motion to
18        disqualify.     And I read before the admission that
19        Judge Moss came back into that case after being
20        disqualified on a 170.6, took back jurisdiction, and
21        then four hours later after he came back in the
22        case, calling in from vacation, the deed for the
23        fiduciary fraud sale recorded.         Amazing timing.     He
24        was on vacation.      I don't know if he was on a beach
25        in Tahiti or in his back


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   1         yard.    But somehow he called in just in time and he

   2         says he had no ex parte contact.

   3              What?   He had a dream?      Just call in on a case

   4         not in his courtroom on which he'd been disqualified?

   5         He admitted he was disqualified.         Just called in all

   6         of a sudden?     Stopped the TRO.      Oh, now, I guess I'll

   7         put myself back on the case as the judge.

   8              It's offensive.      And I've put in the papers and I

   9         have made that charge and I'm making it right here.

  10              JUSTICE BEDSWORTH:      Your time is up, sir.

  11              ATTORNEY EVANS:      Thank you.

  12              JUSTICE BEDSWORTH:      I'm now going to take this

  13         matter into submission because you've mentioned a

  14         couple of things that you were willing to brief and

  15         we will want to do that.       And because in 31 years on

  16         the bench I've never had to deal with whether or not
  17         conduct is contempt or not.        So I need to spend a

  18         little bit of time on that and figure out where we

  19         are on that.

  20              ATTORNEY EVANS:      I would be please to --

  21              JUSTICE BEDSWORTH:      I think not.

  22              ATTORNEY EVANS:      Do whatever you may want, Your

  23         Honor.    Other thing as far as additional briefing is

  24         the court might specify what briefing we want.

  25              JUSTICE BEDSWORTH:      We will.    If we decide we


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 Filed 12/17/18 Chodosh v. Palm Beach Park Assn. CA4/3




                  [TRUNCATED PORTION OF OPINION RE: CONTEMPT]


                       NOT TO BE PUBLISHED IN OFFICIAL REPORTS
 California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
 publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
 or ordered published for purposes of rule 8.1115.


               IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                      FOURTH APPELLATE DISTRICT

                                                 DIVISION THREE


 FLOYD M. CHODOSH et al.,

      Plaintiffs and Appellants,                                        G053798

          v.                                                            (Super. Ct. No. 30-2010-00423544)

 PALM BEACH PARK ASSOCIATION,                                           OPINION

      Defendant and Respondent.



                    Appeal from a judgment of the Superior Court of Orange County, Robert J.
 Moss, Judge. Affirmed in part, reversed in part and remanded with directions.
                    Law Office of Patrick J. Evans and Patrick J. Evans for Plaintiffs and
 Appellants.
                    Lewis Brisois Bisgaard & Smith, Jeffry A. Miller, Cary L. Wood and
 Allison A. Arabian; Allan B. Weiss & Associates, Allan B. Weiss, Allen L. Thomas and
 Allison A. Arabian for Defendant and Respondent.




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                   1. Judicial misconduct. [at Op. pg. 19]
                   . . . . . [text omitted] . . . .
                   [at pg. 20] But one more point must be made: Attorney Evans has engaged
 in a pattern of inflammatory accusations against any number of judges who have ruled
 against him, including not only Judge Moss but the Presiding Justice of this Division.
 Worse, at oral argument in this court, he practically invited us to hold him in contempt
 for accusing Judge Moss of fixing the result. (See In re Koven (2005) 134 Cal.App.4th
 262.)
                   . . . . . . [text omitted] . . . .. . . . [at pg. 21]
                   We choose not to set contempt proceedings for Attorney Evans for the
 calumnies he has casually hurled at Judge Moss, nor for those directed at this court.
 [FN22] We conclude he craves the attention of such a hearing more than he would
 suffer from its result. We choose to deny him that attention and write off his
 intemperance to an excess of zeal on behalf of vulnerable and elderly clients. . . . .:
 . . . . . . [text omitted] . . . .. .
                                                               BEDSWORTH, ACTING P. J.

 WE CONCUR:

 IKOLA, J.

 THOMPSON, J.

 [FN22 at pg. 21] The general idea being that the Courts of Appeal are engaged in a grand
 conspiracy to cover up injustice perpetrated by trial judges. Our primary sin, it seems,
 was to reject Attorney Evans’ petition for writ of mandate to remove Judge Moss from
 the case.




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             IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                             FOURTH APPELLATE DISTRICT

                                       DIVISION THREE


 FLOYD M. CHODOSH et al.,

    Plaintiffs and Appellants,                        G053798

        v.                                            (Super. Ct. No. 30-2010-00423544)

 PALM BEACH PARK ASSOCIATION,                         ORDER DENYING PETITION FOR
                                                      REHEARING
    Defendant and Respondent.



               The petition for rehearing filed on January 2, 2019, is DENIED. For the
benefit of the parties and any further review of this case, we make these observations
concerning the petition:
               (1) This court most assuredly did not agree with attorney Patrick Evans’
allegation that Judge Moss “fixed” a related case against appellants. The fact an
appellate panel exercises its discretion not to give an attorney the spotlight of a contempt
hearing based on a statement the attorney made in open court does not establish the truth
of his statement.
               ..... [Text Omitted] . . .
               BEDSWORTH, ACTING P. J.
               WE CONCUR:
               IKOLA, J.
               THOMPSON, J.
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                           F. Chodosh, et al., v. J. Saunders, et al.


                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – T




          1983-     CJP Rule 102(g) and Policy Declaration 4.2, grid data
          2019      [35,000 complaints against judges 1983 – 2019]

          08/29/17 CJP Report Judge Crime referred “multiple occasions”

          10/22/03 Daily Journal, CJP “referred J. Danser to DA”

          1988 etc. LA Times, San Diego convicted judges 1988, 1997, 2000




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               INTERROGATORIES – JUDGE CRIME REFERRAL STATISTICS

              Commission on Judicial Performance Rule 102(g), Policy Guideline 4.2,
              and CJP August 29, 2017 Public Statement that on “Multiple Occasions”
                    CJP Has Referred “Possible” Judge Crime to Prosecutors

Commission Rule 102 (g), provides:

       (Disclosure of information to prosecuting authorities) The commission may release to
       prosecuting authorities at any time information which reveals possible criminal conduct by the
       judge or former judge or by any other individual or entity.


On August 29, 2017, the CJP posted to its website its REPORT CONCERNING ADOPTION OF
ADDITIONS AND AMENDMENTS TO RULES OF THE COMMISSION ON JUDICIAL
PERFORMANCE [undated; issued August 29, 2017, pg. 15, (23 pages)] (See cover page and page 15,
attached; the “Report”); document available/formerly on Commission website homepage under
“Pending Cases - Press Releases & Documents”, “Miscellaneous”)

The CJP acknowledged public allegation and assertion that: “the Commission rarely, if ever, exercises
its discretionary authority under this rule.” Responding in the Report, the CJP stated: “That is not the
case. The Commission has on multiple occasions reported possible criminal conduct to prosecuting
authorities.”


This discovery, for Plaintiffs and the People, seeks the information behind the statement “The
Commission has on multiple occasions reported possible criminal conduct to prosecuting authorities.”
The discovery asks specific questions about commission action with regard to referral of evidence of
possible judge crime.

Interrogatories are derived from CJP Policy Guideline 4.2:

4.2 Disclosure of Information to Prosecuting Authorities

       When, in the course of evaluating complaints or conducting investigations, commission staff
       acquires information revealing possible criminal conduct by a judge, former judge or by any
       other individual or entity, such information shall be brought to the attention of the commission
       at the earliest possible opportunity for consideration of a referral of the information to
       prosecuting authorities. Such a referral requires a vote of a majority of the commission
       members.

(Emphasis added; Policy Declarations of the CJP, CJP website, tab: “legal authority”)




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[Complaint, Exhibit T Special Interrogatories and response form, 7/21/20]
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                             SPECIAL INTERROGATORIES 1-4
                        TO COMMISSION ON JUDICIAL PERFORMANCE


TO: DEFENDANT THE COMMISSION ON JUDICIAL PERFORMANCE:

Under oath, please respond to the following special interrogatories 1-4:

Please respond by filling in the blanks on the attached response form and grid with all requested
figures. Upon completion, please sign, date and affirm the veracity of the responses using the signatory
provision at the end of the form

With regard to the foregoing Rule 102(g) and Policy Declaration 4.2, please answer the following
special interrogatories for years the Rule and Guideline have been in effect, 1997 - 2019. Proposed
response form and grid are attached.

Special Interrogatories:

   1. Please state the number of times for the year Staff attorneys “brought to the attention of the
      commission” [the] “possible criminal conduct by a judge”.

   2. Please state the number of times that year the commission under took “consideration of [referral
      of the possible judge crime] information to prosecuting authorities.”

   3. Please state the number of times that year the commission conducted a vote for a “referral” [of
      the “possible judge crime” information] to prosecuting authorities.

   4. Please state the number of times that year the commission held, by majority vote, to make
      “referral” of “possible judge crime” information to prosecuting authorities.

Attached is a three (3) page response and grid form to be used for Interrogatories 1-4.

Please note that grid refers to “CJP Annual Report - Number of Complaints received”.

The number of complaints the CJP received for each year is set forth in CJP annual reports collected
on-line at CJP website, divided into four (4) groups by year:
2010 – 2019 - 2000-2009 - 1990 – 1999 - 1983 – 1989.

See, CJP website, “statistics” https://cjp.ca.gov/annual_reports/

Note: Rule 102 (g) and Policy Declaration 4.2 became effective in 1997.




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                              COMMISSION ON JUDICIAL PERFORMANCE
                                    RESPONSE TO INTERROGATORIES

The Commission on Judicial Performance provides the following responses to Interrogatories 1-4:

 Years 2010-2019       2019 2018 2017 2016                    2015     2014          2013          2012       2011     2010   Totals
 Annual Report         1241 1246 1251 1234                    1245     1212          1209          1143       1158     1176   12115
 No. of
 Complaints
 Report pg. no.        11      9          14      9           9        9             9             9          9        7      -----
 ref.
 Responses to          ------ ------ ------ ----              ----     ----          ----          ----       ----     ----   -----
 Interrogatories:
 Staff Atty.    #1
 Comm. Con. #2
 Comm. Vote #3
 No. Referrals #4

 Years 2000-2009        09         08 07     06 05 04 03* 02 01 00 Totals
 Annual Report          1161       909 1077 1019 965 1114 1011 918 835 951 9960
 No. of Complaints
 Report pg. no. ref.    7          7       11         11      11     11       11            11         11     11     ----
 Responses to           ---        ----    ----       ----    ----   ----     ----          ----       ----   ----   ----
 Interrogatories:
 Staff Atty. (1)
 Comm. Con. (2)
 Comm. Vote (3)
 #Referrals (4)

*Daily Journal 10/22/03 report, CJP stated to have referred Judge W. Danser to District Atty. (see attached)
Inquiry Concerning Judge William R. Danser, No. 172 (6/2/05; CJP); Danser v. California Public Employees’
Retirement System (2015) 240 Cal.App.4th 885) However, investigation reveals that the District Attorney sought
and obtained County Grand Jury indictment against Judge Danser based on non-CJP complainant. The Judge
Danser criminal case was not commenced because of CJP referral to prosecuting authorities under Rule 102(g) and
Policy Declaration 4.2. The Daily Journal article (attached) is the only public record that refers to possible CJP
referral of judge crime to prosecuting authorities. Based on review of the Judge Danser file, the article’s statement
that the CJP “referred the case to the Santa Clara County district attorney’s office” is incorrect.

Research of public records and CJP information does not indicate that the CJP has ever, since 1983, referred
evidence of possible judge crime to prosecuting authorities. Contrary to CJP claim of referral on “multiple
occasions” (Rule Report 8/29/17 pg. 15, see attached), research and records indicate that CJP has never referred
evidence of possible judge crime to prosecuting authorities.

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   Years 1999-1990        99    98 97    96   95   94 93 92 91 90 Totals
   Annual Report          1022 1125 1183 1187 1251 1320 950 966 744 885 10633
   No. of Complaints
   Report pg. no. ref.    11      13     11      12        24    3              1      1       2       ----
   Responses to           ----    ----   ----    ----      ----
                                                            ---- ---            ----   ----    ----    ----
   Interrogatories:                                              -
   Staff Atty. (1)                               Rule 102g Gdl 4.2               Eff. 1997
   Comm. Con. (2)                                Use Prior Rule &               guid e-    line
   Comm. Vote (3)
   #Referrals (4)

   Years 1989-1983        1989    1988      1987        1986      1985   1984      1983       Totals
   Annual Report –        860     693       547         476       317    388       351        3632
   No. of Complaints
   Report pg. no. ref     2       2         2           1         3      2         10    ------
   Responses to                   Based     on          Prior     Rule   Guide     Lines -------
   Interrogatories:

  GRAND TOTALS:

   Rule 102(g) and Guideline 4.2 in effect 22 years, 1997-2019                     /   For 22 Years:
   CJP – Total Number of Complaints received 22 Years 1997 - 2019                  /   25405
   Responses:                                                                      /   **********
   Staff Atty. No. 1                                                               /
   Comm. Con. No. 2                                                                /
   Comm. Vote No. 3                                                                /
   #Referrals No. 4                                                                /

   1996 and Prior, Back to 1983 (13 years) total complaints                        /   10935
   Responses / figures: as appropriate based on prior rule / guideline             /

   CJP – Total Number of Complaints received All Years 1983 - 2017 /                   36340




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                             AFFIRMATION OF RESPONSES FROM THE

                   CALIFORNIA COMMISSION ON JUDICIAL PERFORMANCE




         The undersigned, for the Commission on Judicial Performance, states and

         declares that the foregoing statistics, figures and other writing and information,

         given as the responses of the Commission to the Interrogatories, were taken

         or derived from Commission records.



         I declare on penalty of perjury under the laws of the State of California

         that the foregoing is true and correct.



         Executed at _________________________, California



         Dated: _____________, 2020

                                              Name: ______________________


                                              Title: _______________________


                                              The Commission on Judicial Performance




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     Judges And Judiciary

     Oct. 22, 2003

     Judge Tells Court He Isn't Guilty
     SAN JOSE - Santa Clara Superior Court Judge William Danser was back in court Monday, but not on his
     old bench in Department 42 at the Hall of Justice.

             By Cra ig Anderson          Daily journal Staff Writer   SAN JOSE- Santa Clara Superior Court judge William Danser was back in
        court Monday. but not on his old bench in Department 42 at the Hall of justice.
             Instead, dressed in a blue suit and walking with a pronounced limp, Danser went to t he main downtown courthouse and pleaded
       not gui lty to nine criminal charges- including a felony conspiracy count - in connection with his dismissal of traffic tickets and decision to
       give light sentences to two DUI defendants.
             "Not guilty, your honor." Danser said when asked for his plea by retired Santa Cruz County Superior Court j udge William Kelsay.
             Former Los Gatos police detective Randy Bishop, sa id by prosecutors to have conspired with Danser to f ix tickets for members of
        two professional sports teams for whom the officer worked. also pleaded not guilty.
,....._ __,Danser,__suspended w ith pa)1 while t he criminal case is pending, would be removed from the bench if he is convicted of a single._ _ _-.
       misdemeanor. according to a spokeswoman with the Commission on judicial Performance. which ref erred t he case to the Santa Clara
        County district attorney's offi ce.
             Danser declined to comment following the brief hearing. People v. Danser. 210838.
             Prosecutor David Pandori also refused comment following a consistent policy of the district attorney's office to say not hing about
        the indictments even after they were unsealed. Officials believe the transcript of t he grand jury proceedings, which was released Oct. 9,
        speaks for itself - and they do not want to feed allegations they have any sort of vendetta aga inst Danser.
             Danser is accused of doing favor s for personal friends, relatives of court personnel and member s of the San jose Sharks and San
       j ose Earthquakes sports teams. With one exception. prosecutors do not accuse him of getting anything in return. (In that insta nce, a man
        whose traffic t icket was dismissed gave a donation to the Little League organization in which Danser was involved.) But t he j udge d id like
      "being able to pull favors for people."             Pandori told the Grand Jury.
          Prosecutors have declined to respond to claims by Bishop's attorney, Craig Brown of San jose, that prosecutors may have violated
     their responsi bilit ies to disclose exculpatory evidence as required under Brady v. Maryland. 373 U.S. 83 (1963).
          Bishop was interviewed by attorneys for the Commission on Judicial Performance, but the full transcript of that conversation wasn't
     presented to t he grand jury. Brow n said Monday his client had no idea during the CJP interview that he might be the target of a crim inal
     investigation. and only found out when the grand jury convened last month.
          "There was a failure to present all of the exculpatory evid ence.'' Brown said.
          San jose attorney Ken Robinson repeated Monday the main themes he has stated since he began representing Danser. "A judge has
     the authority to dismiss matter s in the interests of justice." the defense lawyer said. "The Penal Code allowed him to do everything that
     he did."
          Robinson noted t hat the term, "in the interests of justice," is vague, suggesting a possible line of defense. "What does that mean?"
     he asked .
          Brown complained about the felony charge against his client arguing Bishop is being dragged into the matter as a felony defendant
     to bolster t he case aga inst Danser.
          "It's a matter of tactics in terms of criminal prosecution," he said. "I think Randy Bishop is being used."
          Brown said Bishop went to Danser because he knew the j udge and had worked with him on cases before, not because he expected
     any special t reatment.
          Judge Tells Court He Isn't Guilty

      #261087



        Craiq Anderson
        Daily journal Staff Writer


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Judge Guilty in Fixing of Son's Parking Fines
December 21, 1988 | ROBERT W. STEWART | Times Staff Writer

A veteran Beverly Hills Municipal Court judge was found guilty Tuesday of conspiring to obstruct justice by improperly suspending the fines on more than 200
parking tickets issued to automobiles driven by the jurist's son and the youth's friends.

"We really soul searched and we did a . . . good job of trying to find him not guilty. But there was no alternative," said Donald Small, 28, the foreman of the
Beverly Hills Municipal Court jury that deliberated for 2 1/2 days before finding Judge Charles D. Boags guilty of the misdemeanor offense.

"Public officials must be accountable for what they're doing," Small said.

Boags was impassive as the verdict was read. But the judge's son, Martin R. Boags, who is on leave from the U.S. Air Force Academy, clutched his head in his
hands as he slumped in his seat in the front row of the spectators' gallery.

The judge did not speak to reporters. However, Richard G. Hirsch, one of Boags' attorneys, said, "Obviously we're all disappointed with the verdict. We have
felt right along, and still feel, that Judge Boags committed no crime. We will appeal this verdict."

Hirsch's co-counsel, Johnnie L. Cochran Jr., added: "We see this as a setback, a serious setback obviously. But (it is) the first step along the way and we expect
that he (Boags) will ultimately be vindicated. We feel strongly about that."

Under California law, Judge Carlos Baker Jr., who presided, could sentence Boags to up to one year in jail. Deputy Dist. Atty. Lawrence Mason, who on
Tuesday stood in for the prosecutor, said his office has not yet decided what punishment it will request when Boags is sentenced Feb. 10.

Boags served for 20 years as a Los Angeles County deputy public defender before he was appointed to the bench in 1979 by then-Governor Edmund G. Brown
Jr. He has twice been reelected.

During the four-week conspiracy trial, Deputy Dist. Atty. Richard Healey sought to persuade jurors that Boags and his son had entered into an informal but
clearly understood agreement under which Martin Boags handed over to his father parking tickets with the understanding that the judge would suspend the
fines. To prove a conspiracy, the prosecution must prove the existence of some type of agreement to subvert the law.

Healey introduced into evidence 205 parking tickets, initialed by Boags, on which the judge had recorded guilty pleas and suspended the fines. One hundred
forty-five of the tickets were issued to a car registered to the judge himself and driven by his son to Beverly Hills High School. The tickets were issued in 1984,
1985 and 1986.

Members of the Team

Healey argued that Martin Boags and his friends, several of whom were fellow members of the high school's football team, received special treatment, not only
because their fines were always suspended, but because they were not required to appear in court.

"These tickets were being passed across the breakfast table," Healey told the jurors in his closing argument. "The judge had the right to suspend the fines.
That's true. But he did not have the right to enter into an agreement beforehand . . . 'Give me the tickets, Marty, you're going to get your fine suspended.' "

Healey conceded that he had no direct evidence of the agreement, and noted that Martin Boags had testified that he did not know what the disposition would
be when he handed the parking tickets to his father. But the prosecutor told the jurors that they could infer that the agreement existed, because the judge never
imposed a fine.

"That was our biggest hang-up right there, the agreement," Small said. "We really soul searched and tried to find alternatives to where there wouldn't be an
agreement and we just couldn't find it."

The jury foreman said a key factor was a conflict between the testimony of Martin Boags, who testified that he did not know what would happen to the tickets,
and the testimony of a friend, whose ticket was fixed, that the younger Boags had told him how the citation would be handled, Small said.

The jury earlier Tuesday had reported that it had reached an impasse. But after Martin Boags' testimony was re-read, the panel reached a verdict.

Cochran had argued that the judge is an honest man who erred ethically by failing to disqualify himself from handling his son's tickets.

Among the 18 defense witnesses were two Superior Court judges and a senior Los Angeles County prosecutor, who attested to Boags' honesty and integrity.
The judge did not testify in his own behalf.

Cochran told jurors that court officials established through their testimony that parking tickets are handled with leniency by most Beverly Hills judges because
of the severe parking problems in the community, especially in the neighborhood of the high school.

Outside court Tuesday, Cochran said a central issue of an appeal will be Judge Baker's failure to allow expert witnesses to testify that sentencing is a matter
that the law leaves solely to a judge's discretion.

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The charges against Boags were filed in January, 1987, nine months after The Times disclosed that the judge had engaged in a pattern of suspending fines for
his son and the young man's friends.

At the time, Dist. Atty. Ira Reiner said, "What Judge Boags was doing, stripped down to its essentials, was fixing tickets for his son and fixing tickets for his
son's friends. . . ."




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Ex-Judge Sentenced in San Diego Bribery Case
Courts: Michael Greer gets three years probation and avoids prison term. His helpful testimony and poor health are cited.

February 07, 1997 | TONY PERRY | TIMES STAFF WRITER

SAN DIEGO — Once he was a dominant and respected presence on the San Diego Superior Court--known for his hard work, confident manner and booming
voice.

But on Thursday, former Superior Court Judge Michael Greer--now sick, disgraced and described in court papers as suicidal--stood before a federal judge and
struggled to take responsibility for "this incredible disaster" that led him to plead guilty to taking bribes from a flamboyant trial attorney.

In the end, U.S. District Judge Edward Rafeedie sentenced Greer, 63, to three years probation, accepting a recommendation from federal prosecutors to spare
him from a prison sentence.

Prosecutors agreed to make such a recommendation in exchange for Greer's testimony on fraud and racketeering charges against attorney Patrick Frega and
former Superior Court Judges G. Dennis Adams and James Malkus.

On Wednesday, Rafeedie sentenced Frega and Adams to 41 months in prison and Malkus to 33 months. Rafeedie said he doubted that prosecutors could have
convicted Frega, Adams and Malkus without Greer's testimony, which he described as "frank, honest and powerful."

At his sentencing Thursday, Greer said: "Early on I recognized Mr. Frega for what he was, but I did not have the courage to put an end to the problem before
any further damage occurred. There has not been a day in the last several years that the horror I created is not on my mind and eating away at my insides."

In pleading guilty, Greer admitted helping Frega win cases by providing inside information, devising legal strategies and steering the cases to "friendly" judges.

Before his resignation in 1993 amid an investigation by the state Commission on Judicial Performance, Greer was one of the preeminent judges on the local
bench and one of the few to enjoy a statewide reputation. In the weeks before his 1996 indictment, he attempted suicide by slashing his wrists.

A graduate of UCLA Law School, Greer had a civil practice and was active in Democratic politics, including the presidential campaign of Robert F. Kennedy,
before former Gov. Edmund G. "Jerry" Brown Jr. named him to the bench, where he served for 17 years.

At a time when court systems in other counties were becoming gridlocked, Greer devised a "fast track" method to keep the San Diego courts from being
stymied by too many lawsuits and too few judges. He was able to persuade warring parties to settle high-stakes civil litigation without going to trial.

He successfully pressured the governor to help bail out an overworked legal system. He lectured law students and helped reporters understand legal procedure
and complexities.

And after his peers elected him presiding judge, he had even greater power to force settlements on reluctant civil litigants or to direct a case to the judge of his
choosing.

Greer admitted misusing that power in exchange for $75,000 worth of bribes from Frega. Assistant U.S. Atty. Phillip L.B. Halpern said Greer's testimony
"revealed the dirty little secrets that had plagued this town for a long time."

Rafeedie said that in his sentencing, he was swayed by warnings from Greer's doctors that he might not survive a prison term. Greer suffers from heart
problems, depression, diabetes, ulcers, prostate trouble, skin cancer and high cholesterol.

"I don't want to impose a death sentence on the man--his condition is fragile enough," Rafeedie said.

During the judicial corruption trial, Greer testified that he struck up a friendship with Frega that soon ripened into an "uncle-nephew" relationship. Frega was
soon lavishing gifts on him and his family: computers, car repairs, vacation getaways, membership in an athletic club and other items.

Greer testified that at first, he was able to convince himself that he was not doing anything wrong. But he said that when he drove a Mercedes given to him by
Frega, he had a "sick feeling" and knew he had been corrupted.

Rafeedie said he hoped the public's faith in the local courts has not been undermined.

"I think this is an aberration in this district because I believe judges in the San Diego Superior Court are honest and honorable people," Rafeedie said. "One of
my fears about this kind of case is that people will say: 'This is par for the course.' People should not judge all members of the bar and bench by this case."

Greer told Rafeedie that the case has left him with mountainous debt, that he and his wife are being forced to sell their home to pay creditors and that he feels
"exiled" from his profession.

"People have to understand that Judge Greer is basically a ruined human being," said Robert Brewer, Greer's lawyer.



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California and the West

2 Former San Diego Judges, Lawyer Get Prison Terms
Court: All receive minimum sentences in the gifts-for-favors scandal that shook city's legal system.

June 13, 2000 | TONY PERRY | TIMES STAFF WRITER

Two former San Diego judges and a former "lawyer of the year" were sentenced Monday by a federal judge in Los Angeles to minimum prison sentences for
their roles in a gifts-for-favors scandal that rocked the San Diego legal system.

The case revealed publicly an old-boy network of unusual coziness among some lawyers and judges.

Former Superior Court Judges James Malkus and G. Dennis Adams and former civil attorney Patrick Frega were ordered by U.S. District Court Judge Edward
Rafeedie to begin their sentences July 10. The three have been free while appealing their 1996 convictions.

"I have suffered shame, humiliation and sleepless nights," Malkus told Rafeedie.

"I'm mortified by the embarrassment I have caused the judiciary," Adams said outside the courtroom.

Rafeedie rebuffed a request by federal prosecutors to impose maximum sentences.

Still, the case reaffirmed the controversial principle that it is illegal, not just unethical, for judges to receive gifts from lawyers whose cases they are hearing--
even if it cannot be proven that the gifts were in exchange for specific preferential treatment.

Rafeedie sentenced Adams, 58, to 38 months; Malkus, 63, to 30 months; and Frega, 54, to 41 months. In all three cases the sentences were the minimum
under federal guidelines.

After the 1996 trial, Rafeedie sentenced Adams and Frega to 41 months and Malkus to 33 months. But the 9th Circuit Court of Appeals voided one count of the
conviction against the two judges. The case went back to Rafeedie for resentencing after the U.S. Supreme Court declined to hear an appeal.

A third ex-jurist, former Presiding Judge Michael Greer, escaped a prison sentence only by becoming the star witness for prosecutors. He pleaded guilty and
was placed on probation.

Frega, who often represented consumers against large corporations, lavished more than $100,000 in gifts on the three judges from 1983 to 1992. Among
them: automobiles, vacations, office equipment, health club memberships and jobs for the judges' children.

The judges coached Frega on how to present his cases, pressured opposing attorneys into reaching out-of-court settlements and assigned his cases to "friendly"
judges.

Greer and Malkus resigned in 1993 during an investigation by the Commission on Judicial Performance. Adams was ousted by the California Superior Court in
1995. A dozen other San Diego judges and lawyers received scolding letters from the commission.

San Diego Presiding Court Judge Wayne Peterson, in a telephone interview, said the case has been "a dark cloud" over the San Diego judiciary.

"Members of the judiciary have had to suffer for the sins of these participants for years," he said. "It's very difficult to be on the defensive for actions you did
not commit, errors you did not make."




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                           F. Chodosh, et al., v. J. Saunders, et al.


                                        July 21, 2020

                                         COMPLAINT

                                         EXHIBIT – V




              01/29/16 Pac. Curr. Partners PR (Salisbury rep. seller HOA)
              07/13/15 Coldren v. Hart (2015) Salisbury Coldren attorney




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      FOR IMMEDIATE RELEASE                               CONTACT:
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                                                          spencer@pacificcurrentpartners.com




         Pacific Current Partners Acquires Oceanfront Palm Beach Mobile Home Park

         - Pacific Current Partners Acquires 126 Unit Ocean Front Mobile Home Park
               in San Clemente, California Santa Ana, CA (December 30, 2015) -

      Pacific Current Partners, a manufactured housing investor group led by industry veteran
      Mike Cirillo, and Saunders Property Company recently partnered to acquire Palm Beach
      Mobile Home Park in San Clemente, California for an undisclosed amount. The seller of
      the oceanfront property was San Clemente based Palm Beach Park Association. The 126-
      space park has scenic ocean views and offers residents roughly two acres of private
      beach.

      This transaction represents the eighth manufactured housing acquisition for this team in
      the last two years. According to information on their website, they focus on coastal
      mobile home and RV parks, including those with apparent legal and managerial
      challenges that require specialized expertise to navigate:

      “Whereas most other buyers of manufactured housing communities in premium
      California markets have aimed to convert their properties to ‘higher and better use,’
      Pacific Current Partners and John Saunders share a commitment to owning and operating
      our properties as manufactured housing communities for the long term and to realizing
      value by improving community experience for residents. Our recent purchase of Palm
      Beach Park is a validation of our acquisition process, and we are more encouraged and
      excited than ever to acquire more assets like it as we enter 2016.” The website also
      describes the improvements made under their ownership at the other properties,
      improvements “such as new or updated gyms and clubhouses with community kitchens,
      new landscaping and luxury two-story rental units, themed street names and designs, and
      state of the art solar systems.”

      In an interview with John Saunders and Spencer Engler-Coldren of PCP, the buyers
      stated that the transaction “demanded extraordinary patience and collaboration.” The deal
      had been over two years in the making. “We are all elated to say the least. A whole host
      of principals, brokers, and legal advisors on both sides worked together for many months
      to get it across the finish line. Once under contract close of escrow was smooth and




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     timely.”

     The buyer was represented by Philip Anshutz as broker and Pete Roth and Natalie Ferrall
     of Allen Matkins as legal counsel. The seller team was led by park resident and HOA
     president Diana Mantelli and was represented by Salisbury Law Group.

     About Pacific Current Partners

     Pacific Current Partners acquires and operates mobile home and RV park properties, mainly in the western
     US, that stand to benefit from the group’s operational excellence, legal expertise, and industry presence.
     Fund managers Rob Coldren and Mike Cirillo have worked together for three decades as a legal-managerial
     team and boast an extraordinary track record of unlocking value in MH and RV park properties. Together
     with junior partners Brad Hill, Spencer Engler-Coldren and Thom Niederkofler, the group has a combined
     80 years of experience in real estate asset management and development. PCP has acquired eight MHRV
     parks in the past 24 months.

     For more information about the Palm Beach Mobile Home Park please visit www.palmbeachMHpark.com.
     For more information on Pacific Current Partners please visit their website at pcpequity.com




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                                         July 21, 2020

                                          COMPLAINT

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             06/21/04 National Law Journal “Thinking Outside Box”

                       Susolik Firm contacts Judge after hours at poker party




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                              F. Chodosh, et al., v. J. Saunders, et al.


                                           July 21, 2020

                                            COMPLAINT

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                    2014      JAMS Mission, Vision, Values (2014)

                              vs.

                    2020      JAMS Purpose, Vision, Values (2020)




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        Mission, Vision, Values

                                   JAMS Mission, Vision, and Values

         JAMS believes it is essential to understand what our business is about at its core,
         where we are going, and how the values we live by are instrumental in taking us
         there.

         Mission

         The mission of JAMS is to be The Resolution Experts, providing the highest quality
         dispute resolution services to our clients and to our local, national, and global
         communities. We respect the parties and their representatives, and are committed
         to achieving the best possible resolution of their dispute.

         We accomplish our mission by cultivating a professional and collegial environment
         that attracts and develops the most effective and respected neutrals and associates;
         by ensuring uncompromising neutrality, and the highest ethical standards; and by
         working together to deliver unparalleled resolution services and results.

         Vision

         JAMS vision is to lead the ADR industry as The Resolution Experts, setting the
         standard of excellence by which all dispute resolution services will be measured.
         The most respected attorneys and other professionals in the world will choose JAMS
         for the resolution of disputes, particularly when the stakes are high, the matter is
         complex, and the parties appear unyielding.

         JAMS will be regarded as one of the premier service providers in the world with
         distinctive dispute resolution services recognizable in all of our resolution centers.

         The non-profit JAMS Foundation, JAMS Society (associates serving their
         communities), and pro-bono activities performed by neutrals and associates, will
         make a significant contribution to society.

         Values

         Everything we do and say will reflect the highest ethical and moral standards. We are
         dedicated to neutrality, integrity, honesty, accountability, and mutual respect in all of
         our interactions.

         We are committed to being a positive and motivating influence on others while
         achieving excellence through teamwork and collaboration. JAMS recognizes and
         rewards associates based on their contributions to results and to our Mission,
         Vision, and Values.




      January 2014



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JAMS Purpose
JAMS is passionate about providing exceptional dispute resolution services to our clients in local, national and global
communities.

JAMS Vision
To lead by setting the standard of excellence by which all dispute resolution services will be measured through:
      Unparalleled client service
      An exemplary panel
      Exceptional associate professionals
      Purpose designed facilities
      Custom-tailored solutions
      Sound business practices

JAMS Values
JAMS believes and is committed to:
      Neutrality
      Integrity
      Collegiality
      Collaboration
      Innovation
      Our people
      Altruism
      Diversity

Local Solutions. Global Reach. TM
JAMS successfully resolves business and legal disputes by providing efficient, cost-effective and impartial ways of
overcoming barriers at any stage of conflict. JAMS offers customized dispute resolution services locally and globally
through a combination of industry-specific experience, first-class client service, top-notch facilities and highly trained
panelists.


Related Resources
      About JAMS ›
      Diversity & Inclusion ›
      Careers at JAMS ›
      Senior Management Team ›
      JAMS Founder ›

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                                                                              July 1, 2020
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                                      EXHIBIT – Y




      07/15/16        Primo Mgmt. Partners Stmnt. of Info. Mantelli and Salisbury

      2017 & 2020     Primo Mgmt. Real Estate Sign at Park




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                           F. Chodosh, et al., v. J. Saunders, et al.


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                        Caption Pages Palm Beach
                        Park Litigation (2010 – 2020)

             04/09/10   PBPA v. Eicherly (unlawful detainer, filed)
             06/13/12   Chodosh v. PBPA, main case, G053798 (f: 12/10/10)
             12/13/10   Haugen v. PBPA (derivative complaint)
             08/10/11   PBPA v. Eicherly (“1 Dog” rule violation)
             05/02/14   Eicherly v. PBPA (HOA election challenge)
             05/12/14   Chodosh v. JAMS, Justice Trotter
             11/12/15   Haugen v. PBPA (stop the Park sale case)
             12/09/16   Eicherly v. CJP (for no action on Moss complaint)
             12/21/16   Eicherly v. O’Leary, Bedsworth, Moss, et al. (USDC)
             10/05/18   Chodosh, Padilla v. CJP and AG (taxpayer suit)




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      Attorneys for Plaintiff, SUE EICHERLY
  5

  6
  7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
  8
                 FOR THE COUNTY OF ORANGE – CENTRAL JUSTICE CENTER
  9

 10                                                     CASE NO.
      SUE EICHERLY, an individual;
 11
                    Plaintiff,
 12
                                                         COMPLAINT FOR:
 13
                                                             1.    Breach of Contract
 14                                                                (Member Leases);
 15    v.
                                                             2.    Breach of Contract against Non-
 16                                                                Profit Mutual Benefit
      PALM BEACH PARK ASSOCIATION, a                               Corporation for Violation of
 17   California non-profit mutual benefit
      corporation; and DOES 1 - 10                                 Bylaws; Failure to Follow
 18                                                                Election Rules and Requirements;
                    Defendants.                                    Election Challenge, Corp. Code
 19                                                                sec. 7616; Civil Code 1363.09(a);
 20
                                                             3.    Breach of Fiduciary Duty; and
 21
                                                             4.    Declaratory Relief That August 3,
 22
                                                                   2013 Member Vote is Void
 23
 24
             Plaintiff SUE EICHERLY, an individual, hereby states her complaint (“Complaint”)
 25
 26   against Palm Beach Park Association, a California non-profit mutual benefit corporation and
 27   alleges:
 28
      _________________________________________________________________________________________________
                                                COMPLAINT
                                                      1


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  5

  6
  7                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
  8                                           FOR THE COUNTY OF ORANGE
  9                                              CENTRAL JUSTICE CENTER

 10

 11                                                                          CASE NO.
      FLOYD M. CHODOSH, an individual and in
 12   his capacity as trustee of the GLENDIA                                    COMPLAINT FOR:
      WATSON LIVING TRUST 2004; SUSAN
 13   EICHERLY, an individual; BONNIE P.
      HARRIS, an individual; MYRLE A.                                                1.      Breach of Contract;
 14   MOORE, an individual and in her capacity as
      trustee of the Moore Family Trust U/D/T                                        2.      Fraudulent Concealment;
 15   dated June 24, 1994; OLE HAUGEN, an
      individual; and CHRIS MCLAUGHLIN, an                                           3.      Negligence;
 16   individual,
                                                                                     4.      Intentional Infliction of Emotional
                             Plaintiffs,                                                     Distress;
 17
       v.                                                                            5.      Negligent Infliction of Emotional
 18                                                                                          Distress;
 19   JOHN K. TROTTER, an individual;
      JAMS, INC. a Delaware corporation; and                                         6.      Intentional Misrepresentation;
 20
      DOES 1 – 10,
                                                                                     7.      Negligent Misrepresentation; and
                           Defendants.
 21                                                                                  8.      Unfair Business Practices;
 22
                                                                                             [Bus. & Prof. Code Sec. 17200]

 23
                FLOYD M. CHODOSH, trustee and individually, SUSAN EICHERLY, MYRLE
 24
      MOORE, trustee and individually, BONNIE P. HARRIS, OLE HAUGEN, and CHRIS
 25

 26   MCLAUGHLIN, each a Plaintiff and together the Plaintiffs, by this complaint allege and
 27   assert their claims against Defendants JOHN K. TROTTER and JAMS, INC.:
 28   _________________________________________________________________________________________________________________________________

      _________________________________________________________________________________________________
                                                COMPLAINT
                                                      1


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  1   PATRICK J. EVANS - State Bar No. 110535
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  5

  6
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
  7

  8            FOR THE COUNTY OF ORANGE – CENTRAL JUSTICE CENTER
  9
      OLE HAUGEN, an individual;                        CASE NO.
 10
                      Plaintiff,                         VERIFIED COMPLAINT FOR:
 11
 12                                                         1.   Breach of Contract - Violation of
                                                                 Bylaws re: 06/28/15 Membership
 13
                                                                 Vote to Sell Park and Dissolve;
 14    v.
                                                            2.   Breach of Statutory Election
 15                                                              Requirements; Corp. Code §7616;
      PALM BEACH PARK ASSOCIATION, a
 16   California non-profit mutual benefit                       Civil Code §5145, et al.;
      corporation; and DOES 1 - 20
 17                                                         3.   Breach of Mobilehome Space Lease
                    Defendants.                                  [Contract] – for Bylaw Breaches re:
 18
                                                                 06/28/15 Membership Vote;
 19
                                                            4.   Breach of Fiduciary Duty-
 20                                                              Conducting Illegal Vote; Board
 21
                                                                 Directors Conflicted [and Treble
                                                                 Damages, Civ. Code §3345];
 22
                                                            5.   Financial Elder Abuse Welf. &
 23                                                              Inst. Code §15610.30 et al. [and
 24                                                              Treble Damages, Civ. Code §3345];

 25                                                         6.   Quiet Title;
 26
                                                            7.   Accounting; and
 27
                                                            8.   Declaratory Relief
 28
      _________________________________________________________________________________________________
            VERIFIED COMPLAINT CHALLENGING HOA MEMBERSHIP VOTE AND TO QUIET TITLE
                                                      1


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  4   Counsel to all Plaintiffs,
      Sue Eicherly, et al.
  5

  6
  7

  8                   IN THE UNITED STATES DISTRICT COURT
  9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 10   SUE EICHERLY, MYRLE MOORE                      CASE NO.:
      FLOYD CHODOSH, OLE HAUGEN,
 11   TODD PETERSON, KATHLEEN
      SCHOWALTER and RODGER KANE,                    COMPLAINT FOR:
 12   individuals,
                   Plaintiffs,
 13   vs.                                               1.    Violations of 42 U.S.C. §1983;
                                                              Intentional Denial of Due
 14   ROBERT J. MOSS, individually and in                     Process; U.S. Const.
      his capacity as Judge of the Orange
 15   County Superior Court, CHARLES                          5th and 14th Amendments;
      MARGINES, individually and in his
 16   capacity as Presiding Judge of the Orange         2.    Denial of Due Process by
      County Superior Court; KATHLEEN
 17   O’LEARY, individually and in her                        Extreme Facts that Indicate
      capacity as Presiding Justice of the                    Intolerable Probability of
 18   California Court of Appeal, Fourth                      Lack of Judicial Impartiality;
      District, Div. 3 (“Div. 3”); WILLIAM L.
 19   RYLAARSDAM, individually and in his
      capacity as a former justice of Div. 3;           3.    Violations of 15 U.S.C. §1601
 20   WILLIAM W. BEDSWORTH,
      individually and in his capacity as a                   et seq., “Truth in Lending”;
 21   justice of Div. 3; PALM BEACH PARK                      Intentional Failure and
      ASSOCIATION, a California non-profit                    Refusal to Follow and Enforce
 22   mutual benefit corporation, ICC 35902
      LLC, and 3187 REDHILL LLC, both                         the “TILA” Federal Law;
 23   Delaware limited liability companies;
      JEFFERIES LOANCORE, LLC, a                        4.    Breach of Fiduciary Duty;
 24   Delaware limited liability company;
      FIDELITY NATIONAL TITLE
 25
      COMPANY, a California corporation; and            5.    Aiding and Abetting Breach
      JOHN SAUNDERS, ROBERT
      COLDREN; LISA SALISBURY, PHILIP                         of Fiduciary Duty; and
 26   ANSHUTZ, DIANA MANTELLI;
      GEORGE FIORI, and DAN SMITH,                      6.    Declaratory Relief,
 27   individuals.
                                                              28 U.S.C. sec. 2201 et seq.
 28                  Defendants.
                       COMPLAINT FOR VIOLATIONS OF 42 U.S.C. §1983, et al.
                                             1


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